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Storm Water Pollution Prevention Plan
(SWPPP)
TenCate Protective Fabrics
Molena, Georgia

August 2016 Amendment




Prepared for:   TenCate Protective Fabrics
                1663 Lawrence Road, Molena, Georgia 30258
Date:           August 17, 2016
                Amended August 2016

Prepared by:    Amec Foster Wheeler Environment & Infrastructure, Inc.
                1075 Big Shanty Road NW, Suite 100, Kennesaw, Georgia 30144
Project No.:    6121160160
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                             LIST OF ACRONYMS AND ABBREVIATIONS


  Acronym or
                                                       Definition
  Abbreviation
 BMP                  Best Management Practice
 CERCLA               Comprehensive Environmental Response, Compensation, and Liability Act
 CFR                  Code of Federal Regulations
 CWA                  Clean Water Act
 CWT                  Centralized Waste Treatment
 EPA                  U.S. Environmental Protection Agency
 EPCRA                Emergency Planning and Community Right-to-Know Act
 EPD                  Georgia Environmental Protection Division
 FC                   Fecal Coliform
 LAS                  Land Application System
 LEPC                 Local Emergency Planning Committee
 mg/L                 Milligram Per Liter
 MS4                  Municipal Separate Storm Sewer System
 MSWLF                Municipal Solid Waste Landfill
 NAICS                North American Industry Classification System
 NOI                  Notice of Intent
 NOT                  Notice of Termination
 NPDES                National Pollutant Discharge Elimination System
 NRC                  National Response Center
 O.C.G.A.             Official Code of Georgia Annotated
 OM                   Operations Manual
 OSHA                 Occupational Safety and Health Administration
 POC                  Pollutant(s) of Concern
 PPT                  Pollution Prevention Team
 RQ                   Reportable Quantity
 S.U.                 Standard Unit
 SDS                  Safety Data Sheets
 SERC                 State Emergency Response Commission
 SIC                  Standard Industrial Classification
 SPCC                 Spill Prevention Control and Countermeasure
 SWPPP                Storm Water Pollution Prevention Plan
 TMDL                 Total Maximum Daily Load
 TSS                  Total Suspended Solids

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                    Storm Water Pollution Prevention Plan Certification




        Facility:         TenCate Protective Fabrics

        Location:         1663 Lawrence Road, Molena, GA 30258


Plan Revision Number or Date:                  Revision 1 – August 17, 2016



“I certify under penalty of law that this document and all attachments were prepared under my
direction or supervision in accordance with a system designed to assure that qualified personnel
properly gathered and evaluated the information submitted. Based on my inquiry of the person
or persons who manage the system, or those persons directly responsible for gathering the
information, the information submitted is, to the best of my knowledge and belief, true, accurate,
and complete. I am aware that there are significant penalties for submitting false information,
including the possibility of fine and imprisonment for knowing violations.”



Bruce Bagwell
 Name (print)                                         Signature



 Plant Manager
 Title                                                Date




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                                          Record of Plan Revisions

                              Distribution
 Revision      Revision                          Section(s)    Description of Revisions or Reason for
                                Required
   No.           Date                             Revised                     Revision
                               (Yes/No)?

 0             07/01/15      Yes               Original       Initial plan for proposed new permit
                                               Version        GAR050000

 1             08/17/16      Yes               All            Updated per revised Notice of Intent




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                                               INTRODUCTION
The Clean Water Act Amendments of 1987 required the U.S. Environmental Protection Agency
(EPA) to publish regulations to control storm water discharges under the National Pollutant
Discharge Elimination System (NPDES). EPA published storm water regulations on November
16, 1990 requiring facilities discharging storm water to waters of the U.S. to apply for NPDES
permits. Georgia is a delegated NPDES state with general permitting authority. “Waters of
State” in Georgia are defined as:

        “any and all rivers, streams, creeks, branches, lakes, reservoirs, ponds, drainage
        systems, springs, wells, wetlands, and all other bodies of surface or subsurface water,
        natural or artificial, lying within or forming a part of the boundaries of the State which are
        not confined and retained completely upon the property of a single individual,

In accordance with Georgia Environmental Rule 391-3-6, facilities with a “storm water discharge
associated with industrial activity” are required to operate under an individual or general storm
water permit. EPA and a number of state agencies, including the Georgia Environmental
Protection Division (EPD) have developed and issued general storm water permits to facilitate
compliance with the NPDES permitting provisions of the rule.

All facilities covered under the Georgia EPD Authorization to Discharge Under the National
Pollutant Discharge Elimination System Storm Water Discharges Associated With Industrial
Activity, (General Permit GAR050000) effective June 1, 2012 are required to prepare and follow
a Storm Water Pollution Prevention Plan (SWPPP) and file a Notice of Intent (NOI) with the
agency within 30 days of the new General Permit becoming effective. A copy of the General
Permit is presented in Appendix A. A copy of the NOI is presented in Appendix B.

The General Permit requires, among other things, that all covered facilities develop a SWPPP,
implement Best Management Practices (BMPs), conduct (at least) quarterly visual inspections
and outfall/sampling location monitoring, and complete an annual compliance inspection and
report. Some facilities have additional sampling and specific BMP requirements. The specific
requirements the facility must meet to comply with the SWPPP are presented in the following
sections. This plan is intended to be a “living document” and must be updated as specified by
this Plan.




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1.0 CONTENTS OF THE SWPPP

The following SWPPP planning elements are required under the General Permit.

1.1     Storm Water Pollution Prevention Team

1.1.1    Pollution Prevention Team

The Georgia State General Permit requires that facilities must identify the staff members that
comprise the facility’s storm water Pollution Prevention Team (PPT) as well as their individual
responsibilities. The PPT is responsible for assisting the facility manager in developing and
revising the facility’s SWPPP, as well as maintaining control measures and taking corrective
actions where required. Each member of the PPT must have ready access to either an
electronic or paper copy of applicable portions of the current General Permit and this SWPPP.

The team’s responsibilities include performing quarterly and annual site assessments,
identifying pollutant sources and risks, decision making on appropriate BMPs, directing the
actual implementation of the BMPs, and evaluating the effectiveness of the Plan on a regular
basis. To ensure that the SWPPP remains effective, the person or team responsible for
maintaining the plan must be aware of changes that are made in plant operations that could
affect storm water runoff and then assess the nature of those revisions.

Plant management is ultimately responsible for the implementation of this Plan and for
compliance with applicable storm water requirements. Accordingly, the designated individual or
team must have a clear line of communication with plant management to ensure that a
cooperative partnership is maintained.

Table 1-1 lists the PPT members and their areas of responsibility at the facility.




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                 TABLE 1.1: POLLUTION PREVENTION TEAM ROSTER

                                                   Responsibilities
Team Leader
Lisa Simpson                                       Team Director:
Corporate Environmental Manager                    1. Develop and update SWPPP;
                                                   2. Serves as Primary Site Emergency Response
(706) 647-1385 (office)                               Coordinator;
(478) 235-9027 (mobile)                            3. Develops appropriate BMPs and budgets;
                                                   4. Coordinates storm water training;
                                                   5. Coordinates the annual comprehensive site
                                                      compliance evaluation;
                                                   6. Prepares the annual storm water report;
                                                   7. Performs quarterly and annual inspections.
                                                   8. Overall responsibility for the development and
                                                      implementation of this plan.
                                                   9. Ensure performance of SWPPP activities, Review
                                                      and submit all reports.
                                                   10. Has delegated signatory responsibility.
Team Members
Bruce Bagwell - Plant Manager                      Plant Manager/Signatory Authority:
(706) 647-1385 ex.2004 (office)                    1. Ensures that necessary resources are committed;
(678) 395-1464 (mobile)                            2. Reviews/contributes to SWPPP;
                                                   3. Authorizes BMPs;
                                                   4. Acts as Signatory Authority for applicable permit
                                                      requirements.
Mike Anderson – Vice President, Operations         Representatives From Departments:
(770) 306-4260 (office)                            1. Reviews/contributes to SWPPP based on their
(770) 328-1839 (mobile)                               specialty knowledge and area of expertise;
                                                   2. Implements and ensure compliance with BMPs for
Dan Alexander – Facilities Engineer                   their areas of responsibility;
(706) 647-1385 ext. 2002 (office)                  3. Ensures employees in their areas receive storm water
                                                      training as applicable;
Malcom Wiggins – Wastewater Operator /             4. Provides feedback to Team Leader on potential
Maintenance Technician                                improvements to SWPPP.
(706) 647-1385 (office)

James Alsobrooks – Wastewater/LAS Operator
(706) 647-1385 (office)

Wayne Spillers – Dyeing Department Manager
(706) 647-1385 (office)




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1.1.2    Employee Training

The facility will train employees who work in areas where industrial materials or activities are
exposed to storm water or who are responsible for implementing activities necessary to meet the
conditions of this permit (e.g., inspectors and maintenance), including all members of the PPT.
Training must cover both the specific control measures used to achieve the effluent limits, and
monitoring, inspection, planning, reporting, and documentation requirements of the General
Permit.

The training will be conducted at the time employees are hired and annually for existing
employees. Rosters of employee training, which includes individual names and training dates,
are maintained on site and readily available to the PPT. A summary of the storm water related
training and sign-in sheets is provided in Appendix C.

1.2     Site Description

This facility is located in Upson County. The characteristic topography is rolling hills. The plant
was originally constructed in 1992 and consists of one manufacturing building and several
outbuildings. These include the industrial wastewater Land Application System (LAS) building,
raw water pump house, raw wastewater pump house, filter building, hay barn, and record
storage house. The LAS is operated under the LAS Permit GAJ010578 and complies with
Georgia EPD permit requirements. A site location map (Figure 1), topographic map (Figure 2),
site layout (Figure 3), and storm water maps (Figures 4 and 5) are provided in Appendix D.

         Facility Name:           TenCate Protective Fabrics

         Street Address:          1683 Lawrence Road, Molena, GA 30258

         Latitude: 32.9669        Longitude: -84.4919

         Standard Industrial Classification (SIC) Code: 2262 — Finishers of Broadwoven
                                                       Fabrics of Manmade Fiber and Silk

         North American Industry Classification System (NAICS) Code: 313311 - Broadwoven
                                                     Fabric Finishing Mills

         Sector-Specific Requirements for Industrial Activity Code: Sector 8.V – Textile Mill
                                                                     Products.
         Other Applicable SIC Code: LF - Landfills, Land Application Sites, and Open Dumps

         Sector-Specific Requirements for Industrial Activity Code: Sector 8.L1 – Landfills,
                                                   Land Application Sites, and Open Dumps

         Other Georgia EPD Permits: Land Application System Permit No. GAJ010578


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1.2.1   Activities at the Facility

The facility is a textile dyeing and finishing plant, predominantly processing synthetic fibers,
which are used to produce various types of protective fabrics. Wastewater generated from the
various production operations is sent to the facility’s wastewater treatment system. This system
consists of two facultative treatment ponds, two holding ponds, and one emergency backup
lagoon. The wastewater is pumped to one of the two aerated facultative lagoons which utilize
brush aerators. The water is then pumped to the upper holding lagoon and retained until needed
or pumped to a lower holding lagoon for storage. The treated water is released from the holding
lagoons to any of eight sprayfields where it is applied to land via rotating spray heads. The
wastewater treatment process does not produce sludge in quantities requiring disposal.

1.2.2   General Location Map

To Access this site from Atlanta, travel south on GA 85/74. South of Gay and Edman, GA 85 and
GA 74 will split. Turn left onto Main Street and follow GA 74. Travel 5.7 miles southeast on GA
74 to Lawrence Road and turn south (right). The facility is 0.1 mile south at 1683 Lawrence
Road. A site location map (Figure 1) and topographic map (Figure 2) are provided in
Appendix D.

1.2.3   Site Map

The facility site layout (Figure 3), facility SWPPP site map (Figure 4), and LAS site map
(Figure 5) are provided in Appendix D. Table 1.2 identifies the regulatory requirements that are
applicable to the facility (Column ‘A’) and that are identified in the SWPPP site layout maps.




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                                   Table 1.2 – Site Map Content

                               Site Map Content Requirements                                              A     N/A

 Location and extent of significant structures and impervious surfaces                                    X
 Direction of storm water flow (use arrows)                                                               X
 Location of all existing structural control measures                                                     X
 Location of all receiving waters in the immediate vicinity of the facility, indicating if any of the     X
 waters are impaired
 Location of all storm water conveyances including ditches, pipes, and swales                             X
 Location of potential pollutant sources                                                                  X
 Location where significant spills or leaks have occurred                                                        X
 Location of all storm water sampling location/outfalls which discharge storm water associated            X
 with industrial activity
 Location of storm water inlets, sampling locations, and outfalls which discharge storm water             X
 associated with industrial activity, with a unique identification code for each sampling
 location/outfall (e.g., Outfall No. 1, No. 2), indicating if treating one or more sampling
 locations/outfalls as “substantially identical” and an approximate outline of the areas draining
 to each sampling location/outfall with an indication of the applicable Sector(s) for each
 outlined area
 Name of the MS4, to which the facility’s storm water discharges, if applicable                                  X
 Location and descriptions of all non-storm water discharges in areas associated with                            X
 industrial activities
 Location of industrial activities in areas exposed to precipitation:
     i.    Fueling stations                                                                                      X
    ii.    Outdoor vehicle and equipment maintenance and/or cleaning areas                                       X
   iii.    Loading/unloading areas                                                                        X
   iv.     Location used for the treatment, storage, or disposal of wastes                                X
    v.     Outdoor liquid storage tanks                                                                   X
   vi.     Outdoor processing and storage areas                                                           X
  vii.     Immediate access roads and rail lines used or traveled by carriers of raw materials,           X
           manufactured products, waste material, or by-products used or created by the facility
  viii.    Outdoor transfer areas for substances in bulk                                                  X
   ix.     Outdoor machinery                                                                              X
    x.     Significant dust or particulate generating processes                                           X
 Location and source of run-on to the facility that contain significant quantities of pollutants                 X
 from adjacent property
        Note: A – Applicable, N/A – Not Applicable, X – Facility applicability

1.2.4     Discharges to Impaired Stream Segments

There are a total of three storm water outfalls at the Site and seven sampling locations. Three
outfalls, designated as Outfalls A, B, and C convey storm water from the pervious and

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impervious areas of the main facility to Spring Creek. Four sampling locations, designated as
SF1, SF2, SF3, and SF4 are areas of relatively more concentrated storm water overland flow
from the sprayfields to offsite locations. Three sampling sites, designated as SW4, SW5, and
SW6 are areas of relatively more concentrated storm water overland flow from the sprayfields to
Spring Creek. While the LAS sprayfields are designed and operated such that applied
wastewater infiltrates the soil and no overland flow of the applied wastewater occurs, strong
precipitation events are inevitable and may result in a rate of precipitation exceeding the soil
infiltration rate and stormwater flowing off site.

Spring Creek is a listed stream for Fecal Coliform (FC) according to the Georgia 2014 Integrated
305(b)/303(d) List. Spring Creek flows into Elkins Creek approximately 0.7 linear miles
downstream of Outfall C. The segment of Elkins Creek between Bull Creek and the Flint River is
a Georgia 2014 Integrated 305(b)/303(d) listed stream; the listing criterion is FC. This facility
discharges within 1 mile of this impaired segment of Elkins Creek. Storm water runoff from the
sprayfields could potentially contain FC as the wastewater treatment system accepts effluent
from a local Boy Scout camp. Therefore, sampling requirements for discharges to an impaired
stream segment, per Appendix C of the General Permit (Appendix A), apply to this facility.

The Total Maximum Daily Load (TMDL) has been approved for Elkins Creek between Bull Creek
and to its confluence with the Flint River for the parameter FC. The conditions and requirements
pertaining to the basin containing this segment are described in the Georgia Department of
Natural Resources, EPD's February 2003 publication Total Maximum Daily Load Evaluation for
the Twenty-Eight Stream Segments in the Flint River Basin for Fecal Coliform. The conditions
described in the above document are applicable to the storm water discharge from the
sprayfields at the TenCate facility. Therefore, sampling requirements for discharges to an
impaired stream segment, per Appendix C of the General Permit, apply to this facility.

Storm water from this facility is not discharged to a Municipal Separate Storm Sewer System
(MS4).

1.2.4.1 Outfall/Sampling Location Coordinates

Table 1-1 lists the facility storm water outfalls and sampling locations.




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           TABLE 1.3: FACILITY OUTFALL AND SPRAYFIELD SAMPLING
              LOCATION INFORMATION
             Outfall Description                      Latitude           Longitude
             Facility Outfall A                       32°57’57.4" N      84°29'31.6" W
             Facility Outfall B                       32°58’00.4" N      84°29'35.1" W
             Facility Outfall C                       32°58'02.9" N      84°29'36.0" W
             Sprayfield Sampling Location SF1         32°58'22.9" N      84°30'19.9" W
             Sprayfield Sampling Location SF2         32°58'23.3" N      84°30'6.5" W
             Sprayfield Sampling Location SF3         32°58'23.1" N      84°29'51.0" W
             Sprayfield Sampling Location SF4         32°57'33.5" N      84°29'26.3" W
             Spring Creek Inlet SW-4                  32°58'10.2" N      84°29'38.0" W
             Spring Creek Inlet SW-5                  32°57'47.3" N      84°29'25.5" W
             Spring Creek Inlet SW-6                  32°57'55.0" N      84°29'43.0" W


1.3   Summary of Potential Pollutant Sources

Chemicals are delivered to the facility at a contained loading dock fitted with an isolation valve.
Production equipment and chemicals used in the manufacturing process are located inside the
manufacturing building. Tanks are located indoors and are double-walled or within secondary
containment. Pipes and connections are located indoors and drain to floor drains which are
pumped to the facilities wastewater collection system. Liquids that flow into the wastewater
collection system are pumped to the LAS.

Located north of the manufacturing facility, along Lawrence Road, is a structure that was once
residential housing. The area directly behind this structure is utilized to store out of service
mechanical equipment. Equipment is cleaned prior to being placed in this area.

Operational industrial wastewater (non-storm water) from the air washer, cooling tower, and air
compressors are discharged directly to the LAS.

While the LAS sprayfields are designed and operated such that applied wastewater infiltrates the
soil and no overland flow of the applied wastewater occurs, strong precipitation events are
inevitable and may result in a rate of precipitation exceeding the soil infiltration rate in stormwater
flowing off site..

Unpaved areas of the site not occupied by buildings are covered with mature grass and erosion
is not a concern.

A summary of potential pollutant sources is presented in Table 1.4.




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        TABLE 1.4: INVENTORY OF SIGNIFICANT MATERIALS POTENTIALLY EXPOSED TO STORM WATER

                       Potential Activities and
   Exposed Area                                             Potential
                        Material Exposed to                                                Best Management Practice1
    Description                                      Pollutants/Constituents
                            Storm Water
  Outdoor              Surplus equipment          Residual surface oil or       Inspect and clean materials before placed
  Equipment                                         coolant                        outdoors
  Staging and                                      Miscellaneous dirt            Drain equipment fluids or seal prior to outdoor
  Storage                                                                          storage


  Unloading/      Drips of vehicle fluids         Lubricating oils, gear box    Deny access to poorly maintained delivery
  Shipping Docks   from poorly maintained           oils, cleaning chemicals       vehicles
                   delivery trucks                 Cardboard, plastic, paper     Refuse delivery of damaged containers
                  Drums and totes of              Truck driver trash            Keep materials stored under cover
                   various oils and                                               Proper handling, transportation and storage of
                   chemicals                                                       all materials
                  Packaging materials                                            Good housekeeping and routine inspections.
                                                                                  Maintain spill kits for oil spill responses
                                                                                  Inspect accumulated precipitation before
                                                                                   release from containment structure
                                                                                  Adsorb/remove any oil or film before release
                                                                                  Collect and dispose of precipitation that has
                                                                                   evidence of contamination
  Dumpsters            General trash              Lubricating oils, grease.     Keep dumpster covered and/or closed at all
                       Used industrial            Cardboard, plastic, paper      times
                        materials                                                 Place dumpsters inside or under cover where
                       Obsolete process                                           possible
                        equipment




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                       Potential Activities and
   Exposed Area                                             Potential
                        Material Exposed to                                                    Best Management Practice1
    Description                                      Pollutants/Constituents
                            Storm Water
  Employee             Drips of vehicle fluids    Motor oil, transmission fluid,    Train employees on importance to inspect
  Parking Areas         from poorly maintained      antifreeze                         their vehicles and keep maintained
                        vehicles.                  Cigarette butts, gum, food        Good housekeeping and routine inspections
                       General trash               wrappers, etc.                     and cleanups
  Sprayfields A-H  Treated wastewater             Treated dye chemicals             Spray application limited by LAS permit
                                                   Fecal coliform                    No irrigation when precipitation is anticipated
                                                                                      No spray application after precipitation greater
                                                                                       than 1.0 inch for the 24-hour period
                                                                                       immediately prior to the scheduled irrigation
                                                                                       unless operator experience with specific fields
                                                                                       indicates that ponding and/or overland flow will
                                                                                       not occur if a shorter waiting period is used

 Note 1: Measures and controls common for each potential pollutant sources include; proper handling and transportation, good
        housekeeping, preventative maintenance, inspections, employee training, locate and maintain chemical specific spill kits at
        appropriate locations.




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1.3.1   Area Activities

A list of the industrial activities exposed to storm water is presented in Table 1.4.

1.3.1.1 Drainage Area A

Drainage Area A encompasses the southeast portion of the manufacturing plant site.
Operations located within this drainage area include: part of the manufacturing building; one
9,000-gallon indoor, contained storage tank; the chemical receiving dock; cooling tower; air
compressors; five bulk indoor storage tanks with dedicated secondary containment; and two
roll-off style general trash dumpsters.

The 9,000-gallon storage tank contains dye carrier and is located within the dye carrier building
situated next to the southeastern wall of the manufacturing building. The tank is located within a
self-contained containment berm which is covered and not exposed to storm water.

Structural control measures within this drainage area include piping the discharge water from
the cooling tower, air compressors, drains from the roof of the dye carrier building and drainage
from secondary containment structures is pumped to the LAS.

The chemical receiving area is located undercover. The chemical unloading dock is located
within containment walls with a manual drain valve which is closed during all deliveries.

Storm water runoff from this drainage area flows through drainage swales, drainage pipes, and
in the form of sheet flow to the south into Detention Basin A or into the drop inlets that direct
flow to Outfall A. Discharge from the overflow weir located in Detention Basin A discharges
through the underground drainage system to Outfall A located at the southern perimeter of the
manufacturing facility site.

Nonstructural measures used to control pollutants in this drainage area include:

           Good housekeeping practices,
           Preventative maintenance program,
           A Spill Prevention Control and Countermeasure (SPCC) Plan,
           Regularly scheduled inspections, and
           Employee training.

1.3.1.2 Drainage Area B

Drainage Area B consists of the central portion of the manufacturing plant site. Operations
located within this drainage area include; part of the manufacturing building; an air washer
process; trash compactor; shipping and receiving dock; and two employee parking areas.

Structural control measures within this drainage area include:

           Water discharge piping from the air washer plumbed to the LAS,
           Covers located over the shipping and receiving dock,

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           Cover over the trash compactor,
           An underground storm water drainage system and a detention basin, and
           Vegetated areas and a vegetated swale also control storm water runoff.

Storm water runoff from the northern portion of this drainage area flows as sheet flow into
Detention Basin B located near the northern boundary of the manufacturing site. Discharge
from the overflow weir, located in the detention basin flows through the underground drainage
system to Outfall B. Storm water runoff from the rest of the drainage area flows in the form of
sheet flow to the southwest to a drop inlet north of the driveway. The drop inlet drains to the
drainage system which discharges at Outfall B. Outfall B is located at the southwestern
perimeter of the manufacturing facility site.

Nonstructural measures used to control pollutants in this drainage area include:

           Good housekeeping practices,
           Preventative maintenance program,
           A SPCC Plan,
           Regularly scheduled inspections, and
           Employee training.

1.3.1.3 Drainage Area C

Drainage Area C consists of the northwestern portion of the site and consists entirely of pine
and hardwood forest. Storm water from this drainage area flows, in the form of sheet flow, to
the south to Detention Basin C. Discharge from the overflow weir located in Detention Basin C
discharges through the underground drainage pipe to Outfall C located at the southwestern
perimeter of the manufacturing facility site.

Nonstructural control measures include:

           Good housekeeping practices,
           Preventative maintenance program,
           A SPCC Plan,
           Regularly scheduled inspections, and
           Employee training.

1.3.2   Pollutants

A list of the potential constituents associated with each identified activity that have been
handled, treated, stored, or disposed, and that have been exposed to storm water in the past
3 years is presented in Table 1.4.

1.3.3   Spills and Leaks

Delivery areas, loading/unloading areas, shipping docks, and equipment storage/staging areas
have potential for spills and leaks to occur. Affected employees working in these areas shall be

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trained in spill response and the use of necessary equipment to implement proper cleanup of a
spill. Should a spill be of volume that cannot be contained before entering a storm drain, the
pollutant would enter the storm water conveyance system and eventually be flushed into one of
the detention basins.

No reportable spills or releases have occurred at this facility. Releases of significant
substances in excess if reportable quantities shall be recorded on the Reportable Spill Materials
and Quantities Form in Appendix E and retained with this plan. A history of spills must be
recorded for the previous three years and included in Appendix F.

1.3.4   Non-Storm Water Discharges

Non-storm water discharges are a potential source of pollution and should be eliminated
wherever possible. The non-storm water discharges listed below are the only discharges
allowed by the NPDES permit provided the non-storm water component of the discharge is in
compliance with permit requirements.


           Fire hydrant flushing,
           Pavement wash water where spills or leaks have not occurred or where spilled
            materials have been completely removed and where no detergents or compounds
            are used,
           Uncontaminated springs or ground water,
           Potable water line flushing, and
           Air conditioning condensate.

Uncontaminated air conditioner condensate and air handler condensate are piped to the storm
drain at the southwest side of the manufacturing building and discharged at Outfall B.

Each year, the facility must document that they have evaluated the property for the presence of
non-storm water discharges and that all unauthorized discharges have been eliminated. The
non-storm water discharge inspection is part of the Annual Comprehensive Site Inspection
checklist contained in Appendix G. Completed annual reports are maintained by the PPT
Leader.

The preferred test method to be used for the evaluation is a visual inspection. This method
requires the inspection of all outfalls/sampling locations during periods of dry weather. Key
parameters to look for are the presence of discharge not the result of precipitation, stains,
smudges, odors, and other abnormal conditions. One problem with identifying non-storm water
discharges is that the discharge may not take place on the date of the evaluation. To avoid
missing potentially out of compliance discharges, attempt to perform an inspection while all
identified potential sources are active even if this requires inspections on more than one date.

At least once during the term of the permit (or once every 5 years if previously performed), a
dye, smoke, or equivalent test must be conducted to evaluate the presence of non- storm water


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discharges into the storm sewer system from all floor drains, and from all sinks in industrial
areas excluding eye wash stations, that were installed prior to 1/1/2006.

Certification that no modifications have been made to the building drain system will be
completed annually as part of the Annual Comprehensive Site Evaluation checklist contained in
Appendix G.

1.3.5    Salt Storage and Pavement Deicing

The facility does not have any on-site storage piles containing salt used for deicing or other
commercial or industrial purposes. During extreme cold and icy weather conditions, salt may be
manually applied to critical high traffic areas such as facility access areas, employee parking
areas, loading and unloading areas, and footways for safety purposes.

1.4     Description of Effluent Limits and Control Measures

1.4.1    Sector-Specific Benchmarks and Effluent Limitations

Sector-specific requirements for the TenCate facility are specified by General Permit Sector 8.V
– Textile Mills, Apparel, and Other Fabric Products and General Permit Sector 8.L - Landfills,
Land Application Sites, and Open Dumps. Sector 8.V does not have any sector-specific
benchmark requirements or effluent limitations. Sector 8.L has the following sector-specific
benchmark requirements.


  Table 8.L-1
  Subsector                                                     Parameter              Benchmark
  (Permittees may be subject to requirements for more than                             Monitoring
  one sector/subsector)                                                                Concentration1
  Subsector L1. All Landfills, Land Application Sites, and Total Suspended             100 mg/L
  Open Dumps                                               Solids (TSS)
  1
   Benchmark monitoring required only for discharges not subject to effluent limitations in 40 CFR Part
  445 Subpart B.


Sector 8.L has sector-specific effluent limitations for non-hazardous waste landfills subject to
effluent limitations in 40 Code of Federal Regulations (CFR) §445 Subpart B. These do not
apply to the TenCate facility LAS.

In addition, the facility is not subject to the storm water-specific effluent limitations of 40 CFR
Subchapter N.

1.4.2    Control Measures

The facility will select, design, install, and implement control measures, including best
management practices (BMPs) to best meet the non-numeric effluent limits in Section 1.4.4.
The selection, design, installation, and implementation of these control measures shall be in
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accordance with good engineering practices and/or manufacturer’s specifications. If control
measures are not achieving their intended effect of reducing pollutant discharges, the facility will
modify these control measures as expeditiously as practicable.

1.4.3   Control Measure Selection and Design Considerations

The following considerations are made when selecting and designing control measures:

        a. Preventing storm water from coming into contact with polluting materials is generally
           more effective and less costly than trying to remove pollutants from storm water;
        b. Using control measures in combination is more effective than using control measures
           in isolation for reducing pollutants in the storm water discharge;
        c. Assessing the type and quantity of pollutants, including their potential to impact
           receiving water quality, is critical to designing effective control measures that will
           achieve the intent of the storm water permit;
        d. Reducing impervious areas at the facility and infiltrating storm water runoff onsite
           (including bio-retention cells, rain garden, green roofs, and pervious pavement, among
           other approaches) can reduce storm water runoff and improve groundwater recharge
           and stream base flows in local streams although care must be taken to avoid
           groundwater contamination;
        e. Attenuating flow using open, vegetated swales and natural depressions can reduce
           in-stream impacts of erosive flows;
        f.   Conserving and/or restoring riparian buffers will help protect streams from storm water
             runoff and improve water quality; and
        g. Using treatment interceptors (e.g., swirl separators and sand filters) may be
           appropriate in some instances to reduce the discharge of pollutants.

1.4.4   Non-Numeric Technology-Based Effluent Limits

1.4.4.1 Reduce Exposure

The facility will reduce the exposure of manufacturing, processing, and material storage areas
(including loading and unloading, storage, disposal, cleaning, and maintenance operations) to
rain, snow, snowmelt, and runoff by either locating these industrial materials and activities inside
or protecting them with storm resistant coverings (although significant enlargement of
impervious surface area is not recommended). In reducing exposure, the facility will pay
particular attention to the following:

        a. Use grading, berms, or curbing to prevent runoff of contaminated flows and divert run-
           on away from these areas;
        b. Locate materials, equipment, and activities so that leaks are contained in existing
           containment and diversion systems (e.g., confine the storage of leaky or leak-prone
           vehicles and equipment awaiting maintenance to protected areas);
        c. Clean up spills and leaks promptly using dry methods (e.g., absorbents) to prevent the
           discharge of pollutants;

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        d. Use drip pans and absorbents under or around leaky vehicles and equipment or store
           indoors where feasible;
        e. Use spill/overflow protection equipment;
        f.   Drain fluids from equipment and vehicles prior to on-site storage or disposal;
        g. Perform all cleaning operations indoors, under cover, or in bermed areas that prevent
           runoff and run-on and that capture any overspray;
        h. Ensure that all wash water drains to a proper collection system (i.e., not the storm
           water drainage system); and
        i.   Roll-off dumpsters shall be designed with lids which shall remain closed unless not in
             use.

        j.   Use straw barriers to minimize the flow of stormwater from sprayfields.



The facility will reduce the exposure of wastewater to precipitation by not using the sprayfields
before or after precipitation is anticipated in the area. This is specified in the facility’s LAS permit.

1.4.4.2 Good Housekeeping

It is the responsibility of all employees to observe good housekeeping practices and maintain
their work areas inside and outside the manufacturing building in a manner that is clean, orderly
and free of materials that could contaminate storm water, using such measures as sweeping at
regular intervals, keeping materials orderly and labeled, and storing materials in appropriate
containers. Any observed areas of poor housekeeping shall be immediately corrected or
reported to the appropriate management personnel. Particular attention shall be paid to
chemical storage areas and the loading docks.

All observed spills, trash, or debris shall be quickly and properly cleaned up and disposed of
according to local, state, and federal regulations, where appropriate. When disposing of waste
into a waste container, prompt attention shall be given to spilled materials. Hazardous materials
shall not be placed in a waste container. If any materials are blown from waste or trash
containers, they shall be retrieved immediately and returned to the container. Caution shall be
exercised when transferring materials from waste or trash containers to trucks.

A leak proof trash compactor is used for the disposal of non-hazardous waste. The trash
compactor access port and hydraulic tank and hoses are located under a canopy to prevent
exposure to storm water. Open top trash dumpsters are used occasionally at the site and should
be covered when possible to prevent exposure to precipitation. Dumpsters and other trash
containers should be kept in designated areas. The area surrounding and under all trash
containers should be inspected monthly. Dry cleanup methods should be used to remove debris
or leakage.




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The wash down of building exteriors and pavement shall only be allowed if no detergents or
other compounds are used and all residues of spills or leaks in the area have been removed
prior to the wash down.

1.4.4.3 Preventive Maintenance

The facility will regularly inspect, test, maintain, and repair industrial equipment and systems as
well as detention pond isolation valves to avoid situations that may result in leaks, spills, and
other releases of pollutants in storm water discharged to receiving waters. Nonstructural control
measures will also be diligently maintained (e.g., keeping spill response supplies available,
training personnel appropriately). If control measures need to be replaced or repaired, the
facility will make the necessary repairs or modifications as expeditiously as practicable.

1.4.4.4 Spill Prevention and Response Procedures

The facility will reduce the potential for leaks, spills, and other releases that may be exposed to
storm water and develop plans for effective response to such spills if or when they occur.

At a minimum, the facility will implement the following control measures:

                Reducing spills,
                Cleaning up of spills promptly and thoroughly,
                Employee education, and
                Disposal precautions.

In addition to control measures above, the facility will also implement control measures for other
potential sources of storm water pollutants, which may include:

                Plainly label containers (e.g., “used oil”) that could be susceptible to spillage or
                 leakage to encourage proper handling and facilitate rapid response if spills or
                 leaks occur;
                Use preventative measures such as barriers between material storage and traffic
                 areas and use secondary containment for outdoor storage of liquids;
                Stop, contain, and clean-up leaks, spills, and other releases. Employees who
                 may cause, detect, or respond to a spill or leak will be trained in these
                 procedures and have necessary spill response equipment available. If possible,
                 one of these individuals will be a member of the storm water PPT;
                Prevent the discharge of hazardous substances or oil in the storm water
                 discharge(s) from this facility, if possible, or reduced in accordance with this
                 SWPPP. The facility still has reporting requirements under Georgia’s Oil or
                 Hazardous Materials Spills or Releases Act (O.C.G.A. 12-14-2), 40 CFR Part
                 §110.6, 40 CFR Part §117, and 40 CFR Part §302;
                Modify the SWPPP within 30 calendar days of knowledge of a release with the
                 potential to impact storm water equal to or in excess of a reportable quantity
                 under Georgia’s Oil or Hazardous Materials Spills or Releases Act (O.C.G.A. 12-

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                 14-2), 40 CFR Part §110.6, 40 CFR Part §117 or 40 CFR Part §302 to provide a
                 description of the release, the circumstances leading to the release, and the date
                 of the release. In addition, the SWPPP must be reviewed and amended to
                 identify measures needed to prevent the reoccurrence of such release and to
                 respond to such releases; and
                The facility is not authorized to discharge hazardous substances or oil resulting
                 from an on-site spill except in de minimis amounts after removal and proper
                 disposal of the spilled material has been completed in accordance with state and
                 federal requirements.

Spill response materials shall be suited to the type of products that could potentially be released
as well as the likely quantity that could be released. Each designated spill response area should
be equipped with the following materials.

                Empty containment drum,
                Absorbent materials and barricades,
                Shovels,
                Brooms,
                Empty container for used spill material, and
                Personal protection equipment.
The following spill prevention and response procedures have been put in place to prevent a
chemical release and to direct the response if a release occurs.

Dye Carrier Storage Tank

        a. Dye carrier shall be unloaded in the chemical receiving containment area only. The
           drain valve in the containment area shall remain closed at all times when a truck is
           present in the unloading area. A designated PPT member trained in the recognition
           of storm water shall inspect storm water accumulated in the containment area to
           determine that it is clean before the water is drained. Personnel shall be trained in
           the proper operation of transfer equipment. Spill response materials shall be located
           close to the unloading area and tank. Spill response materials shall be accessible to
           personnel at all times. Personnel shall be properly trained in emergency response
           procedures.
Dyes and Chemicals

        a. All chemicals shall be unloaded at the chemical receiving dock. The drain valve in
           the containment wall shall be kept closed at all times unless clean uncontaminated
           water is being drained;
        b. All chemicals shall be stored in the designated chemical storage area located within
           the manufacturing building adjacent to the chemical receiving dock;
        c. Only personnel trained in chemical handling and spill response procedures shall be
           authorized to unload chemicals; and


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        d. Containment pallets or drums and spill response materials shall be located in the
           receiving area and chemical storage area.
1.4.4.5 Erosion and Sediment Controls

The facility will stabilize exposed areas and manage storm water runoff using structural and/or
nonstructural control measures to reduce onsite erosion and sedimentation and the resulting
discharge of pollutants. Sprayfields are planted with forage grass to prevent exposure and
erosion of soil.

1.4.4.6 Management of Storm Water Runoff

The facility will divert, infiltrate, reuse, contain, or otherwise reduce storm water runoff to reduce
pollutants in discharges to the extent practicable. In selecting, designing, installing, and
implementing appropriate control measures, the facility will review EPA’s internet-based
resources relating to storm water runoff management, including the sector-specific Industrial
Storm Water Fact Sheet Series (www.epa.gov/npdes/stormwater/msgp), National Menu of Storm
Water BMPs (www.epa.gov/npdes/stormwater/menuofbmps) and National Management
Measures        to      Control        Nonpoint     Source      Pollution    from    Urban       Areas
(www.epa.gov/owow/nps/urbanmm/
index.html), and the Georgia Storm Water Management Manual.

The facility will minimize potential for storm water runoff at the sprayfields by not utilizing the spray
system before or after precipitation is anticipated in the area. This is specified in the facility’s LAS
permit and incorporated into an internal LAS Operations Manual (OM). The OM details best
management practices including irrigation system management and a monitoring program for
surface water, groundwater, and soils.

1.4.4.7 Salt Storage and Pavement Deicing.

The facility does not store salt or engage in deicing activities. For worker safety purposes, only
in harsh, sever cold weather would the facility potentially apply salt to critical high traffic areas
such as facility access areas, employee parking areas, loading and unloading areas, and
footways for safety purposes.

1.4.4.8 Dust Generation and Vehicle Tracking of Industrial Materials.

The facility will reduce generation of dust and off-site tracking of raw, final, or waste materials.

1.4.4.9 Waste, Garbage, and Floatable Debris.

The facility will ensure that waste, garbage, and floatable debris are not discharged to receiving
waters by keeping exposed areas free of such materials or by intercepting them before they are
discharged.




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1.5     Schedules and Procedures

1.5.1    Control Measures Associated with Non-Numeric Effluent Limits

The facility will implement and schedule the procedures outlined in Section 1.4.4 above related
to Good Housekeeping, Preventive Maintenance and Spill Prevention and Response. The
facility will adhere to the training requirements as specified in Section 1.1.2.

1.5.2    Monitoring for Impaired Stream Segments

The facility is considered an existing discharger into a “Newly Listed Impaired Stream Segment”
as defined in Appendix C, Section C.11 of the General Permit. Spring Creek has been newly
listed as an impaired stream segment for FC in the revised 2014 305(b)/303(d) list. EPA has
not set a TMDL for FC for this stream segment. The facility is therefore considered a new
discharger to waters without an approved TMDL and must comply with the requirements of
Section C.1 of the General Permit.

The facility will comply with Section C.1.3 of the General Permit which requires that it prepare
and submit data documenting that the discharge will not cause or contribute to an exceedance
of a water quality standard by performing benchmark or composite sampling as prescribed in
Section C.2. of the General Permit. The facility will demonstrate this by adding FC to its
analytical testing processes of storm water sampling locations associated with the LAS.

In addition, the facility will demonstrate compliance with the General Permit Section C.2.4.1,
Specific Requirements for Discharges into a Stream Segment Impaired by Fecal Coliform for
facilities without animal handling. The facility shall conduct sampling in accordance with
Appendix C of the General Permit for industrial storm water discharges regulated by this permit.
The applicable benchmark value for these discharges shall be the instream geometric mean
water quality standard for FC. Where collection of the four samples needed to calculate the
geometric mean is not possible, due to weather or other adverse conditions, then the
benchmark for the months of November through April shall be the daily maximum water quality
standard for any sample, and the benchmark for the months May through October shall be four
times the instream geometric mean water quality standard.

Per Georgia Rule §391-3-6-.03, for waterbodies with a “Fishing” designated use, the bacteria
requirement is as follows:

         For the months of May through October, when water contact recreation activities are
         expected to occur, fecal coliform not to exceed a geometric mean of 200 per 100 mL
         based on at least four samples collected from a given sampling site over a 30-day period
         at intervals not less than 24 hours. Should water quality and sanitary studies show fecal
         coliform levels from non-human sources exceed 200/100 mL (geometric mean)
         occasionally, then the allowable geometric mean fecal coliform shall not exceed 300 per
         100 mL in lakes and reservoirs and 500 per 100 mL in free flowing freshwater streams.
         For the months of November through April, fecal coliform not to exceed a geometric
         mean of 1,000 per 100 mL based on at least four samples collected from a given
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        sampling site over a 30-day period at intervals not less than 24 hours and not to exceed
        a maximum of 4,000 per 100 mL for any sample.

Monitoring and sampling requirements will be incorporated into Tencate’s LAS OM.

1.5.3   Monitoring and Inspections

There are four types of inspections required under the storm water program:

        1.   Benchmark monitoring,
        2.   Routine facility inspections,
        3.   Quarterly visual assessment of storm water discharges, and
        4.   Comprehensive site inspections.

All inspections shall be conducted by the PPT Leader or their designated representative who
must be a member of the storm water PPT. Items and areas inspected during each inspection
are presented below and on inspection forms found in the appendices of this plan.

NOTE: Should it be determined from an inspection that control measures are not being properly
operated or maintained, the facility will review the selection, design, installation and
implementation of the control measure and determine if modifications are necessary. Within
30 days the facility will document corrective actions to be taken to eliminate or further
investigate the deficiency, or if no corrective action is needed. Modifications to the control
measures will be made no later than 90 days after the discovery.

1.5.4   Benchmark Monitoring

Benchmark monitoring is required for facilities categorized under Sector 8.L, Subsector L1.
These are defined in Section 1.4.1. Further, monitoring for impaired stream segments is
defined in Section 1.5.2. Outfall/sampling location monitoring procedures are defined in
Appendix H.

1.5.5   Facility Inspections

1.5.5.1 Routine Facility Inspections

The facility will conduct routine inspections of areas of the facility where industrial materials or
activities are exposed to storm water, and of the storm water control measures. Routine facility
inspections will be conducted monthly. Routine inspections will be conducted during daylight
hours and when the facility is in operation. At least once each calendar year, the routine facility
inspection will be conducted during a period when a storm water discharge is occurring.

The routine inspections will be documented using the inspection form in Appendix I or a similar
form (electronic or hard copy) provided it incorporates the same information as that provided in
Appendix I. Completed inspection forms will be maintained in the SWPPP files and made
available to EPD, if requested.



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1.5.5.2 Additional Inspection Requirements

In accordance with General Permit Section 8.L.7, land application sites shall be inspected at
least quarterly. Focus on areas used for storage of material and wastes that are exposed to
precipitation, stabilization, and structural control measures; leachate collection and treatment
systems; and locations where equipment and waste trucks enter and exit the site. Ensure that
erosion and sediment control measures are operating properly.

1.5.6   Quarterly Visual Assessments of Storm Water Discharges

Once each quarter, the facility must collect a storm water sample from each outfall/sampling
location and conduct a visual assessment of the sample. The sample should be collected in
such a manner that it is representative of the storm water discharge. All required monitoring will
be performed on a storm event that is greater than 0.1 inch of rainfall that results in an actual
discharge from the facility that follows the preceding measurable storm event by at least 72
hours.

           The sampling must occur during a site’s normal operating hours;
           Visual assessment must be made of the sample in a clean, clear glass or plastic
            container and examined in a well-lit area;
           Samples should be collected within the first 30 minutes of an actual discharge from
            a storm event. If it is not possible to collect the sample within the first 30 minutes of
            discharge, the sample must be collected as soon as possible after the first
            30 minutes, and the facility must document why it was not possible to take samples
            within the first 30 minutes; and
           The facility must visually inspect the sample for the following water quality
            characteristics: Color; Odor; Turbidity; Floating Solids; Settled Solids; Suspended
            Solids; Foam; Oil and Sheen; and other obvious indicators of storm water pollution.

The quarterly assessments will be documented using the inspection form in Appendix J.
Completed assessment forms will be maintained in the SWPPP files and made available to
EPD, if requested.

1.5.7   Annual Comprehensive Site Inspection

Once per calendar year the facility will conduct an annual comprehensive site inspection. An
inspection checklist and summary report form are provided in Appendix G for use in completing
the Inspection/evaluation. The annual inspection will cover all areas of the facility, including the
outfalls/sampling locations, areas where industrial materials or activities are exposed to storm
water, and areas where spills and leaks have occurred in the past three years. The inspector(s)
shall consider the results of the past year’s visual and analytical monitoring when planning and
conducting inspections. Inspectors shall examine or note the following:

           Industrial materials, residue, or trash that may have or could come into contact with
            storm water;

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              Leaks or spills from industrial equipment, drums, tanks, and other containers;
              Off-site tracking of industrial or waste materials or sediment where vehicles enter or
               exit the site;
              Tracking of raw, final, or waste materials from exposed areas to areas of no
               exposure;
              Control measures needing replacement, maintenance, or repair;
              Equipment needed to implement the SWPPP, such as spill response equipment;
              EPD’s most current 305(b)/303(d) impaired stream segment list and list of approved
               TMDLs (found at http://www.gaepd.org/Documents/IndustrialStormwater.html) and
               related to water-quality-based monitoring must be reviewed during each annual
               comprehensive site compliance evaluation as required in Appendix G.
               Documentation of the inspector’s findings must be kept with the SWPPP records
               and signed;
          Storm water control measures required by this permit must be observed to ensure that
           they are functioning correctly. In addition, if outfalls/sampling locations are inaccessible,
           nearby downstream locations must be observed;
              Certification that all discharge points have been visually tested or evaluated at least
               once each year for the presence of non-storm water discharges other than the
               allowable non-storm water discharges currently identified under Part 1.1.3 of the
               General Permit (Appendix A). The certification shall include the identification of
               potential significant sources of non-storm water at the site, the date of any visual
               testing and/or evaluation, and the on-site drainage points that were directly observed
               during the visual test; and
              The annual comprehensive site inspection may also be used as one of the routine
               inspections, as long as all components of both types of inspections are included.

1.6       Annual Storm Water Report

An Annual Report will be submitted by the facility using the records compiled during quarterly
inspections and quarterly monitoring, as well as information gathered as part of the most recent
annual comprehensive site compliance evaluation. The Annual Report will be prepared using
the designated EPD form, which is included in Appendix K. The report will be submitted to the
EPD at the following address:

                  Georgia Environmental Protection Division
                  NonPoint Source Program
                  Martin Luther King, Jr. Drive, S.W., Suite 1462
                  Atlanta, GA 30334

The annual comprehensive site inspections address a full calendar year. Reports are due by
January 31st after each annual compliance period:




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1.7     Signature Requirements

All records and information to be submitted to EPD, such as Notice of Intent (NOI), Notice of
Termination, reports, and certifications which are required to be kept by this permit, shall be
signed by a responsible corporate officer. For the purpose of this General Permit, a responsible
corporate officer means:

         1. A president, secretary, treasurer, or vice-president of the corporation in charge of a
            principal business function, or any other person who performs similar policy or
            decision-making functions for the corporation; or
         2. The manager of one or more manufacturing, production or operating facilities,
            provided the manager is authorized to make management decisions which govern
            the operation of the regulated facility including having the explicit or implicit duty of
            making major capital investment recommendations, and initiating and directing other
            comprehensive measures to assure long term environmental compliance with
            environmental laws and regulations; the manager can ensure that the necessary
            systems are established or actions taken to gather complete and accurate
            information for permit application requirements; and where authority to sign
            documents has been assigned or delegated to the manager in accordance with
            corporate procedures.

1.7.1    Certification

Any person signing documents for this General Permit shall make the following certification in
the filing or transmittal of the documents:

         “I certify under penalty of law that this document and all attachments were prepared
         under my direction or supervision in accordance with a system designed to assure that
         qualified personnel properly gathered and evaluated the information submitted. Based
         on my inquiry of the person or persons who manage the system, or those persons
         directly responsible for gathering the information, the information submitted is, to the
         best of my knowledge and belief, true, accurate, and complete. I am aware that there are
         significant penalties for submitting false information, including the possibility of fine and
         imprisonment for knowing violations.”

The signature and certification required for this SWPPP can be found in each appropriate
inspection form and at the beginning of this plan.




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2.0      SWPPP MODIFICATIONS

2.1     Keeping the SWPPP Current

The facility shall be responsible for amendment of this SWPPP within 30 days whenever there is
a change in design, construction, operation, or maintenance, which has a significant effect on
the potential for the discharge of pollutants to the Waters of the State of Georgia, or if the
SWPPP proves to be ineffective in eliminating or significantly reducing pollutants from sources
identified in the SWPPP, or in otherwise achieving the general objectives of controlling
pollutants in storm water discharges associated with industrial activity. The SWPPP must be
updated at least annually.

2.2     Required SWPPP Modifications

The facility must modify the SWPPP whenever necessary to address any of the triggering
conditions for corrective action and to ensure that they do not reoccur, or to reflect changes
implemented when a review following the triggering conditions indicate that changes to control
measures are necessary to meet the effluent limits in this permit. Changes to the SWPPP must
be made in accordance with the corrective action deadlines in Section 2.2.3 and Section 2.2.4
below, and must be signed and dated.

2.2.1    Conditions Requiring Review and Revision to Eliminate a Problem

If any of the following conditions occur, the facility must review and revise the selection, design,
installation, and implementation of control measures to ensure that the condition is eliminated
and will not be repeated in the future:

         a. An unauthorized release or discharge (e.g., spill, leak, or discharge of non-storm
            water not authorized by this or another NPDES permit) occurs at facility;
         b. A discharge violates a numeric effluent limit (not applicable);
         c. Permittees become aware, or EPD determines and notifies the facility, that existing
            control measures are not stringent enough to sufficiently reduce pollutants in the
            facility’s discharges to ensure that the receiving water body does not exceed
            applicable Water Quality Standards as a result of the discharges;
         d. An inspection or evaluation of the facility by an EPD representative determines that
            modifications to the control measures are necessary to meet the non-numeric
            effluent limits in this permit; or
         e. The facility finds in a routine facility inspection, quarterly visual assessment, or
            comprehensive site inspection that control measures are not being properly operated
            and maintained.

2.2.2    Conditions Requiring Review to Determine if Modifications Are Necessary

If any of the following conditions occur, the facility must review the selection, design, installation,
and implementation of control measures and any additional sector specific non-numeric


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technology-based effluent limits to determine if modifications are necessary to meet the effluent
limits in this permit:

        a. Construction or a change in design, operation, or maintenance at the facility
           significantly changes the nature of pollutants discharged in storm water from the
           facility or significantly increases the quantity of pollutants discharged, or

        b. The annual sampling result exceeds an applicable benchmark.

2.2.3   Corrective Action Deadlines

The facility must document the discovery of any of the conditions listed in Section 2.2.1 and
Section 2.2.2 above within 24-hours of making such discovery. Subsequently, within 30 days of
such discovery, the facility must document any corrective action(s) to be taken to eliminate or
further investigate the deficiency, or if no corrective action is needed, the basis for that
determination. Specific documentation required is detailed in Section 2.2.4 below. If the facility
determines that changes are necessary following the review, any modifications to control
measures must be made as soon as practicable following that storm event, but in no case more
than 90 days after the discovery, unless additional time is approved by EPD.

2.2.4   Corrective Action Report

Within 24 hours of discovery or by the end of the next business day of any condition listed in
Section 2.2.1 and Section 2.2.2 above, the facility must document the following information:

        a. Identification of the condition triggering the need for corrective action review,
        b. Description of the problem identified, and
        c. Date the problem was identified.

Within 30 days of discovery of any condition listed in Section 2.2.1 and Section 2.2.2 above,
the facility must document the following information:

        a. Summary of corrective action taken or to be taken (or, for triggering events identified
           in Section 2.2.2 above where the facility determines that corrective action is not
           necessary, the basis for this determination),
        b. Date corrective action is initiated, and
        c. Date corrective action is completed or expected to be completed.

Additional Documentation of Corrective Action:

        a. Corrective actions must be documented in the SWPPP; and
        b. Corrective actions must be documented in the annual report.

2.2.5 Substantially Identical Outfalls/Sampling Locations

The allowance for monitoring only one of the substantially identical outfalls/sampling locations is
not applicable to any outfalls/sampling locations with numeric effluent limitations or to

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outfalls/sampling locations that discharge to an impaired stream segment. Therefore, TenCate
is required to monitor each outfall/sampling location.

2.2.6   Update

The SWPPP must be updated within 30 days of a change of owner or operator.




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3.0     SWPPP AVAILABILITY

The facility must retain a copy of the current SWPPP at the facility and it must be readily
available to EPD and local agencies approving storm water management plans at the time of an
onsite inspection or upon request. The facility will make the SWPPP available upon request to
EPD within 15 days of the request. Failure to do so is a violation of the permit. EPD may request
a copy of the complete SWPPP or a version of the SWPPP that would be publicly available. The
publicly available version should not contain any information that is exempt from public
disclosure under the Georgia Open Records Act or other applicable law.




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4.0     ADDITIONAL DOCUMENTATION REQUIREMENTS

The facility will maintain the following inspection, monitoring, and certification records and make
them readily available to EPD:

           A copy of the SWPPP,
           A copy of the NOI submitted to EPD along with any correspondence exchanged
            between permittee and EPD specific to coverage under this permit,
           A copy of the General Permit (an electronic copy easily available to SWPPP
            personnel is also acceptable),
           Descriptions and dates of any incidences of significant spills, leaks, or other
            releases that resulted in discharges of pollutants to waters of the State or U.S.,
            through storm water or otherwise; the circumstances leading to the release and
            actions taken in response to the release; and measures taken to prevent the
            recurrence of such releases,
           Documentation of maintenance and repairs of control measures, including the
            date(s) of regular maintenance, date(s) of discovery of areas in need of
            repair/replacement, and for repairs, date(s) that the control measure(s) returned to
            full function, and the justification for any extended maintenance/repair schedules,
           All inspection reports, including the Routine Facility Inspection Reports, the
            Quarterly Visual Assessment Reports, and the Comprehensive Site Inspection
            Reports,
           Descriptions of any deviations from the schedule for visual assessments and/or
            monitoring, and the reasons for the deviations (e.g., adverse weather, it was
            impracticable to collect samples within the first 30 minutes of a measurable storm
            event, inactive and unstaffed facility, etc.),
           Description of any corrective action taken at the facility associated with storm water
            runoff, including triggering event and dates when problems were discovered and
            modifications occurred,
           Documentation of any benchmark exceedance and how they were responded to,
            including either (1) corrective action taken or (2) a finding that no further pollutant
            reductions were technologically available and economically practicable and
            achievable in light of best industry practice consistent with Part 6.2.1.2 of the
            General Permit,
           Documentation to support the claim that the facility has changed its status from
            active to inactive and unstaffed with respect to the requirements to conduct routine
            facility inspections, quarterly visual assessments, and/or benchmark monitoring,
           Records of employee training, including a signed attendance roster or certificate of
            completion with the date training is received, and
           Documentation to support the claim that benchmark parameter pollutants are not
            present or expected to be in the discharges at the facility with respect to the
            requirements to conduct benchmark monitoring.

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                     PERMIT FOR STORM WATER DISCHARGES
                   ASSOCIATED WITH INDUSTRIAL ACTIVITY (IGP)
                                  GAR050000
1       Coverage under this Permit.
1.1     Eligibility.

1.1.1   Facilities Covered.

1.1.1.1 Sectors A through AA. To be eligible to discharge under this permit under Sectors A through AA,
permittees must have a storm water discharge associated with industrial activity from the permittee’s
primary industrial activity, as defined in Appendix A, and have a primary industrial activity included in
Appendix D.

1.1.1.2 Sector AB. This permit also authorizes storm water discharges under Sector AB from any
industrial activity designated by EPD where the designation is based on the potential for contribution to
a violation of a water quality standard or for significant contribution of pollutants to Waters of the State.
Sector AB permittees must be notified by EPD that the permittee is eligible for coverage under Sector AB
of this permit.

1.1.1.3 Municipally owned or operated industrial facilities and military installations must comply with
the permit and monitoring requirements for all types of industrial activities that such installations
perform.

1.1.2 Allowable Storm Water Discharges. Unless otherwise made ineligible under Part 1.1.4, the
following discharges are eligible for coverage under this permit:

1.1.2.1 Storm water discharges associated with industrial activity for any primary industrial activity and
co-located industrial activities, as defined in Appendix A;

1.1.2.2 Discharges designated by EPD as needing a storm water permit as provided in Part 8, Sector AB;

1.1.2.3 Discharges that are not otherwise required to obtain NPDES permit authorization but are
commingled with discharges that are authorized under this permit;

1.1.2.4 Discharges subject to any of the National storm water-specific effluent limitations listed in Table
1-1; and

1.1.2.5 Discharges composed of allowable discharges listed in Parts 1.1.2 and 1.1.3 commingled with a
storm water discharge authorized by a different NPDES permit.




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                      Table 1-1. Storm Water-Specific Effluent Limitations
Regulated Discharge                        40 CFR       Part 8              Effluent Limit
                                           Section      Sector
Discharges resulting from spray down or    Part 429,       A                See Part 8.A.7
intentional wetting of logs at wet deck    Subpart I
storage areas
Runoff from phosphate fertilizer           Part 418,          C             See Part 8.C.4
manufacturing facilities that comes into   Subpart A
contact with any raw materials, finished
product, by-products or waste products
(SIC 2874)
Runoff from asphalt emulsion facilities    Part 443,          D             See Part 8.D.4
                                           Subpart A
Runoff from material storage piles at      Part 411,          E             See Part 8.E.5
cement manufacturing facilities            Subpart C
Runoff from hazardous waste landfills      Part 445,          K             See Part 8.K.6
                                           Subpart A
Runoff from non-hazardous waste            Part 445,          L            See Part 8.L.10
landfills                                  Subpart B
Runoff from coal storage piles at steam    Part 423           O             See Part 8.O.7
electric generating facilities

 1.1.3   Allowable Non-Storm Water Discharges.

 1.1.3.1 The following are the non-storm water discharges authorized, if uncontaminated, under this
 permit. If you discharge to a municipal separate storm sewer system (MS4), check local ordinances as
 these discharges may not be allowed:
     a. Discharges from fire-fighting activities;
     b. Fire hydrant flushing;
     c. Potable water, including water line flushing and hydrostatic test water;
     d. Uncontaminated condensate from air conditioners, coolers, and other compressors and from
         the outside storage of refrigerated gases or liquids;
     e. Irrigation drainage;
     f. Landscape watering, provided all pesticides, herbicides, and fertilizer have been applied in
         accordance with the approved labeling;
     g. Pavement wash waters where no detergents are used and no spills or leaks of toxic or
         hazardous materials have occurred (unless all spilled material has been removed);
     h. Routine external building washdown that does not use detergents;
     i. Uncontaminated ground water or spring water;
     j. Foundation or footing drains where flows are not contaminated with process materials;
     k. Incidental windblown mist from cooling towers that collects on rooftops or adjacent portions of
         the facility, but not intentional discharges from the cooling tower (e.g., piped cooling tower
         blowdown or drains);
     l. Water used for dust suppression on roads; and
     m. Storm water released from containment and through oil/water separators (see also Part
         4.1.1.1).




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1.1.4   Limitations on Coverage.

1.1.4.1 Discharges Mixed with Non-Storm Water. Storm water discharges that are mixed with non-
storm water, other than those non-storm water discharges listed in Part 1.1.3, are not eligible for
coverage under this permit. Typical non-allowable non-storm water includes but is not limited to the
following:
     a. Piped cooling tower blowdown or drains;
     b. Vehicle and equipment wash water;
     c. Non-contact cooling water;
     d. Landfill leachate;
     e. Waste pile leachate except in de minimus amounts;
     f. Pavement wash water from containment zones; and
     g. Any other type(s) of process wastewater unless specifically allowed by this permit.

1.1.4.2 Storm Water Discharges Associated with Construction Activity. Storm water discharges
associated with construction activity disturbing one acre or more are not eligible for coverage under this
permit.

1.1.4.3 Discharges Currently or Previously Covered by Another Permit. Unless permittees received
written notification from EPD specifically allowing these discharges to be covered under this permit, the
following discharges are not eligible for coverage under this permit:
     a. Storm water discharges associated with industrial activity that are either stand-alone or are a
        component of a discharge currently covered under an individual NPDES permit or an alternative
        NPDES general permit;
     b. Discharges covered within five years prior to the effective date of this permit by an individual
        permit or alternative general permit where that permit established site-specific, numeric water
        quality based limitations developed for the storm water component of the discharge; or
     c. Discharges from facilities where any NPDES permit has been or is in the process of being denied,
        terminated, or revoked by EPD (this does not apply to the routine reissuance of permits).

1.1.4.4 Storm Water Discharges Subject to Effluent Limitations. For discharges subject to storm water
effluent limitation guidelines under 40 CFR, Subchapter N, only those storm water discharges identified
in Table 1-1 are eligible for coverage under this permit.

1.1.4.5 Consistency with Municipal Separate Storm Sewer Systems (MS4). Nothing in this permit
relieves the permittee from the applicable requirements in municipal storm water management
programs developed under NPDES permits issued for the discharge of the MS4 that receives the facility's
discharge or any other local requirements.

1.1.4.6 New Discharges to Water-Quality Impaired Waters. The requirements for new discharges to
water-quality impaired waters are addressed in Appendix C.

1.1.4.7 Existing Discharges to Water-Quality Impaired Waters. The requirements for existing discharges
to water-quality impaired waters are addressed in Appendix C.

1.1.4.8 Discharges to Waters Designated as Outstanding National Resource Water (ONRW). New and
existing discharges to waters designated as ONRW or Wild or Scenic River must comply with any
additional Best Management Practices (BMP) specified or incorporated by reference in DNR Rules which
so designate such water.


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1.2      Permit Compliance. Noncompliance with any of the requirements of this permit constitutes a
violation of the Clean Water Act (CWA) and the Georgia Water Quality Control Act (WQCA). As detailed
in Part 3 (Corrective Actions) of this permit, failure to take any required corrective actions constitutes an
independent, additional violation of this permit, CWA, and WQCA. As such, any actions and time
periods specified for remedying noncompliance do not absolve parties of the initial, underlying
noncompliance. However, where corrective action is triggered by an event that does not itself
constitute permit noncompliance, such as an exceedance of an applicable benchmark, there is no permit
violation, provided permittees take the required corrective action within the relevant deadlines
established in Part 3.3.

1.3    Authorization under this Permit. All Existing Discharges, New Discharges or Sources, New
Owner/Operators of Existing Discharges, and Other Eligible Discharges are required to meet the
requirements outlined in Section 1.3.1 in order to obtain authorization to discharge under this permit.

1.3.1     How to Obtain Authorization.

1.3.1.1   To obtain authorization under this permit, the facility must:
    a.    Have a storm water point source discharge to waters of the State of Georgia;
    b.    Meet the Part 1.1 eligibility requirements;
    c.    Select, design, install, and implement control measures in accordance with Part 2.1 to meet
          numeric and non-numeric effluent limits;
    d. Develop a Storm Water Pollution Prevention Plan (SWPPP) according to the requirements in Part
          5 of this permit;
    e. Complete an accurate Notice of Intent (NOI) containing the following:
          i. Name, mailing address, street address (provide a descriptive or narrative location if no
             address is available), and County of the facility for which the notification is submitted;
         ii. The latitude and longitude of the approximate center of the facility (decimal degrees);
       iii. The legal name, address, email address and telephone number of the operator of the facility;
        iv. The name, title, telephone number and email address of the individual at the facility who will
             serve as the point of contact for storm water and permit-related issues;
         v. The 4-digit Standard Industrial Classification (SIC) code that best represents the primary
             industrial activity as defined in Appendix A, Sector per Part 8, and up to four SIC codes that
             best represent the secondary industrial activity, and indicate whether the facility is subject to
             effluent limits as stated in Part 8: A,C,D,E,K,L or O. (For a list of SIC codes, see the SIC Manual
             on the US Department of Labor site at http://www.osha.gov .);
       vi. Name of the river basin where the facility is located and the name of receiving waters (each
             stream, if more than one);
       vii. Indicate whether the facility is discharging storm water associated with industrial activity to,
             or within one (1) linear mile upstream of and within the same watershed as, any portion of an
             impaired stream segment listed as “not supporting” designated uses on Georgia’s most
             current 305(b)/303(d) lists. Georgia’s 305(b)/303(d) lists can be viewed on EPD’s website at
             http://www.gaepd.org/Documents/IndustrialStormwater.html .
      viii. For those facilities that answered “Yes” to Part 1.3.1.1.e.vii above, indicate whether the
             pollutant(s) of concern may be exposed to storm water according to the options specified in
             Appendix C.1. Indicate accordingly if the facility is seeking exemption from impaired stream
             segment sampling under Part C.1.3.1 or C.1.3.2. Facilities seeking this exemption shall attach
             documentation required by Part 5.4 with a Professional Engineer’s Certification to the NOI.
        ix. If permittees do not expose the pollutant of concern to storm water then permittees must
             maintain documentation that the pollutant(s) for which the water body is impaired is not
             exposed or present at the facility in accordance with Appendix C.1.1 or C.1.2; respectively.

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          x. Previous permittees that were subject to impaired stream segment sampling under the 2006
             GAR000000 permit must indicate the requirements for which their facility is subject stated in
             Appendix C.2 as C.6, C.7, C.8 or C.10.;
         xi. Indicate whether the facility discharges to a Municipal Separate Storm Sewer System (MS4). If
             so, state the name of the MS4 which receives the storm water discharge and indicate that a
             copy of the NOI was submitted to the MS4;
        xii. A statement of whether the owner or operator has existing quantitative data describing the
             concentration of pollutants in storm water discharges (do not attach or include existing data
             when submitting the NOI).
       xiii. The permit number of any additional NPDES permits for any discharges (including non-storm
             water discharges) from the site
       xiv. Indicate on the SWPPP checklist the activities completed by checking the appropriate boxes.
             Facilities with an existing storm water discharge associated with industrial activity prior to the
             effective date of this permit shall update the SWPPP within ninety (90) days and implement it
             within one hundred eighty (180) days in compliance with Part 5 of the permit after the
             effective date of this permit. Facilities that begin industrial operations after the effective date
             of this permit are required to implement and maintain a SWPPP in compliance with Part 5 of
             this permit on or before the day industrial operations commence at the facility ;
        xv. Signature per Appendix B.7 certifying:
             a.     That the applicant is requesting coverage under the IGP, GAR050000.
             b.     That a SWPPP has been or will be prepared and implemented in accordance with
                    1.3.1.1.e.xiv of this permit for the facility, signed, and dated by an authorized
                    representative as defined in Appendix B, and the name and address of the person
                    signing the NOI.
             c.     That the NOI was properly completed.
             d.     The signature on the submitted NOI must be original.
       xvi. For those facilities in Part 8 - Sector (J) Mining; submit a copy of the NOI to EPD’s Surface
             Mining Unit;
      xvii. Any other information EPD requires on the NOI form. This form is available on our website at:
             http://www.gaepd.org/Documents/IndustrialStormwater.html.
    f. Submit a complete, accurate and signed original Notice of Intent (NOI) via return receipt (or
          similar service) to EPD at the address listed in Part 7.6. (EPD does not acknowledge receipt,
          therefore the return receipt serves as confirmation of the submittal.)

1.3.1.2 Late NOIs will be accepted but authorization to discharge will not be retroactive.

1.3.1.3 Timeframes for discharge authorization are contained in Table 1-2.
                     Table 1-2. NOI Submittal Deadlines/Discharge Authorization Dates
               Category                  NOI Submission Deadline         Discharge Authorization Date1
Existing Discharges – Having            No later than 30 days        Immediately upon submittal of the
submitted a complete NOI for            after the effective date of NOI (i.e., on the day the complete NOI
coverage under the 2006 IGP before      this permit.                 is postmarked).
the effective date of this permit.
                                                                     Authorization under the 2006 IGP is
                                                                     automatically continued until
                                                                     permittees have been granted
                                                                     coverage under this permit or an
                                                                     alternative permit, or coverage is
                                                                     otherwise terminated.


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                   Table 1-2. NOI Submittal Deadlines/Discharge Authorization Dates (cont.)
                Category                  NOI Submission Deadline       Discharge Authorization Date1
New Discharges or New Sources -          A minimum of 7 days prior Immediately upon submittal of the
commencing discharge on or after         to commencing discharge. NOI (i.e., on the day the complete NOI
the effective date of this permit.                                  is postmarked).
New Owner/Operator of Existing           No later than 30 days      Immediately upon submittal of the
Discharges - transfer of ownership       after a change of          NOI (i.e., on the day the complete NOI
and/or operation of a facility whose     owner/operator in          is postmarked).
discharge is authorized under this       accordance with Part
permit.                                  1.3.6.
Other Eligible Discharges - in           Immediately, to minimize Immediately upon submittal of the
operation prior to the effective date    the time discharges from   NOI (i.e., on the day the complete NOI
of this permit, but not covered under the facility will continue to is postmarked).
the IGP or another NPDES permit.         be unauthorized.
Operators of oil and gas exploration,    Within 14 calendar days    Immediately upon submittal of the
production, processing, or treatment of the first knowledge of      NOI (i.e., on the day the complete NOI
operations or transmission facilities,   such release.              is postmarked).
that were not required to submit a
permit application as of October 1,
1992 in accordance with 40 CFR Part
122.26(c)(1)(iii), but that after
October 1, 1992 have or have had a
discharge of a reportable quantity of
oil or a hazardous substance for
which notification is required
pursuant to either Georgia’s Oil or
Hazardous Material Spills or Releases
Act (O.C.G.A. 12-14-2), 40 CFR Part
110.6, 40 CFR Part 117.21 or 40 CFR
Part 302.6

1
  Based on a review of the NOI or other information, EPD may delay the permittee’s authorization for further
review, may notify permittees that additional effluent limitations are necessary, or may deny coverage under this
permit and require submission of an application for an individual or alternative general NPDES permit, as detailed
in Part 1.6. In these instances, EPD will notify permittees in writing of the delay, of the need for additional effluent
limits, or of the request for submission of an individual NPDES permit application or alternative general permit
NOI.

1.3.2    Continuation of this Permit.

1.3.2.1 This permit will continue to be in effect until the date five (5) years after the effective date and
will expire on the date shown on the cover page. However, an expired general permit continues in force
and effect until a new general permit is issued. Any permittee who submits a properly-completed
GAR050000 Notice of Intent (NOI) form to obtain coverage under this permit prior to the expiration date
will automatically remain covered under the continued permit until one of the following occurs:
     a. Authorization for coverage under a reissued permit or a replacement of this permit following
         timely and appropriate submittal of a complete NOI requesting authorization to discharge under
         the new permit and in compliance with the requirements of the new permit; or
     b. Submittal of a Notice of Termination (NOT); or


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      c. An individual NPDES permit authorizing storm water discharges associated with industrial
         activity is issued for all discharges formerly covered by the continued permit; or
      d. A formal permit decision is made by the Director not to reissue this general permit, at which
         time coverage under an individual permit or an alternate general permit will be required.

1.3.3 Additional Notification. Facilities that discharge storm water associated with industrial activity
through a permitted MS4, in addition to filing the NOI in accordance with Part 1.3.1, shall also submit
signed copies of the NOI to the City or County in accordance with the deadlines in Table 1.2.

1.3.4 Renotification. Upon issuance of a new or different general permit for some or all of the
discharges of storm water covered by this permit, the permittee is required to notify EPD of its intent to
be covered by the new or different permit. The permittee is required to submit a new NOI in
accordance with the notification requirements of the new or different permit at that time.

1.3.5 Change of Information. For an existing permittee, if any of the information supplied on the NOI
form changes during the term of this permit, with the exception of the statement regarding existing
quantitative data and the name of the site contact, the permittee must submit an updated NOI, with the
“Change of Information” box marked at the top of the form, within thirty (30) days after the change.

1.3.6 Change in Operator. At facilities where there is a transfer of ownership and/or a new operator
takes over operational control at an existing facility the new operator shall submit an NOI no later than
thirty (30) days after a change in owner/operator. The previous owner/operator must submit a notice
of termination (NOT) no later than thirty (30) days after the operator changes.

1.4      Terminating Coverage.

1.4.1 Submitting a Notice of Termination (NOT). To terminate permit coverage, permittees must
submit a complete and accurate NOT using the NOT form provided by EPD to the address listed in Part
7.6. Authorization to discharge under this permit terminates at midnight of the day that a complete
NOT is received by EPD. If permittees submit an NOT without meeting one or more of the conditions
identified in Part 1.4.2, then the NOT is not valid. Permittees are responsible for meeting the terms of
this permit until authorization is terminated.

1.4.2    When to Submit an NOT.

1.4.2.1 Permittees must submit an NOT within 30 days after one or more of the following conditions
have been met:
    a. A new owner or operator has taken over responsibility for the facility; or
    b. Permittees have ceased operations at the facility, there will no longer be discharges of storm
        water associated with industrial activity from the facility, and permittees have already
        implemented necessary sediment and erosion controls as required by Part 2.1.2.5; or
    c. Permittees are a Sector J facility and have met the applicable termination requirements stated
        in Part 8.J.3.7; or
    d. Permittees have obtained coverage under an individual or alternative general permit for all
        discharges required to be covered by an NPDES permit, unless EPD has required that permittee
        to obtain such coverage under authority of Part 1.6.1, in which case coverage under this permit
        will terminate automatically.




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1.4.3     Information to Be Included in the NOT.

1.4.3.1  Provide information as follows and as requested in the form provided by EPD for this permit:
    a.   Name and address of the entity holding permit coverage to be terminated;
    b.   Name and location of the facility;
    c.   Signature per Appendix B.7 certifying proper closure. Also, provide the typed or printed name,
         position, and address of the person signing the NOT;
      d. Any other information EPD requires on the NOT form. This form is available on our website at
         http://www.gaepd.org/Documents/IndustrialStormwater.html; and
      e. The NOT must be submitted via return receipt (or similar service) to EPD at the address listed in
         Part 7.6. EPD does not acknowledge receipt; therefore the return receipt serves as confirmation
         of the submittal.

1.5       Conditional Exclusion for No Exposure.

1.5.1 Those facilities that have certified to a condition of No Exposure by submitting the Industrial No
Exposure       Exclusion     (NEE)    Certification  form     (available  on      EPD’s      website    at
http://www.gaepd.org/Documents/IndustrialStormwater.html) are exempt from the IGP as long as the
condition of No Exposure is maintained and, therefore, are not required to submit an NOI. Permitted
facilities that are able to meet the requirements for the NEE at a later date will, after submitting the
Industrial NEE form, no longer be authorized by or required to comply with the IGP. Submittal of an
NOT is not required prior to submittal of the Industrial NEE form. Owners and operators of facilities for
which an NEE form is submitted shall conduct quarterly inspections each year after the effective date of
this permit to ensure that a condition of No Exposure is maintained at the facility. Results of each such
inspection shall be maintained at the NEE facility and available to EPD upon request. If an inspection
shows that a condition of No Exposure does not exist, then the NEE facility must be restored to a
condition of No Exposure by implementing appropriate remedial measures within thirty (30) days of the
inspection, or the facility owner or operator must submit an NOI by the end of that thirty (30) day period
to obtain coverage under this permit and must thereafter comply with the conditions of this permit. EPD
may revoke NEE status for any facility that does not adequately demonstrate that it complied or
continues to comply with the NEE requirements. The NEE form must be submitted on every permit
cycle re-issuance. Existing NEEs shall submit the NEE form no later than thirty (30) days after the
effective date of this permit.

1.6       Alternative Permits.

1.6.1 Requiring Coverage under an Alternative Permit. EPD may require permittees to apply for
and/or obtain authorization to discharge under either an individual NPDES permit or an alternative
NPDES general permit. EPD may pursue an individual permit in instances where compliance under this
permit is not being obtained and where the discharge is considered to cause or contribute to a violation
of Water Quality Standards in the receiving waterbody. If a facility were on an impaired water and failed
sampling requirements of the previous permit, GAR000000, then they will receive a notification letter
from EPD stating they are ineligible for coverage under this permit without making the improvements
necessary to meet the benchmark value as an end-of-pipe effluent limit (Part C.10.1). If the permittee
decides or EPD requires the permittee to apply for an individual NPDES permit, EPD will notify the
permittee in writing that a permit application is required. This notification will include a brief statement
of the reasons for this decision and will provide application information. In addition, if permittees are
an existing discharger authorized to discharge under this permit, the notice will set a deadline to file the
permit application, and will include a statement that on the effective date of the individual NPDES
permit, or the alternative general permit as it applies to the permittee, coverage under this general

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permit will terminate. EPD may grant additional time to submit the application if permittees request it.
If permittees are covered under this permit and fail to submit an individual NPDES permit application as
required by EPD, then the applicability of this permit to the permittee is terminated at the end of the
day specified by EPD as the deadline for application submittal. EPD may take appropriate enforcement
action for any unpermitted discharge.

1.7     Severability. Invalidation of a portion of this permit does not necessarily render the whole
permit invalid. EPD’s intent is that the permit remain in effect to the extent possible; in the event that
any part of this permit is invalidated, EPD will advise the regulated community as to the effect of such
invalidation.

2       Control Measures and Effluent Limits.                 In the technology-based limits included in
Part 2.1 and in Part 8, the term “minimize” means reduce and/or eliminate to the extent achievable
using control measures (including best management practices [BMPs]) that are technologically available
and economically practicable and achievable in light of best industry practice.

2.1      Control Measures. Permittees must select, design, install, and implement control measures
(including BMPs) to address the selection and design considerations in Part 2.1.1, meet the non-numeric
effluent limits in Part 2.1.2, and meet limits contained in applicable effluent limitations in Part 2.2. The
selection, design, installation, and implementation of these control measures must be in accordance
with good engineering practices and manufacturer’s specifications. Note that permittees may deviate
from manufacturer’s specifications where justification is provided for such deviation and documentation
of the rationale is included in the part of the SWPPP that describes the control measures, consistent
with Part 5.1.4. If permittees find that control measures are not achieving their intended effect of
minimizing pollutant discharges, permittees must modify these control measures as expeditiously as
practicable. The permittee is not responsible for pollutants resulting from documented conditions
emanating from run-on or rainfall. Documentation shall be provided by the permittee.

2.1.1   Control Measure Selection and Design Considerations.

2.1.1.1 Permittees must consider the following when selecting and designing control measures:
    a. preventing storm water from coming into contact with polluting materials is generally more
        effective and less costly than trying to remove pollutants from storm water;
    b. using control measures in combination is more effective than using control measures in isolation
        for minimizing pollutants in the storm water discharge;
    c. assessing the type and quantity of pollutants, including their potential to impact receiving water
        quality, is critical to designing effective control measures that will achieve the limits in this
        permit;
    d. minimizing impervious areas at the facility and infiltrating runoff onsite (including bioretention
        cells, green roofs, and pervious pavement, among other approaches) can reduce runoff and
        improve groundwater recharge and stream base flows in local streams; although, care must be
        taken to avoid groundwater contamination;
    e. attenuating flow using open, vegetated swales and natural depressions can reduce in-stream
        impacts of erosive flows;
    f. conserving and/or restoring riparian buffers will help protect streams from storm water runoff
        and improve water quality; and
    g. using treatment interceptors (e.g., swirl separators and sand filters) may be appropriate in some
        instances to minimize the discharge of pollutants.



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2.1.2   Non-Numeric Technology-Based Effluent Limits.

2.1.2.1 Minimize Exposure. Permittees must minimize the exposure of manufacturing, processing, and
material storage areas (including loading and unloading, storage, disposal, cleaning, maintenance, and
fueling operations) to rain, snow, snowmelt, and runoff by either locating these industrial materials and
activities inside or protecting them with storm resistant coverings (although significant enlargement of
impervious surface area is not recommended). In minimizing exposure, permittees should pay particular
attention to the following:
    a. use grading, berming, or curbing to prevent runoff of contaminated flows and divert run-on
         away from these areas;
    b. locate materials, equipment, and activities so that leaks are contained in existing containment
         and diversion systems (e.g., confine the storage of leaky or leak-prone vehicles and equipment
         awaiting maintenance to protected areas);
    c. clean up spills and leaks promptly using dry methods (e.g., absorbents) to prevent the discharge
         of pollutants;
    d. use drip pans and absorbents under or around leaky vehicles and equipment or store indoors
         where feasible;
    e. use spill/overflow protection equipment;
    f. drain fluids from equipment and vehicles prior to on-site storage or disposal;
    g. perform all cleaning operations indoors, under cover, or in bermed areas that prevent runoff
         and run-on and also that capture any overspray; and
    h. ensure that all wash water drains to a proper collection system (i.e., not the storm water
         drainage system).

    Note 1: The discharge of vehicle and equipment wash water, including tank-cleaning operations, is
    not authorized by this permit. These wastewaters must be covered under a separate NPDES permit,
    discharged to a sanitary sewer in accordance with applicable industrial pretreatment requirements,
    or disposed of otherwise in accordance with applicable law. See Part 1.1.4.1.

    Note 2: Industrial materials do not need to be enclosed or covered if storm water runoff from
    affected areas will not be discharged to receiving waters or if discharges are authorized under
    another NPDES permit.

2.1.2.2 Good Housekeeping. Permittees must keep clean all exposed areas that are potential sources of
pollutants, using such measures as sweeping at regular intervals, keeping materials orderly and labeled,
and storing materials in appropriate containers.

2.1.2.3 Maintenance. Permittees must regularly inspect, test, maintain, and repair all industrial
equipment and systems to avoid situations that may result in leaks, spills, and other releases of
pollutants in storm water discharged to receiving waters. Permittees must maintain in effective
operating condition all control measures that are used to achieve the effluent limits required by this
permit. Nonstructural control measures must also be diligently maintained (e.g., keeping spill response
supplies available, training personnel appropriately). If permittees find that control measures need to
be replaced or repaired, permittees must make the necessary repairs or modifications as expeditiously
as practicable.

2.1.2.4 Spill Prevention and Response Procedures. Permittees must minimize the potential for leaks,
spills, and other releases that may be exposed to storm water and develop plans for effective response
to such spills if or when they occur. At a minimum, permittees must implement:


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    a. Procedures for plainly labeling containers (e.g., “used oil,” “spent solvents,” “fertilizers and
       pesticides,” etc.) that could be susceptible to spillage or leakage to encourage proper handling
       and facilitate rapid response if spills or leaks occur;
    b. Preventative measures such as barriers between material storage and traffic areas, secondary
       containment provisions, and procedures for material storage and handling;
    c. Procedures for expeditiously stopping, containing, and cleaning up leaks, spills, and other
       releases. Employees who may cause, detect, or respond to a spill or leak must be trained in
       these procedures and have necessary spill response equipment available. If possible, one of
       these individuals should be a member of the storm water pollution prevention team (see Part
       5.1.1);
    d. The discharge of hazardous substances or oil in the storm water discharge(s) from a facility
       covered by this permit shall be prevented, if at all possible, or minimized in accordance with the
       applicable SWPPP for the facility. This permit does not relieve the permittee of the reporting
       requirements of Georgia’s Oil or Hazardous Materials Spills or Releases Act (O.C.G.A 12-14-2), 40
       CFR Part 110.6, 40 CFR Part 117, and 40 CFR Part 302;
    e. The SWPPP required of this permit must be modified within thirty (30) calendar days of
       knowledge of a release with the potential to impact storm water equal to or in excess of a
       reportable quantity under Georgia’s Oil or Hazardous Materials Spills or Releases Act (O.C.G.A
       12-14-2), 40 CFR Part 110.6, 40 CFR Part 117 or 40 CFR Part 302 to: provide a description of the
       release, the circumstances leading to the release, and the date of the release. In addition, the
       SWPPP must be reviewed and amended to identify measures needed to prevent the
       reoccurrence of such release and to respond to such releases; and
    f. Spills. This permit does not authorize the discharge of hazardous substances or oil resulting
       from an on-site spill except in de minimis amounts after removal and proper disposal of the
       spilled material has been completed in accordance with State and Federal requirements.

2.1.2.5 Erosion and Sediment Controls. Permittees must stabilize exposed areas and manage runoff
using structural and/or non-structural control measures to minimize onsite erosion and sedimentation
and the resulting discharge of pollutants.

2.1.2.6 Management of Runoff. Permittees must divert, infiltrate, reuse, contain, or otherwise reduce
storm water runoff to minimize pollutants in discharges to the maximum extent practicable. In
selecting, designing, installing, and implementing appropriate control measures, permittees are
encouraged to consult with EPA’s internet-based resources relating to runoff management, including
the sector-specific Industrial Storm Water Fact Sheet Series (www.epa.gov/npdes/stormwater/msgp),
National Menu of Storm Water BMPs (www.epa.gov/npdes/stormwater/menuofbmps) and National
Management Measures to Control Nonpoint Source Pollution from Urban Areas
www.epa.gov/owow/nps/urbanmm/index.html), and the Georgia Stormwater Management Manual.

2.1.2.7 Salt Storage and Pavement Deicing.
    a. Salt Storage Piles or Piles Containing Salt. Permittees must enclose or cover storage piles of salt,
        or piles containing salt, used for deicing or other commercial or industrial purposes, including
        maintenance of paved surfaces, except for exposure resulting from adding or removing
        materials from the pile. Permittees must implement appropriate measures (e.g., good
        housekeeping, diversions, containment) to minimize exposure resulting from adding to or
        removing materials from the pile. Piles do not need to be enclosed or covered if storm water
        runoff from the piles is not discharged or if discharges from the piles are authorized under
        another NPDES permit that does not require their cover.
    b. Pavement Deicing Activities - For any pavement deicing activities at facilities, other than airports,
        covered under this permit, the SWPPP must include measures to assure that no SARA 313

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        chemicals are used for deicing and that no deicing occurs where spills or leaks of toxic or hazardous
        materials have occurred (unless all spilled material has been removed). Deicing is to be carried out
        only for safety purposes during inclement weather and must meet Water Quality Standards in the
        receiving waterbody in compliance with Part 2.3. (See also Part 5.1.3.5).

2.1.2.8 Dust Generation and Vehicle Tracking of Industrial Materials.          Permittees must minimize
generation of dust and off-site tracking of raw, final, or waste materials.

2.1.2.9 Waste, Garbage, and Floatable Debris. Permittees must ensure that waste, garbage, and
floatable debris are not discharged to receiving waters by keeping exposed areas free of such materials
or by intercepting them before they are discharged.

2.2     Numeric Effluent Limitations.

2.2.1 For discharges subject to stormwater effluent limitations under 40 CFR, Subchapter N, only
those stormwater discharges identified in Table 1.1 are eligible for coverage under this permit.
Permittees must meet the effluent limits referenced in Table 1-1 and specifically listed within their
respective sectors in Part 8.

2.3     Water Quality-Based Effluent Limitations.

2.3.1   Water Quality Standards.

2.3.1.1 Discharges must be controlled as necessary to ensure that the receiving waterbody does not
exceed the applicable Water Quality Standards as stated in the Georgia Rules and Regulations for Water
Quality Control 391-3-6-.03, Water Use Classification and Water Quality Standards. These water quality
standards apply to the receiving waterbodies themselves, not to the storm water discharges into those
waterbodies.

2.3.1.2 EPD expects that compliance with the other conditions in this permit will control storm water
discharges as necessary to ensure that the receiving waterbody does not exceed the applicable Water
Quality Standards. If at any time permittees become aware, or EPD determines, that the permittee’s
discharge causes or contributes to an exceedance of applicable Water Quality Standards in the receiving
waterbody, permittees shall take corrective action as required in Part 3.1 and document the corrective
actions as required in Parts 3.4 and 5.4.

2.3.1.3 Additionally, EPD may impose additional water quality-based limitations on a site-specific basis,
or require permittees to obtain coverage under an individual permit, if information in the NOI or
required reports or from other sources indicates that the permittee’s discharges are not controlled as
necessary to ensure that the receiving waterbody does not exceed applicable Water Quality Standards.
(See also Part 1.6.1, Requiring Coverage under an Alternative Permit).

3       Corrective Actions
3.1      Conditions Requiring Review and Revision to Eliminate a Problem. If any of the following
conditions occur, permittees must review and revise the selection, design, installation, and
implementation of control measures to ensure that the condition is eliminated and will not be repeated
in the future:
     a. an unauthorized release or discharge (e.g., spill, leak, or discharge of non-storm water not
         authorized by this or another NPDES permit) occurs at facility;

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      b. a discharge violates a numeric effluent limit;
      c. Permittees become aware, or EPD determines and notifies permittee, that existing control
         measures are not stringent enough to sufficiently minimize pollutants in the permittee’s
         discharges to ensure that the receiving waterbody does not exceed applicable Water Quality
         Standards as a result of the discharges;
      d. an inspection or evaluation of the facility by an EPD representative or a representative of the
         MS4, if the facility discharges to the MS4, determines that modifications to the control
         measures are necessary to meet the non-numeric effluent limits in this permit; or
      e. permittees find in a routine facility inspection, quarterly visual assessment, or comprehensive
         site inspection that control measures are not being properly operated and maintained.

3.2     Conditions Requiring Review to Determine if Modifications Are Necessary. If any of the
following conditions occur, permittees must review the selection, design, installation, and
implementation of control measures 2.1.2.1 through 2.1.2.9 and any additional sector specific non-
numeric technology-based effluent limits to determine if modifications are necessary to meet the
effluent limits in this permit:
     a. construction or a change in design, operation, or maintenance at the facility significantly
        changes the nature of pollutants discharged in storm water from the facility or significantly
        increases the quantity of pollutants discharged, or
     b. the annual sampling result exceeds an applicable benchmark.

3.3      Corrective Action Deadlines. Permittees must document the discovery of any of the conditions
listed in Parts 3.1 and 3.2 within 24-hours of making such discovery. If there are extenuating
circumstances that prevent documentation within the 24-hour time frame, such as occurrence over a
weekend, holiday, or at an unstaffed and/or inactive site, then the documentation must occur by the
end of the next business day after discovery. Subsequently, within 30 days of such discovery,
permittees must document any corrective action(s) to be taken to eliminate or further investigate the
deficiency, or if no corrective action is needed, the basis for that determination. Specific documentation
required is detailed in Part 3.4. If permittees determine that changes are necessary following the
review, any modifications to control measures must be made as soon as practicable following that storm
event, but in no case more than ninety (90) days after the discovery, unless additional time is approved
by EPD. These time intervals are not grace periods, but are schedules considered reasonable for
documenting the permittee’s findings and for making repairs and improvements. They are included in
this permit to ensure that the conditions prompting the need for these repairs and improvements are
not allowed to persist indefinitely.

3.4      Corrective Action Report.

3.4.1 Corrective Action Discovery. Within 24 hours of discovery or by the end of the next business
day (see 3.3 above) of any condition listed in Parts 3.1 and 3.2, permittees must document the following
information:
    a. Identification of the condition triggering the need for corrective action review;
    b. Description of the problem identified; and
    c. Date the problem was identified.

3.4.1.1 Within 30 days of discovery of any condition listed in Parts 3.1 and 3.2, permittees must
document the following information:
    a. Summary of corrective action taken or to be taken (or, for triggering events identified in Part 3.2
        where permittees determine that corrective action is not necessary, the basis for this
        determination);

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      b. Date corrective action is initiated; and
      c. Date corrective action is completed or expected to be completed.

3.4.1.2 Additional Documentation of Corrective Action.
    a. Corrective actions must be documented in the SWPPP; and
    b. Corrective actions must be documented in the annual report.

3.5      Effect of Corrective Action. If the event triggering the review is a permit violation (e.g., non-
compliance with an effluent limit), correcting it does not eliminate the original violation. Additionally,
failing to take corrective action in accordance with this section is an additional permit violation. EPD will
consider the appropriateness and promptness of corrective action in determining enforcement
responses to permit violations. However, ineffectiveness of the selected corrective action shall not
constitute a violation of the permit, providing that the permittee has taken the steps outlined in this
Part 3.

3.6      Substantially Identical Outfalls. If the event triggering corrective action is linked to an outfall
that represents other substantially identical outfalls, the permittee’s review must assess the need for
corrective action for each outfall represented by the outfall that triggered the review. Any necessary
changes to control measures that affect these other outfalls must also be made before the next storm
event if possible, or as soon as practicable following that storm event.

4        Inspections.     Permittees must conduct the inspections described in Parts 4.1, 4.2 and 4.3 at
the facility.

4.1      Routine Facility Inspections.

4.1.1 Routine Facility Inspection Procedures. Conduct routine facility inspections of all areas of the
facility where industrial materials or activities are exposed to storm water, and of all storm water
control measures used to comply with the effluent limits contained in this permit. Routine facility
inspections must be conducted at least quarterly (i.e., once each calendar quarter) although in many
instances, more frequent inspection (e.g., monthly) may be appropriate for some types of equipment,
processes, and control measures or areas of the facility with significant activities and materials exposed
to storm water. Perform these inspections during periods when the facility is in operation. Permittees
must specify the relevant inspection schedules in the SWPPP document as required in Part 5.1.5. These
routine inspections must be performed by qualified personnel (for definition, see Appendix A) with at
least one member of the storm water pollution prevention team participating. At least once each
calendar year, the routine facility inspection must be conducted during a period when a storm water
discharge is occurring.

4.1.1.1 During the routine facility inspection, containment areas and oil/water separator discharge
should be inspected for a visible sheen.

4.1.2    Routine Facility Inspection Documentation.

4.1.2.1 Permittees must document the findings of each routine facility inspection performed and
maintain this documentation onsite with the SWPPP as required in Part 5.4. Permittees are not required
to submit routine facility inspection findings to EPD, unless specifically requested to do so. At a
minimum, documentation of each routine facility inspection must include:
    a. The inspection date and time;


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      b. The name(s) and signature(s) of the inspector(s) (signature in accordance with Appendix B.7);
      c. Weather information and a description of any discharges occurring at the time of the inspection;
      d. Any previously unidentified discharges of pollutants from the facility for the previous three (3)
         years;
      e. Any control measures needing maintenance or repairs;
      f. Any failed control measures that need replacement;
      g. Any incidents of noncompliance observed; and
      h. Any additional control measures needed to comply with the permit requirements.

4.1.2.2 Any corrective action required as a result of a routine facility inspection must be performed
consistent with Part 3 of this permit.

4.1.3    Exceptions to Routine Facility Inspections. (Inactive and Unstaffed Facilities)

4.1.3.1 Inactive and Unstaffed Sites:
    a. The requirement to conduct routine facility inspections on a quarterly basis does not apply at a
        facility that is inactive and unstaffed, as long as there are no industrial materials or activities
        exposed to storm water. Such a facility is only required to conduct an annual comprehensive
        site inspection in accordance with the requirements of Part 4.3. To invoke this exception,
        permittees must maintain a statement in the SWPPP pursuant to Part 5.1.5.2.g indicating that
        the site is inactive and unstaffed, and that there are no industrial materials or activities exposed
        to precipitation. The statement must be signed and certified in accordance with Appendix B.7.
        If circumstances change and industrial materials or activities become exposed to storm water or
        the facility becomes active and/or staffed, this exception no longer applies, and the permittee
        must resume periodic (at least quarterly) facility inspections as soon as possible. If the
        permittee is not qualified for this exception at the time of authorization under this permit, but
        during the permit term becomes qualified because the facility is inactive and unstaffed, and
        there are no industrial materials or activities that are exposed to storm water, then the
        permittee must include the same signed and certified statement as above and retain it with the
        permittee’s records pursuant to Part 5.4.
    b. Inactive and unstaffed facilities covered under Sector J (Mining) are not required to meet the
        “no industrial materials or activities exposed to storm water” standard to be eligible for this
        exception from routine inspections, consistent with the requirements established in Part 8.J.

4.2      Quarterly Visual Assessment of Storm Water Discharges.

4.2.1    Quarterly Visual Assessment Procedures.

4.2.1.1 Once each quarter for the entire permit term, permittees must collect a storm water sample
from each outfall (except as noted in Part 4.2.3) and conduct a visual assessment of each of these
samples. These samples are not required to be collected consistent with 40 CFR Part 136 procedures
but should be collected in such a manner that the samples are representative of the storm water
discharge. The sampling required must occur during a site’s normal operating hours.

4.2.1.2 The visual assessment must be made:
    a. Of a sample in a clean, clear glass or plastic container and examined in a well-lit area;
    b. On samples collected within the first 30 minutes of an actual discharge from a storm event. If it
        is not possible to collect the sample within the first 30 minutes of discharge, the sample must be
        collected as soon as possible after the first 30 minutes, and the permittee must document why it


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       was not possible to take samples within the first 30 minutes. In the case of snowmelt, samples
       must be taken during a period with a measurable discharge from the facility; and
    c. For storm events, on discharges that occur at least 72 hours from the previous discharge.

4.2.1.3   Permittees must visually inspect the sample for the following water quality characteristics:
    a.    Color;
    b.    Odor;
    c.    Turbidity;
    d.    Floating solids;
    e.    Settled solids;
    f.    Suspended solids;
    g.    Foam;
    h.    Oil sheen; and
    i.    Other obvious indicators of storm water pollution.

4.2.2     Quarterly Visual Assessment Documentation.

4.2.2.1 Permittees must document the results of visual assessments and maintain this documentation
onsite with the SWPPP as required in Part 5.4. Permittees are not required to submit visual assessment
findings to EPD, unless specifically requested to do so. Photo documentation is recommended. At a
minimum, documentation of the visual assessment must include:
    a. Sample location(s);
    b. Sample collection date and time, and visual assessment date and time for each sample;
    c. Personnel collecting the sample and performing visual assessment, and their signatures;
    d. Nature of the discharge (i.e., runoff or snowmelt);
    e. Results of observations of the storm water discharge;
    f. Probable sources of any observed storm water contamination; and
    g. If applicable, why it was not possible to take samples within the first 30 minutes.

4.2.2.2 Any corrective action required as a result of a quarterly visual assessment must be performed
consistent with Part 3 of this permit.

4.2.3     Exceptions to Quarterly Visual Assessments.

4.2.3.1 Adverse Weather Conditions: When adverse weather conditions prevent the collection of
samples during the quarter, permittees must take a sample during the next qualifying storm event.
Documentation of the rationale for not making a visual assessment for the quarter must be included
with the SWPPP records as described in Part 5.4. Adverse conditions are those that are dangerous or
create inaccessibility for personnel, such as local flooding, high winds, or electrical storms, or situations
that otherwise make sampling impractical, such as drought or extended frozen conditions.

4.2.3.2 Inactive and unstaffed sites:
    a. The requirement for a quarterly visual assessment does not apply at a facility that is inactive and
        unstaffed, as long as there are no industrial materials or activities exposed to storm water. To
        invoke this exception, permittees must maintain a statement in the SWPPP as required in Part
        5.1.5.2.g indicating that the site is inactive and unstaffed and that there are no industrial
        materials or activities exposed to precipitation. The statement must be signed and certified in
        accordance with Appendix B.7.




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      b. If circumstances change and industrial materials or activities become exposed to storm water or
         the facility becomes active and/or staffed, this exception no longer applies and permittees must
         resume quarterly visual assessments as soon as possible.
      c. If the permittee is not qualified for this exception at the time of authorization under this permit,
         but during the permit term becomes qualified because the facility is inactive and unstaffed, and
         there are no industrial materials or activities that are exposed to storm water, then the
         permittee must include the same signed and certified statement as above and retain it with
         records pursuant to Part 5.4.
      d. Inactive and unstaffed facilities covered under Sector J (Mining) are not required to meet the
         “no industrial materials or activities exposed to storm water” standard to be eligible for this
         exception from quarterly visual assessment, consistent with the requirements established in
         Parts 8.J.

4.2.3.3 Substantially identical outfalls:
    a. If the facility has two or more outfalls that the permittee believes discharge substantially
        identical effluents, as documented in Part 5.1.5.2, the permittee may conduct quarterly visual
        assessments of the discharge at just one of the outfalls and report that the results also apply to
        the substantially identical outfall(s) provided that a visual assessment is performed on a rotating
        basis of each substantially identical outfall throughout the period of coverage under this permit.
    b. If storm water contamination is identified through visual assessment at a substantially identical
        outfall, the permittee must assess and modify control measures as appropriate for each outfall
        represented by the monitored outfall.

4.3       Annual Comprehensive Site Inspections.

4.3.1     Annual Comprehensive Site Inspection Procedures.

4.3.1.1 Permittees must comply with the following Annual Comprehensive Site Inspection Procedures:
    a. Permittees must conduct annual comprehensive site inspections while covered under this
        permit. Annual, as defined in this Part, means once during each of the following inspection
        periods beginning with the period the permittee is authorized to discharge under this permit:
                Year 1:          Permit effective date – December 31, 2012
                Year 2:          January 1, 2013 – December 31, 2013
                Year 3:          January 1, 2014 – December 31, 2014
                Year 4:          January 1, 2015 – December 31, 2015
                Year 5:          January 1, 2016 – Permit expiration date (unless the permit is extended
                                 to or past December 31, 2016, in which case, December 31, 2016.)
   b. The requirement for the permittee to perform an annual comprehensive site inspection for an
        inspection period is waived, as defined above, if the permittee obtains authorization to
        discharge less than three months before the end of that inspection period.
   c. Should coverage be administratively continued after the expiration date of this permit,
        permittees must continue to perform these inspections annually until coverage is terminated or
        a new permit is issued.
   d. Annual comprehensive site inspections must be conducted by qualified personnel (see Appendix
        A), with at least one member of the storm water pollution prevention team participating in the
        comprehensive site inspections.
   e. Annual comprehensive site inspections must cover all areas of the facility affected by the
        requirements in this permit, including the areas identified in the SWPPP as potential pollutant
        sources (see Part 5.1.3) where industrial materials or activities are exposed to storm water, any
        areas where control measures are used to comply with the effluent limits in Part 2, and areas

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         where spills and leaks have occurred in the past 3 years. The inspections must also include a
         review of monitoring data collected in accordance with Part 6.2. Inspectors must consider the
         results of the past year’s visual and analytical monitoring when planning and conducting
         inspections. Inspectors must examine the following:
          i. Industrial materials, residue, or trash that may have or could come into contact with storm
             water;
         ii. Leaks or spills from industrial equipment, drums, tanks, and other containers;
        iii. Offsite tracking of industrial or waste materials or sediment where vehicles enter or exit the
             site;
        iv. Tracking or blowing of raw, final, or waste materials from exposed areas to areas of no
             exposure;
         v. Control measures needing replacement, maintenance, or repair;
        vi. Equipment needed to implement the SWPPP, such as spill response equipment; and
       vii. EPD’s most current 305(b)/303(d) impaired stream segment list and list of approved TMDLs
             (found at http://www.gaepd.org/Documents/IndustrialStormwater.html ) must be reviewed
             during each annual comprehensive site compliance evaluation and related to water-quality-
             based monitoring as required in Appendix C and potential corrective action. Documentation
             of the inspector’s findings must be kept with the SWPPP records and signed in accordance
             with B.7 on the annual report.
    f. Storm water control measures required by this permit must be observed to ensure that they are
         functioning correctly. In addition, if outfalls are inaccessible, nearby downstream locations must
         be observed.
    g. Certification that all discharge points have been visually tested or evaluated at least once each
         year for the presence of non-storm water discharges other than the allowable non-storm water
         discharges currently identified under Part 1.1.3 of this permit. The certification shall include the
         identification of potential significant sources of non-storm water at the site, the date of any
         visual testing and/or evaluation, and the on-site drainage points that were directly observed
         during the visual test.
    h. The annual comprehensive site inspection may also be used as one of the routine inspections, as
         long as all components of both types of inspections are included.

4.3.2   Annual Comprehensive Site Inspection Documentation.

4.3.2.1 Permittees must document the findings of each annual comprehensive site inspection and
maintain this documentation onsite with the SWPPP as required in Part 5.4. At a minimum,
documentation of the annual comprehensive site inspection must include:
    a. The date of the inspection;
    b. The name(s) and title(s) of the personnel making the inspection;
    c. Findings from the examination of areas of facility identified in Part 4.3.1;
    d. All observations relating to the implementation of control measures including:
           i. previously unidentified discharges from the site;
          ii. previously unidentified pollutants in existing discharges;
         iii. evidence of, or the potential for, pollutants entering the drainage system;
         iv. evidence of pollutants discharging to receiving waters at all facility outfall(s), and the
              condition of and around the outfall, including flow dissipation measures to prevent scouring;
              and
          v. additional control measures needed to address any conditions requiring corrective action
              identified during the inspection.
    e. Any required revisions to the SWPPP resulting from the inspection;


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    f. Any incidents of noncompliance observed or a certification stating the facility is in compliance
       with this permit (if there is no noncompliance); and
    g. A statement signed and certified in accordance with Appendix B.7 of the permit.

4.3.2.2 Any corrective action required as a result of the comprehensive site inspection must be
performed consistent with Part 3 of this permit.

5        Storm Water Pollution Prevention Plan (SWPPP). The SWPPP does not contain
effluent limitations; the limitations are contained in Part 1 and Part 8 of the permit. The SWPPP is
intended to document the selection, design, and installation of control measures. The additional
documentation requirements of Part 5.4 are intended to document the implementation (including
inspection, maintenance, monitoring, and corrective action) of the permit requirements. Facilities must
implement and maintain the provisions of the SWPPP as a condition of this permit.
         New dischargers must prepare a SWPPP before submitting the NOI for permit coverage. Existing
dischargers must review and update the SWPPP within ninety (90) days and implement all provisions of
this permit within one hundred eighty (180) days of the effective date of this permit. The SWPPP shall
be prepared in accordance with good engineering practices and to industry standards and shall be
certified by an individual with the education, experience, and accountability necessary for its
implementation. EPD may also require the SWPPP to be prepared, reviewed, or certified by a
Professional Engineer, or for Sector J, by a Professional Geologist, with the education, experience and
accountability necessary for developing and implementing a SWPPP and who is authorized by State law
to perform design work required by this permit if the Director concludes, based upon reliable evidence,
that the SWPPP is not in substantial compliance with this permit.

5.1     Contents of the SWPPP. For coverage under this permit the SWPPP must contain all the
elements contained in Parts 5.1 through 5.4 as applicable. Where the SWPPP refers to procedures in
other facility documents, such as a Spill Prevention, Control, and Countermeasure (SPCC) Plan, a copy of
the relevant portions of those documents must be kept with the SWPPP or if referenced, must be readily
available onsite.
    a. Storm water pollution prevention team (Part 5.1.1);
    b. Site description (Part 5.1.2);
    c. Summary of potential pollutant sources (Part 5.1.3);
    d. Description of control measures (Part 5.1.4);
    e. Schedules and procedures (Part 5.1.5); and
    f. Signature requirements (Appendix B.7).

5.1.1    Storm Water Pollution Prevention Team.

5.1.1.1 Pollution Prevention Team. Permittees must identify the staff members that comprise the
facility’s storm water pollution prevention team as well as their individual responsibilities. The storm
water pollution prevention team is responsible for assisting the facility manager in developing and
revising the facility’s SWPPP as well as maintaining control measures and taking corrective actions
where required. Each member of the storm water pollution prevention team must have ready access to
either an electronic or paper copy of applicable portions of this permit and the SWPPP.

5.1.1.2 Employee Training. Permittees must train all employees who work in areas where industrial
materials or activities are exposed to storm water, or who are responsible for implementing activities
necessary to meet the conditions of this permit (e.g., inspectors, maintenance personnel), including all
members of the Pollution Prevention Team. Training must cover both the specific control measures
used to achieve the effluent limits, and monitoring, inspection, planning, reporting, and documentation

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requirements in other parts of this permit. EPD recommends that training be conducted at hiring and
annually for existing employees. Rosters of employee training or certificates of completion that include
individual names and training dates must be maintained with the SWPPP or be readily available onsite.

5.1.2     Site Description. The SWPPP must include the following:

5.1.2.1 Activities at the Facility. Provide a description of the nature of the industrial activities at the
facility, including any co-located activities.

5.1.2.2 General location map. Provide a general location map with enough detail to identify the location
of the facility and identify all receiving waters for storm water discharges.

5.1.2.3  Site map of sufficient scale and quality to be legible and readable, providing the following:
    a.   Location and extent of significant structures and impervious surfaces;
    b.   Direction of storm water flow (use arrows);
    c.   Location of all existing structural control measures;
    d.   Location of all receiving waters in the immediate vicinity of the facility, indicating if any of the
         waters are impaired;
    e. Location of all storm water conveyances including ditches, pipes, and swales;
    f. Location of potential pollutant sources identified under Part 5.1.3.2;
    g. Location where significant spills or leaks identified under Part 5.1.3.3 have occurred;
    h. Location of all storm water outfalls which discharge storm water associated with industrial
         activity;
    i. Location of storm water inlets and outfalls which discharge storm water associated with
         industrial activity, with a unique identification code for each outfall (e.g., Outfall No. 1, No. 2),
         indicating if permittees are treating one or more outfalls as “substantially identical” under Parts
         4.2.3, 5.1.5.2, and 6.1.1, and an approximate outline of the areas draining to each outfall with an
         indication of the applicable Sector(s) for each outlined area;
    j. Name of the MS4, to which the facility’s storm water discharges, if applicable;
    k. Location and descriptions of all non-storm water discharges in areas associated with industrial
         activities identified under Part 1.1.3;
    l. Location of industrial activities in areas exposed to precipitation:
         i. Fueling stations;
        ii. Vehicle and equipment maintenance and/or cleaning areas;
       iii. Loading/unloading areas;
       iv. Location used for the treatment, storage, or disposal of wastes;
        v. Liquid storage tanks;
       vi. Processing and storage areas;
      vii. Immediate access roads and rail lines used or traveled by carriers of raw materials,
            manufactured products, waste material, or by-products used or created by the facility;
      viii. Transfer areas for substances in bulk;
       ix. Machinery; and
        x. Significant dust or particulate generating processes.
    m. Location and source of run-on to the facility that contain significant quantities of pollutants from
         adjacent property.

5.1.3 Summary of Potential Pollutant Sources. Permittees must document areas at the facility where
industrial materials or activities are exposed to storm water and from which allowable non-storm water
discharges are released. Industrial materials or activities include, but are not limited to: material
handling equipment or activities; industrial machinery; raw materials; industrial production and

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processes; and intermediate products, by-products, final products, and waste products. Material
handling activities include, but are not limited to: the storage, loading and unloading, transportation,
disposal, or conveyance of any raw material, intermediate product, final product or waste product. For
each area identified, the description must include:

5.1.3.1 Activities in the area. A list of the industrial activities exposed to storm water (e.g., material
storage; equipment fueling, maintenance, and cleaning).

5.1.3.2 Pollutants. A list of the pollutant(s) or pollutant constituents (e.g., crankcase oil, zinc, sulfuric
acid, and cleaning solvents) associated with each identified activity. The pollutant list must include all
significant materials that have been handled, treated, stored, or disposed, and that have been exposed
to storm water in the 3 years prior to the date permittees prepare or amend the SWPPP.

5.1.3.3 Spills and Leaks. Permittees must document where potential spills and leaks could occur that
could contribute pollutants to storm water discharges, and the corresponding outfall(s) that would be
affected by such spills and leaks. The necessary equipment to implement proper cleanup of a spill
should be made readily available to personnel. Permittees must document all significant spills and leaks
of oil or toxic or hazardous pollutants that actually occurred at exposed areas, or that drained to a storm
water conveyance, in the 3 years prior to the date permittees prepare or amend the SWPPP. Refer to
Part 2.1.2.4 for spill response requirements.

5.1.3.4 Non-Storm Water Discharges. Permittees must document on the annual report that they have
evaluated for the presence of non-storm water discharges annually and that all unauthorized discharges
have been eliminated. Documentation of the evaluation must include:
    a. The date of evaluation;
    b. A description of the evaluation criteria used;
    c. A list of the outfalls or onsite drainage points that were directly observed during the evaluation;
    d. The different types of non-storm water discharge(s) and source locations; and
    e. The action(s) taken, such as a list of control measures used to eliminate unauthorized
        discharge(s), if any were identified. For example, a floor drain was sealed, a sink drain was re-
        routed to sanitary, or an NPDES permit application was submitted for an unauthorized cooling
        water discharge.
    f. At least once during the term of the permit, a dye, smoke or equivalent test must be conducted
        to evaluate for the presence of non-storm water discharges into the storm sewer system from
        all floor drains, and from all sinks in industrial areas excluding eye wash stations, that were
        installed prior to 1/1/2006. If the permittee has performed either a dye, smoke or equivalent
        test during the previous 2006 permit cycle this requirement is waived provided the facility
        maintains documentation of the test and retests five years after the previous test. Permittees
        must document in the annual report the date of the last dye, smoke or equivalent test at the
        facility or why this test is not applicable to the facility. Examples of acceptable equivalent tests
        include television surveillance, and analysis of as-built drawings and piping and drainage
        schematics. Permittees that discharge to the MS4 are advised to notify the local MS4 and/or
        wastewater treatment plant prior to conducting a smoke/dye test. Facilities that certify on their
        annual report that they have made an analysis within the last 5 years of as-built drawings and/or
        piping and drainage schematics and found them current and accurate have met this
        requirement.

5.1.3.5 Salt Storage and Pavement Deicing.
    a. Permittees must document the location of any storage piles containing salt used for deicing or
        other commercial or industrial purposes and areas where de-icing is expected to occur. Storage

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       piles of salt used for deicing shall be enclosed or covered to prevent exposure to precipitation,
       except for exposure resulting from adding or removing material from the pile.
    b. Pavement deicing activities. For any pavement deicing activities at facilities, other than airports,
       covered under this permit, the SWPPP must include measures to assure that no SARA 313
       chemical[s] is used for deicing and that no deicing occurs where spills or leaks of toxic or hazardous
       materials have occurred (unless all spilled material has been removed). Deicing is to be carried out
       only for safety purposes during inclement weather and must meet Water Quality Standards in the
       receiving waterbody in compliance with Part 2.3.

5.1.3.6 Sampling Data and Retention of Records from Previous Permit. Permittees must summarize all
storm water discharge analytical sampling data collected at the facility during the previous permit term.
In addition, the permittee must summarize all annual site evaluations including, but not limited to,
corrective actions and BMP modifications.

5.1.4 Description of Control Measures. Control Measures to Meet Non-Numeric Technology-Based,
Numeric Effluent and Water Quality-Based Effluent Limits. Permittees must document the location and
type of control measures installed and implemented at the facility to achieve the non-numeric effluent
limits in Part 2.1.2, and where applicable in Part 8, the effluent limitations in Part 2.2., the water quality-
based effluent limits in Part 2.3, and describe how permittees addressed the control measure selection
and design considerations in Part 2.1.1. This documentation must describe how the control measures at
the facility address both the pollutant sources identified in Part 5.1.3, and any storm water run-on that
commingles with any discharges covered under this permit. Permittees must keep, operate, and
maintain any permanent storm water detention or retention pond or other permanent storm water
management device installed under the requirements of State or local regulatory authority. (Appendix E
of the Georgia Stormwater Management Manual contains an Operation and Maintenance checklist that
can be used to create a pond maintenance program.)

5.1.5   Schedules and Procedures.

5.1.5.1 Pertaining to Control Measures Used to Comply with the Effluent Limits in Part 2.
    a. The following must be documented in the SWPPP:
        i. Good Housekeeping (See Part 2.1.2.2) – A schedule for regular pickup and disposal of waste
           materials, along with routine inspections for leaks and conditions of drums, tanks and
           containers;
       ii. Maintenance (See Part 2.1.2.3) – Preventative maintenance procedures, including regular
           inspections, testing, maintenance, and repair of all industrial equipment and systems, and
           control measures, to avoid situations that may result in leaks, spills, and other releases, and
           any back-up practices in place should a runoff event occur while a control measure is off-line;
      iii. Spill Prevention and Response Procedures (See Part 2.1.2.4); and
      iv. Employee Training (Part 5.1.1.2) – A schedule for all types of necessary training.

5.1.5.2 Pertaining to Monitoring and Inspection.
    a. Permittees must document in the SWPPP the procedures for conducting the four types of
          analytical monitoring specified by this permit, where applicable to the facility, including:
        i. Benchmark monitoring (see Part 6.2.1);
       ii. Effluent limitations monitoring (see Part 6.2.2);
      iii. Impaired stream segment monitoring (see Appendix C); and
      iv. Other monitoring as required by EPD (see Part 6.2.4).
    b. For each type of monitoring, the SWPPP must document:


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          i. Locations where samples are collected, including any determination that two or more outfalls
              are substantially identical;
         ii. Parameters for sampling and the frequency of sampling for each parameter;
        iii. Schedules for monitoring at the facility;
        iv. Any numeric control values (benchmarks, effluent limitations, TMDL-related requirements, or
              other requirements) applicable to discharges from each outfall; and
         v. Procedures (e.g., responsible staff, logistics, laboratory to be used) for gathering storm event
              data, as specified in Part 6.1.
      c. If permittees are invoking the exception for inactive and unstaffed sites for benchmark
            monitoring, permittees must include in the SWPPP the information to support this claim as
            required by Part 6.2.1.3.
      d. Permittees must document the following in the SWPPP, if permittees plan to use the exception
            for substantially identical outfalls for the quarterly visual assessment requirements in Part
            4.2.3.3. or the benchmark monitoring requirements in Part 6.2.1:
          i. Location of each of the substantially identical outfalls;
         ii. Description of the general industrial activities conducted in the drainage area of each outfall;
        iii. Description of the control measures implemented in the drainage area of each outfall;
        iv. Description of the exposed materials located in the drainage area of each outfall that are likely
              to be significant contributors of pollutants to storm water discharges;
         v. Why the outfalls are expected to discharge substantially identical effluents.
      e. Permittees must document in the SWPPP the procedures for performing, as appropriate, the
            three types of inspections specified by this permit, including:
          i. Routine facility inspections (see Part 4.1);
         ii. Quarterly visual assessment of storm water discharges (see Part 4.2); and
        iii. Comprehensive site inspections (see Part 4.3).
      f. For each type of inspection performed, the SWPPP must identify:
          i. Person(s) or positions of person(s) responsible for inspection;
         ii. Schedules for conducting inspections, and
        iii. Specific items to be covered by the inspection, including schedules for specific outfalls.
      g. If permittees are invoking the exception for inactive and unstaffed sites relating to routine
            facility inspections and quarterly visual assessments, permittees must include in the SWPPP the
            information to support this claim as required by Parts 4.1.3 and 4.2.3.

5.1.6 Signature Requirements. Permittees must sign and date the SWPPP in accordance with
Appendix B.7 including the date of signature.

5.2       SWPPP Modifications.

5.2.1 Keeping the SWPPP Current. The permittee shall amend the SWPPP within thirty (30) days
whenever there is a change in design, construction, operation, or maintenance, which has a significant
effect on the potential for the discharge of pollutants to the waters of the State of Georgia, or if the
SWPPP proves to be ineffective in eliminating or significantly minimizing pollutants from sources
identified in the SWPPP, or in otherwise achieving the general objectives of controlling pollutants in
storm water discharges associated with industrial activity. The SWPPP must be updated at least
annually.
5.2.2 Required SWPPP Modifications. Permittees must modify the SWPPP whenever necessary to
address any of the triggering conditions for corrective action in Part 3.1 and to ensure that they do not
reoccur, or to reflect changes implemented when a review following the triggering conditions in Part 3.2
indicates that changes to control measures are necessary to meet the effluent limits in this permit.
Changes to the SWPPP document must be made in accordance with the corrective action deadlines in

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Parts 3.3 and 3.4, and must be signed and dated in accordance with Appendix B.7.
5.2.3 The SWPPP must be updated within 30 days of a change of owner or operator.

5.3     SWPPP Availability.

5.3.1 Permittees must retain a copy of the current SWPPP required by this permit at the facility or if
inactive at a readily available location, and it must be readily available to EPD, local agencies approving
storm water management plans, and the operator of an MS4 receiving discharges from the facility, at
the time of an onsite inspection or upon request. The permittee shall make the SWPPP available upon
request to EPD within fifteen (15) days of the request and, in the case of storm water associated with
industrial activity that discharges through a permitted MS4, to the operator of the MS4. Failure to do so
is a violation of the permit. EPD may request a copy of the complete SWPPP or a version of the SWPPP
that would be publicly available. (The publicly available version should not contain any information that
is exempt from public disclosure under the Georgia Open Records Act or other applicable law.)

5.3.2   EPD encourages permittees to post the SWPPP online and provide the website address on the
NOI.

5.4     Additional Documentation Requirements. Permittees are required to maintain the following
inspection, monitoring, and certification records in accordance with Part 7.5 and make them readily
available to EPD. Along with the SWPPP, these complete and up-to-date records demonstrate full
compliance with the conditions of this permit:

5.4.1 A copy of the NOI submitted to EPD along with any correspondence exchanged between
permittee and EPD specific to coverage under this permit;

5.4.2   A copy of this permit (an electronic copy easily available to SWPPP personnel is also acceptable);

5.4.3 Descriptions and dates of any incidences of significant spills, leaks, or other releases that
resulted in discharges of pollutants to waters of the State or U.S., through storm water or otherwise; the
circumstances leading to the release and actions taken in response to the release; and measures taken
to prevent the recurrence of such releases (see Part 2.1.2.4);

5.4.4 Documentation of maintenance and repairs of control measures, including the date(s) of regular
maintenance, date(s) of discovery of areas in need of repair/replacement, and for repairs, date(s) that
the control measure(s) returned to full function, and the justification for any extended
maintenance/repair schedules (see Part 2.1.2.3);

5.4.5 All inspection reports, including the Routine Facility Inspection Reports (see Part 4.1), the
Quarterly Visual Assessment Reports (see Part 4.2), and the Comprehensive Site Inspection Reports (see
Part 4.3);

5.4.6 Descriptions of any deviations from the schedule for visual assessments and/or monitoring, and
the reasons for the deviations (e.g., adverse weather, it was impracticable to collect samples within the
first 30 minutes of a measurable storm event, inactive and unstaffed facility, see Parts 4.2.3.1, 6.1.5, and
6.2.1.3);

5.4.7 Description of any corrective action taken at the facility, including triggering event and dates
when problems were discovered and modifications occurred;


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5.4.8 Documentation of any benchmark exceedances and how they were responded to, including
either (1) corrective action taken, or (2) a finding that no further pollutant reductions were
technologically available and economically practicable and achievable in light of best industry practice
consistent with Part 6.2.1.2;

5.4.9 Documentation to support the claim that the facility has changed its status from active to
inactive and unstaffed with respect to the requirements to conduct routine facility inspections (see Part
4.1.3), quarterly visual assessments (see Part 4.2.3), and/or benchmark monitoring (see Part 6.2.1.3);

5.4.10 Facilities must identify in their SWPPP areas with industrial materials or activities that are
potential sources of fecal coliform and that may be exposed to storm water at the facility. Such
potential sources include, but are not limited to: areas that contain or may contain live animals, animal
matter, animal wastes, or human wastes that are directly related to current or previous industrial
activity at the facility, within the current operator’s knowledge, or that the current operator should have
known about. The SWPPP must include, for each potential industrial source of fecal coliform, a detailed
description of the installation and maintenance of BMPs used to minimize exposure and otherwise
reduce and control fecal coliform in storm water discharges from the facility.

5.4.11 Records of employee training, including a signed attendance roster or certificate of completion
with the date training is received (see Part 5.1.1.2).

5.4.12 Documentation to support the claim that benchmark parameter pollutants are not present or
expected to be in the discharges at the facility with respect to the requirements to conduct benchmark
monitoring (see Part 6.2.1.4).

6      Monitoring. Permittees must collect and analyze storm water samples and document
monitoring activities consistent with the procedures described in Part 6, Appendix B, Appendix C and
any additional sector-specific requirements in Parts 8, respectively. Refer to Part 7 for reporting and
recordkeeping requirements. The sampling required must occur during a site’s normal operating hours.

6.1     Monitoring Procedures.

6.1.1 Monitored Outfalls and Substantially Identical Outfalls. Applicable monitoring requirements
apply to each outfall authorized by this permit, except as otherwise exempt from monitoring as a
“substantially identical outfall.” If the facility has two or more outfalls that permittees believe discharge
substantially identical effluents, based on the similarities of the general industrial activities and control
measures, exposed materials that may significantly contribute pollutants to storm water, and runoff
coefficients of their drainage areas, permittees may monitor the effluent of just one of the outfalls and
report that the results also apply to the substantially identical outfall(s). As required in Part 5.1.5.2, the
SWPPP must identify each outfall authorized by this permit and describe the rationale for any
substantially identical outfall determinations. The allowance for monitoring only one of the
substantially identical outfalls is not applicable to any outfalls with numeric effluent limitations or to
outfalls that discharge to an impaired stream segment. Permittees are required to monitor each outfall
covered by a numeric effluent limit as identified in Part 6.2.2 and each outfall to an impaired stream
segment as identified in Appendix C.

6.1.2 Commingled Discharges. If discharges authorized by this permit commingle with discharges not
authorized under this permit, any required sampling of the authorized discharges must be performed at
a point before they mix with other waste streams, to the extent practicable.


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6.1.3   Measurable Storm Events.

6.1.3.1 All required monitoring must be performed on a storm event that is greater than 0.1 inch of
rainfall (measurable storm event) that results in an actual discharge from the facility that follows the
preceding measurable storm event by at least 72 hours. In the case of snowmelt, the monitoring must
be performed at a time when a measurable discharge occurs at the facility.

6.1.3.2 For each monitoring event, except snowmelt monitoring, permittees must identify the date and
duration (in hours) of the rainfall event, rainfall total (in inches) for that rainfall event, time (in days)
since the previous measurable storm event or, alternatively, the absence of measurable precipitation in
the 72 hours preceding the monitoring event, and estimated volume (in gallons) of discharge sampled.

6.1.4 Sample Type. Permittees must take a minimum of one sample from a discharge resulting from a
measurable storm event as described in Part 6.1.3. Grab samples and the first aliquot of a composite
sample must be collected within the first 30 minutes of initial discharge from a measurable storm event.
If it is not possible to collect the sample within the first 30 minutes of initial discharge from a
measurable storm event, the sample must be collected as soon as practicable after the first 30 minutes,
and documentation must be kept with the SWPPP explaining why it was not possible to take samples
within the first 30 minutes initial discharge. In the case of snowmelt, samples must be taken during a
period with a measurable discharge.

6.1.5 Adverse Weather Conditions. When adverse weather conditions as described in Part 4.2.3.1
prevent the collection of samples according to the relevant monitoring schedule, permittees must take a
sample during the next qualifying storm event. Permittees must document in the SWPPP any failure to
monitor, indicating the basis for not sampling during the usual monitoring period.

6.1.6 Monitoring for Allowable Non-Storm Water Discharges. Permittees are only required to
monitor allowable non-storm water discharges (specified in Part 1.1.3) when they are commingled with
storm water discharges associated with industrial activity.

6.1.7   Monitoring Periods.

6.1.7.1 Monitoring requirements in this permit begin in the first full quarter following the effective date
of the permit or the permittee’s date of discharge authorization, whichever date comes later unless
otherwise stated. If the monitoring is required on a quarterly basis, permittees must monitor at least
once in each of the following 3-month intervals:

                                       January 1 – March 31;
                                       April 1 – June 30;
                                       July 1 – September 30; and
                                       October 1 – December 31.

    a. If the monitoring is required on a bi-annual basis as required in Appendix C.3.4, permittees must
       monitor at least once in each of the following 6-month intervals:

                                       January 1 – June 30;
                                       July 1 – December 31.


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    b. For example, if a permittee obtains permit coverage on August 15, 2011, then the first
       monitoring quarter is October 1 – December 31, 2011. This monitoring schedule may be
       modified in accordance with Part 6.1.5 if the revised schedule is documented within the SWPPP.

6.2    Required Monitoring. All required monitoring must be conducted in accordance with the
procedures described in Appendix B.14. This permit includes the following types of required analytical
monitoring, one or more of which may apply to the permittee’s discharge:
    a. Annual benchmark monitoring (see Part 6.2.1);
    b. Annual effluent limitation monitoring (see Part 6.2.2);
    c. Monitoring of discharges to an impaired stream segment (see Appendix C); and
    d. Other monitoring as required by EPD (see Part 6.2.4).

6.2.1 Benchmark Monitoring. This permit lists pollutant benchmark concentrations that may be
applicable to the permittee’s discharge. More than one sector may apply to a discharge and all must be
addressed in the sampling. The benchmark concentrations are not effluent limitations; a benchmark
exceedance, therefore, is not a permit violation. Benchmark monitoring data are primarily for the
permittee’s use in minimizing the discharge of pollutants and, specifically, to determine the overall
effectiveness of the control measures 2.1.2.1 through 2.1.2.9 and any additional sector specific non-
numeric technology-based effluent limits to determine if modifications are necessary to meet the
effluent limits in this permit and to assist permittees in knowing when additional corrective action(s)
may be necessary to comply with the effluent limitations in Part 2 and the Water Quality Standards in
the receiving waterbody in Part 2.3.1.1.

6.2.1.1 Applicability of Benchmark Monitoring.
    a. Permittees must monitor for any benchmark parameters specified for the industrial sector(s),
         both primary industrial activity and any co-located secondary industrial activities, applicable to
         the discharge. The industry-specific benchmark concentrations are listed in the sector-specific
         sections of Part 8.
    b. Permittees have the option of establishing their own alternative benchmark for any or all of the
         sector-specific benchmark pollutants. Alternative benchmarks shall be for the same pollutants
         as the benchmarks in this permit. An alternative benchmark must be documented in the
         SWPPP, which must contain any supporting data used to develop the alternative benchmark,
         and submitted to EPD by return receipt certified mail (or similar service). Unless notified by the
         EPD to the contrary within 90 days of EPD’s receipt of the alternative benchmark submittal,
         permittees who submit such documentation are authorized to use the alternative benchmark
         for discharge of storm water associated with industrial activity under the terms and conditions
         of this permit. An alternative benchmark shall be based on the following:
         i. A study by qualified person(s) published within 5 years of the effective date of this permit that
            establishes the industry standard; or
        ii. A site-specific study by a professional engineer registered in the State of Georgia. The study
            must be signed, dated and sealed; or
       iii. Georgia’s Water Quality Standards or EPA’s Water Quality Criteria value multiplied by the ratio
            of the combined drainage areas for the receiving waterbody and the storm water discharge to
            the drainage area for the storm water discharge. The value of this ratio shall not be less than
            one (1) nor greater than one hundred (100). If the facility is in one of the industrial sectors
            subject to benchmark concentrations that are hardness-dependent, include in the SWPPP with
            the first benchmark result a hardness value, established consistent with the procedures in
            Appendix E, which is representative of the storm water discharge combined with the receiving
            waterbody.


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      iv. Use of alternative benchmarks cannot cause or contribute to an exceedance of a Water
          Quality Standard.
    c. If the facility is in one of the industrial sectors subject to benchmark concentrations that are
        hardness-dependent, include in the SWPPP with the first benchmark result a hardness value,
        established consistent with the procedures in Appendix E, which is representative of the storm
        water discharge.

6.2.1.2 Benchmark Monitoring Schedule. Benchmark monitoring must be conducted annually, for every
year of permit coverage.
    a. Data not exceeding benchmarks: After collection of the annual sample, if the monitoring value
          for any parameter does not exceed the benchmark, permittees have fulfilled the annual
          monitoring requirement for that parameter for the permit year.
    b. Data exceeding benchmarks: After collection of the annual sample, if the value for any
          parameter exceeds the benchmark, permittees must, in accordance with Part 3.2, review the
          selection, design, installation, and implementation of control measures Parts 2.1.2.1 through
          2.1.2.9 and any additional sector specific non-numeric technology-based effluent limits to
          determine if modifications are necessary to meet the benchmarks in this permit, and either:
        i. Make the necessary modifications and continue sampling each subsequent quarter until the
            benchmark is met; or
       ii. Make a determination that no further pollutant reductions are technologically available and
            economically practicable and achievable in light of best industry practice to meet the non-
            numeric technology-based effluent limits in Parts 2.1.2.1 through 2.1.2.9, in which case
            permittees must continue monitoring once per year. This determination is a one-time
            occurrence during the permit term and can be relied upon for the duration of the permit
            term, so long as there are no significant construction or changes in design, operation, or
            maintenance at the facility that significantly changes the nature of pollutants discharged in
            storm water from the facility or significantly increases the quantity of pollutants discharged.
            Permittees must document the rationale for concluding that no further pollutant reductions
            are achievable, and retain all records related to this documentation with the SWPPP.
            Permittees must notify EPD of this determination via annual report submittal.
      iii. In accordance with Part 3.2, permittees must review control measures and perform any
            required corrective action as quickly as possible (or document why no corrective action is
            required). If after modifying control measures and additional quarterly monitoring, the
            sample value still exceeds the benchmark, permittees must again review control measures
            and take one of the two actions above.
    c. Averages:
        i. Since pH is measured on a log scale, the average of the 4 monitoring values for pH should be
            determined by first converting each pH measurement to its corresponding hydrogen ion
            concentration, calculating the average of the four hydrogen ion concentrations, and then
            converting the average hydrogen ion concentration back to its corresponding pH value. This
            would be the average pH value.
       ii. For biological parameters (i.e. fecal coliform), the samples shall be a geometric mean, not an
            arithmetic average.

6.2.1.3 Exception for Inactive and Unstaffed Sites.
    a. The requirement for benchmark monitoring does not apply at a facility that is inactive and
         unstaffed, as long as there are no industrial materials or activities exposed to storm water. To
         invoke this exception, permittees must do the following:
       i. Maintain a statement onsite with the SWPPP stating that the site is inactive and unstaffed and
           that there are no industrial materials or activities exposed to storm water in accordance with

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           the substantive requirements in 40 CFR Part 122.26(g) and sign and certify the statement in
           accordance with Appendix B.7, and
      ii. If circumstances change and industrial materials or activities become exposed to storm water
           or the facility becomes active and/or staffed, this exception no longer applies and permittees
           must begin complying with the applicable benchmark monitoring requirements under Part 6.2
           as if permittees were in the first year of permit coverage. Permittees must indicate in the first
           benchmark monitoring report that the facility has materials or activities exposed to storm
           water or has become active and/or staffed.
    b. If the permittee is not qualified for this exception at the time of authorization under this permit,
         but during the permit term becomes qualified because the facility is inactive and unstaffed, and
         there are no industrial materials or activities that are exposed to storm water, then the
         permittee must notify EPD of this change before cessation of monitoring under the permit. The
         permittee may discontinue benchmark monitoring once they have notified EPD and prepared
         and signed the certification statement described above in 6.2.1.3.a.i. concerning the facility’s
         qualification for this special exception. Note this exception has different requirements for
         Sector J (see Part 8).

6.2.1.4 Exemption for Facilities without the Benchmark Pollutant.
    a. The requirement for benchmark monitoring does not apply at a facility where the pollutant(s)
          listed as the Sector-specific benchmark parameter(s) is not present as a result of current or
          previous industrial activity at the facility. To invoke this exception, the permittee must do the
          following:
        i. Maintain a statement onsite with the SWPPP stating that the pollutant(s) listed as the Sector-
             specific benchmark parameter is not present at the facility and sign and certify the statement
             in accordance with Appendix B.7, and
       ii. If circumstances change and the pollutant(s) listed as the Sector-specific benchmark
             parameter becomes exposed to storm water, this exception no longer applies and the
             permittee must begin complying with the applicable benchmark monitoring requirements
             under Part 6.2 as if the permittee was in the first year of permit coverage. The permittee
             must indicate in the first benchmark monitoring report that the facility has materials or
             activities exposed to storm water or has become active and/or staffed.
    b. If the permittee is not qualified for this exception at the time of authorization under this permit,
          but during the permit term becomes qualified because the pollutant(s) listed as the Sector-
          specific benchmark parameter is not present at the facility, then the permittee must comply
          with the requirements of 6.2.1.4.a.i above.

6.2.2    Effluent Limitation Monitoring.

6.2.2.1 Monitoring Based on Effluent Limitations.
    a. Table 6-1 identifies the storm water discharges subject to effluent limitations that are
        authorized for coverage under this permit. For such discharges, beginning in the first full
        quarter after the effective date of the permit, for existing permittees, or the permittee’s date of
        discharge authorization for new discharges, permittees must monitor once per year at each
        outfall containing the discharges identified in Table 6-1 for the parameters specified in the
        sector-specific section(s) of Part 8.
    b. For facilities covered by Georgia’s 2006 Industrial Storm Water General NPDES Permit,
        monitoring for the first year of the permit for parameters with effluent limitations in this permit,
        must be carried out within 180 days of the effective date of the permit (or during the next
        qualifying runoff event, should none occur within 180 calendar days), unless the permittee has
        carried out monitoring within one year prior to the effective date of this permit for all pollutants

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      for which the permittee’s sector(s) has limitations in this permit.
   c. If the facility is in one of the industrial sectors subject to effluent concentrations that are
      hardness dependent, the permittee is required to include in the SWPPP with the first effluent
      result a hardness value established consistent with the procedures in Appendix E, which is
      representative of the receiving water.

Table 6-1. Required Monitoring for Effluent Limits Based on Effluent Limitations
Regulated Activity                              Effluent Limit          Monitoring         Sample
                                                                        Frequency          Type
Discharges resulting from spray down or         See Part 8.A.7          1/year             Grab
intentional wetting of logs at wet deck storage
areas
Runoff from phosphate fertilizer                See Part 8.C.4          1/year             Grab
manufacturing facilities that comes into
contact with any raw materials, finished
product, by-products or waste products (SIC
2874)
Runoff from asphalt emulsion facilities         See Part 8.D.4          1/year             Grab
Runoff from material storage piles at cement    See Part 8.E.5          1/year             Grab
manufacturing facilities
Runoff from hazardous waste landfills           See Part 8.K.6          1/year             Grab
Runoff from non-hazardous waste landfills       See Part 8.L.10         1/year             Grab
Runoff from coal storage piles at steam
                                                See Part 8.O.8          1/year             Grab
electric generating facilities

6.2.2.2 Substantially Identical Outfalls. Permittees must monitor each outfall discharging runoff from
any regulated activity identified in Table 6-1 once annually during the term of the permit. The
substantially identical outfall monitoring provisions are not available for numeric effluent limits
monitoring or monitoring of discharges to impaired stream segments. When more than one type of
monitoring for the same parameter at the same outfall applies (e.g., total suspended solids once per
year for an effluent limit and once per quarter for benchmark monitoring at a given outfall), permittees
may use a single sample to satisfy both monitoring requirements.

6.2.3 Laboratory and Analyst Accreditation. All monitoring data not prepared in situ shall be
prepared by a laboratory accredited by the State of Georgia in accordance with EPD Rules for
Commercial Environmental Laboratories 391-3-26, or, where the permittee does their own analysis with
their own personnel, by a Laboratory Analyst certified in compliance with the Georgia State Board of
Examiners for Certification of Water and Wastewater Treatment Plant Operators and Laboratory
Analysts Act. In situ means that the sample is analyzed at the point of collection and has not been
transported any distance. Per 40 CFR 136.3, the field parameter of pH must be acted upon in a timely
manner to assure accurate results. Due to the small timeframe required for accurate pH samples, the
proliferation of pH sampling required by this permit, and the remoteness of many of the types of sites
covered by this permit, EPD is waiving the certification requirement.

6.2.4 Additional Monitoring Required by EPD. EPD may notify permittees of additional discharge
monitoring requirements. Any such notice will briefly state the reasons for the monitoring, locations,
and parameters to be monitored, frequency and period of monitoring, sample types, and reporting
requirements.



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6.3      Follow-up Actions if Discharge Exceeds Numeric Effluent Limit. Permittees must conduct
follow-up monitoring within 30 calendar days (or during the next qualifying runoff event, should none
occur within 30 days) of implementing corrective action(s) taken pursuant to Part 3 in response to an
exceedance of a numeric effluent limit contained in this permit. Monitoring must be performed for any
pollutant(s) that exceeds the effluent limit. If this follow-up monitoring exceeds the applicable effluent
limitation, permittees must comply with both Parts 6.3.1 and 6.3.2.

6.3.1 Exceedance Notification Report. Permittees must maintain an Exceedance Report consistent
with Part 7.3 and must notify EPD of any exceedances within thirty (30) days of an exceedance.
Exceedances shall also be noted on the annual report submittal.

6.3.2 Continue to Monitor. Permittees must continue to monitor, at least quarterly, until the
discharge is in compliance with the effluent limit.

7          Reporting and Recordkeeping
7.1      Reporting Monitoring Data to EPD. All monitoring data collected pursuant to Parts 6.2.1, 6.2.2,
6.2.4, 6.3, and Appendix C must be submitted in a format approved by EPD. The annual reporting form
is available on http://www.gaepd.org/Documents/IndustrialStormwater.html . Paper reporting forms
should be submitted to the appropriate address identified in Part 7.6.

7.2        Annual Reports. Annual reports must be submitted annually per the following schedule:
      a.   January 31, 2013, from the date of your last annual report and all of calendar year 2012.
      b.   January 31, 2014, for calendar year 2013.
      c.   January 31, 2015, for calendar year 2014.
      d.   January 31, 2016, for calendar year 2015.
      e.   January 31, 2017, for calendar year 2016.

7.3     Exceedance Report for Numeric Effluent Limits. If follow-up monitoring pursuant to Part 6.3
exceeds a numeric effluent limit, permittees must retain copies with the SWPPP after permittees have
received the lab results. The report must include the following:
    a. Facility name, physical address and location;
    b. Name of the river basin and receiving water;
    c. Monitoring data from this and the preceding monitoring event(s);
    d. An explanation of the situation; what the permittee has done and intends to do (should the
        corrective actions not yet be complete) to correct the violation; and
    e. An appropriate contact name and phone number.

7.4      Additional Reporting. In addition to the reporting requirements stipulated in Part 7, permittees
are also subject to the standard permit reporting provisions of Appendix B. If a facility discharges
through an MS4, the permittee must also submit these reports to the MS4 operator identified
pursuant to Part 5.1.2. Where applicable, permittees must submit the following reports to the address
listed in Part 7.6:
     a. 24-hour reporting - Permittees must report any noncompliance which may endanger health or
         the environment. Any information must be provided orally within 24 hours to Georgia’s
         Emergency Response Network (ERN) at 1-800-241-4113 from the time the permittee become
         aware of the circumstances;
     b. 5-day follow-up reporting - A written submission must also be provided within five business days
         of the time the permittee becomes aware of the circumstances, contained in 7.4.a;


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    c. Reportable quantity spills (see Part 2.1.2.4) – The permittee must provide notification, as
       required under Part 2.1.2.4, as soon as the permittee has knowledge of a leak, spill, or other
       release containing a hazardous substance or oil in an amount equal to or in excess of a
       reportable quantity.
    d. Other information (see Appendix B) – The permittee must promptly submit facts or information
       if they become aware that they failed to submit relevant facts in an NOI or that they submitted
       incorrect information in the NOI or in any report.
    e. The permittee must submit, within 30 days after the request, results of required monitoring
       when specifically requested by EPD.

7.5      Recordkeeping. The permittee must retain copies of the SWPPP (including any modifications
made during the term of this permit), additional documentation requirements pursuant to Part 5.4
(including documentation related to corrective actions taken pursuant to Part 3), all reports and
certifications required by this permit, monitoring data, and records of all data used to complete the NOI
to be covered by this permit, for a period of at least 3 years after the date that coverage under this
permit expires or is terminated.

7.6     Address for All Submittals. Facilities that discharge storm water associated with industrial
activity must use forms provided by EPD.                  Forms are available on EPD’s web site at
http://www.gaepd.org/Documents/IndustrialStormwater.html or by calling EPD at (404) 675-6240. All
forms must be signed in accordance with Appendix B.7 of this permit. All forms must be submitted by
return receipt certified mail (or a similar service) to EPD at the following address:


                              Georgia Environmental Protection Division
                                    Watershed Protection Branch
                             NonPoint Source Program, Storm Water Unit
                                4220 International Parkway, Suite 101
                                       Atlanta, Georgia 30354




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                   Part 8 – Sector-Specific Requirements for Industrial Activity

Permittees must comply with Part 8 sector-specific requirements associated with the primary industrial
activity and any co-located industrial activities, as defined in Appendix A. The sector-specific
requirements apply to those areas of the facility where those sector-specific activities occur. These
sector-specific requirements are in addition to any requirements specified elsewhere in this permit.

EPA has created a series of Fact Sheets that address the nature of the industrial activity in each sector,
types of materials typically handled, and commonly employed material practices. Permittees should
consider this a resource in BMP consideration and development of the SWPPP. This material can be
found at the following address: http://cfpub.epa.gov/npdes/stormwater/swsectors.cfm . The sector
numbering of the Fact Sheets is similar to Georgia’s 2011 IGP and where it differs, follows EPA’s 2008
Multi-Sector General Permit for Stormwater Discharges Associated with Industrial Activity (2008 MSGP).




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Sector 8.A – Timber Products.


    Subsector            SIC Code                           Activity Represented

                                    SECTOR A: TIMBER PRODUCTS
        A1                 2421         General Sawmills and Planing Mills
        A2                 2491         Wood Preserving
        A3                 2411         Log Storage and Handling
                           2426         Hardwood Dimension and Flooring Mills
                           2429         Special Product Sawmills, Not Elsewhere Classified
                         2431-2439      Millwork, Veneer, Plywood, and Structural Wood
                       (except 2434)    (see Sector W)
        A4                 2448         Wood Pallets and Skids
                           2449         Wood Containers, Not Elsewhere Classified
                        2451, 2452      Wood Buildings and Mobile Homes
                           2493         Reconstituted Wood Products
                           2499         Wood Products, Not Elsewhere Classified
        A5                 2441         Nailed and Lock Corner Wood Boxes and Shook

8.A.1 Covered Storm Water Discharges.
The requirements in Sector A apply to storm water discharges associated with industrial activity from
Timber Products facilities as identified by the SIC Codes specified above.

8.A.2 Limitation on Coverage.
8.A.2.1 Prohibition of Discharges. (See also Part 1.1.4) Not covered by this permit: storm water
discharges from areas where there may be contact with the chemical formulations sprayed to provide
surface protection. These discharges must be covered by a separate NPDES permit.
8.A.2.2 Authorized Non-Storm Water Discharges. (See also Part 1.1.3) Also authorized by this permit,
provided the non-storm water component of the discharge is in compliance with the requirements in
Part 2.1.2: discharges from the spray down of lumber and wood product storage yards where no
chemical additives are used in the spray-down waters and no chemicals are applied to the wood during
storage.

8.A.3 Additional Technology-Based Effluent Limits.
Good Housekeeping. (See also Part 2.1.2.2) In areas where storage, loading and unloading, and material
handling occur, perform good housekeeping to limit the discharge of wood debris, minimize the
leachate generated from decaying wood materials, and minimize the generation of dust.

8.A.4 Additional SWPPP Requirements.
8.A.4.1 Drainage Area Site Map. (See also Part 5.1.2) Document in the SWPPP where any of the
following may be exposed to precipitation or surface runoff: processing areas, treatment chemical
storage areas, treated wood and residue storage areas, wet decking areas, dry decking areas, untreated
wood and residue storage areas, and treatment equipment storage areas.
8.A.4.2 Inventory of Exposed Materials. (See also Part 5.1.3.2) Where such information exists, if the
facility has used chlorophenolic, creosote, or chromium-copper-arsenic formulations for wood surface

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protection or preserving, document in the SWPPP the following: areas where contaminated soils,
treatment equipment, and stored materials still remain and the management practices employed to
minimize the contact of these materials with storm water runoff.
8.A.4.3 Description of Storm Water Management Controls. (See also Part 5.1.4) Document measures
implemented to address the following activities and sources: log, lumber, and wood product storage
areas; residue storage areas; loading and unloading areas; material handling areas; chemical storage
areas; and equipment and vehicle maintenance, storage, and repair areas. If the facility performs wood
surface protection and preservation activities, address the specific control measures, including any
BMPs, for these activities.

8.A.5 Additional Inspection Requirements.
If the facility performs wood surface protection and preservation activities, inspect processing areas,
transport areas, and treated wood storage areas monthly to assess the usefulness of practices to
minimize the deposit of treatment chemicals on unprotected soils and in areas that will come in contact
with storm water discharges. (See also Part 4)

8.A.6 Sector-Specific Benchmarks. (See also Part 6)
Table 8.A-1 identifies benchmarks that apply to the specific subsectors of Sector A. These benchmarks
apply to each of the outfalls whether described by the primary industrial activity, any applicable co-
located industrial activities, or both.

Table 8.A-1
Subsector                                                                             Benchmark
(Permittees may be subject to requirements for more    Parameter                      Monitoring
than one sector/subsector)                                                            Concentration
Subsector A1. General Sawmills and Planing Mills       Chemical Oxygen Demand         120 mg/L
(SIC 2421)                                             (COD)
                                                       Total Suspended Solids (TSS)   100 mg/L
                                                       Dissolved Zinc1                Hardness
                                                                                      Dependent
Subsector A2. Wood Preserving (SIC 2491)2              Dissolved Arsenic              0.15 mg/L
                                                       Dissolved Copper1              Hardness
                                                                                      Dependent
                                                       Total Suspended Solids (TSS)   100 mg/L
Subsector A3. Log Storage and Handling                 Total Suspended Solids (TSS)   100 mg/L
(SIC 2411)
Subsector A4. Hardwood Dimension and Flooring          Chemical Oxygen Demand         120 mg/L
Mills; Special Products Sawmills, not elsewhere        (COD)
classified; Millwork, Veneer, Plywood, and
Structural Wood; Wood Pallets and Skids; Wood
Containers, not elsewhere classified; Wood
Buildings and Mobile Homes; Reconstituted Wood
Products; and Wood Products Facilities not
elsewhere classified (SIC 2426, 2429, 2431-2439
                                                       Total Suspended Solids (TSS)   100 mg/L
(except 2434), 2441, 2448, 2449, 2451, 2452, 2493,
and 2499)
Facilities in Subsectors A1, A2, A3 and A4 with        Chemical Oxygen Demand         120 mg/L
discharges from material storage piles. 3              (COD)

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1
  The benchmark values of some metals are dependent on water hardness. For these parameters, permittees must
determine the hardness in accordance with Appendix E, “Determining Benchmarks for Hardness Dependent
Metals” (Part 6.2.1.1), to identify the applicable ‘hardness range’ for determining their benchmark value applicable
to their facility. The ranges occur in 25 mg/L increments.
2
  Sampling for Dissolved Arsenic and Dissolved Copper only required for permittees that use chromium-arsenic
formulations.
3
  Facilities with discharges from material storage piles must sample one (1) qualifying rain event each quarter at
outfalls receiving the discharges, in the first year of permit coverage. If at least seventy-five (75) percent or the
average of the samples do not exceed the benchmark value, permittees may revert to annual sampling in
accordance with Part 6.2.

8.A.7 Effluent Limitations. (See also Part 6.2.2.1)
Table 8.A-2 identifies effluent limits that apply to the storm water discharges from the industrial
activities described below. Compliance with these effluent limits is to be determined based on the
storm water discharges from these industrial activities independent of commingling with any other
wastestreams that may be covered under this permit.

Table 8.A-21
Industrial Activity
Discharges resulting from spray down or             pH                               6.0 - 9.0 s.u.
intentional wetting of logs at wet deck             Debris (woody material           No discharge of debris that
storage areas                                       such as bark, twigs,             will not pass through a
                                                    branches, heartwood, or          2.54-cm (1-in.) diameter
                                                    sapwood)                         round opening
1
    Monitor annually.




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Sector 8.B – Paper and Allied Products.


     Subsector               SIC Code         Activity Represented

         B1                   2631            Paperboard Mills
                              2611            Pulp Mills
                              2621            Paper Mills
         B2                 2652-2657         Paperboard Containers and Boxes
                                              Converted Paper and Paperboard Products, Except Containers
                            2671-2679
                                              and Boxes

8.B.1 Covered Storm Water Discharges.
The requirements in Sector B apply to storm water discharges associated with industrial activity from
Paper and Allied Products Manufacturing facilities, as identified by the SIC Codes specified above.

8.B.2 Sector-Specific Benchmarks. (See also Part 6)
Table 8.B-1 identifies benchmarks that apply to the specific subsectors of Sector B. These benchmarks
apply to each of the outfalls whether described by the primary industrial activity, any applicable co-
located industrial activities, or both.

Table 8.B-1
Subsector                                                                                      Benchmark
(Permittees may be subject to requirements for more than      Parameter                        Monitoring
one sector/subsector)                                                                          Concentration
Subsector B1. Paperboard Mills                                Chemical Oxygen Demand           120 mg/L
(SIC Code 2631)                                               (COD)
Facilities with discharges from material storage piles.1 Chemical Oxygen Demand                120 mg/L
                                                         (COD)
1
 Facilities with discharges from material storage piles must sample one (1) qualifying rain event each quarter at
outfalls receiving the discharges, in the first year of permit coverage. If at least seventy-five (75) percent or the
average of the samples do not exceed the benchmark value, permittees may revert to annual sampling in
accordance with Part 6.2.




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Sector 8.C – Chemical and Allied Products Manufacturing, and Refining.


     Subsector             SIC Code          Activity Represented

         C1               2873-2879          Agricultural Chemicals
         C2               2812-2819          Industrial Inorganic Chemicals
                                             Soaps, Detergents, and Cleaning Preparations; Perfumes,
         C3               2841-2844
                                             Cosmetics, and Other Toilet Preparations
                                             Plastics Materials and Synthetic Resins, Synthetic Rubber,
         C4               2821-2824
                                             Cellulosic and Other Manmade Fibers Except Glass
                                             Medicinal Chemicals and Botanical Products; Pharmaceutical
                          2833-2836          Preparations; in vitro and in vivo Diagnostic Substances; and
                                             Biological Products, Except Diagnostic Substances
                              2851           Paints, Varnishes, Lacquers, Enamels, and Allied Products
                           2861-2869         Industrial Organic Chemicals
         C5                2891-2899         Miscellaneous Chemical Products
                              3952           Inks and Paints, Including China Painting Enamels, India Ink,
                       (limited to list of   Drawing Ink, Platinum Paints for Burnt Wood or Leather Work,
                        inks and paints)     Paints for China Painting, Artist’s Paints and Watercolors
                              2911           Petroleum Refining

8.C.1 Covered Storm Water Discharges.
The requirements in Sector C apply to storm water discharges associated with industrial activity from
Chemical and Allied Products Manufacturing, and Refining facilities, as identified by the SIC Codes
specified above.

8.C.2 Limitations on Coverage.
8.C.2.1 Prohibition of Non-Storm Water Discharges. (See also Part 1.1.4) The following are not covered
by this permit: non-storm water discharges containing inks, paints, or substances (hazardous,
nonhazardous, etc.) resulting from an onsite spill, including materials collected in drip pans; washwater
from material handling and processing areas; and washwater from drum, tank, or container rinsing and
cleaning.

8.C.3 Sector-Specific Benchmarks. (See also Part 6)
Table 8.C-1 identifies benchmarks that apply to the specific subsectors of Sector C. These benchmarks
apply to each of the outfalls whether described by the primary industrial activity, any applicable co-
located industrial activities, or both.

Table 8.C-1
Subsector                                        Parameter                           Benchmark
(Permittees may be subject to requirements for                                       Monitoring
more than one sector/subsector)                                                      Concentration
Subsector C1. Agricultural Chemicals (SIC        Nitrate plus Nitrite Nitrogen       0.68 mg/L
2873-2879)                                       Dissolved Lead1                     Hardness Dependent
                                                 Dissolved Zinc1                     Hardness Dependent


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Subsector C1. Agricultural Chemicals (SIC     Phosphorus                                    Measure in mg/L
2873-2879) continued                          Oil & Grease                                  15 mg/L
                                              Chemical Oxygen Demand (COD)                  120 mg/L
                                              Total Suspended Solids (TSS)                  100 mg/L
                                              pH                                            6 – 9 s.u.
Subsector C2. Industrial Inorganic            Nitrate plus Nitrite Nitrogen                 0.68 mg/L
Chemicals                                     Oil & Grease                                  15 mg/L
(SIC 2812-2819)                               Chemical Oxygen Demand (COD)                  120 mg/L
                                              Total Suspended Solids (TSS)                  100 mg/L
                                              pH                                            6 – 9 s.u.
Subsector C3. Soaps, Detergents,              Nitrate plus Nitrite Nitrogen                 0.68 mg/L
Cosmetics, and Perfumes (SIC 2841-2844) Dissolved Zinc1                                     Hardness Dependent
                                              Oil & Grease                                  15 mg/L
                                              Chemical Oxygen Demand (COD)                  120 mg/L
                                              Total Suspended Solids (TSS)                  100 mg/L
                                              pH                                            6 – 9 s.u.
Subsector C4. Plastics, Synthetics, and       Dissolved Zinc1                               Hardness Dependent
Resins (SIC 2821-2824)                        Oil & Grease                                  15 mg/L
                                              Chemical Oxygen Demand (COD)                  120 mg/L
                                              Total Suspended Solids (TSS)                  100 mg/L
                                              pH                                            6 – 9 s.u.
Subsector C5. Medicinal Chemicals and         Oil & Grease                                  15 mg/L
Botanical Products; Pharmaceutical            Chemical Oxygen Demand (COD)                  120 mg/L
Preparations; in vitro and in vivo Diagnostic Total Suspended Solids (TSS)                  100 mg/L
Substances; Biological Products, Except       pH                                            6 – 9 s.u.
Diagnostic Substances; Paints, Varnishes,
Lacquers, Enamels, and Allied Products;
Industrial Organic Chemicals;
Miscellaneous Chemical Products
Inks and Paints; Petroleum Refining
 (SIC 2833-2836, 2851, 2861-2869, 2891-
2899, 3952, 2911)
1
 The benchmark values of some metals are dependent on water hardness. For these parameters, permittees must
determine the hardness in accordance with Appendix E, “Determining Benchmarks for Hardness Dependent
Metals” (Part 6.2.1.1), to identify the applicable ‘hardness range’ for determining their benchmark value applicable
to their facility. The ranges occur in 25 mg/L increments.

8.C.4 Effluent Limitations. (See also Part 6.2.2.1)
Table 8.C-2 identifies effluent limits that apply to the storm water discharges from the industrial
activities described below. Compliance with these effluent limits is to be determined based on
discharges from these industrial activities independent of commingling with any other wastestreams
that may be covered under this permit.




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Table 8.C-21
Industrial Activity                        Parameter                 Effluent Limit
Runoff from phosphate fertilizer           Total Phosphorus (as P)   105.0 mg/L, daily maximum
manufacturing facilities that comes into                             35 mg/L, 30-day avg.
contact with any raw materials, finished   Fluoride                  75.0 mg/L, daily maximum
product, by-products or waste products                               25.0 mg/L, 30-day avg.
(SIC 2874)
1
    Monitor annually.




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    Sector 8.D – Asphalt Paving and Roofing Materials and Lubricant Manufacturing.


        Subsector            SIC Code       Activity Represented

            D1              2951, 2952      Asphalt Paving and Roofing Materials
            D2              2992, 2999      Miscellaneous Products of Petroleum and Coal

    8.D.1 Covered Storm Water Discharges.
    The requirements in Sector D apply to storm water discharges associated with industrial activity from
    Asphalt Paving and Roofing Materials and Lubricant Manufacturing facilities, as identified by the SIC
    Codes specified above.

    8.D.2 Limitations on Coverage.
    The following storm water discharges associated with industrial activity are not authorized by this
    permit (See also Part 1.1.4):
            a. Discharges from petroleum refining facilities, including those that manufacture asphalt or
                asphalt products, that are subject to nationally established effluent limitations found in 40
                CFR Part 419 (Petroleum Refining); or
            b. Discharges from oil recycling facilities.

    8.D.3 Sector-Specific Benchmarks. (See also Part 6)
    Table 8.D-1 identifies benchmarks that apply to the specific subsectors of Sector D. These benchmarks
    apply to each of the outfalls whether described by the primary industrial activity, any applicable co-
    located industrial activities, or both.
    Table 8.D-1
                                                                                      Benchmark
    Subsector                                       Parameter                         Monitoring
                                                                                      Concentration
    Subsector D1. Asphalt Paving and Roofing        Total Suspended Solids (TSS)      100 mg/L
    Materials (SIC 2951, 2952)

    8.D.4 Effluent Limitations (See also Part 6.2.2.1)
    Table 8.D-2 identifies effluent limits that apply to storm water discharges from the industrial activities
    described below. Compliance with these effluent limits is to be determined based on discharges from
    these industrial activities independent of commingling with any other wastestreams that may be
    covered under this permit.

    Table 8.D-21
    Industrial Activity                              Parameter                  Effluent Limit
    Discharges from asphalt emulsion facilities.     Total Suspended Solids     23.0 mg/L, daily maximum
                                                     (TSS)                      15.0 mg/L, 30-day avg.
                                                     pH                         6.0 - 9.0 s.u.
                                                     Oil & Grease               15.0 mg/L, daily maximum
                                                                                10 mg/L, 30-day avg.
1
Monitor annually.



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Sector 8.E – Glass, Clay, Cement, Concrete, and Gypsum Products.


    Subsector             SIC Code        Activity Represented

                         3251-3259        Structural Clay Products
        E1
                         3261-3269        Pottery and Related Products
        E2               3271-3274        Concrete and Plaster Products
                           3211           Flat Glass
                         3221, 3229       Glass and Glassware, Pressed or Blown
                           3231           Glass Products Made of Purchased Glass
                           3241           Hydraulic Cement
        E3
                           3275           Gypsum
                           3281           Cut Stone and Stone Products
                                          Abrasive, Asbestos, and Miscellaneous Nonmetallic Mineral
                         3291-3299
                                          Products

8.E.1 Covered Storm Water Discharges.
The requirements in Sector E apply to storm water discharges associated with industrial activity from
Glass, Clay, Cement, Concrete, and Gypsum Products facilities, as identified by the SIC codes above.

8.E.2 Additional Technology-Based Effluent Limits.
Good Housekeeping Measures. (See also Part 2.1.2.2) With good housekeeping, prevent or minimize the
discharge of spilled cement, aggregate (including sand or gravel), kiln dust, fly ash, settled dust, or other
significant material in storm water from paved portions of the site that are exposed to storm water.
Consider sweeping regularly or using other equivalent measures to minimize the presence of these
materials. Indicate in the SWPPP the frequency of sweeping or equivalent measures. Determine the
frequency based on the amount of industrial activity occurring in the area and the frequency of
precipitation, but it must be performed at least once a week if cement, aggregate, kiln dust, fly ash, or
settled dust are being handled or processed. Permittees must also prevent the exposure of fine
granular solids (cement, fly ash, kiln dust, etc.) to storm water, where practicable, by storing these
materials in enclosed silos, hoppers, or buildings, or under other covering.

8.E.3 Additional SWPPP Requirements.
8.E.3.1 Drainage Area Site Map. (See also Part 5.1.2) Document in the SWPPP the locations of the
following, as applicable: bag house or other dust control device; recycle/sedimentation pond, clarifier,
or other device used for the treatment of process wastewater; and the areas that drain to the treatment
device.
8.E.3.2 Certification. (See also Part 5.1.3.4) For facilities producing ready-mix concrete, concrete block,
brick, or similar products, include in the non-storm water discharge certification a description of
measures that ensure that process waste waters resulting from washing trucks, mixers, transport
buckets, forms, or other equipment are discharged in accordance with NPDES requirements or are
recycled.




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    8.E.4 Sector-Specific Benchmarks. (See also Part 6)
    Table 8.E-1 identifies benchmarks that apply to the specific subsectors of Sector E. These benchmarks
    apply to each of the outfalls whether described by the primary industrial activity, any applicable co-
    located industrial activities, or both.

    Table 8.E-1
    Subsector                                                                                    Benchmark
    (Permittees may be subject to requirements for         Parameter                             Monitoring
    more than one sector/subsector)                                                              Concentration
    Subsector E1. Clay Product Manufacturers (SIC          Total Suspended Solids (TSS)          100 mg/L
    3251-3259, 3261-3269)
                                                           Turbidity                             Measure in NTUs
    Subsector E2. Concrete Product                         Total Suspended Solids (TSS)          100 mg/L
    Manufacturers (SIC 3271-3274)
                                                           pH                                    6.0 - 9.0 s.u.
                                                           Oil & Grease                          15 mg/L
                                                           Chemical Oxygen Demand                120 mg/L
                                                           (COD)
    Subsector E3. Flat Glass; Glass and Glassware,         Total Suspended Solids (TSS)          100 mg/L
    Pressed or Blown; Glass Products Made of
    Purchased Glass; Hydraulic Cement; Gypsum,
    Cut Stone and Stone Products; and Abrasive,
    Asbestos, and Miscellaneous Nonmetallic
    Mineral Products (SIC 3211, 3221, 3229, 3231,
    3241, 3275, 3281, 3291-3299)
    Facilities in Subsectors E1, E2 and E3 with            Total Suspended Solids (TSS)          100 mg/L
                                             1
    discharges from material storage piles.
    1
     Facilities with discharges from material storage piles must sample one (1) qualifying rain event each quarter at
    outfalls receiving the discharges, in the first year of permit coverage. If at least seventy-five (75) percent or the
    average of the samples do not exceed the benchmark value, permittees may revert to annual sampling in
    accordance with Part 6.2.

    8.E.5 Effluent Limitations. (See also Part 6.2.2.1)
    Table 8.E-2 identifies effluent limits that apply to storm water discharges from the industrial activities
    described below. Compliance with these limits is to be determined based on discharges from these
    industrial activities independent of commingling with any other wastestreams that may be covered
    under this permit.

    Table 8.E-21
    Industrial Activity                                    Parameter                        Effluent Limit
    Discharges from material storage piles at              Total Suspended Solids           50 mg/L, daily maximum
    cement manufacturing facilities                        (TSS)
                                                           pH                               6.0 - 9.0 s.u.
1
Monitor annually.




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Sector 8.F – Primary Metals.


    Subsector            SIC Code        Activity Represented

        F1              3312-3317        Steel Works, Blast Furnaces, and Rolling and Finishing Mills
        F2              3321-3325        Iron and Steel Foundries
        F3              3351-3357        Rolling, Drawing, and Extruding of Nonferrous Metals
        F4              3363-3369        Nonferrous Foundries (Castings)
                        3331-3339        Primary Smelting and Refining of Nonferrous Metals
        F5                3341           Secondary Smelting and Refining of Nonferrous Metals
                        3398, 3399       Miscellaneous Primary Metal Products

8.F.1 Covered Storm Water Discharges.
The requirements in Sector F apply to storm water discharges associated with industrial activity from
Primary Metals facilities, as identified by the SIC Codes specified above.

8.F.2 Additional Technology-Based Effluent Limits.
Good Housekeeping Measures. (See also Part 2.1.2.2) As part of the good housekeeping program,
include a cleaning and maintenance program for all impervious areas of the facility where particulate
matter, dust, or debris may accumulate, especially areas where material loading and unloading, storage,
handling, and processing occur; and, where practicable, the paving of areas where vehicle traffic or
material storage occur but where vegetative or other stabilization methods are not practicable (institute
a sweeping program in these areas too). For unstabilized areas where sweeping is not practicable,
consider using storm water management devices such as sediment traps, vegetative buffer strips, filter
fabric fence, sediment filtering boom, gravel outlet protection, or other equivalent measures that
effectively trap or remove sediment.

8.F.3 Additional SWPPP Requirements.
8.F.3.1 Drainage Area Site Map. (See also Part 5.1.2) Identify in the SWPPP where any of the following
activities may be exposed to precipitation or surface runoff: storage or disposal of wastes such as spent
solvents and baths, sand, slag and dross; liquid storage tanks and drums; processing areas including
pollution control equipment (e.g., baghouses); and storage areas of raw material such as coal, coke,
scrap, sand, fluxes, refractories, or metal in any form. In addition, indicate where an accumulation of
significant amounts of particulate matter could occur from such sources as furnace or oven emissions,
losses from coal and coke handling operations, etc., and could result in a discharge of pollutants to
waters of the State.
8.F.3.2 Inventory of Exposed Material. (See also Part 5.1.3.2) Include in the inventory of materials
handled at the site that potentially may be exposed to precipitation or runoff, areas where deposition of
particulate matter from process air emissions or losses during material-handling activities are possible.

8.F.4 Additional Inspection Requirements.
As part of conducting quarterly routine facility inspections (Part 4.1) and/or in conjunction with any
quarterly inspections required by air quality permits, address all potential sources of storm water
pollutants, including (if applicable) air pollution control equipment (e.g., baghouses, electrostatic
precipitators, scrubbers, and cyclones), for any signs of degradation (e.g., leaks, corrosion, or improper
operation) that could contribute to storm water pollution. Also inspect all process and material handling


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equipment (e.g., conveyors, cranes, and vehicles) for leaks, drips, or the potential loss of material; and
material storage areas (e.g., piles, bins, or hoppers for storing coke, coal, scrap, or slag, as well as
chemicals stored in tanks and drums) for signs of material losses due to wind or storm water runoff.

8.F.5 Sector-Specific Benchmarks. (See also Part 6)
These benchmarks apply to each of the outfalls whether described by the primary industrial activity, any
applicable co-located industrial activities, or both.

Table 8.F-1
Subsector                                                                             Benchmark Monitoring
(Permittees may be subject to requirements for     Parameter                          Concentration
more than one sector/subsector)
Subsector F1. Steel Works, Blast Furnaces,         Dissolved Zinc1                    Hardness Dependent
and Rolling and Finishing Mills (SIC 3312-         Oil & Grease                       15 mg/L
3317)                                              Chemical Oxygen Demand             120 mg/L
                                                   (COD)
Subsector F2. Iron and Steel Foundries             Total Suspended Solids (TSS)       100 mg/L
(SIC 3321-3325)                                    pH                                 6-9 s.u.
                                                   Dissolved Lead1                    Hardness Dependent
Subsector F3. Rolling, Drawing, and
                                                   Dissolved Cadmium1                 Hardness Dependent
Extruding of Nonferrous Metals
(SIC 3351-3357)                                    Dissolved Copper1                  Hardness Dependent
                                                   Dissolved Arsenic                  0.15 mg/L
Subsector F4. Nonferrous Foundries                 Dissolved Chromium                 Measure in mg/L
(SIC 3363-3369)
1
 The benchmark values of some metals are dependent on water hardness. For these parameters, permittees must
determine the hardness in accordance with Appendix E, “Determining Benchmarks for Hardness Dependent
Metals” (Part 6.2.1.1), to identify the applicable ‘hardness range’ for determining their benchmark value applicable
to their facility. The ranges occur in 25 mg/L increments.




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Sector G – Transportation Equipment, Industrial or Commercial Machinery Facilities.


    Subsector            SIC Code       Activity Represented

                         3511-3599
                                        Industrial and Commercial Machinery, Except Computer and
                       (except 3571-
                                        Office Equipment (see Sector H)
                           3579)
        G1
                         3711-3799
                                        Transportation Equipment Except Ship and Boat Building and
                       (except 3731,
                                        Repairing (see Sector R)
                           3732)

8.G.1 Covered Storm Water Discharges.
The requirements in Sector G apply to storm water discharges associated with industrial activity from
Transportation Equipment, Industrial or Commercial Machinery facilities as identified by the SIC Codes
specified above.

8.G.2 Additional SWPPP Requirements.
8.G.2.1 Drainage Area Site Map. (See also Part 5.1.2) Identify in the SWPPP where any of the following
may be exposed to precipitation or surface runoff: vents and stacks from metal processing and similar
operations.
8.G.2.2 Vehicle and Equipment Washwater Requirements. If washwater is generated, describe the
disposal method (e.g., hauled offsite, retained onsite) and attach all pertinent
documentation/information (e.g., frequency, volume, destination, etc.) in the SWPPP.




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Sector 8.H –Electronic and Electrical Equipment and Components, Photographic and Optical Goods.


    Subsector             SIC Code       Activity Represented

                         3571-3579       Computer and Office Equipment
                                         Measuring, Analyzing, and Controlling Instruments;
                         3812-3873
        H1                               Photographic and Optical Goods, Watches, and Clocks
                                         Electronic and Electrical Equipment and Components, Except
                         3612-3699
                                         Computer Equipment

8.H.1 Covered Storm Water Discharges.
The requirements in Sector H apply to storm water discharges associated with industrial activity from
facilities that manufacture Electronic and Electrical Equipment and Components, Photographic and Optical
Goods as identified by the SIC Codes specified above.

8.H.2 Additional Requirements.
No additional sector-specific requirements apply.




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Sector 8.I – Oil and Gas Extraction.


    Subsector             SIC Code                            Activity Represented

                      1311               Crude Petroleum and Natural Gas
        I1            1321               Natural Gas Liquids
                      1381-1389          Oil and Gas Field Services

8.I.1 Covered Storm Water Discharges.
The requirements in Sector I apply to storm water discharges associated with industrial activity from Oil
and Gas Extraction facilities as identified by the SIC Codes specified above.
8.I.1.1 Discharges of storm water runoff from field activities or operations associated with oil and gas
exploration, production, processing, or treatment operations or transmission facilities are exempt from
NPDES permit coverage unless, in accordance with 40 CFR 122.26(c)(1)(iii), the facility:
     a. Has had a discharge of storm water resulting in the discharge of a reportable quantity for which
        notification is or was required pursuant to 40 CFR 117.21 or 40 CFR 302.6 at anytime since
        November 16, 1987; or
     b. Has had a discharge of storm water resulting in the discharge of a reportable quantity for which
        notification is or was required pursuant to 40 CFR 110.6 at any time since November 16, 1987;
        or
     c. Contributes to a violation of a water quality standard.
8.I.1.2 Any storm water discharges that require permit coverage as a result of meeting one of the
conditions of 122.26(c)(1)(iii) may be covered under this permit unless otherwise required to obtain
coverage under an alternative NPDES general permit or an individual NPDES permit as specified in Part
1.6.1.
8.I.2 Limitations on Coverage.
8.I.2.1 Storm Water Discharges Subject to Effluent Limitations. (See also Part 1.1.4.4) This permit does
not authorize storm water discharges from petroleum drilling operations that are subject to nationally
established effluent limitations found at 40 CFR Part 435, respectively.
8.I.2.2 Non-Storm Water Discharges. Discharges of vehicle and equipment washwater, including tank
cleaning operations, are not authorized by this permit. Alternatively, washwater discharges must be
authorized under a separate NPDES permit, or be discharged to a sanitary sewer in accordance with
applicable industrial pretreatment requirements.

8.I.3 Additional Technology-Based Effluent Limits.
8.I.3.1 Vegetative Controls. Implement vegetative practices designed to preserve existing vegetation,
where attainable, and revegetate open areas as soon as practicable after grade drilling. Consider the
following (or equivalent measures): temporary or permanent seeding, mulching, sod stabilization,
vegetative buffer strips, and tree protection practices. Begin implementing appropriate vegetative
practices on all disturbed areas within 14 days following the last activity in that area.

8.I.4 Additional SWPPP Requirements.
8.I.4.1 Drainage Area Site Map. (See also Part 5.1.2) Document in the SWPPP where any of the following
may be exposed to precipitation or surface runoff: Reportable Quantity (RQ) releases; locations used for
the treatment, storage, or disposal of wastes; processing areas and storage areas; chemical mixing
areas; construction and drilling areas; all areas subject to the effluent guidelines requirements for “No
Discharge” in accordance with 40 CFR 435.32; and the structural controls to achieve compliance with the


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“No Discharge” requirements.
8.I.4.2 Potential Pollutant Sources. (See also Part 5.1.3) Also document in the SWPPP the following
sources and activities that have potential pollutants associated with them: chemical, cement, mud, or
gel mixing activities; drilling or mining activities; and equipment cleaning and rehabilitation activities. In
addition, include information about the RQ release that triggered the permit application requirements:
the nature of the release (e.g., spill of oil from a drum storage area), amount of oil or hazardous
substance released, amount of substance recovered, date of the release, cause of the release (e.g., poor
handling techniques and lack of containment in the area), areas affected by the release (i.e., land and
water), procedure to clean up release, actions or procedures implemented to prevent or improve
response to a release, and remaining potential contamination of storm water from release (taking into
account human health risks, the control of drinking water intakes, and the designated uses of the
receiving water).
8.I.4.3 Erosion and Sedimentation Control. (See also Part 2.1.2.5) Additional documentation
requirements for erosion and sediment controls for well drillings and sand/shale mining areas include
the following:
8.I.4.3.1 Site Description. Also include a description in the SWPPP of the nature of the exploration
activity, estimates of the total area of site and area disturbed due to exploration activity, an estimate of
runoff coefficient of the site, a site drainage map, including approximate slopes, and the names of all
receiving waters.
8.I.4.3.2 Vegetative Controls. Document vegetative practices used consistent with Part 8.I.3.1 in the
SWPPP.




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Sector 8.J –Mining and Dressing.


    Subsector            SIC Code        Activity Represented

                        1011, 1021,
                        1031, 1041,
                        1044, 1061,
                        1081, 1094,
                        1099, 1411,
        J1                               Mining
                        1422-1429,
                        1442, 1446,
                        1459, 1474-
                        1479, 1481,
                           1499
        J2                 1455          Kaolin and Clay Ball Mining

8.J.1 Covered Storm Water Discharges.
The requirements in Sector J apply to storm water discharges associated with industrial activity from
Active and Inactive Mining and Dressing facilities as identified by the SIC Codes specified above.
8.J.1.1 Discharges from Inactive Facilities. All storm water discharges.
8.J.1.2 Discharges from Active and Temporarily Inactive Facilities. All storm water discharges, except for
storm water discharges subject to the existing effluent limitations at 40 CFR Part 436. Water utilized in
fugitive dust suppressions systems including but not limited to wheel washers, fixed water sprays, water
trucks, and similar water-based systems, excluding vehicle and equipment wash water, can be covered
by this permit provided it is not allowed to run-off or discharge from the site during dry weather.
8.J.1.3 Discharges from Exploration and Construction of Mining Facilities. All storm water discharges,
except those disturbing 1 acre or greater not associated with the mining activity, (e.g., construction of
scales, offices, and buildings).
8.J.1.4 Discharges from Sites Undergoing Reclamation. All storm water discharges.

8.J.2 Limitations on Coverage.
Storm water discharges subject to an existing effluent limitation at 40 CFR Part 436 are not authorized
by this permit.Discharges from vehicle wash water are prohibited in accordance with 1.1.4.1.
8.J.3 Definitions.
The following definitions are not intended to supersede the definitions of active and inactive mining
facilities established by 40 CFR 122.26(b)(14)(iii).
8.J.3.1 Mining operations - Consists of the active and temporarily inactive phases, removal of
overburden, land disturbing activities for construction of buildings, equipment and appurtenances
where the land disturbance is less than an acre, and the reclamation phase, but excludes the exploration
phase.
8.J.3.2 Active phase - Activities including the extraction, removal or recovery of minerals. For surface
mines, this definition does not include any land where grading has returned the earth to a desired
contour and reclamation has begun. This definition is derived from the definition of “active mining area”
found at 40 CFR 440.132(a). The active phase is considered part of “mining operations.”
8.J.3.3 Reclamation phase - Activities undertaken, in compliance with applicable mined land
reclamation requirements, following the cessation of the “active phase”, intended to return the land to



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an appropriate post-mining land use. The reclamation phase is considered part of "mining operations".
8.J.3.4 Active Mining Facility - A place where work or other activity related to the extraction, removal,
or recovery of minerals is being conducted. For surface mines, this definition does not include any land
where grading has returned the earth to a desired contour and reclamation has begun. This definition is
derived from the definition of “active mining area” found at 40 CFR 440.132(a).
8.J.3.5 Inactive Mining Facility - A site or portion of a site where mineral mining and/or milling occurred
in the past but is not an active facility as defined above, and where the inactive portion is not covered by
an active mining permit issued by the applicable State or Federal agency. An inactive mineral mining
facility has an identifiable owner/operator. Sites where mining claims are being maintained prior to
disturbances associated with the extraction, beneficiation, or processing of mined materials, and sites
where minimal activities are undertaken for the sole purpose of maintaining a mining claim are not
considered either active or inactive mining facilities and do not require an NPDES industrial storm water
permit.
8.J.3.6 Temporarily Inactive Mining Facility - A site or portion of a site where mining and/or milling
occurred in the past but currently are not being actively undertaken, and the facility is covered by an
active mining permit issued by the applicable State or Federal agency.
8.J.3.7 Final Stabilization - A site or portion of a site is “finally stabilized” when it has implemented all
applicable Federal and State reclamation requirements.
8.J.3.8 Uncontaminated - Free from the presence of pollutants attributable to industrial activity.

8.J.4 Additional Technology-Based Effluent Limits.
8.J.4.1 Permittees are required to certify on the NOI that the facility has submitted or will submit, prior
to the commencement of industrial activity, a copy of the NOI to EPD’s Surface Mining Unit and has an
Approved Surface Mining Land Use Plan and any Approved Amendments, including but not limited to
maintenance of adequate erosion and sediment control. Erosion and sediment control shall be in
accordance with the Manual for Erosion and Sediment Control in Georgia or EPD-approved “Best
Management Practices for the Aggregates Mining Industry” or “Georgia’s Best Management Practices
for Mining” (kaolin and clay mining industries), as applicable.
8.J.4.2 Storm Water Controls: Apart from the control measures permittees implement to meet the Part
2 effluent limits, where necessary to minimize pollutant discharges, implement the following control
measures at the facility. The potential pollutants identified in Part 5.1.3 shall determine the priority and
appropriateness of the control measures selected.
8.J.4.2.1 Storm Water Diversions: Consider diverting storm water away from potential pollutant sources.
Following are some control measure options: interceptor or diversion controls (e.g., dikes, swales, curbs,
or berms); pipe slope drains; subsurface drains; conveyance systems (e.g., channels or gutters, open-top
box culverts, and waterbars; rolling dips and road sloping; roadway surface water deflector and
culverts); or their equivalents.
8.J.4.2.2 Treatment: If treatment of storm water (e.g., chemical or physical systems, oil and water
separators, artificial wetlands) is necessary to protect water quality, describe in the SWPPP the type and
location of treatment used. Passive and/or active treatment of storm water runoff is encouraged.
Treated runoff may be discharged as a storm water source regulated under this permit provided the
discharge is not combined with discharges subject to effluent limitation guidelines for the Mineral
Mining and Processing Point Source Category (40 CFR Part 436).
8.J.4.3 Certification of Discharge Testing: (See also Part 5.1.3.4) Test or evaluate all outfalls covered
under this permit for the presence of specific mining-related non-storm water discharges such as
discharges subject to effluent limitations (e.g., 40 CFR Part 436).
8.J.5 Additional Inspection Requirements.
Permittees must inspect sites at least quarterly unless adverse weather conditions make the site


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inaccessible. See Part 8.J.6.1 for inspection requirements for inactive and unstaffed sites. (See also Part
4.1.3.1)
8.J.6 Sector-Specific Benchmarks. (See also Part 6)
Table 8.J-1 identifies benchmarks that apply to the specific subsectors of Sector J. These benchmarks
apply to each of the outfalls whether described by the primary industrial activity, any applicable co-
located industrial activities, or both.
Table 8.J-1.
Subsector                                                                                       Benchmark
(Permittees may be subject to requirements for more         Parameter                           Monitoring
than one sector/subsector)                                                                      Concentration
Subsector J1. Mining (SIC 1011, 1021, 1031, 1041,           Total Suspended Solids (TSS)        100 mg/L
1044, 1061, 1081, 1094, 1099, 1411, 1422-1429,
1442, 1446, 1459, 1474-1479, 1481, 1499)
Subsector J2. Kaolin and Clay Ball Mining (SIC 1455)        Total Suspended Solids (TSS)        100 mg/L
                                                            pH                                  6 - 9 s.u.
                                                            Turbidity                           Measure in
                                                                                                NTUs
Facilities in Subsectors J1 and J2 with discharges          Total Suspended Solids (TSS)        100 mg/L
from material storage piles. 1
1
 Facilities with discharges from material storage piles must sample one (1) qualifying rain event each quarter at
outfalls receiving the discharges, in the first year of permit coverage. If at least seventy-five (75) percent or the
average of the samples do not exceed the benchmark value, permittees may revert to annual sampling in
accordance with Part 6.2.

8.J.6.1 Inactive and Unstaffed Sites – Conditional Exemption from No Exposure Requirement for Routine
Inspections, Quarterly Visual Assessments, and Benchmark Monitoring. As a Sector J facility, if
permittees are seeking to exercise a waiver from either the routine inspection, quarterly visual
assessment or the benchmark monitoring requirements for inactive and unstaffed sites (including
temporarily inactive sites), permittees are conditionally exempt from the requirement to certify that
“there are no industrial materials or activities exposed to storm water” in Parts 4.2.3 and 6.2.1.3,
respectively. This exemption is conditioned on the following:

    a. If circumstances change and the facility becomes active and/or staffed, this exception no longer
       applies and permittees must begin complying with the applicable benchmark monitoring
       requirements as if permittees were in the first year of permit coverage, and the quarterly visual
       assessment requirements; and
    b. EPD retains the authority to revoke this exemption and/or the monitoring waiver where it is
       determined that the discharge causes, has a reasonable potential to cause, or contributes to an
       instream excursion above an applicable water quality standard, including designated uses.

8.J.6.2 Subject to the two conditions above, if the facility is inactive and unstaffed, permittees are
waived from the requirement to conduct quarterly visual assessments and routine facility inspections.
The requirement is not waived for conducting the Part 4.3 comprehensive site inspection. The permittee
is encouraged to inspect the facility more frequently where there is reason to believe that severe
weather or natural disasters may have damaged control measures or increased discharges.



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Sector 8.K – Hazardous Waste Treatment, Storage, or Disposal Facilities.


    Subsector             SIC Code       Activity Represented

                                         Hazardous Waste Treatment, Storage, or Disposal Facilities,
        K1                   HZ          including those that are operating under interim status or a
                                         permit under Subtitle C of RCRA

8.K.1 Covered Storm Water Discharges.
The requirements in Sector K apply to storm water discharges associated with industrial activity from
Hazardous Waste Treatment, Storage, or Disposal facilities (TSDFs) as identified by the Activity Code
specified above.

8.K.2 Industrial Activities Covered by Sector K.
    a. Facilities that treat, store, or dispose of hazardous wastes, including those that are operating
        under interim status or a permit under subtitle C of RCRA.
    b. Disposal facilities that have been properly closed and capped, and have no significant materials
        exposed to storm water, are considered inactive and do not require permits.

8.K.3 Limitations on Coverage.
Prohibition of Non-Storm Water Discharges. (See also Part 1.1.4) The following are not authorized by this
permit: leachate, gas collection condensate, drained free liquids, contaminated ground water,
laboratory-derived wastewater, and contact washwater from washing truck and railcar exteriors and
surface areas that have come in direct contact with solid waste at the landfill facility.

8.K.4 Definitions.
8.K.4.1 Contaminated storm water - storm water that comes into direct contact with landfill wastes, the
waste handling and treatment areas, or landfill wastewater as defined in Part 8.K.4.4. Some specific
areas of a landfill that may produce contaminated storm water include (but are not limited to) the open
face of an active landfill with exposed waste (no cover added); the areas around wastewater treatment
operations; trucks, equipment, or machinery that has been in direct contact with the waste; and waste
dumping areas.
8.K.4.2 Drained free liquids - aqueous wastes drained from waste containers (e.g., drums) prior to
landfilling.
8.K.4.3 Landfill - an area of land or an excavation in which wastes are placed for permanent disposal,
but that is not a land application or land treatment unit, surface impoundment, underground injection
well, waste pile, salt dome formation, salt bed formation, underground mine, or cave as these terms are
defined in 40 CFR Parts 257.2, 258.2, and 260.10.
8.K.4.4 Landfill wastewater - as defined in 40 CFR Part 445 (Landfills Point Source Category), all
wastewater associated with, or produced by, landfilling activities except for sanitary wastewater, non-
contaminated storm water, contaminated groundwater, and wastewater from recovery pumping wells.
Landfill wastewater includes, but is not limited to, leachate, gas collection condensate, drained free
liquids, laboratory-derived wastewater, contaminated storm water, and contact washwater from
washing truck, equipment, and railcar exteriors and surface areas that have come in direct contact with
solid waste at the landfill facility.




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8.K.4.5 Leachate - liquid that has passed through or emerged from solid waste and contains soluble,
suspended, or miscible materials removed from such waste.
8.K.4.6 Non-contaminated storm water - storm water that does not come into direct contact with
landfill wastes, the waste handling and treatment areas, or landfill wastewater as defined in Part 8.K.4.4.
Non-contaminated storm water includes storm water that flows off the cap, cover, intermediate cover,
daily cover, and/or final cover of the landfill.

8.K.5 Sector-Specific Benchmarks. (See also Part 6)
Table 8.K-1 identifies benchmarks that apply to the specific subsectors of Sector K. These benchmarks
apply to each of the outfalls whether described by the primary industrial activity, any applicable co-
located industrial activities, or both.

Table 8.K-1
Subsector                                                                                  Benchmark
(Permittees may be subject to requirements for      Parameter                              Monitoring
more than one sector/subsector)                                                            Concentration
Subsector K1. ALL - Industrial Activity             Ammonia                                2.14 mg/L
Benchmarks only applicable to discharges            Dissolved Magnesium                    0.064 mg/L
not subject to effluent limitations in 40 CFR       Chemical Oxygen Demand (COD)           120 mg/L
Part 445 Subpart A (see below).                     Dissolved Arsenic                      0.15 mg/L
                                                    Dissolved Cadmium1                     Hardness Dependent
                                                    Dissolved Cyanide                      0.022 mg/L
                                                    Dissolved Lead1                        Hardness Dependent
                                                    Dissolved Mercury                      0.0014 mg/L
                                                    Dissolved Selenium                     0.005 mg/L
                                                    Biochemical Oxygen Demand              30 mg/L
                                                    (BOD5)
                                                    Dissolved Zinc                         Hardness Dependent
                                                    pH                                     6-9 s.u.
                                                    Total Suspended Solids (TSS)           100 mg/L
1
 The benchmark values of some metals are dependent on water hardness. For these parameters, permittees must
determine the hardness in accordance with Appendix E, “Determining Benchmarks for Hardness Dependent
Metals” (Part 6.2.1.1), to identify the applicable ‘hardness range’ for determining their benchmark value applicable
to their facility. The ranges occur in 25 mg/L increments.


 8.K.6 Effluent Limitations. (See also Part 6.2.2.1)
Table 8.K-2 identifies effluent limits that apply to storm water discharges from the industrial activities
described below. Compliance with these effluent limits is to be determined based on discharges from
these industrial activities independent of commingling with any other wastestreams that may be
covered under this permit.




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Table 8.K-21,2
Industrial Activity                              Parameter                    Effluent Limit
Discharges from hazardous waste landfills        Biochemical Oxygen           220 mg/L, daily maximum
subject to effluent limitations in 40 CFR        Demand (BOD5)                56 mg/L, monthly avg. maximum
Part 445 Subpart A (see footnote).               Total Suspended Solids       88 mg/L, daily maximum
                                                 (TSS)                        27 mg/L, monthly avg. maximum
                                                 Ammonia                      10 mg/L, daily maximum
                                                                              4.9 mg/L, monthly avg. maximum
                                                 Alpha Terpineol              0.042 mg/L, daily maximum
                                                                              0.019 mg/L, monthly avg.
                                                                              maximum
                                                 Aniline                      0.024 mg/L, daily maximum
                                                                              0.015 mg/L, monthly avg.
                                                                              maximum
                                                 Benzoic Acid                 0.119 mg/L, daily maximum
                                                                              0.073 mg/L, monthly avg.
                                                                              maximum
                                                 Naphthalene                  0.059 mg/L, daily maximum
                                                                              0.022 mg/L, monthly avg.
                                                                              maximum
                                                 p-Cresol                     0.024 mg/L, daily maximum
                                                                              0.015 mg/L, monthly avg.
                                                                              maximum
                                                 Phenol                       0.048 mg/L, daily maximum
                                                                              0.029 mg/L, monthly avg.
                                                                              maximum
                                                 Pyridine                     0.072 mg/L, daily maximum
                                                                              0.025 mg/L, monthly avg.
                                                                              maximum
                                                 Total Arsenic                1.1 mg/L, daily maximum
                                                                              0.54 mg/L, monthly avg.
                                                                              maximum
                                                 Total Chromium               1.1 mg/L, daily maximum
                                                                              0.46 mg/L, monthly avg.
                                                                              maximum
                                                 Total Zinc                   0.535 mg/L, daily maximum
                                                                              0.296 mg/L, monthly avg.
                                                                              maximum
                                                 pH                           6.0-9.0 s.u.
1
 Monitor annually.
2
  As set forth at 40 CFR Part 445 Subpart A, these numeric limitations apply to contaminated storm water
discharges from hazardous waste landfills subject to the provisions of RCRA Subtitle C at 40 CFR Parts 264 (Subpart
N) and 265 (Subpart N) except for discharges from any of the following facilities:
    (a) landfills operated in conjunction with other industrial or commercial operations when the landfill receives
    only wastes generated by the industrial or commercial operation directly associated with the landfill;




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(b) landfills operated in conjunction with other industrial or commercial operations when the landfill receives
wastes generated by the industrial or commercial operation directly associated with the landfill and also
receives other wastes, provided that the other wastes received for disposal are generated by a facility that is
subject to the same provisions in 40 CFR Subchapter N as the industrial or commercial operation or that the
other wastes received are of similar nature to the wastes generated by the industrial or commercial operation;
(c) landfills operated in conjunction with Centralized Waste Treatment (CWT) facilities subject to 40 CFR Part
437, so long as the CWT facility commingles the landfill wastewater with other non-landfill wastewater for
discharge. A landfill directly associated with a CWT facility is subject to this part if the CWT facility discharges
landfill wastewater separately from other CWT wastewater or commingles the wastewater from its landfill only
with wastewater from other landfills; or
(d) landfills operated in conjunction with other industrial or commercial operations when the landfill receives
wastes from public service activities, so long as the company owning the landfill does not receive a fee or other
remuneration for the disposal service.




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Sector 8.L – Landfills, Land Application Sites, and Open Dumps.


     Subsector             SIC Code       Activity Represented

         L1                   LF          All Landfills, Land Application Sites and Open Dumps

8.L.1 Covered Storm Water Discharges.
The requirements in Subpart L apply to storm water discharges associated with industrial activity from
Landfills and Land Application Sites and Open Dumps as identified by the Activity Code specified above.

8.L.2 Industrial Activities Covered by Sector L.
This permit may authorize storm water discharges for Sector L facilities associated with waste disposal
at landfills, land application sites, and open dumps that receive or have received industrial waste,
including sites subject to regulation under Subtitle D of RCRA.
8.L.2.1 On-site Borrow Areas. Clearing for, and operation of, a borrow pit for cover at a landfill is
considered to be part of the normal operation of a landfill. The storm water discharges from such
borrow pit activities are covered under this permit, as long as the removed soil is not transferred to
others for use elsewhere. Barrow pits covered by an NPDES Construction Storm Water General Permit
are not subject to the IGP.
8.L.2.2 Solid Waste Transfer Stations. Refer to Sector P.

8.L.3 Limitations on Coverage.
8.L.3.1 Prohibition of Non-Storm Water Discharges. (See also Part 1.1.4) The following discharges are not
authorized by this permit: leachate, gas collection condensate, drained free liquids, contaminated
ground water, laboratory-derived wastewater, and contact washwater from washing truck and railcar
exteriors and surface areas that have come in direct contact with solid waste at the landfill facility.
Construction one acre or greater in size is not covered by this permit.
8.L.3.2 Closed Landfills. Permit coverage is not required where a site has achieved final regulatory
closure with respect to solid waste regulations, and where the entire landfill area has been filled in, re-
graded, and finally stabilized. If the landfill has been closed according to EPD regulations (including re-
grading and stabilization) and is in the regulatory post closure monitoring period, then permit coverage
is not required as long as there is no industrial activity occurring at the site and no material is exposed.
Industrial activity may include, but is not limited to, associated vehicles and equipment, material
handling or storage areas, buildings, waste or material storage piles, and access roads.
8.L.3.2.1 Closed or inactive landfills that are no longer in use but have not received closure approval
from EPD are considered to still have discharges associated with industrial activity and coverage should
be maintained as an inactive landfill (See also 4.1.3 and 6.2.1.3).

8.L.4 Definitions.
8.L.4.1 Contaminated storm water - Storm water that comes into direct contact with landfill wastes,
waste handling and treatment areas, or landfill wastewater. Some areas of a landfill that may produce
contaminated storm water include but are not limited to the open face of an active landfill with exposed
waste (no cover added); the areas around wastewater treatment operations; trucks, equipment, or
machinery that has been in direct contact with the waste; and waste dumping areas.




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8.L.4.2 Drained free liquids - Aqueous wastes drained from waste containers (e.g., drums) prior to
landfilling.
8.L.4.3 Inactive Landfill - A site or portion of a site where landfilling or landfilling activities occurred in
the past but is not an active landfill and maintains authorization under this general permit.
8.L.4.4 Industrial Waste - Solid waste from manufacturing portions of industrial activities defined in this
general permit.
8.L.4.5 Landfill wastewater - As defined in 40 CFR Part 445 (Landfills Point Source Category) all
wastewater associated with, or produced by, landfilling activities except for sanitary wastewater, non-
contaminated storm water, contaminated groundwater, and wastewater from recovery pumping wells.
8.L.4.6 Leachate - Liquid that has passed through or emerged from solid waste and contains soluble,
suspended, or miscible materials removed from such waste.
8.L.4.7 Non-contaminated storm water - Storm water that does not come into direct contact with
landfill wastes, the waste handling and treatment areas, or landfill wastewater. Non-contaminated
storm water includes storm water that flows off the cap, cover, intermediate cover, daily cover, and/or
final cover of the landfill.
8.L.4.8 Open Dump - A facility for the disposal of solid waste that is not otherwise defined in this
section.

8.L.5 Additional Technology-Based Effluent Limits.
8.L.5.1 Preventive Maintenance Program. (See also Part 2.1.2.3) As part of the permittee’s preventive
maintenance program, maintain the following: all elements of leachate collection and treatment
systems (prevent commingling of leachate with storm water); the integrity and effectiveness of any
intermediate or final cover, including repairing the cover as necessary (to minimize the effects of
settlement, sinking, and erosion).
8.L.5.2 Erosion and Sedimentation Control. (See also Part 2.1.2.5) Provide temporary stabilization (e.g.,
temporary seeding, mulching, and placing geotextiles on the inactive portions of stockpiles) for the
following: materials stockpiled for daily, intermediate, and final cover; inactive areas of the landfill or
open dump; landfills or open dump areas that have gotten final covers but where vegetation has yet to
establish itself; and land application sites where waste application has been completed but final
vegetation has not yet been established.
8.L.5.3 Unauthorized Discharge Test Certification. (See also Part 5.1.3.4) The discharge test and
certification must also be conducted for the presence of leachate and vehicle washwater.

8.L.6 Additional SWPPP Requirements.
8.L.6.1 Drainage Area Site Map. (See also Part 5.1.2) Document in the SWPPP where any of the
following may be exposed to precipitation or surface runoff: active and closed landfill cells or trenches,
active and closed land application areas, locations where open dumping is occurring or has occurred,
locations of any known leachate springs or other areas where uncontrolled leachate may commingle
with runoff, and leachate collection and handling systems.
8.L.6.2 Summary of Potential Pollutant Sources. (See also Part 5.1.3) Document in the SWPPP the
following sources and activities that have potential pollutants associated with them: fertilizer, herbicide,
and pesticide application; earth and soil moving; waste hauling and loading or unloading; outdoor
storage of significant materials, including daily, interim, and final cover material stockpiles as well as
temporary waste storage areas; exposure of active and inactive landfill and land application areas;
uncontrolled leachate flows; and failure or leaks from leachate collection and treatment systems.




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8.L.7 Additional Inspection Requirements. (See also Part 4)
8.L.7.1 Inspections of Active Sites. Inspect operating landfills, open dumps, and land application sites at
least quarterly. Focus on areas of landfills that have not yet been finally stabilized; active land
application areas, areas used for storage of material and wastes that are exposed to precipitation,
stabilization, and structural control measures; leachate collection and treatment systems; and locations
where equipment and waste trucks enter and exit the site. Ensure that erosion and sediment control
measures are operating properly.
8.L.7.2 Inspections of Inactive Sites. Inspect inactive landfills, open dumps, and land application sites at
least quarterly. Qualified personnel must inspect landfill (or open dump) stabilization and structural
erosion control measures, leachate collection and treatment systems, and all closed land application
areas.

8.L.8 Additional Post-Authorization Documentation Requirements.
8.L.1 Recordkeeping and Internal Reporting. Keep records with the SWPPP of the types of wastes
disposed of in each cell or trench of a landfill or open dump. For land application sites, track the types
and quantities of wastes applied in specific areas.

8.L.9 Sector-Specific Benchmarks. (See also Part 6)
Table 8.L-1 identifies benchmarks that apply to Sector L. These benchmarks apply to each of the outfalls
whether described by the primary industrial activity, any applicable co-located industrial activities, or
both.

Table 8.L-1
Subsector                                                                                   Benchmark
(Permittees may be subject to requirements for more than one      Parameter                 Monitoring
sector/subsector)                                                                           Concentration1
Subsector L1. All Landfills, Land Application Sites, and          Total Suspended           100 mg/L
Open Dumps                                                        Solids (TSS)
1
 Benchmark monitoring required only for discharges not subject to effluent limitations in 40 CFR Part 445 Subpart
B (see Table L-2 below).

8.L.10. Effluent Limitations. (See also Part 6.2.2.1)
Table 8.L-2 identifies effluent limits that apply to contaminated storm water discharges from the
industrial activities described below (See 8.L.4.1). Compliance with these effluent limits is to be
determined based on discharges from these industrial activities independent of commingling with any
other wastestreams that may be covered under this permit.

Table 8.L-21, 2
Industrial Activity              Parameter                              Effluent Limit
Discharges from non-             Biochemical Oxygen Demand              140 mg/L, daily maximum
hazardous waste landfills        (BOD5)                                 37 mg/L, monthly avg. maximum
subject to effluent              Total Suspended Solids (TSS)           88 mg/L, daily maximum
limitations in 40 CFR Part 445                                          27 mg/L, monthly avg. maximum
Subpart B.                       Ammonia                                10 mg/L, daily maximum
                                                                        4.9 mg/L, monthly avg. maximum



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Table 8.L-21, 2
Industrial Activity                Parameter                                Effluent Limit
                                   Alpha Terpineol                          0.033 mg/L, daily maximum
                                                                            0.016 mg/L monthly avg. maximum
                                   Benzoic Acid                             0.12 mg/L, daily maximum
                                                                            0.071 mg/L, monthly avg. maximum
                                   p-Cresol                                 0.025 mg/L, daily maximum
                                                                            0.014 mg/L, monthly avg. maximum
                                   Phenol                                   0.026 mg/L, daily maximum
                                                                            0.015 mg/L, monthly avg. maximum
                                   Total Zinc                               0.20 mg/L, daily maximum
                                                                            0.11 mg/L, monthly avg. maximum
                                   pH                                       6.0-9.0 s.u.
1
 Monitor annually.
2
  As set forth at 40 CFR Part 445 Subpart B, these numeric limitations apply to contaminated storm water
discharges from Municipal Solid Waste Landfills (MSWLFs) that have not been closed in accordance with 40 CFR
258.60, and to contaminated storm water discharges from those landfills that are subject to the provisions of 40
CFR Part 257 except for discharges from any of the following facilities:
    (a) landfills operated in conjunction with other industrial or commercial operations, when the landfill receives
    only wastes generated by the industrial or commercial operation directly associated with the landfill;
    (b) landfills operated in conjunction with other industrial or commercial operations, when the landfill receives
    wastes generated by the industrial or commercial operation directly associated with the landfill and also
    receives other wastes, provided that the other wastes received for disposal are generated by a facility that is
    subject to the same provisions in 40 CFR Subchapter N as the industrial or commercial operation, or that the
    other wastes received are of similar nature to the wastes generated by the industrial or commercial operation;
    (c) landfills operated in conjunction with Centralized Waste Treatment (CWT) facilities subject to 40 CFR Part
    437, so long as the CWT facility commingles the landfill wastewater with other non-landfill wastewater for
    discharge. A landfill directly associated with a CWT facility is subject to this part if the CWT facility discharges
    landfill wastewater separately from other CWT wastewater or commingles the wastewater from its landfill only
    with wastewater from other landfills; or
    (d) landfills operated in conjunction with other industrial or commercial operations when the landfill receives
    wastes from public service activities, so long as the company owning the landfill does not receive a fee or other
    remuneration for the disposal service.




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Sector 8.M – Automobile Salvage Yards.


     Subsector             SIC Code        Activity Represented

        M1                   5015          Automobile Salvage Yards

8.M.1 Covered Storm Water Discharges.
The requirements in Sector M apply to storm water discharges associated with industrial activity from
Automobile Salvage Yards as identified by the SIC Code specified above. When a facility has industrial
activities being conducted on-site that meet the description(s) of 8.M.1(a) or (b), the facility shall comply
with the sampling requirements stated in Table 8.M-1.
    a. Over 50 auto/truck bodies with drivelines (engine, transmission, axles, and wheels), 50
         drivelines, or any combination thereof (in whole or in parts) that are exposed to storm water;
    b. Over 50 units per year are dismantled and automotive fluids are drained or stored in areas
         exposed to storm water.

8.M.2 Additional Technology-Based Effluent Limits.
8.M.2.1 Spill and Leak Prevention Procedures. (See also Part 2.1.2.4) Drain vehicles intended to be
dismantled of all fluids upon arrival at the site (or as soon thereafter as feasible), or employ some other
equivalent means to prevent spills and leaks. An example of other equivalent means would be placing
vehicles not drained upon arrival on an impermeable area that is bermed and/or drains to a sump to
capture any potential fluid leaks. Following are some control measure options:
    (a) Install alarms and/or pump shutoff systems on outdoor equipment with hydraulic reservoirs
         exceeding 150 gallons in the event of a line break. Alternatively, a secondary containment
         system capable of holding the entire contents of the reservoir plus room for precipitation can
         be used;
    (b) Use a mercury spill kit for any release of mercury from switches, anti-lock brake systems, and
         switch storage areas. Use dry-absorbents or other cleanup practices to collect and dispose of
         or recycle spilled or leaking fluids;
    (c) If malfunctioning equipment is responsible for the spill/leak, repairs shall be made as soon as
         possible;
    (d) Drums containing liquids, especially oil and lubricants, shall be stored: indoors; in a bermed
         area; in overpack containers or spill pallets; or in similar containment devices; and
    (e) Drip pans or equivalent measures shall be placed under any leaking piece of stationary
         equipment until the leak is repaired. The drips pans shall be inspected for leaks and potential
         overflow and all liquids properly disposed of in accordance with Federal, State and local
         requirements.

8.M.2.2 Inbound Material Control. Minimize the chance of accepting vehicles or vehicle parts that could
be significant sources of pollutants by conducting inspections of inbound materials. Following are some
control measure options:
         (a) Educate suppliers of material on draining and properly disposing of residual fluids (e.g.,
         engines, radiators, and transmissions, and oily parts) and removal of mercury switches from
         vehicles before delivery to the facility;
         (b) Provide training targeted for those personnel engaged in the inspection and acceptance of
         inbound recyclable materials; education of personnel shall include draining and properly


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        disposing of residual fluids upon delivery to the facility (e.g., from vehicles and equipment
        engines, radiators and transmissions, oil filled transformers, and individual containers or drums)
        and removal of mercury switches from vehicles prior to any action that could expose the
        mercury in the switches to storm water;
        (c) Use a mercury spill kit for any release of mercury from switches, anti-lock brake systems, and
        switch storage areas. Use dry-absorbents or other cleanup practices to collect and dispose of or
        recycle spilled or leaking fluids;
        (d) Establish procedures to minimize the potential of any residual fluids from coming into
        contact with precipitation or runoff;
        (e) Establish procedures for accepting/removing batteries; and
        (f) Establish procedures to ensure that liquid wastes, including used oil, are stored in materially
        compatible and non-leaking containers and are disposed of or recycled in accordance with
        Federal, State and local requirements. Permittees must regularly maintain the oil and water
        separator (or its equivalent) and properly dispose of or recycle collected residual fluids.
8.M.2.3 Employee Training. (See also Part 5.1.1.2) If applicable to the facility, address the following
areas (at a minimum) in the employee training program: proper handling (collection, storage, and
disposal) of oil, gasoline, used mineral spirits, anti-freeze, mercury switches, batteries and solvents.
8.M.2.4 Management of Runoff. (See also Part 2.1.2.6) Minimize contact of storm water runoff with
stock-piled materials. Following are some control measure options:
        (a) Berms or drainage ditches on the property line to help prevent run-on from neighboring
        properties;
        (b) Dikes, berms, containment trenches, culverts, and surface grading to divert runoff from
        storage of oily parts, engine blocks, and above-ground liquid storage;
        (c) Installation of detention ponds;
        (d) Oil and water separators, sumps, and dry absorbents for areas where potential sources of
        residual fluids are stockpiled (e.g., automobile engine storage areas); and
        (e) Permanent or semi-permanent covers.
8.M.2.5 Erosion and Sedimentation for Unstabilized Areas. Due to daily operations as well as
expansions, maintain adequate erosion and sediment control in accordance with the Manual for Erosion
and Sediment Control in Georgia, 5th edition, latest edition, as applicable. (See Part 2.1.2.5). Following
are some control measure options:
        (a) Gravel;
        (b) Silt fencing; and
        (c) Sediment traps, vegetated swales and strips, catch basin filters, and sand filters to facilitate
        settling or filtering of pollutants.
8.M.2.6 Scrap Lead-Acid Battery Program. Properly handle, store, and dispose of scrap lead-acid
batteries. Following are some control measure options:
        (a) Segregate scrap lead-acid batteries from other scrap materials;
        (b) Properly handle, store, and dispose of cracked or broken batteries;
        (c) Collect and dispose of leaking lead-acid battery fluid;
        (d) Eliminate exposure of scrap lead-acid batteries to precipitation or runoff; and
        (e) Provide employee training for the management of scrap batteries.

8.M.3 Additional SWPPP Requirements.
8.M.3.1 Drainage Area Site Map. (See also Part 5.1.2) Identify locations used for dismantling, storage,
and maintenance of used motor vehicle parts. Also identify where any of the following may be exposed
to precipitation or surface runoff: dismantling areas, parts (e.g., engine blocks, tires, hub caps, batteries,
hoods, mufflers) storage areas, and liquid storage tanks and drums for fuel and other fluids.


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8.M.3.2 Potential Pollutant Sources. (See also Part 5.1.3) Assess the potential for the following to
contribute pollutants to storm water discharges: vehicle storage areas, dismantling areas, parts storage
areas (e.g., engine blocks, tires, hub caps, batteries, hoods, mufflers), and fueling stations.

8.M.4 Additional Inspection Requirements. (See also Part 4)
Immediately or as soon thereafter as feasible inspect vehicles arriving at the site for leaks. Inspect
quarterly for signs of leakage all equipment containing oily parts, hydraulic fluids, or any other types of
fluids. Also, inspect quarterly for signs of leakage of all vessels and areas where hazardous materials and
general automotive fluids are stored, including, but not limited to, brake fluid, transmission fluid,
radiator water, and antifreeze.

8.M.5 Sector-Specific Benchmarks. (See also Part 6)
These benchmarks apply to each of the outfalls whether described by the primary industrial activity, any
applicable co-located industrial activities, or both.

Table 8.M-1
Subsector                                                                                  Benchmark
(Permittees may be subject to
                                              Parameter                                    Monitoring
requirements for more than one
sector/subsector)
                                                                                           Concentration
Subsector M1. Automobile Salvage Total Suspended Solids (TSS)                              100 mg/L
Yards (SIC 5015)                 Oil & Grease                                              15 mg/L
                                 Chemical Oxygen Demand (COD)                              120 mg/L
                                 Dissolved Lead1                                           Hardness
                                                                                           Dependent
                                              pH                                           6 – 9 s.u.
1
 The benchmark values of some metals are dependent on water hardness. For these parameters, permittees must
determine the hardness in accordance with Appendix E, “Determining Benchmarks for Hardness Dependent
Metals” (Part 6.2.1.1), to identify the applicable ‘hardness range’ for determining their benchmark value applicable
to their facility. The ranges occur in 25 mg/L increments.




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Sector 8.N – Scrap Recycling Facilities.


     Subsector             SIC Code       Activity Represented


        N1                  5093          Scrap Recycling Facilities and Liquid Recycling Facilities
        N2                  5093          Source-separated Recycling Facility

8.N.1 Covered Storm Water Discharges.
The requirements in Sector N apply to storm water discharges associated with industrial activity from
Scrap Recycling facilities as identified by the SIC Code specified above.

8.N.2 Industrial Activities Covered by Sector N.
This permit authorizes storm water discharges from the following three types of industrial activities at
Sector N facilities:
        (a) Scrap recycling facilities (Part 8.N.4.1) - facilities that are engaged in the processing,
        reclaiming, and wholesale distribution of scrap materials such as ferrous and nonferrous metals,
        plastics, glass, cardboard and paper.
        (b) Liquid recycling facilities (Part 8.N.4.2) - facilities that are engaged in reclaiming and
        recycling liquid materials such as used oil, antifreeze, mineral spirits and industrial solvents.
        (c) Source-separated recycling facilities (Part 8.N.4.3) - facilities primarily engaged in accepting
        materials from nonindustrial and residential sources such as common consumer products
        including paper, newspaper, glass cardboard, plastic containers, aluminum and tin cans.

8.N.3 Limitations on Coverage.
8.N.3.1 Solid Waste Handling Facilities. This permit does not apply to solid waste handling facilities
including solid waste transfer facilities, which are covered in the land transportation and warehousing
sector (Sector P) as SIC 4212: “local collecting and hauling of garbage without disposal”.
8.N.3.2 Prohibition of Non-Storm Water Discharges. (See also Part 1.1.4) Non-storm water discharges
from turnings containment areas are not covered by this permit (see also Part 8.N.4.1.3). Discharges
from containment areas in the absence of a storm event are prohibited unless covered by a separate
NPDES permit.

8.N.4 Additional Technology-Based Effluent Limits.
The permittee shall describe in the SWPPP and implement a program to address those items that apply.
Included are lists of BMP options specific for each category of recycling facility that, along with any
functional equivalents, shall be considered for implementation. Selection or deselection of a particular
BMP or approach is up to the best professional judgment of the permittee, as long as the objective of
the requirement is met.

8.N.4.1 Scrap Recycling Facilities. Requirements for facilities that receive, process, and do wholesale
distribution of nonliquid recyclable materials (e.g., ferrous and nonferrous metals, plastics, glass,
cardboard, and paper). These facilities may receive both nonrecyclable and recyclable materials. This
section is not intended for those facilities that only accept source-separated recyclable materials
primarily from non-industrial and residential sources, which are addressed in Part 8.N.4.3.




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8.N.4.1.1 Inbound Material Control Program. The SWPPP shall include a recyclable and waste material
inspection program to minimize the likelihood of receiving materials that may be significant pollutant
sources to storm water discharges. Following are some control measure options:
        (a) Establish procedures to minimize the potential of any residual fluids from coming into
        contact with precipitation or runoff;
        (b) Establish procedures for accepting scrap lead-acid batteries (additional requirements for the
        handling, storage, and disposal or recycling of batteries are contained in the scrap lead-acid
        battery program provisions in Part 8.N.4.1.6);
        (c) Provide training targeted for those personnel engaged in the inspection and acceptance of
        inbound recyclable materials; education of personnel shall include draining and properly
        disposing of residual fluids upon delivery to the facility (e.g., from vehicles and equipment
        engines, radiators and transmissions, oil filled transformers, and individual containers or drums)
        and removal of mercury switches from vehicles prior to any action that could expose the
        mercury in the switches to storm water; and
        (d) Establish procedures to ensure that liquid wastes, including used oil, are stored in materially
        compatible and non-leaking containers and are disposed of or recycled in accordance with
        Federal, State and local requirements.

8.N.4.1.2 Scrap and Waste Material Stockpiles and Storage (Outdoor). Minimize contact of storm water
runoff with stockpiled materials, processed materials, and non-recyclable wastes. Following are some
control measure options:
        (a) Permanent or semi-permanent covers;
        (b) Sediment traps, vegetated swales and strips, catch basin filters, and sand filters to facilitate
        settling or filtering of pollutants;
        (c) Dikes, berms, containment trenches, culverts, and surface grading to divert runoff from
        storage areas;
        (d) Silt fencing; and
        (e) Oil and water separators, sumps, and dry absorbents for areas where potential sources of
        residual fluids are stockpiled (e.g., automobile engine storage areas).

8.N.4.1.3 Stockpiling of Turnings Exposed to Cutting Fluids (Outdoor Storage). Non-storm water
discharges from turnings containment areas are not covered by this permit. Minimize contact of surface
runoff with residual cutting fluids using the following options:
        (a) Store all turnings exposed to cutting fluids under some form of permanent or semi-
        permanent cover, or
        (b) Establish dedicated containment areas for all turnings that have been exposed to cutting
        fluids. Storm water runoff from these areas can be discharged provided:
        1. Any containment area must be constructed of concrete, asphalt, or other equivalent types of
        impermeable material;
        2. There is a barrier (e.g., berms, curbing, elevated pads) around the perimeter of the
        containment areas to prevent contact with storm water run-on; and
        3. Runoff is collected and treated by an oil and water separator or its equivalent. Permittees
        must regularly maintain the oil and water separator (or its equivalent) and properly dispose of
        or recycle collected residual fluids.

8.N.4.1.4 Scrap and Waste Material Stockpiles and Storage (Covered or Indoor Storage). Minimize
contact of residual liquids and particulate matter from materials stored indoors or under cover with
surface runoff. Following are some control measure options:


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        (a) Good housekeeping measures, including the use of dry absorbents or wet vacuuming to
        contain, dispose of, or recycle residual liquids originating from recyclable containers, or mercury
        spill kits for spills from storage of mercury switches;
        (b) Not allowing washwater from tipping floors or other processing areas to discharge to the
        storm sewer system; and
        (c) Disconnecting or sealing off all floor drains connected to the storm sewer system.

8.N.4.1.5 Scrap and Recyclable Processing Areas. Minimize surface runoff from coming in contact with
scrap processing equipment. Pay attention to operations that generate visible amounts of particulate
residue (e.g., shredding) to minimize the contact of accumulated particulate matter and residual fluids
with runoff (i.e., through good housekeeping, preventive maintenance). Following are some control
measure options:
        (a) Regularly inspect equipment for spills or leaks and malfunctioning, worn, or corroded parts
        or equipment;
        (b) Establish a preventive maintenance program for processing equipment;
        (c) Use dry-absorbents or other cleanup practices to collect and dispose of or recycle spilled or
        leaking fluids or use mercury spill kits for spills from storage of mercury switches;
        (d) On unattended hydraulic reservoirs over 150 gallons in capacity, install protection devices
        such as alarms or equivalent devices, or secondary containment that can hold the entire volume
        of the reservoir;
        (e) Containment or diversion structures such as dikes, berms, culverts, trenches, elevated
        concrete pads, and grading to minimize contact of storm water runoff with outdoor processing
        equipment or stored materials;
        (f) Oil and water separators or sumps;
        (g) Permanent or semi-permanent covers in processing areas where there are residual fluids and
        grease;
        (h) Retention or detention ponds or basins; sediment traps, and vegetated swales or strips (for
        pollutant settling and filtration); and
        (i) Catch basin filters or sand filters.

8.N.4.1.6 Scrap Lead-Acid Battery Program. Properly handle, store, and dispose of scrap lead-acid
batteries. Following are some control measure options:
        (a) Segregate scrap lead-acid batteries from other scrap materials;
        (b) Properly handle, store, and dispose of cracked or broken batteries;
        (c) Collect and dispose of leaking lead-acid battery fluid;
        (d) Eliminate exposure of scrap lead-acid batteries to precipitation or runoff; and
        (e) Provide employee training for the management of scrap batteries.

8.N.4.1.7 Spill Prevention and Response Procedures. (See also Part 2.1.2.4)
        (a) Install alarms and/or pump shutoff systems on outdoor equipment with hydraulic reservoirs
            exceeding 150 gallons in the event of a line break. Alternatively, a secondary containment
            system capable of holding the entire contents of the reservoir plus room for precipitation
            can be used;
        (b) Use a mercury spill kit for any release of mercury from switches, anti-lock brake systems,
            and switch storage areas. Use dry-absorbents or other cleanup practices to collect and
            dispose of or recycle spilled or leaking fluids;
        (c) If malfunctioning equipment is responsible for the spill/leak, repairs shall be made as soon
            as possible;


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        (d) Drums containing liquids, especially oil and lubricants, shall be stored: indoors; in a bermed
            area; in overpack containers or spill pallets; or in similar containment devices; and
        (e) Drip pans or equivalent measures shall be placed under any leaking piece of stationary
            equipment until the leak is repaired. The drips pans shall be inspected for leaks and
            potential overflow and all liquids properly disposed of in accordance with Federal, State and
            local requirements.

8.N.4.1.8 Supplier Notification Program. As appropriate, notify major suppliers which scrap materials
will not be accepted at the facility or will be accepted only under certain conditions.

8.N.4.2 Liquid Recycling Facilities.
8.N.4.2.1 Material Storage (Indoor). Minimize or eliminate contact between residual liquids from waste
materials stored indoors and from surface runoff. The SWPPP may refer to applicable portions of other
existing plans, such as Spill Prevention, Control, and Countermeasure (SPCC) plans required under 40
CFR Part 112. Following are some control measure options:
          (a) Procedures for material handling (including labeling and marking);
          (b) Clean up spills and leaks with dry absorbent materials or a wet vacuum system;
          (c) Disconnecting or sealing off all floor drains connected to the storm sewer system;
          (d) Appropriate containment structures (trenching, curbing, gutters, etc.); and
          (e) A drainage system, including appurtenances (e.g., pumps or ejectors, manually operated
          valves), to handle discharges from diked or bermed areas. Drainage should be discharged to an
          appropriate treatment facility or sanitary sewer system, or otherwise disposed of properly.
          These discharges may require coverage under a separate NPDES wastewater permit.
8.N.4.2.2 Material Storage (Outdoor). Minimize contact between stored residual liquids and
precipitation or runoff. The SWPPP may refer to applicable portions of other existing plans, such as SPCC
plans required under 40 CFR Part 112. Discharges of precipitation from containment areas containing
used oil must also be in accordance with applicable sections of 40 CFR Part 112. Following are some
control measure options:
          (a) Appropriate containment structures (e.g., dikes, berms, curbing, pits) to store the volume of
          the largest tank, with sufficient extra capacity for precipitation;
          (b) Drainage control and other diversionary structures;
          (c) Corrosion protection and/or leak detection systems for storage tanks; and
          (d) Dry-absorbent materials or a wet vacuum system to collect spills.
8.N.4.2.3 Trucks and Rail Car Material Transfer Areas. Minimize pollutants in discharges from truck and
rail car loading and unloading areas. Include measures to clean up minor spills and leaks resulting from
the transfer of liquid materials. Following are two control measure options:
          (a) Containment and diversionary structures to minimize contact with precipitation or runoff;
          and
          (b) Dry clean-up methods, wet vacuuming, roof coverings, or runoff controls.

8.N.4.3 Source-Separated Materials Recycling Facilities. The following identifies considerations for
facilities that receive only source-separated recyclables, primarily from non-industrial and residential
sources.
8.N.4.3.1 Inbound Recyclable Material Control. Minimize the chance of accepting non-recyclables (e.g.,
hazardous materials) that could be a significant source of pollutants by conducting inspections of
inbound materials. Following are some control measure options:
          (a) Provide information and education measures to inform suppliers of recyclables about
          acceptable and non-acceptable materials;


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         (b) Training drivers responsible for pickup of recycled material;
         (c) Clearly marking public drop-off containers regarding which materials can be accepted;
         (d) Rejecting nonrecyclable wastes or household hazardous wastes at the source; and
         (e) Establishing procedures for handling and disposal of nonrecyclable material.
8.N.4.3.2 Outdoor Storage. Minimize exposure of recyclables to precipitation and runoff. Use good
housekeeping measures to prevent accumulation of particulate matter and fluids, particularly in high
traffic areas. Following are some control measure options:
         (a) Provide totally enclosed drop-off containers for the public;
         (b) Install a sump and pump with each container pit and treat or discharge collected fluids to a
         sanitary sewer system;
         (c) Provide dikes and curbs for secondary containment (e.g., around bales of recyclable waste
         paper);
         (d) Divert surface water runoff away from outside material storage areas;
         (e) Provide covers over containment bins, dumpsters, and roll-off boxes; and
         (f) Store the equivalent of one day’s volume of recyclable material indoors.
8.N.4.3.3 Indoor Storage and Material Processing. Minimize the release of pollutants from indoor
storage and processing areas. Following are some control measure options:
         (a) Schedule routine good housekeeping measures for all storage and processing areas;
         (b) Disconnecting or sealing off all floor drains connected to the storm sewer system;
         (c) Prohibit tipping floor washwater from draining to the storm sewer system; and
         (d) Provide employee training on pollution prevention practices.
8.N.4.3.4 Vehicle and Equipment Maintenance. Vehicle and equipment washwater is prohibited from
discharging to the storm sewer system (see Part 1.1.4.1.b). Following are some control measure options
for areas where vehicle and equipment maintenance occur outdoors:
         (a) Disconnect or seal off all floor drains connected to the storm sewer system;
         (b) Minimize or eliminate outdoor maintenance areas whenever possible;
         (c) Establish spill prevention and clean-up procedures in fueling areas;
         (d) Avoid topping off fuel tanks;
         (e) Divert runoff from fueling areas;
         (f) Store lubricants and hydraulic fluids indoors; and
         (g) Provide employee training on proper handling and storage of hydraulic fluids and lubricants.

8.N.5 Additional SWPPP Requirements For All Recycling Facilities.
8.N.5.1 Drainage Area Site Map. (See also Part 5.1.2) Document locations in the SWPPP of any of the
following activities or sources that may be exposed to precipitation or surface runoff, for example, scrap
and waste material storage, outdoor scrap and waste processing equipment, and containment areas for
turnings exposed to cutting fluids, and liquid material storage.
8.N.5.2 Maintenance Schedules/Procedures for Collection, Handling, and Disposal or Recycling of
Residual Fluids at Scrap Recycling Facilities. If the permittee is subject to Part 8.N.4.1.3, the SWPPP must
identify any applicable maintenance schedule and the procedures to collect, handle, and dispose of or
recycle residual fluids.

8.N.6 Additional Inspection Requirements.
8.N.6.1 Inspections for Recycling Facilities. The inspections must be performed quarterly, pursuant to
Part 4, and include, at a minimum, all areas:
          (a) Where waste is generated, received, stored, treated, or disposed of and that are exposed
              to either precipitation or storm water runoff; and/or



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          (b) Where recycling materials are received, stored, treated or processed and that are exposed
              to either precipitation or storm water runoff.

8.N.7 Sector-Specific Benchmarks. (See also Part 6)
These benchmarks apply to each of the outfalls whether described by the primary industrial activity, any
applicable co-located industrial activities, or both.

Table 8.N-1
Subsector                                                                                 Benchmark
(Permittees may be subject to requirements for      Parameter                             Monitoring
more than one sector/subsector)                                                           Concentration
Subsector N1. Scrap Recycling and Liquid            Chemical Oxygen Demand
                                                                                          120 mg/L
Recycling Facilities (SIC 5093)                     (COD)
                                                    Oil & Grease                          15 mg/L
                                                    Dissolved Copper1                     Hardness Dependent
                                                    Dissolved Lead1                       Hardness Dependent
                                                    Dissolved Zinc1                       Hardness Dependent
                                                    Total Suspended Solids (TSS)          100 mg/L
1
 The benchmark values of some metals are dependent on water hardness. For these parameters, permittees must
determine the hardness in accordance with Appendix E, “Determining Benchmarks for Hardness Dependent
Metals” (Part 6.2.1.1), to identify the applicable ‘hardness range’ for determining their benchmark value applicable
to their facility. The ranges occur in 25 mg/L increments.




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Sector 8.O – Steam Electric Generating Facilities.


     Subsector            SIC Code        Activity Represented

                                          Steam Electric Generating Facilities, including coal handling
        O1                    SE
                                          sites

8.O.1 Covered Storm water Discharges.
The requirements in Sector O apply to storm water discharges associated with industrial activity from
Steam Electric Power Generating Facilities as identified by the Activity Code specified above.

8.O.2 Industrial Activities Covered by Sector O.
This permit authorizes storm water discharges from the following industrial activities at Sector O
facilities:
        a. Steam electric power generation using coal, natural gas, oil, nuclear energy, etc., to produce a
            steam source, including coal handling areas;
        b. Coal pile runoff, including effluent limitations established by 40 CFR Part 423; and
        c. Dual fuel facilities that could employ a steam boiler.

8.O.3 Limitations on Coverage.
8.O.3.1 Prohibition of Non-Storm Water Discharges. Non-storm water discharges subject to effluent
limitations are not covered by this permit.
8.O.3.2 Prohibition of Storm Water Discharges. Storm water discharges from the following are not
covered by this permit:
      a. Ancillary facilities (e.g., fleet centers and substations) that are not contiguous to a stream
          electric power generating facility;
      b. Gas turbine facilities (providing the facility is not a dual-fuel facility that includes a steam
          boiler), and combined-cycle facilities where no supplemental fuel oil is burned (and the facility
          is not a dual-fuel facility that includes a steam boiler); and
      c. Cogeneration (combined heat and power) facilities utilizing a gas turbine.

8.O.4 Additional Technology-Based Effluent Limits.
The following good housekeeping measures are required in addition to Part 2.1.2.2:
8.O.4.1 Fugitive Dust Emissions. Minimize fugitive dust emissions from coal handling areas. To
minimize the tracking of coal dust offsite, consider procedures such as installing specially designed tires
or washing vehicles in a designated area before they leave the site and controlling the wash water.
8.O.4.2 Delivery Vehicles. Minimize contamination of storm water runoff from delivery vehicles arriving
at the plant site. Consider procedures to inspect delivery vehicles arriving at the plant site and ensure
overall integrity of the body or container and procedures to deal with leakage or spillage from vehicles
or containers.
8.O.4.3 Fuel Oil Unloading Areas. Minimize contamination of precipitation or surface runoff from fuel
oil unloading areas. Consider using containment curbs in unloading areas, having personnel familiar with
spill prevention and response procedures present during deliveries to ensure that any leaks or spills are
contained and cleaned up as soon as possible, and using spill and overflow protection devices (e.g., drip
pans, drip diapers, or other containment devices placed beneath fuel oil connectors to contain potential
spillage during deliveries or from leaks at the connectors).



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8.O.4.4 Chemical Loading and Unloading. Minimize contamination of precipitation or surface runoff
from chemical loading and unloading areas. Consider using containment curbs at chemical loading and
unloading areas to contain spills, having personnel familiar with spill prevention and response
procedures present during deliveries to ensure that any leaks or spills are contained and cleaned up as
soon as possible, and loading and unloading in covered areas and storing chemicals indoors.
8.O.4.5 Miscellaneous Loading and Unloading Areas. Minimize contamination of precipitation or
surface runoff from loading and unloading areas. Consider covering the loading area; grading, berming,
or curbing around the loading area to divert run-on; locating the loading and unloading equipment and
vehicles so that leaks are contained in existing containment and flow diversion systems; or equivalent
procedures.
8.O.4.6 Liquid Storage Tanks. Minimize contamination of surface runoff from above-ground liquid
storage tanks. Consider protective guards around tanks, containment curbs, spill and overflow
protection, dry cleanup methods, or equivalent measures.
8.O.4.7 Large Bulk Fuel Storage Tanks. Minimize contamination of surface runoff from large bulk fuel
storage tanks. Consider containment berms (or their equivalent). Permittees must also comply with
applicable State and Federal laws, including Spill Prevention, Control, and Countermeasure (SPCC) Plan
requirements.
8.O.4.8 Spill Reduction Measures. Minimize the potential for an oil or chemical spill, or reference the
appropriate part of the SPCC plan. Visually inspect as part of the routine facility inspection the
structural integrity of all above-ground tanks, pipelines, pumps, and related equipment that may be
exposed to storm water, and make any necessary repairs as soon as possible.
8.O.4.9 Oil-Bearing Equipment in Switchyards. Minimize contamination of surface runoff from oil-bearing
equipment in switchyard areas. Consider using level grades and gravel surfaces to retard flows and limit the
spread of spills, or collecting runoff in perimeter ditches.
8.O.4.10 Residue-Hauling Vehicles. Inspect all residue-hauling vehicles for proper covering over the
load, adequate gate sealing, and overall integrity of the container body. Repair vehicles without load
covering or adequate gate sealing, or with leaking containers or beds.
8.O.4.11 Ash Loading Areas. Reduce or control the tracking of ash and residue from ash loading areas.
Clear the ash building floor and adjacent roadways of spillage, debris, and excess water before
departure of each loaded vehicle.
8.O.4.12 Areas Adjacent to Disposal Ponds or Landfills. Minimize contamination of surface runoff from
areas adjacent to disposal ponds or landfills. Reduce ash residue that may be tracked on to access roads
traveled by residue handling vehicles, and reduce ash residue on exit roads leading into and out of
residue handling areas.
8.O.4.13 Landfills, Scrap yards, Surface Impoundments, Open Dumps, General Refuse Sites. Minimize
the potential for contamination of runoff from these areas.

8.O.5 Additional SWPPP Requirements.
8.O.5.1 Drainage Area Site Map. (See also Part 5.1.2) Document in the SWPPP the locations of any of
the following activities or sources that may be exposed to precipitation or surface runoff: storage tanks,
scrap yards, and general refuse areas; short-term and long-term storage of general materials (including
but not limited to supplies, construction materials, paint equipment, oils, fuels, used and unused
solvents, cleaning materials, paint, water treatment chemicals, fertilizer, and pesticides); landfills and
construction sites; and stock pile areas (e.g., coal and limestone piles).
8.O.5.2 Documentation of Good Housekeeping Measures. Permittees must document in the SWPPP the
good housekeeping measures implemented to meet the effluent limits in Part 8.O.4.




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8.O.6 Additional Inspection Requirements.
Site Compliance Inspection. (See also Part 4) As part of the permittee’s inspection, inspect the following
areas quarterly: coal handling areas, loading or unloading areas, switchyards, fueling areas, bulk storage
areas, ash handling areas, areas adjacent to disposal ponds and landfills, maintenance areas, liquid
storage tanks, and long-term and short-term material storage areas.

8.O.7 Sector-Specific Benchmarks. (See also Part 6)
Table 8.O-1 identifies benchmarks that apply to the specific subsectors of Sector O. These benchmarks
apply to each of the outfalls whether described by the primary industrial activity, any applicable co-
located industrial activities, or both.

Table 8.O-1
Subsector                                                                               Benchmark
(Permittees may be subject to requirements for      Parameter                           Monitoring
more than one sector/subsector)                                                         Concentration
Subsector O1. Steam Electric Generating             Oil & Grease                        15 mg/L
Facilities (Industrial Activity Code “SE”)          Dissolved Copper1                   Hardness Dependent
                                                    Dissolved Nickel1                   Hardness Dependent
                                                    Dissolved Zinc1                     Hardness Dependent
1
 The benchmark values of some metals are dependent on water hardness. For these parameters, permittees must
determine the hardness in accordance with Appendix E, “Determining Benchmarks for Hardness Dependent
Metals” (Part 6.2.1.1), to identify the applicable ‘hardness range’ for determining their benchmark value applicable
to their facility. The ranges occur in 25 mg/L increments.

8.O.8 Effluent Limitations. (See also Part 6.2.2.1)
Table 8.O-2 identifies effluent limits that apply to storm water discharges from the industrial activities
described below. Compliance with these effluent limits is to be determined based on discharges from
these industrial activities independent of commingling with any other wastestreams that may be
covered under this permit.

Table 8.O-21
Industrial Activity                                 Parameter                           Effluent Limit

Discharges from coal storage piles at Steam Total Suspended Solids (TSS)                50 mg/L2
Electric Generating Facilities              pH                                          6.0-9.0 s.u.
1
 Monitor annually.
2
 If the permittee’s facility is designed, constructed, and operated to treat the volume of coal pile runoff that is
associated with a 10-year, 24-hour rainfall event, any untreated overflow of coal pile runoff from the treatment
unit is not subject to the 50 mg/L limitation for TSS.




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Sector 8.P – Land Transportation and Warehousing.


     Subsector             SIC Code       Activity Represented

                         4011, 4013       Railroad Transportation
                         4111-4173        Local and Highway Passenger Transportation
        P1               4212-4231        Motor Freight Transportation and Warehousing
                           4311           United States Postal Service
                           5171           Petroleum Bulk Stations and Terminals

8.P.1 Covered Storm Water Discharges.
The requirements in Sector P apply to storm water discharges associated with industrial activity from
Land Transportation and Warehousing facilities as identified by the SIC Codes specified above which
have vehicle maintenance shops or equipment cleaning operations.
8.P.1.1 Solid Waste Transfer Stations. SIC code 4212 includes facilities primarily engaged in local
collecting and hauling of garbage without disposal. Only those portions of the facility that are either
involved in vehicle maintenance (including vehicle rehabilitation, mechanical repairs, painting, fueling,
and lubrication) or equipment cleaning operations are considered to be associated with industrial
activity under this permit. Those portions of the facility that are involved in the above activities are
regulated by this permit. If a solid waste transfer station does not conduct any of these activities, then
that facility would not be applicable for coverage under this permit.

8.P.2 Limitation on Coverage. This permit authorizes storm water discharges from only those portions
of the land transportation facility that are involved in vehicle maintenance (including vehicle
rehabilitation, mechanical repairs, painting, fueling and lubrication) or equipment cleaning operations.
8.P.2.1 Prohibited Discharges. (See also Parts 1.1.4 and 8.P.3.6) This permit does not authorize the
discharge of vehicle/equipment/surface washwater, including tank-cleaning operations.                Such
discharges must be authorized under a separate NPDES permit, discharged to a sanitary sewer in
accordance with applicable industrial pretreatment requirements, or recycled on-site.

8.P.3 Additional Technology-Based Effluent Limits.
8.P.3.1 Good Housekeeping Measures. In addition to Part 2.1.2.2, permittees must adhere to the
following recommended control measures as indicated:
8.P.3.2 Vehicle and Equipment Storage Areas. Minimize the potential for storm water exposure to leaky
or leak-prone vehicles/equipment awaiting maintenance. Consider the following, or other equivalent
measures: use of drip pans under vehicles/equipment, indoor storage of vehicles and equipment,
installation of berms or dikes, use of absorbents, roofing or covering storage areas, and cleaning
pavement surfaces to remove oil and grease.
8.P.3.3 Fueling Areas. Minimize contamination of storm water runoff from fueling areas. Consider the
following, or other equivalent measures: Covering the fueling area; using spill/overflow protection and
cleanup equipment; minimizing storm water run-on/runoff to the fueling area; using dry cleanup
methods; and treating and/or recycling collected storm water runoff.
8.P.3.4 Material Storage Areas. Maintain all material storage vessels (e.g., for used oil/oil filters, spent
solvents, paint wastes, hydraulic fluids) to prevent contamination of storm water and plainly label them
(e.g., “Used Oil,” “Spent Solvents”). Consider the following, or other equivalent measures: storing the



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materials indoors; installing berms/dikes around the areas; minimizing runoff of storm water to the
areas; using dry cleanup methods; and treating and/or recycling collected storm water runoff.
8.P.3.5 Vehicle and Equipment Cleaning Areas. Minimize contamination of storm water runoff from all
areas used for vehicle/equipment cleaning. Consider the following, or other equivalent measures:
performing all cleaning operations indoors; covering the cleaning operation, ensuring that all washwater
drains to a proper collection system (i.e., not the storm water drainage system); treating and/or
recycling collected washwater, or other equivalent measures.
8.P.3.6 Vehicle and Equipment Maintenance Areas. Minimize contamination of storm water runoff from
all areas used for vehicle/equipment maintenance. Consider the following, or other equivalent
measures: performing maintenance activities indoors; using drip pans; keeping an organized inventory
of materials used in the shop; draining all parts of fluid prior to disposal; prohibiting wet clean up
practices if these practices would result in the discharge of pollutants to storm water drainage systems;
using dry cleanup methods; treating and/or recycling collected storm water runoff, minimizing run
on/runoff of storm water to maintenance areas.
8.P.3.7 Locomotive Sanding (Loading Sand for Traction) Areas. Consider the following, or other
equivalent measures: covering sanding areas; minimizing storm water run on/runoff; or appropriate
sediment removal practices to minimize the offsite transport of sanding material by storm water.
8.P.3.8 Employee Training. (See also Part 5.1.1) Train personnel at least once a year and address the
following activities, as applicable: used oil and spent solvent management; fueling procedures; general
good housekeeping practices; proper painting procedures; and used battery management.

8.P.4 Additional SWPPP Requirements.
8.P.4.1 Drainage Area Site Map. (See also Part 5.1.2) Identify in the SWPPP the following areas of the
facility and indicate whether activities occurring there may be exposed to precipitation/surface runoff:
Fueling stations; vehicle/equipment maintenance or cleaning areas; storage areas for vehicle/equipment
with actual or potential fluid leaks; loading/unloading areas; areas where treatment, storage or disposal
of wastes occur; liquid storage tanks; processing areas; and storage areas.
8.P.4.2 Potential Pollutant Sources. (See also Part 5.1.3) Assess the potential for the following activities
and facility areas to contribute pollutants to storm water discharges: Onsite waste storage or disposal;
dirt/gravel parking areas for vehicles awaiting maintenance; illicit plumbing connections between shop
floor drains and the storm water conveyance system(s); and fueling areas. Describe these activities in
the SWPPP.
8.P.4.3 Description of Good Housekeeping Measures. Permittees must document in the SWPPP the
good housekeeping measures permittees implement consistent with Part 8.P.3.
8.P.4.4 Vehicle and Equipment Washwater Requirements. If applicable, attach to or reference in the
SWPPP, a copy of the NPDES permit issued for vehicle/equipment washwater or, if an NPDES permit has
not been issued, a copy of the pending application. If an industrial user permit is issued under a local
pretreatment program, attach a copy to the SWPPP. In any case, implement all non-storm water
discharge permit conditions or pretreatment conditions contained in the SWPPP. If washwater is
handled in another manner (e.g., hauled offsite), describe the disposal method and attach pertinent
documentation/information (e.g., frequency, volume, destination) to the SWPPP.

8.P.5 Additional Inspection Requirements. (See also Part 4)
Inspect all the following areas/activities: storage areas for vehicles/equipment awaiting maintenance,
fueling areas, indoor and outdoor vehicle/equipment maintenance areas, material storage areas,
vehicle/equipment cleaning areas and loading/unloading areas.




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Sector 8.Q – Water Transportation: Maintenance/Cleaning.


     Subsector             SIC Code        Activity Represented

        Q1                4412-4499        Water Transportation Facilities

8.Q.1 Covered Storm Water Discharges.
The requirements in Sector Q apply to storm water discharges associated with industrial activity from
Water Transportation facilities as identified by the SIC Codes specified above, which have land and/or
water vehicle maintenance activities or equipment cleaning operations. Only those portions of the
facility that are either involved in vehicle maintenance (including vehicle rehabilitation, mechanical
repairs, painting, fueling, and lubrication) or equipment cleaning operations are considered to be
associated with industrial activity under this permit.

8.Q.2 Limitations on Coverage.
Prohibition of Non-Storm Water Discharges. (See also Part 1.1.4) Not covered by this permit: bilge and
ballast water, sanitary wastes, pressure wash water, and cooling water originating from vessels.

8.Q.3 Additional Technology-Based Effluent Limits.
8.Q.3.1 Good Housekeeping Measures. Permittees must implement the following good housekeeping
measures in addition to the requirements of Part 2.1.2.2:
8.Q.3.2 Pressure Washing Area. If pressure washing is used to remove marine growth from vessels, the
discharge water must be permitted by a separate NPDES permit. Collect or contain the discharge from
the pressure washing area so that it is not co-mingled with storm water discharges authorized by this
permit.
8.Q.3.3 Blasting and Painting Area. Minimize the potential for spent abrasives, paint chips, and
overspray to discharge into receiving waters or the storm sewer systems. Consider containing all
blasting and painting activities or use other measures to minimize the discharge of contaminants (e.g.,
hanging plastic barriers or tarpaulins during blasting and painting operations, to contain debris). When
necessary, regularly clean storm water conveyances of deposits of abrasive blasting debris and paint
chips.
8.Q.3.4 Material Storage Areas. Store and plainly label all containerized materials (e.g., fuels, paints,
solvents, waste oil, antifreeze, batteries) in a protected, secure location away from drains. Minimize the
contamination of precipitation or surface runoff from the storage areas. Specify which materials are
stored indoors, and consider containment or enclosure for those stored outdoors. If abrasive blasting is
performed, discuss the storage and disposal of spent abrasive materials generated at the facility.
Consider implementing an inventory control plan to limit the presence of potentially hazardous
materials onsite.
8.Q.3.5 Engine Maintenance and Repair Areas. Minimize the contamination of precipitation or surface
runoff from all areas used for engine maintenance and repair. Consider the following, or their
equivalents: performing all maintenance activities indoors, maintaining an organized inventory of
materials used in the shop, draining all parts of fluid prior to disposal, prohibiting the practice of hosing
down the shop floor, using dry cleanup methods, and treating and/or recycling storm water runoff
collected from the maintenance area.
8.Q.3.6 Material Handling Area. Minimize the contamination of precipitation or surface runoff from
material handling operations and areas (e.g., fueling, paint and solvent mixing, disposal of process


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wastewater streams from vessels). Consider the following, or their equivalents: covering fueling areas,
using spill and overflow protection, mixing paints and solvents in a designated area (preferably indoors
or under a shed), and minimizing runoff of storm water to material handling areas.
8.Q.3.7 Drydock Activities. Routinely maintain and clean the drydock to minimize pollutants in storm
water runoff. Address the cleaning of accessible areas of the drydock prior to flooding, and final cleanup
following removal of the vessel and raising the dock. Include procedures for cleaning up oil, grease, and
fuel spills occurring on the drydock. Consider the following, or their equivalents: sweeping rather than
hosing off debris and spent blasting material from accessible areas of the drydock prior to flooding and
making absorbent materials and oil containment booms readily available to clean up or contain any
spills.
8.Q.3.8 Employee Training. (See also Part 5.1.1) As part of the employee training program, address, at a
minimum, the following activities, as applicable: used oil management, spent solvent management,
disposal of spent abrasives, disposal of vessel wastewaters, spill prevention and control, fueling
procedures, general good housekeeping practices, painting and blasting procedures, and used battery
management.
8.Q.3.9 Preventive Maintenance. (See also Part 2.1.2.3) As part of the preventive maintenance
program, perform timely inspection and maintenance of storm water management devices (e.g.,
cleaning oil and water separators and sediment traps to ensure that oil, spent abrasives, paint chips, and
solids will be intercepted and retained prior to entering the storm drainage system), as well as
inspecting and testing facility equipment and systems to uncover conditions that could cause
breakdowns or failures resulting in discharges of pollutants to surface waters.

8.Q.4 Additional SWPPP Requirements.
8.Q.4.1 Drainage Area Site Map. (See also Part 5.1.2) Document in the SWPPP where any of the
following may be exposed to precipitation or surface runoff: fueling; engine maintenance and repair;
vessel maintenance and repair; pressure washing; painting; sanding; blasting; welding; metal fabrication;
loading and unloading areas; locations used for the treatment, storage, or disposal of wastes; liquid
storage tanks; liquid storage areas (e.g., paint, solvents, resins); and material storage areas (e.g., blasting
media, aluminum, steel, scrap iron).
8.Q.4.2 Summary of Potential Pollutant Sources. (See also Part 5.1.3) Document in the SWPPP the
following additional sources and activities that have potential pollutants associated with them: outdoor
manufacturing or processing activities (e.g., welding, metal fabricating) and significant dust or
particulate generating processes (e.g., abrasive blasting, sanding, and painting.)
8.Q.4.3 SWPPP Responsibility. EPD will interpret submittal of the NOI(s) as an indication of the
responsibility of the SWPPP and other permit requirements.

8.Q.5 Additional Inspection Requirements. (See also Part 4)
Include the following in all quarterly routine facility inspections: pressure washing area; blasting,
sanding, and painting areas; material storage areas; engine maintenance and repair areas; material
handling areas; drydock area; and general yard area.

8.Q.6 Sector-Specific Benchmarks. (See also Part 6)
Table 8.Q-1 identifies benchmarks that apply to the specific subsectors of Sector Q. These benchmarks
apply to each of the outfalls whether described by the primary industrial activity, any applicable co-
located industrial activities, or both.




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Table 8.Q-1
Subsector                                                                             Benchmark
(Permittees may be subject to requirements        Parameter                           Monitoring
for more than one sector/subsector)                                                   Concentration
Subsector Q1. Water Transportation:               Oil & Grease                        15 mg/L
Maintenance/Cleaning Facilities (SIC 4412-        Total Suspended Solids (TSS)        100 mg/L
4499)                                             Dissolved Lead1                     Hardness Dependent
                                                  Dissolved Zinc1                     Hardness Dependent
1
 The benchmark values of some metals are dependent on water hardness. For these parameters, permittees must
determine the hardness in accordance with Appendix E, “Determining Benchmarks for Hardness Dependent
Metals” (Part 6.2.1.1), to identify the applicable ‘hardness range’ for determining their benchmark value applicable
to their facility. The ranges occur in 25 mg/L increments.




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Sector 8.R – Ship and Boat Building and Repair Yards.


     Subsector             SIC Code        Activity Represented

        R1                3731, 3732       Ship and Boat Building or Repairing Yards

8.R.1 Covered Storm Water Discharges.
The requirements in Sector R apply to storm water discharges associated with industrial activity from
Ship and Boat Building and Repair Yards as identified by the SIC Codes specified above.

8.R.2 Limitations on Coverage.
8.R.2.1 Prohibition of Non-Storm Water Discharges. (See also Part 1.1.4) Discharges containing bilge
and ballast water, sanitary wastes, pressure wash water, and cooling water originating from vessels are
not covered by this permit.

8.R.3 Additional Technology-Based Effluent Limits.
8.R.3.1 Good Housekeeping Measures. (See also Part 2.1.2.2)
8.R.3.2 Pressure Washing Area. If pressure washing is used to remove marine growth from vessels, the
discharged water must be permitted as a process wastewater by a separate NPDES permit.
8.R.3.3 Blasting and Painting Area. Minimize the potential for spent abrasives, paint chips, and
overspray to discharge into the receiving water or the storm sewer systems. Consider containing all
blasting and painting activities, or use other measures to prevent the discharge of the contaminants
(e.g., hanging plastic barriers or tarpaulins during blasting or painting operations to contain debris).
When necessary, regularly clean storm water conveyances of deposits of abrasive blasting debris and
paint chips.
8.R.3.4 Material Storage Areas. Store and plainly label all containerized materials (e.g., fuels, paints,
solvents, waste oil, antifreeze, batteries) in a protected, secure location away from drains. Minimize the
contamination of precipitation or surface runoff from the storage areas. If abrasive blasting is
performed, discuss the storage and disposal of spent abrasive materials generated at the facility.
Consider implementing an inventory control plan to limit the presence of potentially hazardous
materials onsite.
8.R.3.5 Engine Maintenance and Repair Areas. Minimize the contamination of precipitation or surface
runoff from all areas used for engine maintenance and repair. Consider the following, or their
equivalents: performing all maintenance activities indoors, maintaining an organized inventory of
materials used in the shop, draining all parts of fluid prior to disposal, prohibiting the practice of hosing
down the shop floor, using dry cleanup methods, and treating and/or recycling storm water runoff
collected from the maintenance area.
8.R.3.6 Material Handling Area. Minimize the contamination of precipitation or surface runoff from
material handling operations and areas (e.g., fueling, paint and solvent mixing, disposal of process
wastewater streams from vessels). Consider the following, or their equivalents: covering fueling areas,
using spill and overflow protection, mixing paints and solvents in a designated area (preferably indoors
or under a shed), and minimizing storm water run-on to material handling areas.
8.R.3.7 Drydock Activities. Routinely maintain and clean the drydock to minimize pollutants in storm
water runoff. Clean accessible areas of the drydock prior to flooding and final cleanup following
removal of the vessel and raising the dock. Include procedures for cleaning up oil, grease, or fuel spills
occurring on the drydock. Consider the following, or their equivalents: sweeping rather than hosing off


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debris and spent blasting material from accessible areas of the drydock prior to flooding, and having
absorbent materials and oil containment booms readily available to clean up and contain any spills.
8.R.3.8 Employee Training. (See also Part 5.1.1) As part of the employee training program, address, at a
minimum, the following activities (as applicable): used oil management, spent solvent management,
disposal of spent abrasives, disposal of vessel wastewaters, spill prevention and control, fueling
procedures, general good housekeeping practices, painting and blasting procedures, and used battery
management.
8.R.3.9 Preventive Maintenance. (See also Part 2.1.2.3) As part of the preventive maintenance program,
perform timely inspection and maintenance of storm water management devices (e.g., cleaning oil and
water separators and sediment traps to ensure that oil, spent abrasives, paint chips, and solids will be
intercepted and retained prior to entering the storm drainage system), as well as inspecting and testing
facility equipment and systems to uncover conditions that could cause breakdowns or failures resulting
in discharges of pollutants to surface waters.

8.R.4 Additional SWPPP Requirements.
A ship authority and tenants are encouraged to work in partnership in SWPPP development. EPD will
interpret submittal of the NOI(s) as an indication of the responsibility of the SWPPP and other permit
requirements.
8.R.4.1 Drainage Area Site Map. (See also Part 5.1.2) Document in the SWPPP where any of the
following may be exposed to precipitation or surface runoff: fueling; engine maintenance or repair;
vessel maintenance or repair; pressure washing; painting; sanding; blasting; welding; metal fabrication;
loading and unloading areas; treatment, storage, and waste disposal areas; liquid storage tanks; liquid
storage areas (e.g., paint, solvents, resins); and material storage areas (e.g., blasting media, aluminum,
steel, scrap iron).
8.R.4.2 Potential Pollutant Sources. (See also Part 5.1.3) Document in the SWPPP the following
additional sources and activities that have potential pollutants associated with them (if applicable):
outdoor manufacturing or processing activities (e.g., welding, metal fabricating) and significant dust or
particulate generating processes (e.g., abrasive blasting, sanding, and painting).
8.R.4.3 Documentation of Good Housekeeping Measures. Document in the SWPPP any good
housekeeping measures implemented to meet the effluent limits in Part 8.R.3.
8.R.4.3.1 Blasting and Painting Areas. Document in the SWPPP any standard operating practices
relating to blasting and painting (e.g., prohibiting uncontained blasting and painting over open water or
prohibiting blasting and painting during windy conditions, which can render containment ineffective).
8.R.4.3.2 Storage Areas. Specify in the SWPPP which materials are stored indoors, and consider
containment or enclosure for those stored outdoors.

8.R.5 Additional Inspection Requirements. (See also Part 4)
Include the following in all quarterly routine facility inspections: pressure washing area; blasting,
sanding, and painting areas; material storage areas; engine maintenance and repair areas; material
handling areas; drydock area; and general yard area.

8.R.6 Sector-Specific Benchmarks. (See also Part 6)
Table 8.R-1 identifies benchmarks that apply to the specific subsectors of Sector R. These benchmarks
apply to each of the outfalls whether described by the primary industrial activity, any applicable co-
located industrial activities, or both.




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Table 8.R-1
Subsector                                                                               Benchmark Monitoring
(Permittees may be subject to requirements        Parameter
                                                                                        Concentration
for more than one sector/subsector)
Subsector R1. Ship building/repairing             Total Suspended Solids (TSS)          100 mg/L
facilities (SIC 3731, 3732)                       pH                                    6.0-9.0 s.u.
                                                  Chemical Oxygen Demand
                                                                                        120 mg/L
                                                  (COD)
                                                  Oil & Grease                          15 mg/L
                                                  Dissolved Lead1                       Hardness Dependent
                                                  Dissolved Zinc1                       Hardness Dependent
1
 The benchmark values of some metals are dependent on water hardness. For these parameters, permittees must
determine the hardness in accordance with Appendix E, “Determining Benchmarks for Hardness Dependent
Metals” (Part 6.2.1.1), to identify the applicable ‘hardness range’ for determining their benchmark value applicable
to their facility. The ranges occur in 25 mg/L increments.




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Sector 8.S – Air Transportation.


     Subsector             SIC Code       Activity Represented

        S1                4512-4581       Air Transportation Facilities

8.S.1 Covered Storm Water Discharges.
The requirements in Sector S apply to storm water discharges associated with industrial activity from Air
Transportation facilities identified by the SIC Codes specified above, which have air and/or land vehicle
maintenance activities, equipment cleaning operations, or airport deicing operations. Only those
portions of the facility that are either involved in vehicle maintenance (including vehicle rehabilitation,
mechanical repairs, painting, fueling, and lubrication), equipment cleaning operations, or airport deicing
operations are considered to be associated with industrial activity under this permit.

8.S.2 Limitations on Coverage.
8.S.2.1 Limitations on Coverage. This permit authorizes storm water discharges from only those
portions of the air transportation facility that are involved in vehicle maintenance (including vehicle
rehabilitation, mechanical repairs, painting, fueling and lubrication), equipment cleaning operations or
deicing operations.
Note: “Deicing” will generally be used to imply both deicing (removing frost, snow or ice) and anti-icing
(preventing accumulation of frost, snow or ice) activities, unless specific mention is made regarding anti-
icing and/or deicing activities.
8.S.2.2 Prohibition of Non-Storm Water Discharges. (See also Part 1.1.4) This permit does not authorize
the discharge of aircraft, ground vehicle, runway and equipment washwaters; nor the dry weather
discharge of deicing chemicals. Such discharges must be covered by separate NPDES permit(s). Note
that a discharge resulting from snowmelt is not a dry weather discharge.

8.S.3 Additional Technology-Based Effluent Limits.
8.S.3.1 Good Housekeeping Measures. (See also Part 2.1.2.2)
8.S.3.1.1 Aircraft, Ground Vehicle and Equipment Maintenance Areas. Minimize the contamination of
storm water runoff from all areas used for aircraft, ground vehicle and equipment maintenance,
including the maintenance conducted on the terminal apron and in dedicated hangers. Consider the
following practices, or their equivalents: performing maintenance activities indoors; maintaining an
organized inventory of material used in the maintenance areas; draining all parts of fluids prior to
disposal; prohibiting the practice of hosing down the apron or hanger floor; using dry cleanup methods;
and collecting the storm water runoff from the maintenance area and providing treatment or recycling.
8.S.3.1.2 Aircraft, Ground Vehicle and Equipment Cleaning Areas. Clearly demarcate these areas on the
ground using signage or other appropriate means. Minimize the contamination of storm water runoff
from cleaning areas.
8.S.3.1.3 Aircraft, Ground Vehicle and Equipment Storage Areas. Store all aircraft, ground vehicles and
equipment awaiting maintenance in designated areas only and minimize the contamination of storm
water runoff from these storage areas. Consider the following control measures, including any BMPs, or
their equivalents: storing aircraft and ground vehicles indoors; using drip pans for the collection of fluid
leaks; and perimeter drains, dikes or berms surrounding the storage areas.
8.S.3.1.4 Material Storage Areas. Maintain the vessels of stored materials (e.g., used oils, hydraulic
fluids, spent solvents, and waste aircraft fuel) in good condition, to prevent or minimize contamination


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of storm water. Also plainly label the vessels (e.g., “used oil,” “Contaminated Jet A,” etc.). Minimize
contamination of precipitation/runoff from these areas. Consider the following control measures, or
their equivalents: storing materials indoors; storing waste materials in a centralized location; and
installing berms/dikes around storage areas.
8.S.3.1.5 Airport Fuel System and Fueling Areas. Minimize the discharge of fuel to the storm
sewer/surface waters resulting from fuel servicing activities or other operations conducted in support of
the airport fuel system. Provide an explanation in the SWPPP describing procedures for the removal and
disposal of water from the fuel storage and delivery systems. Consider the following control measures,
or their equivalents: implementing spill and overflow practices (e.g., placing absorptive materials
beneath aircraft during fueling operations); using only dry cleanup methods; routing water drawoffs to
a system equipped with an oil/water separator or equivalent system; and collecting storm water runoff.
8.S.3.1.6 Source Reduction. Minimize, and where feasible eliminate, the use of urea and glycol-based
deicing chemicals, in order to reduce the aggregate amount of deicing chemicals used and/or lessen the
environmental impact. Chemical options to replace ethylene glycol, propylene glycol and urea include:
potassium acetate; magnesium acetate; calcium acetate; and anhydrous sodium acetate.
8.S.3.1.6.1 Runway Deicing Operation: Minimize contamination of storm water runoff from runways as
a result of deicing operations. Evaluate whether over-application of deicing chemicals occurs by
analyzing application rates, and adjust as necessary, consistent with considerations of flight safety. Also
consider these control measure options (or their equivalents): metered application of chemicals; pre-
wetting dry chemical constituents prior to application; installing a runway ice detection system;
implementing anti-icing operations as a preventive measure against ice buildup.
8.S.3.1.6.2 Aircraft Deicing Operations. Minimize contamination of storm water runoff from aircraft
deicing operations. Determine whether excessive application of deicing chemicals occurs and adjust as
necessary, consistent with considerations of flight safety. This evaluation should be carried out by the
personnel most familiar with the particular aircraft and flight operations in question (versus an outside
entity such as the airport authority). Consider using alternative deicing/anti-icing agents as well as
containment measures for all applied chemicals. Also consider these control measure options, or their
equivalents for reducing deicing fluid use: forced-air deicing systems, computer-controlled fixed-gantry
systems, infrared technology, hot water, varying glycol content to air temperature, enclosed-basket
deicing trucks, mechanical methods, hangar storage, aircraft covers, and thermal blankets for MD-80s
and DC-9s. Also consider using ice-detection systems and airport traffic flow strategies and departure
slot allocation systems.
8.S.3.1.7 Management of Runoff. (See also 2.1.2.6) Where deicing operations occur, implement a
program to control or manage contaminated runoff to minimize the amount of pollutants being
discharged from the site. Consider these control measure options, or their equivalents: a dedicated
deicing facility with a runoff collection/recovery system; using vacuum/collection trucks; storing
contaminated storm water/deicing fluids in tanks and releasing controlled amounts to a publicly owned
treatment works; collecting contaminated runoff in a wet pond for biochemical decomposition (be
aware of attracting wildlife that may prove hazardous to flight operations); and directing runoff into
vegetative swales or other infiltration measures. Also consider recovering deicing materials when these
materials are applied during non-precipitation events (e.g., covering storm sewer inlets, using booms,
installing absorptive interceptors in the drains) to prevent these materials from later becoming a source
of storm water contamination. Used deicing fluid should be recycled whenever possible.
8.S.3.2 Deicing Season. Permittees must determine the seasonal timeframe (i.e., December-February,
October - March, etc.) during which deicing activities typically occur at the facility. Implementation of
control measures, including any BMP, facility inspections and monitoring must be conducted with
particular emphasis throughout the defined deicing season. If the permittee meets the deicing chemical
usage thresholds of 100,000 gallons glycol and/or 100 tons of urea, the deicing season identified is the


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timeframe during which they must obtain the four required benchmark monitoring-event results (See
Table 8.S-1).

8.S.4 Additional SWPPP Requirements.
An airport authority and tenants of the airport are encouraged to work in partnership in the
development of a SWPPP. Tenants of the airport facility include air passenger or cargo companies, fixed
based operators and other parties who have contracts with the airport authority to conduct business
operations on airport property and whose operations result in storm water discharges associated with
industrial activity. EPD will interpret submittal of the NOI(s) as an indication of the responsibility of the
SWPPP and other permit requirements.
8.S.4.1 Drainage Area Site Map. (See also Part 5.1.2) Document in the SWPPP the following areas of the
facility and indicate whether activities occurring there may be exposed to precipitation/surface runoff:
aircraft and runway deicing operations; fueling stations; aircraft, ground vehicle and equipment
maintenance/cleaning areas; storage areas for aircraft, ground vehicles and equipment awaiting
maintenance; and fuel storage and transfer areas.
8.S.4.2 Potential Pollutant Sources. (See also Part 5.1.3) In the inventory of exposed materials, describe
in the SWPPP the potential for the following activities and facility areas to contribute pollutants to storm
water discharges: aircraft, runway, ground vehicle and equipment maintenance and cleaning; aircraft
and runway deicing operations (including apron and centralized aircraft deicing stations, runways,
taxiways and ramps). If permittees use deicing chemicals, permittees must maintain a record of the
types (including the Material Safety Data Sheets [MSDS]) used and the monthly quantities, either as
measured or, in the absence of metering, as estimated to the best of the permittee’s knowledge. This
includes all deicing chemicals, not just glycols and urea (e.g., potassium acetate), because large
quantities of these other chemicals can still have an adverse impact on receiving waters. Tenants or
other fixed-based operations that conduct deicing operations must provide the above information to
the airport authority for inclusion with any comprehensive airport SWPPPs.
8.S.4.3 Vehicle and Equipment Washwater Requirements. If washwater is generated, describe the
disposal method (e.g., hauled offsite, retained onsite) and attach all pertinent
documentation/information (i.e., frequency, volume, destination, etc.) in the SWPPP.
8.S.4.4 Documentation of Control Measures Used for Management of Runoff: Document in the SWPPP
the control measures used for collecting or containing contaminated melt water from collection areas
used for disposal of contaminated snow.

8.S.5 Additional Inspection Requirements.
8.S.5.1 Inspections. (See also Part 4) At a minimum conduct routine facility inspections at least
quarterly during the deicing season (e.g., October through April for most mid-latitude airports). If the
facility needs to deice before or after this period, expand the quarterly inspections to include all months
during which deicing chemicals may be used. EPD may specifically require permittees to increase
inspection frequencies.
8.S.5.2 Comprehensive Site Inspections. (See also Part 4.3) Using only qualified personnel, conduct the
annual site inspection during periods of actual deicing operations, if possible. If not practicable during
active deicing because of weather, conduct the inspection during the season when deicing operations
occur and the materials and equipment for deicing are in place.

8.S.6 Sector-Specific Benchmarks. (See also Part 6)
Monitor per the requirements in Tables 8.S-1 and 8.S-2. These benchmarks apply to each of the outfalls
whether described by the primary industrial activity, any applicable co-located industrial activities, or
both.


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Table 8.S-1

Subsector                                                                              Benchmark
(Permittees may be subject to requirements for       Parameter                         Monitoring
more than one sector/subsector)                                                        Concentration
Usage Threshold. For airports where a single         Chemical Oxygen Demand (COD)1     120 mg/L
permittee, or a combination of permitted             Total Suspended Solids (TSS)      100 mg/L
facilities use more than 100,000 gallons of          Ammonia1                          2.14 mg/L
glycol-based deicing chemicals and/or 100            pH1                               6.0 - 9.0 s.u.
tons or more of urea on an average annual
basis, monitor the first four parameters in
ONLY those outfalls that collect runoff from         Oil & Grease                      15 mg/L
areas where deicing activities occur (SIC 4512-
4581).
1
  These are deicing-related parameters. Collect the benchmark samples, and any required follow-up benchmark
samples, during the timeframe defined in Part 8.S.3.2 when deicing activities are occurring.

Table 8.S-2
Subsector                                                                              Benchmark
(Permittees may be subject to requirements for       Parameter                         Monitoring
more than one sector/subsector)                                                        Concentration
Flight Threshold. For airports with over             Chemical Oxygen Demand (COD)1     120 mg/L
50,000 flight operations per year, facilities with   Total Suspended Solids (TSS)      100 mg/L
storm water discharges from areas where              pH1                               6.0 - 9.0 s.u.
aircraft or airport deicing operations occur
                                                     Oil & Grease                     15 mg/L
(including runways, taxiways, ramps, and
dedicated airport deicing stations) are              And primary ingredient used in Measure
required to sample such storm water that is          the deicing materials used (e.g.
discharged from the facility when deicing            ethylene glycol, urea, etc.)1
activities are occurring.
1
  These are deicing-related parameters. Collect the benchmark samples, and any required follow-up benchmark
samples, during the timeframe defined in Part 8.S.3.2 when deicing activities are occurring.




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Sector 8.T – Treatment Works.


     Subsector            SIC Code        Activity Represented

                                          Treatment Works treating domestic sewage or any other
                                          sewage sludge or wastewater treatment device or system,
                                          used in the storage, treatment, recycling, and reclamation of
                                          municipal or domestic sewage, including land dedicated to the
                                          disposal of sewage sludge that is located within the confines of
                                          the facility, with a design flow of 1.0 million gallons per day
        T1                   TW
                                          (MGD) or more, or required to have an approved
                                          pretreatment program under 40 CFR Part 403. Not included
                                          are farm lands, domestic gardens or lands used for sludge
                                          management where sludge is beneficially reused and which
                                          are not physically located in the confines of the facility, or
                                          areas that are in compliance with Section 405 of the CWA

8.T.1 Covered Storm Water Discharges.
The requirements in Sector T apply to storm water discharges associated with industrial activity from
Treatment Works as identified by the Activity Code specified above.

8.T.2 Industrial Activities Covered by Sector T.
The requirements listed under this part apply to all existing point source storm water discharges
associated with the following activities:
      a. Treatment works treating domestic sewage, or any other sewage sludge or wastewater
          treatment device or system used in the storage, treatment, recycling, and reclamation of
          municipal or domestic sewage, including land dedicated to the disposal of sewage sludge; that
          are located within the confines of a facility with a design flow of 1.0 MGD or more; or are
          required to have an approved pretreatment program under 40 CFR Part 403.
      b. The following are not required to have permit coverage: farm lands, domestic gardens or lands
          used for sludge management where sludge is beneficially reused and which are not physically
          located within the facility, or areas that are in compliance with Section 405 of the CWA.

8.T.3 Limitations on Coverage.
Prohibition of Non-Storm Water Discharges. (See also Part 1.1.4) Sanitary and industrial wastewater and
equipment and vehicle washwater are not authorized by this permit.

8.T.4 Additional Technology-Based Effluent Limits.
8.T.4.1 Control Measures. (See also the non-numeric effluent limits in Part 2.1.2) In addition to the
other control measures, consider the following: routing storm water to the treatment works; or covering
exposed materials (i.e., from the following areas: grit, screenings, and other solids handling, storage, or
disposal areas; sludge drying beds; dried sludge piles; compost piles; and septage or hauled waste
receiving station).
8.T.4.2 Employee Training. (See also Part 5.1.1) At a minimum, training must address the following
areas when applicable to a facility: petroleum product management; process chemical management;




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septage or hauled waste receiving; spill prevention and controls; fueling procedures; general good
housekeeping practices; and proper procedures for using fertilizer, herbicides, and pesticides.

8.T.5 Additional SWPPP Requirements.
8.T.5.1 Site Map. (See also Part 5.1.2) Document in the SWPPP where any of the following may be
exposed to precipitation or surface runoff: grit, screenings, and other solids handling, storage, or
disposal areas; sludge drying beds; dried sludge piles; compost piles; septage or hauled waste receiving
station; and storage areas for process chemicals, petroleum products, solvents, fertilizers, herbicides,
and pesticides.
8.T.5.2 Potential Pollutant Sources. (See also Part 5.1.3) Document in the SWPPP the following
additional sources and activities that have potential pollutants associated with them, as applicable: grit,
screenings, and other solids handling, storage, or disposal areas; sludge drying beds; dried sludge piles;
compost piles; septage or hauled waste receiving station; access roads and rail lines; and process
chemicals, petroleum products, solvents, fertilizers, herbicides and pesticides.
8.T.5.3 Wastewater and Washwater Requirements. Keep a copy of all the current NPDES permits issued
for wastewater and industrial, vehicle and equipment washwater discharges or, if an NPDES permit has
not yet been issued, a copy of the pending application(s) with the SWPPP. If the washwater is handled
in another manner, the disposal method must be described and all pertinent documentation must be
retained onsite.

8.T.6 Additional Inspection Requirements.
(See also Part 4) Include the following areas in all inspections: access roads and rail lines; grit,
screenings, and other solids handling, storage, or disposal areas; sludge drying beds; dried sludge piles;
compost piles; and septage or hauled waste receiving station.

8.T.7 Sector-Specific Benchmarks. (See also Part 6)
These benchmarks apply to each of the outfalls whether described by the primary industrial activity, any
applicable co-located industrial activities, or both.

Table 8.T-1

Subsector                                                                          Benchmark
(Permittees may be subject to requirements        Parameter                        Monitoring
for more than one Sector/Subsector)                                                Concentration
Subsector T1. Treatment works (Activity Code      Total Suspended Solids (TSS)     100 mg/L
TW )




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Sector 8.U – Food and Kindred Products.


    Subsector             SIC Code       Activity Represented

        U1               2041-2048       Grain Mill Products
        U2               2074-2079       Fats and Oils Products
        U3               2011-2015       Meat Products
                         2021-2026       Dairy Products
                                         Canned, Frozen, and Preserved Fruits, Vegetables, and Food
                         2032-2038
                                         Specialties
                         2051-2053       Bakery Products
        U4
                         2061-2068       Sugar and Confectionery Products
                         2082-2087       Beverages
                         2091-2099       Miscellaneous Food Preparations and Kindred Products
                         2111-2141       Tobacco Products

8.U.1 Covered Storm Water Discharges.
The requirements in Sector U apply to storm water discharges associated with industrial activity from
Food and Kindred Products facilities as identified by the SIC Codes specified above.

8.U.2 Limitations on Coverage.
8.U.2.1 Prohibition of Non-Storm Water Discharges. (See also Part 1.1.4) The following discharges are
not authorized by this permit: discharges containing boiler blowdown, cooling tower overflow and
blowdown, ammonia refrigeration purging, and vehicle washing and clean-out operations.

8.U.3 Additional Technology-Based Limitations.
8.U.3.1 Employee Training. (See also Part 5.1.1) Address pest control in the employee training program.
8.U.3.2 Additional BMPs for Subsector U3. A list of suggested structural and operational BMPs for
animal processing plants is included in Part 8.U.7.

8.U.4 Additional SWPPP Requirements.
8.U.4.1 Drainage Area Site Map. (See also Part 5.1.2) Document in the SWPPP the locations of the
following activities if they are exposed to precipitation or runoff: vents and stacks from cooking, drying,
and similar operations; dry product vacuum transfer lines; animal holding and handling areas; spoiled
product; and broken product container storage areas.
8.U.4.2 Potential Pollutant Sources. (See also Part 5.1.3) Document in the SWPPP, in addition to food
and kindred products processing-related industrial activities, application and storage of pest control
chemicals (e.g., rodenticides, insecticides, fungicides) used on plant grounds.

8.U.5 Additional Inspection Requirements.
(See also Part 4) Inspect on a quarterly basis, at a minimum, the following areas where the potential for
exposure to storm water exists: loading and unloading areas for all significant materials; storage areas,
including associated containment areas; waste management units; vents and stacks emanating from
industrial activities; spoiled product and broken product container holding areas; animal handling and
holding areas; staging areas; and air pollution control equipment.


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8.U.6 Sector-Specific Benchmarks. (See also Part 6)
These benchmarks apply to each of the permittee’s outfalls whether described by the permittee’s
primary industrial activity, any applicable co-located industrial activities, or both.

Table 8.U-1
Subsector                                                                                   Benchmark
(Permittees may be subject to requirements for        Parameter                             Monitoring
more than one Sector / Subsector)                                                           Concentration
Subsector U1. Grain Mill Products (SIC 2041-          Total Suspended Solids (TSS)          100 mg/L
2048)
                                                      Biochemical Oxygen Demand             30 mg/L
                                                      (BOD5)
Subsector U2. Fats and Oils Products (SIC             Biochemical Oxygen Demand             30 mg/L
2074-2079)                                            (BOD5)
                                                      Oil & Grease                          15 mg/L
                                                      Total Suspended Solids (TSS)          100 mg/L
Subsector U3. Meat products - animal                  Total Suspended Solids (TSS)          100 mg/L
handling and meat packing (SIC codes 2011 -
2015)                                                 Biochemical Oxygen Demand             30 mg/L
                                                      (BOD5)
                                                      Oil & Grease                          15 mg/L
                                                      Total Kjeldahl Nitrogen (TKN)         Measure in mg/L
                                                      Total Phosphorus                      Measure in mg/L
                                                      pH                                    6.0 - 9.0 s.u.
                                                      Fecal Coliform2                       Measure in counts
                                                                                            per 100 ml
Facilities in Subsectors U3 with discharges           Total Suspended Solids (TSS)          100 mg/L
from material storage piles. 1
                                                      Biochemical Oxygen Demand             30 mg/L
                                                      (BOD5)
1.
  Facilities with discharges from material storage piles must sample one (1) qualifying rain event each quarter at
outfalls receiving the discharges in the first year of permit coverage. If at least seventy-five (75) percent or the
average of the samples do not exceed the benchmark value, permittees may revert to annual sampling in
accordance with Part 6.2.
2
 Applies to facilities with live animal handling areas.

8.U.7 BMP List for Fecal Coliform Control at Animal Processing Plants.
The following best management practices (BMPs) have been developed as consensus BMPs for animal
processing plants under the “animal handling/meat packing facilities” classification defined in, and
regulated by, the IGP. All BMPs contained in this document are accepted by the Georgia EPD under the
terms of the general permit as appropriate BMPs for this industrial classification and may be appropriate
and beneficial for other facilities that are potential sources of fecal coliform. Each permittee must
decide which BMP, or combination of BMPs (whether operational, structural, Tier 1, Tier II or Tier III), is
most appropriate to achieve the benchmarks for this sector, which are specified in Table 8.U-1. An
iterative process has been established in the general permit that allows permittees to implement new
BMPs and test the performance of these BMPs against the benchmark. If the benchmark is not


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achieved, then another round of BMPs must be implemented as provided in the general permit. If all
technologically and economically feasible BMPs have been implemented as provided in the general
permit, and a facility is still unable to meet the benchmarks, provided the facility does not discharge to
an impaired stream segment, then the facility may submit a demonstration to EPD under the general
permit that allows the facility to rely on the BMPs implemented to date for compliance with the general
permit, if EPD accepts the demonstration. In the event of any conflict between the submittal of the
demonstration and the general permit, the general permit shall control. Impaired stream segment
sampling is addressed in Appendix C.

8.U.7.1 Operational BMPs.

8.U.7.1.1 TIER I BMPs.
    a. Perform dry cleanup of live animal holding, staging, storage, etc. areas according to a schedule
        to be developed as appropriate for the particular facility, taking into account significant rain
        events and production schedules. Such schedule and a log demonstrating compliance with such
        schedule shall be maintained as part of the facility’s SWPPP.
    b. Park loaded live haul trailers under cover or in live holding sheds to minimize exposure to storm
        water. If loaded live haul trailers cannot be parked under cover, the areas where these trailers
        are parked shall discharge to process sewer systems.
    c. Perform dry cleanup of paved driveways, parking areas, etc. where live animal and animal
        byproducts transport vehicles are staged, stored, moved across, etc. according to a schedule to
        be developed as appropriate for the particular facility, taking into account significant rain events
        and production schedules. Such schedule and a log demonstrating compliance with such
        schedule shall be maintained as part of the facility’s SWPPP.
    d. Collect escaped animals on a daily basis.
    e. Properly maintain air pollution control systems to prevent excessive dust emissions from
        rendering equipment, byproducts handling systems, etc.
    f. Properly maintain exposed animal byproducts and feed-meal handling systems (screw
        conveyors, elevators, etc.) to ensure these systems are free of leaks, etc.
    g. Inspect storm water collection and discharge systems (manholes, underground storm sewers,
        sediment ponds/traps, etc.) and remove accumulated silt, sediment, organic materials, etc.
        according to a schedule to be developed as appropriate for the particular facility, taking into
        account significant rain events and production schedules. Such schedule and a log
        demonstrating compliance with such schedule shall be maintained as part of the facility’s
        SWPPP.
    h. Store animals dead on arrival (DOAs) in a manner which prevents the entry and release of storm
        water.
    i. Store refrigerated trailers with the potential for drainage of water contaminated with animal
        blood (red water) in containment areas with discharge to process sewer system.
    j. Perform equipment and vehicle washing activities in containment areas with discharge to
        process sewer system.
    k. Clean containment areas and remove accumulation of solids and organic materials (blood, litter,
        feed meal, animal byproducts, etc.) according to a schedule to be developed as appropriate for
        the particular facility, taking into account significant rain events and production schedules. Such
        schedule and a log demonstrating compliance with such schedule shall be maintained as part of
        the facility’s SWPPP.
    l. Remove solids and other contaminants on vehicles and equipment prior to long-term storage in
        outdoor areas (e.g., bone yards).


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    m. Properly maintain (or ensure third party rendering companies properly maintain) gates and
       drain valves on offal trailers to prevent leakage.

8.U.7.1.2 TIER II BMPs.
    a. Perform wash down of live animal holding, staging, storage, etc. areas according to a schedule
        to be developed as appropriate for the particular facility, taking into account significant rain
        events and production schedules. Such schedule and a log demonstrating compliance with such
        schedule shall be maintained as part of the facility’s SWPPP. Resulting wash water shall be
        collected and discharged to process sewer systems.
    b. Rinse live animal trailers, offal trailers, cages, etc. before long-term storage in outdoor areas
        (e.g., bone yards). Resulting rinse water shall be collected and discharged to process sewer
        systems.
    c. Implement and maintain operational measures which minimize/prevent attraction of excessive
        numbers of feral animals and birds to facility grounds.
    d. Disinfection of live animal holding, staging, and transfer areas can be performed during dry
        weather, when rain is not in the forecast within the next twenty-four (24) hours at a thirty (30)
        percent chance or higher, the neutralization will have time to take effect prior to the rain event,
        and it is applied such that there is no discharge as a result of the application. This does not
        relieve the permittee from compliance with the Water Quality Standards in the receiving
        waterbody (see Part 2.3.1).

8.U.7.1.3 TIER III BMPs.
Perform wash down of paved driveways, parking areas, etc. where live animal and animal byproduct
transport vehicles are staged, stored, moved across, etc. paved driveways, parking areas, etc. according
to a schedule to be developed as appropriate for the particular facility, taking into account significant
rain events and production schedules. Such schedule and a log demonstrating compliance with such
schedule shall be maintained as part of the facility’s SWPPP. Resulting wash water shall be collected and
discharged to process sewer systems. This BMP may not be practical for all facilities due to sewer
access.

8.U.7.2 Structural BMPs.

8.U.7.2.1 TIER I BMPs.
    a. Provide containment areas and/or sewer connection for the following operations:
          i. Loaded refrigerated trailer parking areas;
         ii. Live holding sheds;
        iii. Live receiving areas;
        iv. Fresh product shipping docks;
         v. Exposed offal storage and handling systems;
        vi. Exposed DOA storage areas; and
       vii. Vehicle and equipment washing areas.
    b. Incidental spillage, wash down water, and storm water from these areas should be collected and
         discharged to process sewer systems.
    c. Install and maintain pavement and curbing, etc. in the areas identified above to allow routine
         dry cleanup and/or wash down.
    d. Cover Live Animal Holding/Staging areas and Live Receiving areas.
    e. Install silt fencing or other sediment barriers (storm drain catchment filter inserts, sediment
         traps, etc.) around, or in, drop inlets, above outfalls, etc. to impede the migration of silt,


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       sediment and litter materials into storm water drainage systems. These systems shall be
       inspected and maintained as needed to remove collected materials (silt, sediment, trash, etc.)
       and according to a schedule to be developed as appropriate for the particular facility, taking into
       account significant rain events and production schedules. Such schedule and a log
       demonstrating compliance with such schedule shall be maintained as part of the facility’s
       SWPPP.
    f. Install and maintain collection and diversion structures (gutters, separate storm water drainage
       systems, etc.) to segregate “clean” storm water runoff from “sensitive” areas. Sensitive areas
       are defined as areas where live animals, litter materials, animal manures, animal byproducts,
       and other potential sources of fecal coliform may be present on surfaces.
    g. Install and maintain netting, curtains, etc. around Live Holding Sheds and Live Receiving Areas to
       contain feathers, litter material and associated dusts in containment areas.

8.U.7.2.2 TIER II BMPs.
    a. Provide containment areas and/or sewer connection for the following operations:
          i. Loaded offal trailer parking areas;
         ii. Live haul trailer parking areas;
        iii. Dirty cage storage areas; and
        iv. Trash compactor/dumpster areas, which can contain animal byproducts, litter/manure and
             other potential sources of fecal coliform.
    b. Install and maintain pavement and curbing, etc. in the areas identified above to allow routine
         dry cleanup and/or wash down.
    c. Where allowed and appropriate, install filter strips adjacent to paved areas to treat sheet flow
         runoff from areas.
    d. Where allowed and appropriate, install and maintain grass buffer strips upgradient of drainage
         ways.
    e. Purchase mechanical pavement sweepers or vacuums, or contract with associated third party
         contractor for service, and clean applicable paved areas on an as needed basis.

8.U.7.2.3 TIER III BMPs.
    a. Where allowed and appropriate, install first flush systems in other sensitive areas where
        incidental releases of manure, litter, red water, animal byproducts, etc. can occur. These
        systems should collect the first inch of rainfall and wash down water from areas. The first inch
        of rainfall and wash down water collected by these systems shall be discharged to process
        sewer. This BMP may not be practical for all facilities due to sewer access and/or limitations on
        storm water flow entry in sewer systems.
    b. If feasible, install air pollution control devices on ventilation exhaust from Live Hang areas.




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Sector 8.V – Textile Mills, Apparel, and Other Fabric Products.


    Subsector            SIC Code       Activity Represented

                        2211-2299       Textile Mill Products
                                        Apparel and Other Finished Products Made from Fabrics and
                        2311-2399
        V1                              Similar Materials
                                        Leather and Leather Products (note: see Sector Z1 for
                        3131-3199
                                        Leather Tanning and Finishing)

8.V.1 Covered Storm Water Discharges.
The requirements in Sector V apply to storm water discharges associated with industrial activity from
Textile Mills, Apparel, and Other Fabric Product manufacturing as identified by the SIC Codes specified
above.

8.V.2 Limitations on Coverage.
8.V.2.1 Prohibition of Non-Storm Water Discharges. (See also Part 1.1.4) The following are not
authorized by this permit: discharges of wastewater (e.g., wastewater resulting from wet processing or
from any processes relating to the production process), reused or recycled water, and waters used in
cooling towers. If permittees have these types of discharges from the facility, permittees must cover
them under a separate NPDES permit.

8.V.3 Additional Technology-Based Limitations.
8.V.3.1 Good Housekeeping Measures. (See also Part 2.1.2.2)
8.V.3.1.1 Material Storage Areas. Plainly label and store all containerized materials (e.g., fuels,
petroleum products, solvents, and dyes) in a protected area, away from drains. Minimize contamination
of the storm water runoff from such storage areas. Also consider an inventory control plan to prevent
excessive purchasing of potentially hazardous substances. For storing empty chemical drums or
containers, ensure that the drums and containers are clean (consider triple-rinsing) and that there is no
contact of residuals with precipitation or runoff. Collect and dispose of washwater from these cleanings
properly.
8.V.3.1.2 Material Handling Areas. Minimize contamination of storm water runoff from material
handling operations and areas. Consider the following, or their equivalents: use of spill and overflow
protection; covering fueling areas; and covering or enclosing areas where the transfer of material may
occur. When applicable, address the replacement or repair of leaking connections, valves, transfer lines,
and pipes that may carry chemicals, dyes, or wastewater.
8.V.3.1.3 Fueling Areas. Minimize contamination of storm water runoff from fueling areas. Consider
the following, or their equivalents: covering the fueling area, using spill and overflow protection,
minimizing run-on of storm water to the fueling areas, using dry cleanup methods, and treating and/or
recycling storm water runoff collected from the fueling area.
8.V.3.1.4 Above-Ground Storage Tank Area. Minimize contamination of the storm water runoff from
above-ground storage tank areas, including the associated piping and valves. Consider the following, or
their equivalents: regular cleanup of these areas; including measures for tanks, piping and valves
explicitly in the permittee’s SPCC program; minimizing runoff of storm water from adjacent areas;
restricting access to the area; inserting filters in adjacent catch basins; providing absorbent booms in




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unbermed fueling areas; using dry cleanup methods; and permanently sealing drains within critical areas
that may discharge to a storm drain.
8.V.3.2 Employee Training. (See also Part 5.1.1) As part of the employee training program, address, at a
minimum, the following activities (as applicable): use of reused and recycled waters, solvents
management, proper disposal of dyes, proper disposal of petroleum products and spent lubricants, spill
prevention and control, fueling procedures, and general good housekeeping practices.

8.V.4 Additional SWPPP Requirements.
8.V.4.1 Potential Pollutant Sources. (See also Part 5.1.3) Document in the SWPPP the following
additional sources and activities that have potential pollutants associated with them: industry-specific
significant materials and industrial activities (e.g., backwinding, beaming, bleaching, backing bonding,
carbonizing, carding, cut and sew operations, desizing, drawing, dyeing locking, fulling, knitting,
mercerizing, opening, packing, plying, scouring, slashing, spinning, synthetic-felt processing, textile
waste processing, tufting, turning, weaving, web forming, winging, yarn spinning, and yarn texturing).
8.V.4.2 Description of Good Housekeeping Measures for Material Storage Areas. Document in the
SWPPP containment areas or enclosure for materials stored outdoors in connection with Part 8.V.3.1.1
above.




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Sector 8.W – Furniture and Fixtures.


    Subsector            SIC Code       Activity Represented

                          2434          Wood Kitchen Cabinets
        W1
                        2511-2599       Furniture and Fixtures

8.W.1 Covered Storm Water Discharges.
The requirements in Subpart W apply to storm water discharges associated with industrial activity from
Furniture and Fixtures facilities as identified by the SIC Codes specified above.

8.W.2 Additional SWPPP Requirements.
8.W.2.1 Drainage Area Site Map. (See also Part 5.1.2) Document in the SWPPP where any of the
following may be exposed to precipitation or surface runoff: material storage (including tanks or other
vessels used for liquid or waste storage) areas; outdoor material processing areas; areas where wastes
are treated, stored, or disposed of; access roads; and rail spurs.




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Sector 8.X – Printing and Publishing.


     Subsector             SIC Code       Activity Represented

        X1                2711-2796       Printing, Publishing, and Allied Industries

8.X.1 Covered Storm Water Discharges.
The requirements in Sector X apply to storm water discharges associated with industrial activity from
Printing and Publishing facilities as identified by the SIC Codes specified above.

8.X.2 Additional Technology-Based Effluent Limits.
8.X.2.1 Good Housekeeping Measures. (See also Part 2.1.2.2)
8.X.2.1.1 Material Storage Areas. Plainly label and store all containerized materials (e.g., skids, pallets,
solvents, bulk inks, hazardous waste, empty drums, portable and mobile containers of plant debris,
wood crates, steel racks, and fuel oil) in a protected area, away from drains. Minimize contamination of
the storm water runoff from such storage areas. Also consider an inventory control plan to prevent
excessive purchasing of potentially hazardous substances.
8.X.2.1.2 Material Handling Areas. Minimize contamination of storm water runoff from material
handling operations and areas (e.g., blanket wash, mixing solvents, loading and unloading materials).
Consider the following (or their equivalents): using spill and overflow protection, covering fueling areas,
and covering or enclosing areas where the transfer of materials may occur. When applicable, address
the replacement or repair of leaking connections, valves, transfer lines, and pipes that may carry
chemicals or wastewater.
8.X.2.1.3 Fueling Areas. Minimize contamination of storm water runoff from fueling areas. Consider
the following, or their equivalents: covering the fueling area, using spill and overflow protection,
minimizing runoff of storm water to the fueling areas, using dry cleanup methods, and treating and/or
recycling storm water runoff collected from the fueling area.
8.X.2.1.4 Above Ground Storage Tank Areas. Minimize contamination of the storm water runoff from
above-ground storage tank areas, including the associated piping and valves. Consider the following, or
their equivalents: regularly cleaning these areas, explicitly addressing tanks, piping and valves in the
SPCC program, minimizing storm water runoff from adjacent areas, restricting access to the area,
inserting filters in adjacent catch basins, providing absorbent booms in unbermed fueling areas, using
dry cleanup methods, and permanently sealing drains within critical areas that may discharge to a storm
drain.
8.X.2.2 Employee Training. (See also Part 5.1.1) As part of the employee training program, address, at a
minimum, the following activities, as applicable: spent solvent management, spill prevention and
control, used oil management, fueling procedures, and general good housekeeping practices.

8.X.3 Additional SWPPP Requirements.
8.X.31 Description of Good Housekeeping Measures for Material Storage Areas. In connection with Part
8.X.2.1.1, describe in the SWPPP the containment area or enclosure for materials stored outdoors.




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Sector 8.Y – Rubber, Miscellaneous Plastic Products, and Miscellaneous Manufacturing
Industries.


    Subsector            SIC Code       Activity Represented

                           3011         Tires and Inner Tubes
                           3021         Rubber and Plastics Footwear
        Y1                              Gaskets, Packing and Sealing Devices, and Rubber and Plastic
                        3052, 3053
                                        Hoses and Belting
                        3061, 3069      Fabricated Rubber Products, Not Elsewhere Classified
                        3081-3089       Miscellaneous Plastics Products
                           3931         Musical Instruments
                        3942-3949       Dolls, Toys, Games, and Sporting and Athletic Goods
                        3951-3955
        Y2            (except 3952 –    Pens, Pencils, and Other Artists’ Materials
                       see Sector C)
                                        Costume Jewelry, Costume Novelties, Buttons, and
                        3961, 3965
                                        Miscellaneous Notions, Except Precious Metal
                        3991-3999       Miscellaneous Manufacturing Industries

8.Y.1 Covered Storm Water Discharges.
The requirements in Sector Y apply to storm water discharges associated with industrial activity from
Rubber, Miscellaneous Plastic Products, and Miscellaneous Manufacturing Industrial facilities as
identified by the SIC Codes specified above.

8.Y.2 Additional Technology-Based Effluent Limits.
8.Y.2.1 Controls for Rubber Manufacturers. (See also Part 2.1.2) Minimize the discharge of zinc in storm
water discharges. Parts 8.Y.2.1.1 to 8.Y.2.1.5 give possible sources of zinc to be reviewed and list some
specific control measures to be considered for implementation, or their equivalents. Following are
some general control measure options to consider: using chemicals purchased in pre-weighed, sealed
polyethylene bags; storing in-use materials in sealable containers, ensuring an airspace between the
container and the cover to minimize “puffing” losses when the container is opened, and using automatic
dispensing and weighing equipment.
8.Y.2.1.1 Zinc Bags. Ensure proper handling and storage of zinc bags at the facility. Following are some
control measure options: employee training on the handling and storage of zinc bags, indoor storage of
zinc bags, cleanup of zinc spills without washing the zinc into the storm drain, and the use of 2,500-
pound sacks of zinc rather than 50-pound to 100-pound sacks.
8.Y.2.1.2 Dumpsters. Minimize discharges of zinc from dumpsters. Following are some control measure
options: covering the dumpster, moving the dumpster indoors, or providing a lining for the dumpster.
8.Y.2.1.3 Dust Collectors and Baghouses. Minimize contributions of zinc to storm water from dust
collectors and baghouses. Replace or repair, as appropriate, improperly operating dust collectors and
baghouses.
8.Y.2.1.4 Grinding Operations. Minimize contamination of storm water as a result of dust generation
from rubber grinding operations. One control measure option is to install a dust collection system.




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8.Y.2.1.5 Zinc Stearate Coating Operations. Minimize the potential for storm water contamination from
drips and spills of zinc stearate slurry that may be released to the storm drain. One control measure
option is to use alternative compounds to zinc stearate.
8.Y.2.2 Controls for Plastic Products Manufacturers. Minimize the discharge of plastic resin pellets in
storm water discharges. Control measures to be considered for implementation, or their equivalents,
include: minimizing spills, cleaning up of spills promptly and thoroughly, sweeping thoroughly, pellet
capturing, employee education, and disposal precautions.

8.Y.3 Additional SWPPP Requirements.
8.Y.3.1 Potential Pollutant Sources for Rubber Manufacturers. (See also Part 5.1.3) Document in the
SWPPP the use of zinc at the facility and the possible pathways through which zinc may be discharged in
storm water runoff.

8.Y.4 Sector-Specific Benchmarks. (See also Part 6)
These benchmarks apply to each of the outfalls whether described by the primary industrial activity, any
applicable co-located industrial activities, or both.

Table 8.Y-1.
Subsector
(Permittees may be subject to requirements        Parameter                           Benchmark Monitoring
for more than one sector/subsector)                                                   Concentration
Subsector Y1. Rubber Products                     Dissolved Zinc1                     Hardness Dependent
Manufacturing (SIC 3011, 3021, 3052,              Oil & Grease                        15 mg/L
3053, 3061, 3069)                                 Chemical Oxygen Demand              120 mg/L
                                                  (COD)
                                                  Total Suspended Solids (TSS)        100 mg/L
                                                  pH                                  6.0 - 9.0 s.u.
Facilities in Subsector Y1 with discharges        Total Suspended Solids (TSS)        100 mg/L
from material storage piles. 2
1
  The benchmark values of some metals are dependent on water hardness. For these parameters, permittees must
determine the hardness in accordance with Appendix E, “Determining Benchmarks for Hardness Dependent
Metals” (Part 6.2.1.1), to identify the applicable ‘hardness range’ for determining their benchmark value applicable
to their facility. The ranges occur in 25 mg/L increments.
2
  Facilities with discharges from material storage piles must sample one (1) qualifying rain event each quarter at
outfalls receiving the discharges, in the first year of permit coverage. If at least seventy-five (75) percent or the
average of the samples do not exceed the benchmark value, permittees may revert to annual sampling in
accordance with Part 6.2.




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Sector 8.Z – Leather Tanning and Finishing.


    Subsector             SIC Code       Activity Represented

                       3111 (also see
        Z1                               Leather Tanning and Finishing
                         sector V)

8.Z.1 Covered Storm Water Discharges.
The requirements in Sector Z apply to storm water discharges associated with industrial activity from
Leather Tanning and Finishing facilities as identified by the SIC Code specified above.

8.Z.2 Additional Technology-Based Effluent Limits.
8.Z.2.1 Good Housekeeping Measures. (See also Part 2.1.2.2.)
8.Z.2.2 Storage Areas for Raw, Semiprocessed, or Finished Tannery By-products. Minimize
contamination of storm water runoff from pallets and bales of raw, semi-processed, or finished tannery
by-products (e.g., splits, trimmings, shavings). Consider indoor storage or protection with polyethylene
wrapping, tarpaulins, roofed storage, etc. Consider placing materials on an impermeable surface and
enclosing or putting berms or equivalent measures around the area to prevent storm water run-on and
runoff.
8.Z.2.3 Material Storage Areas. Label storage containers of all materials (e.g., specific chemicals,
hazardous materials, spent solvents, waste materials) minimize contact of such materials with storm
water.
8.Z.2.4 Buffing and Shaving Areas. Minimize contamination of storm water runoff with leather dust
from buffing and shaving areas. Consider dust collection enclosures, preventive inspection and
maintenance programs, or other appropriate preventive measures.
8.Z.2.5 Receiving, Unloading, and Storage Areas. Minimize contamination of storm water runoff from
receiving, unloading, and storage areas. If these areas are exposed, consider the following, or their
equivalents: covering all hides and chemical supplies, diverting drainage to the process sewer, or
grading, berming or curbing the area to prevent storm water runoff.
8.Z.2.6 Outdoor Storage of Contaminated Equipment. Minimize contact of storm water with
contaminated equipment. Consider the following, or their equivalents: covering equipment, diverting
drainage to the process sewer, and cleaning thoroughly prior to storage.
8.Z.2.7 Waste Management. Minimize contamination of storm water runoff from waste storage areas.
Consider the following, or their equivalents: covering dumpsters, moving waste management activities
indoors, covering waste piles with temporary covering material such as tarpaulins or polyethylene, and
minimizing storm water runoff by enclosing the area or building berms around the area.

8.Z.3 Additional SWPPP Requirements.
8.Z.3.1 Drainage Area Site Map. (See also Part 5.1.2) Identify in the SWPPP where any of the following
may be exposed to precipitation or surface runoff: processing and storage areas of the beamhouse,
tanyard, and re-tan wet finishing and dry finishing operations.
8.Z.3.2 Potential Pollutant Sources. (See also Part 5.1.3) Document in the SWPPP the following sources
and activities that have potential pollutants associated with them, as appropriate: temporary or
permanent storage of fresh and brine-cured hides; extraneous hide substances and hair; leather dust,
scraps, trimmings, and shavings.




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Sector 8.AA – Fabricated Metal Products.


    Subsector            SIC Code       Activity Represented

                                        Fabricated Metal Products, Except Machinery and
                         3411-3499
                                        Transportation Equipment, and Coating, Engraving, and Allied
       AA1             (except 3479)
                                        Services.
                        3911-3915       Jewelry, Silverware, and Plated Ware
       AA2                3479          Fabricated Metal Coating and Engraving

8.AA.1 Covered Storm Water Discharges.
The requirements in Sector AA apply to storm water discharges associated with industrial activity from
Fabricated Metal Products facilities as identified by the SIC Codes specified above.

8.AA.2 Additional Technology-Based Effluent Limits.
8.AA.2.1 Good Housekeeping Measures. (See also Part 2.1.2.2)
8.AA.2.1.1 Raw Steel Handling Storage. Minimize the generation of and/or recover and properly
manage scrap metals, fines, and iron dust. Include measures for containing materials within storage
handling areas.
8.AA.2.1.2 Paints and Painting Equipment. Minimize exposure of paint and painting equipment to
storm water.
8.AA.2.1.3 Spill Prevention and Response Procedures. (See also Part 2.1.2.4) Ensure that the necessary
equipment to implement a cleanup is available to personnel. The following areas should be addressed:
8.AA.2.1.4 Metal Fabricating Areas. Maintain clean, dry, orderly conditions in these areas. Consider
using dry clean-up techniques.
8.AA.2.1.5 Storage Areas for Raw Metal. Keep these areas free of conditions that could cause, or
impede appropriate and timely response to, spills or leakage of materials. Consider the following, or
their equivalents: maintaining storage areas so that there is easy access in the event of a spill, and
labeling stored materials to aid in identifying spill contents.
8.AA.2.1.6 Metal Working Fluid Storage Areas. Minimize the potential for storm water contamination
from storage areas for metal working fluids.
8.AA.2.1.7 Cleaners and Rinse Water. Control and clean up spills of solvents and other liquid cleaners,
control sand buildup and disbursement from sand-blasting operations, and prevent exposure of
recyclable wastes. Substitute environmentally benign cleaners when possible.
8.AA.2.1.8 Lubricating Oil and Hydraulic Fluid Operations. Minimize the potential for storm water
contamination from lubricating oil and hydraulic fluid operations. Consider using monitoring equipment
or other devices to detect and control leaks and overflows. Consider installing perimeter controls such
as dikes, curbs, grass filter strips, or equivalent measures.
8.AA.2.1.9 Chemical Storage Areas. Minimize storm water contamination and accidental spillage in
chemical storage areas. Include a program to inspect containers and identify proper disposal methods.
8.AA.2.2 Spills and Leaks. (See also Part 5.1.3.3.) In the spill prevention and response procedures,
required by Part 2.1.2.4, pay attention to the following materials, at a minimum: chromium, toluene,
pickling liquor, sulfuric acid, zinc and other water priority chemicals, and hazardous chemicals and
wastes.




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8.AA.3 Additional SWPPP Requirements.
8.AA.3.1 Drainage Area Site Map. (See also Part 5.1.2) Document in the SWPPP where any of the
following may be exposed to precipitation or surface runoff: raw metal storage areas; finished metal
storage areas; scrap disposal collection sites; equipment storage areas; retention and detention basins;
temporary and permanent diversion dikes or berms; right-of-way or perimeter diversion devices;
sediment traps and barriers; processing areas, including outside painting areas; wood preparation;
recycling; and raw material storage.
8.AA.3.2 Potential Pollutant Sources. (See also Part 5.1.3) Document in the SWPPP the following
additional sources and activities that have potential pollutants associated with them: loading and
unloading operations for paints, chemicals, and raw materials; outdoor storage activities for raw
materials, paints, empty containers, chemicals, and scrap metals; outdoor manufacturing or processing
activities such as grinding, cutting, degreasing, buffing, and brazing; onsite waste disposal practices for
spent solvents, sludge, pickling baths, shavings, ingot pieces, and refuse and waste piles.

8.AA.4 Additional Inspection Requirements.
8.AA.4.1 Inspections. (See also Part 4) At a minimum, include the following areas in all inspections: raw
metal storage areas, finished product storage areas, material and chemical storage areas, recycling
areas, loading and unloading areas, equipment storage areas, paint areas, and vehicle fueling and
maintenance areas.
8.AA.4.2 Comprehensive Site Inspections. (See also Part 4.3) As part of the inspection, also inspect areas
associated with the storage of raw metals, spent solvents and chemicals storage areas, outdoor paint
areas, and drainage from roof. Potential pollutants include chromium, zinc, lubricating oil, solvents,
aluminum, oil and grease, methyl ethyl ketone, steel, and related materials.

8.AA.5 Sector-Specific Benchmarks. (See also Part 6)
These benchmarks apply to each of the outfalls whether described by the primary industrial activity, any
applicable co-located industrial activities, or both.

Table 8.AA-1
Subsector                                                                             Benchmark
(Permittees may be subject to requirements        Parameter                           Monitoring
for more than one sector/subsector)                                                   Concentration
Subsector AA1. Fabricated Metal Products, Dissolved Zinc1                             Hardness Dependent
(SIC 3411-3499; 3911-3915)                Chemical Oxygen Demand                      120 mg/L
                                          (COD)
                                          Total Suspended Solids (TSS)                100 mg/L
Subsector AA2. Fabricated Metal Coating   Dissolved Zinc1                             Hardness Dependent
and Engraving (SIC 3479)
1
 The benchmark values of some metals are dependent on water hardness. For these parameters, permittees must
determine the hardness in accordance with Appendix E, “Determining Benchmarks for Hardness Dependent
Metals” (Part 6.2.1.1), to identify the applicable ‘hardness range’ for determining their benchmark value applicable
to their facility. The ranges occur in 25 mg/L increments.




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Sector 8.AB – Storm Water Discharges Designated by the Director as Requiring Permits.


    Subsector             SIC Code                              Activity Represented

                       Other storm water discharges designated by the Director as needing a permit [see
                       40 CFR 122.26(a)(9)(i)(C) and (D)] with industrial activity not described by Sectors
        AB1
                       A-AA. NOTE: Facilities may not elect to be covered under Sector AB. Only the
                       Director may assign a facility to Sector AB.

8.AB.1 Covered Storm Water Discharges.
Sector AB is used to provide permit coverage for facilities designated by the Director as needing a storm
water permit.
8.AB.1.1 Eligibility for Permit Coverage. Because this sector is intended for use by discharges
designated by the Director as needing a storm water permit, which is an atypical circumstance,
permittees must obtain the Director’s written directive to use this permit prior to submitting an NOI. If
the permittee is directed to use this permit, they will still be required to ensure that discharges meet the
basic eligibility provisions of this permit at Part 1.2.

8.AB.2 Sector-Specific Benchmarks and Effluent Limits. (See also Part 6)
The Director may establish any additional monitoring and reporting requirements for the facility prior to
authorizing the permittee to be covered by this permit. Additional monitoring requirements would be
based on the nature of activities and storm water discharges at the facility.




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                                                  Appendix A
                                                  Definitions

A.1 DEFINITIONS (for the purposes of this permit):

Action Area – all areas to be affected directly or indirectly by the storm water discharges, allowable non-storm
water discharges, and storm water discharge-related activities, and not merely the immediate area involved in
these discharges and activities.

Associated with Industrial Activity - any industrial activity or industrial facility identified in 40 CFR Part
122.26(b)(14)(i) through (ix) and (xi) identified in Appendix D.

Best Management Practices (BMPs) - schedules of activities, prohibitions of practices, maintenance procedures,
and other management practices to prevent or reduce the pollution of waters of the State of Georgia. BMPs
also include treatment requirements, operating procedures, and practices to control facility site runoff, spillage
or leaks, sludge or waste disposal, or drainage from raw material storage.

Co-located Industrial Activities – any industrial activities, excluding the permittee’s primary industrial activity,
located on-site that are defined by the storm water regulations at 122.26(b)(14)(i)-(ix) and (xi). An activity at a
facility is not considered co-located if the activity, when considered separately, does not meet the description of
a category of industrial activity covered by the storm water regulations or identified by the SIC code list in
Appendix D.

Commencement of Operations - the date on which any raw material, intermediate product, finished product,
by-product or waste product is first brought onto the facility and exposed to storm water.

Containment Zone – areas that include, but are not limited to, all loading areas, unloading areas and designated
live animal holding areas that are free of cracks or gaps and must be sufficiently sized and impervious to contain
leaks, spills, and accumulated precipitation.

Control Measure – refers to any BMP or other method (including effluent limitations) used to prevent or reduce
the discharge of pollutants to waters of the United States.

Director - the Director of the Georgia Environmental Protection Division or an authorized representative.

Discharge – when used without qualification, means the "discharge of a pollutant."

Discharge of a Pollutant – any addition of any “pollutant” or combination of pollutants to waters of the State or
“waters of the United States” from any “point source,” or any addition of any pollutant or combination of
pollutants to the waters of the “contiguous zone” or the ocean from any point source other than a vessel or
other floating craft which is being used as a means of transportation. This includes additions of pollutants into
waters of the United States from: surface runoff which is collected or channeled by man; discharges through
pipes, sewers, or other conveyances, leading into privately owned treatment works.

Discharge-related Activities – activities that cause, contribute to, or result in storm water and allowable non-
storm water point source discharges, and measures such as the siting, construction, and operation of BMP to
control, reduce, or prevent pollution in the discharges.



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Drought-stricken Area – a period of below average water content in streams, reservoirs, ground-water aquifers,
lakes and soils.

EPA Approved Total Maximum Daily Loads (TMDL) – “EPA Approved TMDL” are those that are developed by
EPD and approved by EPA.

EPD or Division - the Georgia Environmental Protection Division of the Department of Natural Resources.

Existing Discharger – an operator applying for coverage under this permit for discharges authorized previously
under an NPDES general or individual permit.

Facility or Activity – any NPDES “point source” (including land or appurtenances thereto) that is subject to
regulation under the NPDES program.

Federal Facility – any buildings, installations, structures, land, public works, equipment, aircraft, vessels, and
other vehicles and property, owned by, or constructed or manufactured for the purpose of leasing to, the
Federal government.

First Flush – storm water discharge from initiation of flow to the end of the first thirty (30) minutes of flow.

Impaired Stream Segment - any waterbody, stream, river or lake segment that is identified as “not supporting”
its designated use(s) on Georgia’s most current 305(b)/303(d) list documents (Final). Impaired waters include
both waters with approved TMDL, and those for which a TMDL has not yet been approved. Georgia’s
305(b)/303(d)         lists      can        be        viewed          on       EPD’s        website        at
http://www.gaepd.org/Documents/IndustrialStormwater.html .

Industrial Activity - any industrial activity or industrial facility identified in 40 CFR Part 122.26(b)(14)(i) through
(ix) and (xi) identified in Appendix D.

Maximum Extent Practicable (MEP) - reduction of the discharge of pollutants associated with industrial activity
using a combination of best management practices, control techniques, system design and engineering
methods, and such other provisions as described in the SWPPP.

Measurable Storm Event – a storm event greater than 0.1 inch of rainfall.

Minimize - reduce and/or eliminate to the extent achievable using control measures (including best
management practices) that are technologically available and economically practicable and achievable in light of
best industry practices.

Municipal Separate Storm Sewer System (MS4) - either a large, medium, or small municipal storm sewer
system, or a municipal separate storm sewer system owned or operated by a City, County or authority which is
regulated by a National Pollutant Discharge Elimination System Permit.

New Discharger – an operator applying for coverage under this permit for discharges not authorized previously
under Georgia’s NPDES Industrial Storm Water General Permit Number GAR000000 or an NPDES individual
permit.

No Exposure – all industrial materials or activities are protected by a storm-resistant shelter to prevent exposure
to rain, snow, snowmelt, and/or runoff.

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NOI – means Notice of Intent as defined in Part 1.3.

NOT – means Notice of Termination as defined in Part 1.4.

NPDES – means National Pollutant Discharge Elimination System.

Operator – the entity that has the primary day-to-day operational control of those activities at the facility
necessary to ensure compliance with the SWPPP requirements and permit conditions.

Outfall – the location where storm water in a discernible, confined and descrete conveyance, leaves a facility or
site or, if there is a receiving water on site, becomes a point source discharging into that receiving water.

Outstanding National Resource Water – waters as defined in 391-3-6-.03(2).

Owner - the legal owner of the facility where an industrial activity takes place.

Permittee - the entity that has submitted an NOI and that is the owner or operator of an industrial activity.

Person – an individual, association, partnership, corporation, municipality, State or Federal agency, or an agent
or employee thereof.

Point Source – any discernible, confined, and discrete conveyance, including but not limited to any pipe, ditch,
channel, tunnel, conduit, well, discrete fissure, container, rolling stock, concentrated animal feeding operation,
landfill leachate collection system, vessel, or other floating craft from which pollutants are or may be
discharged. This term does not include return flows from irrigated agriculture or agricultural storm water
runoff.

Pollutant – dredged spoil, solid waste, incinerator residue, filter backwash, sewage, garbage, sewage sludge,
munitions, chemical wastes, biological materials, radioactive materials (except those regulated under the Atomic
Energy Act [42 U.S.C. 2011, et seq.]), , wrecked or discarded equipment, rock, sand, and industrial and municipal
waste discharged into water.

Pollutant of Concern – a water quality parameter associated with the impairment of a stream segment, or other
specified portion of a water of the State, that is identified on either Georgia’s 305(b)/303(d) lists and/or in an
approved TMDL.

Primary Industrial Activity – includes any activities performed on-site which are (1) identified by the facility’s
primary SIC code; or (2) included in the narrative descriptions of 122.26(b)(14)(i), (iv), (v), or (vii), and (ix). [For
co-located activities covered by multiple SIC codes, it is recommended that the primary industrial determination
be based on the value of receipts or revenues or, if such information is not available for a particular facility, the
number of employees or production rate for each process may be compared. The operation that generates the
most revenue or employs the most personnel is the operation in which the facility is primarily engaged. In
situations where the vast majority of on-site activity falls within one SIC code, that activity may be the primary
industrial activity.] Narrative descriptions in 40 CFR 122.26(b)(14) identified above include: (i) activities subject
to storm water effluent limitations guidelines, new source performance standards, or toxic pollutant effluent
standards; (iv) hazardous waste treatment storage, or disposal facilities including those that are operating under
interim status or a permit under Subtitle C of the RCRA; (v) landfills, land application sites and open dumps that
receive or have received industrial wastes; (vii) steam electric power generating facilities; and (ix) sewage

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treatment works with a design flow of 1.0 mgd or greater, or has a pretreatment program.

Professional Engineer’s Certification – preparation by or under the direct supervision of, and bearing the seal
and signature of a Professional Engineer competent in the field of storm water licensed in the State of Georgia,
and consistent with the requirements of O.C.G.A 43-15.

Qualified Personnel –personnel who possess the knowledge and skills to assess conditions and activities that
could impact storm water quality at the permittee’s facility, and who can also evaluate the effectiveness of
control measures.

Receiving Waters - waters of the State into which the runoff of storm water from a facility will actually
discharge, either directly or indirectly.

Reportable Quantity Release – a release of a hazardous substance at or above the established legal threshold
that requires emergency notification. Refer to 40 CFR Parts 110, 117, and 302 for complete definitions and
reportable quantities for which notification is required.

Runoff Coefficient – the fraction of total rainfall that will appear at the conveyance as runoff.

Run-on – any storm water-related or other discharge coming from an upgradient site.

Significant materials – includes, but is not limited to: raw materials; fuels; materials such as solvents,
detergents, and plastic pellets; finished materials such as metallic products; raw materials used in food
processing or production; hazardous substances designated under section 101(14) of CERCLA; any chemical the
facility is required to report pursuant to Section 313 of Title III of SARA; fertilizers; pesticides; and waste
products such as ashes, slag and sludge that have the potential to be released with storm water discharges.

Significant Spills - includes, but is not limited to: releases of oil or hazardous substances in excess of reportable
quantities under Section 311 of the Clean Water Act (see 40 CFR 110.10 and CFR 117.21) or Section 102 of
CERCLA (see 40 CFR 302.4).

Storm Water – storm water runoff, snow melt runoff, surface runoff, and drainage.

Storm Water Discharges Associated with Construction Activity – a discharge of pollutants in storm water runoff
from areas where soil disturbing activities (e.g., clearing, grading, or excavating), construction materials, or
equipment storage or maintenance (e.g., fill piles, borrow areas, concrete truck washout, fueling), or other
industrial storm water directly related to the construction process (e.g., concrete or asphalt batch plants) are
located. Storm water runoff from these areas should be covered under its NPDES Construction General Permit.

Storm Water Discharges Associated with Industrial Activity - the discharge from any conveyance which is used
for collecting and conveying storm water and that is directly related to manufacturing, processing or raw
materials storage areas at an industrial plant. The term does not include discharges from facilities or activities
excluded from the NPDES program. For the categories of industries identified in Appendix D, the term includes,
but is not limited to, storm water discharges from industrial plant yards; immediate access roads and rail lines
used or traveled by carriers of raw materials, manufactured products, waste material, or by-products used or
created by the facility; material handling sites; refuse sites; sites used for the application or disposal of process
waste waters (as defined at 40 CFR 401); sites used for the storage and maintenance of material handling
equipment; sites used for residual treatment, storage, or disposal; shipping and receiving areas; manufacturing
buildings; storage areas (including tank farms) for raw materials, and intermediate and finished products; and

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areas where industrial activity has taken place in the past and significant materials remain and are exposed to
storm water. For the purposes of this paragraph, material handling activities include the storage, loading and
unloading, transportation, or conveyance of any raw material, intermediate product, finished product, by-
product or waste product. The term excludes areas located on plant lands separate from the plant’s industrial
activities, such as office buildings and accompanying parking lots as long as the drainage from the excluded
areas is not mixed with storm water drained from the above described areas. Industrial facilities (including
industrial facilities that are Federally, State or municipally owned or operated that meet the description of the
facilities listed in Appendix D) include those facilities designated under 40 CFR 122.26(b)(14)(i)–(ix) and (xi). See
Appendix D for categories of facilities are considered to be engaging in “industrial activity” for purposes of this
permit.

Substantially Identical Outfalls - outfalls that have generally similar industrial activities, control measures,
exposed materials that may significantly contribute pollutants to storm water, and runoff coefficients of their
drainage areas.

SWPPP – Storm Water Pollution Prevention Plan as defined in Part 5.

Total Maximum Daily Load (TMDL) –a calculation of the maximum amount of a pollutant that a water body can
receive and still meet Water Quality Standards in the receiving waterbody, and an allocation of that amount to
the pollutant's sources. A TMDL includes wasteload allocations (WLA) for point source discharges; load
allocations (LA) for nonpoint sources and/or natural background, and must include a margin of safety (MOS) and
account for seasonal variations. (See Section 303(d) of the Clean Water Act and 40 CFR 130.2 and 130.7).

Uncontaminated - free from the presence of pollutants attributable to industrial activity.

Water Quality Impaired – See ‘Impaired Stream Segment’.

Water Quality Standards (WQS) – definition of the water quality goals of a water body, or portion thereof, by
designating the use or uses to be made of the water and by setting criteria necessary to protect the uses. States
and EPA adopt water quality standards to protect public health or welfare, enhance the quality of water and
serve the purposes of the Clean Water Act (See CWA sections 101(a)2 and 303(c)) and the Georgia Water Quality
Control Act.

Watershed - a geographic area draining to a stream or stream segment. All of the land area that drains to a
stream or stream segment is considered to be within the “watershed” of that stream or stream segment.

Waters of Georgia or Waters of the State - any and all rivers, streams, creeks, branches, lakes, reservoirs,
ponds, drainage systems, springs, wells, wetlands, and all other bodies of surface or subsurface water, natural or
artificial, lying within or forming a part of the boundaries of the State which are not confined and retained
completely upon the property of a single individual, partnership, or corporation.




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                                             Appendix B
                                      Standard Permit Conditions
B.1     Duty to Comply.

B.1.1 The permittee must comply with all conditions of this permit. Any permit noncompliance constitutes a
violation of the Georgia Water Quality Control Act (O.C.G.A. § 12-5-20 et. seq.) and is grounds for enforcement
action; for permit termination; revocation and reissuance, or modification; or for denial of a permit renewal
application. Any instances of noncompliance must be reported to EPD as specified in Part 7.4 of this permit.
B.1.2. Penalties for violations of permit conditions. The Federal Clean Water Act and the Georgia Water Quality
Control Act (O.C.G.A. § 12-5-20 et. seq.) provide that any person who falsifies, tampers with, or knowingly
renders inaccurate any monitoring device or method required under this permit, makes any false statement,
representation, or certification in any record or other document submitted or required to be maintained under
this permit, including monitoring reports or reports of compliance or noncompliance shall, upon conviction be
punished by a fine or by imprisonment, or by both. The Georgia Water Quality Control Act (Act) also provides
procedures for imposing civil penalties which may be levied for violations of the Act, any permit condition or
limitation established pursuant to the Act, or negligently or intentionally failing or refusing to comply with any
final or emergency order of the Director.

B.2.     Duty to Reapply/Continuation of the Expired General Permit. This permit will continue in effect until
the date five (5) years after the effective date and will expire on the date shown on the cover page. However,
an expired general permit continues in force and effect until a new general permit is issued, final and effective.
Any permittee who submitted a properly-completed Notice of Intent-GAR050000 form to obtain coverage under
this permit prior to the expiration date will automatically remain covered under the continued permit until one
of the following occurs:
B.2.1 Reissuance or replacement of this permit, at which time a new NOI form will be required under the
terms of the new permit in order to maintain authorization to discharge; or
B.2.2 Submittal of a properly completed NOT for the facility; or
B.2.3 An individual NPDES permit authorizing storm water discharges associated with industrial activity is
issued for all of the permittee’s discharges formerly covered by the continued permit; or
B.2.4 A formal permit decision is made by the Director not to reissue this general permit, at which time
coverage under an individual permit or an alternate general permit will be required.
B.2.5 A formal permit decision is made by the Director not to allow the permittee to be covered under this
general permit, at which time coverage under an individual permit or an alternative general permit may be
required.

B.3    Need to Halt or Reduce Activity Not a Defense. It shall not be a defense for a permittee in an
enforcement action that it would have been necessary to halt or reduce the permitted activity in order to
maintain compliance with the conditions of this permit.

B.4     Duty to Mitigate. The permittee shall take all reasonable steps to minimize or prevent any discharge in
violation of this permit which has a reasonable likelihood of adversely affecting human health or the
environment.

B.5     Duty to Provide Information. The permittee shall furnish to EPD, within a specified time, any requested
information which may be used to determine compliance with this permit. The permittee shall also furnish to
EPD upon request copies of records required to be kept by this permit. When the facility discharges storm water
associated with industrial activity through a permitted municipal separate storm sewer system (MS4), the


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permittee shall also furnish to the MS4 any information which is requested to determine compliance with this
permit and other NPDES permits. In the case of information submitted to EPD, such information shall be
considered public information and available under the Georgia Open Records Act. The failure to provide
information requested by EPD in accordance with this permit is a violation of this permit.

B.6    Other Information. If the permittee becomes aware of a failure to submit any relevant facts or of the
submittal of incorrect information in the NOI, Annual Report, or in any report to EPD, the permittee shall
promptly submit the relevant facts or information.

B.7    Signatory Requirements. All records and information such as NOI, NOT, SWPPP, reports, certifications
which are required to be kept by this permit, to be submitted to EPD and/or to be submitted to the operator of
a permitted municipal separate storm sewer system, shall be signed as follows:

B.7.1. All Notices of Intent shall be signed as follows:

B.7.1.1 For a corporation: by a responsible corporate officer. For the purpose of this permit, a responsible
corporate officer means: (1) a president, secretary, treasurer, or vice-president of the corporation in charge of a
principal business function, or any other person who performs similar policy- or decision-making functions for
the corporation; or (2) the manager of one or more manufacturing, production or operating facilities, provided
the manager is authorized to make management decisions which govern the operation of the regulated facility
including having the explicit or implicit duty of making major capital investment recommendations, and initiating
and directing other comprehensive measures to assure long term environmental compliance with
environmental laws and regulations; the manager can ensure that the necessary systems are established or
actions taken to gather complete and accurate information for permit application requirements; and where
authority to sign documents has been assigned or delegated to the manager in accordance with corporate
procedures;
B.7.1.2 For a partnership or sole proprietorship: by a general partner or the proprietor, respectively; or
B.7.1.3 For a municipality, State, Federal, or other public agency: by either a principal executive officer or
ranking elected official.

B.7.2 All reports required by the permit and other information requested by EPD shall be signed by a person
described above or by a duly authorized representative of that person. A person is a duly authorized
representative only if:

B.7.2.1 The authorization is made in writing by a person described above and submitted to EPD.
B.7.2.2 The authorization specifies either an individual or a position having responsibility for the overall
operation of the regulated facility or activity, such as the position of manager, operator, superintendent, or
position of equivalent responsibility or an individual or position having overall responsibility for environmental
matters for the company. (A duly authorized representative may thus be either a named individual or any
individual occupying a named position.)
B.7.2.3 Changes in authorization. If an authorization under B.7.2 is no longer accurate because a different
individual or position has responsibility for the overall operation of the facility, a new authorization satisfying
the requirements of this Part must be submitted to EPD prior to or together with any reports, information, or
applications to be signed by an authorized representative.
B.7.2.4 Certification. Any person signing documents under this section shall make the following certification:

        “I certify under penalty of law that this document and all attachments were prepared under my
direction or supervision in accordance with a system designed to assure that qualified personnel properly


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gathered and evaluated the information submitted. Based on my inquiry of the person or persons who manage
the system, or those persons directly responsible for gathering the information, the information submitted is, to
the best of my knowledge and belief, true, accurate, and complete. I am aware that there are significant
penalties for submitting false information, including the possibility of fine and imprisonment for knowing
violations.”

B.8      Oil and Hazardous Substance Liability. Nothing in this permit shall be construed to preclude the
institution of any legal action or relieve the permittee from any responsibilities, liabilities, or penalties to which
the permittee is or may be subject under Section 311 of the Clean Water Act (CWA) or Section 106 of
Comprehensive Environmental Response, Compensation, and Liability Act (CERCLA).

B.9      Property Rights. The issuance of this permit does not convey any property rights of any sort, nor any
exclusive privileges, nor does it authorize any injury to private property nor any invasion of personal rights, nor
any infringement of Federal, State or local laws or regulations.

B.10 Severability. The provisions of this permit are severable. If any provision of this permit or the
application of any permit provision to any circumstance is held invalid, the provision does not affect other
circumstances or the remainder of this permit.

B.11. Requiring an Individual Permit or an Alternative General Permit. EPD may require any permittee or
person authorized by this permit to apply for and/or obtain either an individual NPDES permit or an alternative
NPDES general permit.

B.12 Other Applicable Environmental Regulations and Laws. Nothing in this permit shall be construed to
preclude the institution of any legal action or relieve the permittee from any responsibilities, liabilities, or
penalties established pursuant to any applicable State law or regulation under authority preserved by Section
510 of the Clean Water Act. Nothing in this permit, unless explicitly stated, exempts the permittee from
compliance with other applicable local, State and Federal ordinances, rules, regulations, and laws. No condition
of this permit shall release the permittee from any responsibility or requirements under other environmental
statutes or regulations.

B.13. Proper Operation and Maintenance. The permittee shall at all times properly operate and maintain all
facilities and systems of treatment and control (and related appurtenances), owned or operated by the
permittee to achieve compliance with the terms and conditions of this permit and with the requirements of the
SWPPP. Proper operation and maintenance also includes adequate laboratory controls and appropriate quality
assurance procedures. This provision requires the operation of backup or auxiliary facilities or similar systems
which are installed by a permittee only when necessary to achieve compliance with the conditions of the permit.

B.14    Monitoring and Records.

B.14.1 Samples and measurements taken for the purpose of monitoring shall be representative of the
monitored activity.
B.14.2 The permittee shall retain records of all monitoring information including all calibration and
maintenance records and all original strip chart recordings for continuous monitoring instrumentation, copies of
the reports required by this permit, and records of all data used to complete the application for this permit, for a
period as specified in Part 7.5 of this permit. This period may be extended at the request of EPD at any time.




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B.14.3 Sampling, Test Procedures and Analysis. All analytical methods, sample containers, sample preservation
techniques, and sample holding times must be consistent with the techniques and methods listed in 40 CFR Part
136, unless other test procedures have been specified in this permit. The analytical method used shall be
sufficiently sensitive. The EPA approved methods must be applicable to the concentration ranges of the NPDES
permit samples.
    a. Sampling must be conducted according to test procedures approved under 40 CFR Part 136, unless
         other test procedures have been specified in this permit.
    b. Samples must be analyzed consistent with 40 CFR Part 136 analytical methods and using test procedures
         with quantitation limits at or below benchmark values for all benchmark parameters for which
         permittees are required to sample.
    c. For averaging purposes, use a value of zero for any individual sample parameter analyzed using
         procedures consistent with Part 6.2.1.1 which is determined to be less than the method detection limit.
    d. For sample values that fall between the method detection level and the quantitation limit (i.e., a
         confirmed detection but below the level that can be reliably quantified), use a value halfway between
         zero and the quantitation limit.
B.14.4 Records Contents. Records of monitoring information shall include:
    a. The date, exact place, and time of sampling;
    b. The initials or the name(s) of the individual(s) who performed the sampling or measurements;
    c. The date(s) analyses were initiated;
    d. The date(s) the analysis were performed;
    e. The initials or the name(s) of the individual(s) who performed the analyses;
    f. References and written procedures, when available, for the analytical techniques or methods used; and
    g. The results of such analyses, including the bench sheets, instrument readouts, computer disks or tapes,
         etc., used to determine these results.

B.15 Inspection and Entry. The permittee shall allow the Director, the Regional Administrator of USEPA, or
their authorized representatives, or, in the case of a facility which discharges through a municipal separate
storm sewer system, an authorized representative of the MS4 receiving the discharge, upon the presentation of
credentials and other documents as may be required by law, to:
B.15.1 Enter the permittee’s premises where a regulated facility or activity is located or conducted or where
records must be kept under the conditions of this permit;
B.15.2 Have access to and copy at reasonable times, any records that must be kept under the conditions of this
permit;
B.15.3 Inspect at reasonable times any facilities or equipment (including monitoring and control equipment),
practices, or operations regulated or required under this permit; and
B.15.4 Sample or monitor at reasonable times, for the purposes of assuring permit compliance or as otherwise
authorized by the Clean Water Act, any substances or parameters at any location.

B.16    Permit Actions. The permit may be modified, revoked and reissued, or terminated for cause.

B.17 Availability of Reports. Except for data determined by EPD to be confidential under Section 16 of the
State Act or by the Regional Administrator of the USEPA under the Code of Federal Regulations, Title 40, Part 2,
all reports prepared according to the terms of this permit shall be available for public inspection at an office of
the EPD under the Georgia Open Records Act. All monitoring data, permit applications, permittees’ names and
addresses, and permits shall not be considered confidential.

B.18 Contested Hearing. Any person who is aggrieved or adversely affected by any action of the Director
shall petition the Director for a hearing within thirty (30) days of notice of this action.


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B.19 Civil and Criminal Liability. The permittee is liable for civil and criminal penalties for noncompliance
with this permit and must comply with applicable State and Federal laws. The permit cannot be interpreted to
relieve the permittee of this liability even if it has not been modified to incorporate new requirements.

B.20 Transfer of Ownership. The permit is not transferrable to any person except after notice to the
Director. The Director may require modification or revocation and reissuance of the permit to change the name
of the permittee and incorporate such other requirements as may be necessary under the Clean Water Act.




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                                      Appendix C
                   Impaired Stream Segment Sampling and Requirements
           (A flowchart that illustrates the Appendix C decision tree is attached to this Appendix.)

NOTE:       Clarification of Discharge into an Impaired Stream Segment: In Appendix C “discharge into an
impaired stream segment” means “discharge into, or within one linear mile upstream of, and in the same
watershed as, any portion of an impaired stream segment”. The linear distance shall be measured from the
closest storm water outfall that discharges upstream of, and in the same watershed as, any portion the
impaired waterbody.
C.1         New Discharges into an Impaired Stream Segment. If the permittee is a new discharger, not on
record as having filed previously, the permittee is not eligible for coverage under this permit to discharge to
an impaired stream segment, as defined in Appendix A, unless the permittee:
C.1.1      Prevents all exposure as a result of industrial activity to storm water of the pollutant(s) for which
the water body is impaired, and retains documentation of procedures taken to prevent exposure onsite with
the SWPPP; or
C.1.2          Documents that the pollutant(s) for which the water body is impaired is not present at the
facility as a result of industrial activity, and retains documentation with the SWPPP; or
C.1.3        Prepares and submits data certified in accordance with C.1.4 documenting that the discharge
will not cause or contribute to an exceedance of a Water Quality Standard, and retains such data onsite with
the SWPPP. To do this, the permittee must include data and other technical information demonstrating that
the discharge will not cause or contribute to an exceedance of a Water Quality Standard, as follows:
C.1.3.1     For discharges to waters without an EPA-approved TMDL, that the discharge of the
pollutant for which the water is impaired will not exceed the in-stream water quality criteria at the
point of discharge to the water body; or
C.1.3.2     For discharges to waters with an EPA-approved TMDL, that there is sufficient remaining
wasteload allocation (WLA) in the TMDL to allow the discharge and that existing discharges to the water
body are subject to compliance schedules designed to bring the water body into attainment with Water
Quality Standards; or
C.1.3.3     Characterizes the ability of the discharge to cause or contribute to an exceedance of a Water
Quality Standard by performing benchmark or composite sampling as prescribed in Section C.2.

C.1.4         Certification. In order to qualify for the sampling exclusion in Part C.1.3.1 or C.1.3.2, the
permittee must submit supporting documentation, with a Professional Engineer’s Certification as defined in
Appendix A, with the NOI. The Director may also require a Professional Engineer’s Certification for any
facility that does not adequately demonstrate that it is in compliance with the exclusions in Part C.1.1 or
C.1.2. Permittees qualifying to discharge to impaired waterbodies under C.1.1, C.1.2, C.1.3.1 or C.1.3.2 have
satisfied the requirements of Appendix C and no further sampling under Appendix C is required.

C.2          Existing Discharges. Existing discharges into an impaired stream segment are subject to Parts
C.2 through C.12, as applicable. Existing dischargers that were subject to the impaired stream segment
sampling contained in Part III.C of Georgia’s 2006 Industrial Storm Water General Permit, refer to C.6, C.7,
C.8 or C.10 for sampling requirements. Existing dischargers may choose to document that they do not cause
or contribute to an exceedance of a Water Quality Standard by meeting the requirements of C.1.1, C.1.2 or
C.1.3.


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C.2.1        Applicable Benchmark Values. The applicable benchmark values shall be the same numeric
value as the instream Water Quality Standard for the pollutant(s) of concern as specified in Georgia’s Rules
and Regulations for Water Quality Control (Georgia Rule 391-3-6-.03) unless otherwise established in
Appendix C of this permit. The benchmark values are designed to assist permittees in characterizing the
ability of the discharge to cause or contribute to an exceedance of a Water Quality Standard and in
determining if the BMPs established in a facility’s SWPPP are effective in minimizing the concentration of
the pollutant(s) of concern in storm water discharge(s) from their facility. These benchmark values are
intended to be guideline concentrations rather than numeric effluent limitations. The exceedance of a
benchmark value is not a permit violation and does not of itself indicate a violation of instream Water
Quality Standards. However, an exceedance of a benchmark value may be used in conjunction with other
information to demonstrate a violation of this permit or a violation of Water Quality Standards.

C.2.2       Specific Requirements for Discharges into a Stream Segment Impaired for Dissolved Oxygen
(DO).
C.2.2.1     Facilities for which the listing criterion is identified as DO will only be required to conduct
sampling under Appendix C if industrial materials that may contribute Five-Day Carbonaceous Biochemical
Oxygen Demand (CBOD5) or ammonia-nitrogen (NH3–N) may be exposed to storm water as a result of
current or previous industrial activity at the facility. These facilities must sample for CBOD5 and NH3 –N. The
applicable benchmark value for these discharges shall be an Ultimate Oxygen Demand (UOD) of 125 mg/L.
The UOD shall be calculated as [(CBOD5 x 1.5) + (NH3 –N x 4.57)].
C.2.2.2     A summary of the sampling results for CBOD5 and NH3–N must be submitted to EPD’s Watershed
Protection Branch with the annual report. The annual report must identify the applicable benchmark value
and state whether the facility has passed or failed the benchmark requirement for the twelve (12) month
sampling period.

C.2.3        Specific Requirements for Discharges into a Stream Segment Impaired by Non-Pollutant
Specific Criteria Including but Not Limited to Biota F and Biota M.
C.2.3.1      Facilities for which the listing criterion is identified as “Biota or Sediment” are required to
conduct sampling for TSS unless a TMDL has identified a different pollutant from nonpoint sources as
causing the impairment, in which case sampling must be conducted for the pollutant(s) identified in the
TMDL. The applicable TSS benchmark value for these discharges shall be 100 mg/L.
C.2.3.2      Facilities for which the listing criterion is toxicity, FCG (fish consumption guidelines), SB
(shellfishing ban), CFB (commercial fishing ban) or TWR (trophic weighted residue value of mercury in fish
tissue) will only be required to conduct sampling under Appendix C if a TMDL identifying a specific water
quality parameter has been approved for the stream segment.
C.2.3.3      A summary of the sampling results for TSS must be submitted to EPD’s Watershed Protection
Branch with the annual report. The annual report must identify the applicable benchmark value(s) and state
whether the facility has passed or failed the benchmark requirement for the twelve (12) month sampling
period. If no sampling was conducted because the listing criterion is FCG, SB, CFB or TWR, a statement to
that effect must be submitted to EPD’s Watershed Protection Branch with the annual report.

C.2.4        Specific Requirements for Discharges into a Stream Segment Impaired by Fecal Coliform.
C.2.4.1      Facilities without animal handling. Facilities without animal handling, for which the listing
criteria is identified as fecal coliform (FC), shall conduct sampling in accordance with Appendix C for
industrial storm water discharges regulated by this permit. The applicable benchmark value for these
discharges shall be the instream geometric mean Water Quality Standard for FC. Where collection of the
four samples needed to calculate the geometric mean is not possible due to weather or other adverse
conditions then the benchmark for the months of November through April shall be the daily maximum


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Water Quality Standard for any sample, and the benchmark for the months May through October shall be
four times the instream geometric mean Water Quality Standard.

C.2.4.2      Facilities with animal handling. Facilities with animal handling, for which the listing criteria is
identified as fecal coliform (FC), will be required to:
     a. Conduct sampling under Appendix C for storm water discharges from the animal handling areas of
         the facility, and/or
     b. Capture (collect and not discharge as untreated stormwater under this permit) the 24-hour storm
         event rainfall depth of 1.2 inches (85th percentile storm event, Georgia Stormwater Management
         Manual, Vol. 2, Section 1.3.2.1) in animal handling areas. If the area of capture is larger than the
         animal handling area, the volume calculation shall be based on the area of capture. When a rain
         event exceeds 1.2 inches in 24 hours, the discharge that occurs in excess of the 1.2-inch treatment
         volume is not subject to benchmark values listed below.
C.2.4.2.1 The applicable benchmark value for the discharges in a. and b. above shall be the instream
geometric mean Water Quality Standard for FC. Where collection of the four samples needed to calculate
the geometric mean is not possible due to weather or other adverse conditions then the benchmark for the
months of November through April shall be the daily maximum Water Quality Standard for any sample, and
the benchmark for the months May through October shall be four times the instream geometric mean
Water Quality Standard.
C.2.4.2.2 Facilities that intend to capture the storm water discharge from animal handling areas and then
treat it using chemical addition shall notify EPD in writing of the proposed treatment system. EPD may
specify additional end-of-pipe monitoring and/or effluent limitations as necessary to ensure compliance
with applicable Water Quality Standards and/or criteria in the receiving stream.
C.2.4.2.3 For the purposes of Appendix C of this permit, animal handling areas are those areas where
animals or animal containers (trucks, cages, etc.) are stored or unloaded and where offal is stored and
loaded. Animal handling areas exclude access roads with no truck parking, clean truck and cage storage
areas, clean equipment storage yards, and roof runoff; these shall be considered background conditions and
are not subject to the requirements of Appendix C.
C.2.4.3      A summary of the sampling results for fecal coliform must be submitted to EPD’s Watershed
Protection Branch with the Annual Report. The report must also identify the applicable benchmark value
and state whether the facility has passed or failed the benchmark requirement for the twelve (12) month
sampling period.
C.2.4.4      A list of BMPs designed to reduce fecal coliform levels in storm water runoff has been developed
for animal processing plants that may be potential sources of fecal coliform. Other facilities may find this list
to be useful as well. The list is provided in Sector U of this permit.

C.3         Sampling Schedule.

C.3.1       Regulated industrial facilities that are subject to the requirements in Appendix C of this permit
must conduct storm water discharge sampling two times per quarter for a period of twelve (12) months.
The sampling will only be required for those outfalls at the facility that have the potential to discharge storm
water associated with industrial activity where industrial materials or activities that are potential sources of
the pollutant of concern and are, or may be, exposed to storm water at the facility during the term of this
permit. The sampling must be conducted in accordance with Part 6 of this permit.

C.3.2       Monitoring requirements in this permit begin in the first full quarter following the effective date
of the permit or the permittee’s date of discharge authorization, whichever date comes later, unless an
alternate schedule is approved by EPD.


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C.3.3       If a facility is unable to conduct one or both of the sampling event(s) during a certain quarter
due to adverse climatic conditions (i.e., no qualifying rainfall event occurs), then the facility shall include a
written explanation for the absence of the sampling event in the next Annual Report submitted to EPD.

C.3.4       Facilities who passed the benchmark sampling required by Appendix C.2 and those subject to
the sampling requirements in C.4 below shall sample bi-annually for the pollutant of concern according to
the schedule in Part 6.1.7. Facilities who fail to meet the benchmark in 2 consecutive bi–annual samples
shall be required to sample in accordance with Appendix C.2.

C.4         Optional Sampling.

C.4.1         Composite Sampling. Permittees may conduct flow-weighted composite sampling to
demonstrate the facility’s impact or lack thereof on impaired waters, for criteria for which composite
sampling is appropriate. The arithmetic average of eight composite samples (two per quarter for 4 quarters)
shall be compared to instream Water Quality Standards for the listed criterion. Existing dischargers who
decide to conduct flow-weighted composite sampling who failed the second round of sampling contained in
Part III.C. of the 2006 Industrial Storm Water General Permit, will have one twelve (12) month sampling
period to pass the sampling required by Appendix C.2 using composite sampling. These dischargers will
have 180 days after the issuance of this permit to design and implement the systems necessary to conduct
composite sampling of all outfalls. The permittee shall notify EPD in writing of the intent to pursue such
testing and shall submit it with the NOI, and maintain a copy of the notification and sampling methodology
with the SWPPP.
C.4.1.1       A composite sample shall consist of a minimum of four sub-samples collected at least once
every hour during the 4-hour period beginning with the first flush. A composite sample shall not exceed a
maximum of twenty-four samples collected at least once every hour for twenty-four hours during the 24-
hour period beginning with the first flush.
C.4.1.2       Composite samples shall be composited proportionately to flow.
C.4.1.3        The permitttee shall have a primary flow measuring device that is correctly installed and
operable. Secondary flow measurements must be made using a continuous totalizer and an indicating
recorder. Calibration of the secondary instrument will be maintained to + 10% of the actual flow. The head
shall be measured manually to check the flow meter calibration at least once during each composite
sampling period. Records of calibration checks shall be maintained.
C.4.1.4       If secondary flow instruments malfunction or fail to maintain calibration as required in C.4.4, the
flow shall be computed from the manual measurements taken at the times specified for the collection of
composite samples.
C.4.1.5       If the facility is unable to meet instream Water Quality Standard for the pollutant(s) of concern
as specified in the 305(b)/303(d) list after using the pass/fail determination listed in C.5.2.1 or C.5.2.2, refer
to Part C.10 of this Permit.
C.4.1.6       The applicable values shall be the same numeric value, where applicable, as the Instream Water
Quality Standard for the pollutant(s) of concern as specified in the 305(b)/303(d) list. Flow-weighted
composite sampling to characterize the discharge can be used for discharges to stream segments impaired
for the following pollutants:
         a. Fecal coliform (see sample holding time requirements in 40 CFR Part 136).
         b. Biota F and M - Facilities for which the listing criterion is identified as “Biota or Sediment” are
              required to conduct sampling in accordance with Appendix C.2.3 above.
         c. Metals.
         d. Priority pollutants.


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C.4.2        Optional Sampling to Confirm the Potential to Cause or Contribute to an Exceedance of the
Instream Water Quality Standard for Fecal Coliform. Existing dischargers who failed the first round and
have not conducted the second round, or who failed two rounds of benchmark sampling for TSS under Part
III.C of the 2006 Industrial Storm Water General Permit may perform fecal coliform testing in accordance
with C.2.4 for 12 months. The permittee shall notify EPD in writing of the intent to pursue such testing and
shall submit it with the NOI, and maintain a copy of the notification with the SWPPP. The permittee shall
submit the results of the sampling to EPD on a quarterly basis.

C.5         Evaluation of Appendix C Sampling Data.

C.5.1      If the benchmark values used to characterize the ability of the discharge to cause or contribute
to an exceedance of a water quality standard are exceeded using the pass/fail determination provided
below, then improved or additional BMPs are required at the facility.

C.5.2       The sampling data for the twelve (12) month period must be evaluated using one of the criteria
listed in C.5.2.1 or C.5.2.2, which shall constitute the pass/fail determination for evaluating BMP
effectiveness:
C.5.2.1     At least seventy-five (75) percent of the samples collected during the twelve (12) month period
do not exceed the applicable benchmark value(s); or
C.5.2.2     The average of the samples collected during the twelve (12) month period does not exceed the
applicable benchmark value(s).

C.5.3     If a facility meets at least one of the above criteria then that facility has passed the benchmark
requirement and must thereafter properly maintain all of the BMPs that enabled the facility to meet the
benchmark requirement and must conduct bi-annual sampling in accordance with C.3.4.

C.5.4         If a facility does not meet at least one of the above criteria, then that facility has failed the
benchmark requirement. Those facilities that do not pass the benchmark requirement for the first twelve
(12) month sampling period may take up to one year to budget, select, design and construct/implement
additional supplemental BMPs at the facility. Once the supplemental BMPs have been implemented, an
additional twelve (12) month (two samples per quarter) period of sampling must be conducted as described
in C.2. Those facilities that pass the benchmark requirement, using the above pass/fail determination may
discontinue the Appendix C.2 sampling but must thereafter properly maintain all of the BMPs that enabled
the facility to meet the benchmark requirement and must conduct bi-annual sampling in accordance with
C.3.4.

C.5.5       Facilities that are not able to pass the benchmark requirement using the above pass/fail
determination must continue the process of implementing additional supplemental BMPs and conducting a
subsequent twelve month (two samples per quarter) period of sampling until the facility meets the
benchmark requirement using the pass/fail determination provided above, or composite sampling in
accordance with C.4 demonstrates that the discharge will not cause or contribute to an exceedance of a
water quality standard.

C.5.6        If a facility is unable to pass the benchmark or composite sampling requirements after the
second twelve (12) month sampling period following implementation of supplemental BMPs, refer to Part
C.10 of this Permit.




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C.6           Existing Dischargers into an Impaired Stream Segment Who Passed Sampling Contained in Part
III.C of the 2006 Industrial Storm Water General Permit. If permittees passed the impaired stream segment
sampling contained in Part III.C of Georgia’s 2006 Industrial Storm Water General Permit they are required
to sample in accordance with C.3.4.

C.7        Existing Dischargers into an Impaired Stream Segment That Have Not Completed the Second
Round of Sampling contained in Part III.C of the 2006 Industrial Storm Water General Permit. If
permittees have not completed the impaired stream segment sampling contained in Part III.C of Georgia’s
2006 Industrial Storm Water General Permit, they are required to sample consistent with the requirements
of Appendix C.2 until they have completed the second round of sampling. If permittees fail the second
round of impaired stream segment sampling, they must refer to Appencix C.10.

C.8           Existing Dischargers into an Impaired Stream Segment Who Failed Sampling Contained in Part
III.C of the 2006 Industrial Storm Water General Permit. If permittees failed two rounds of the benchmark
sampling for the pollutant of concern or designated constituent contained in Part III.C of Georgia’s 2006
Industrial Storm Water General Permit, they must refer to Appencix C.10.

C.9          Dischargers into an Impaired Stream Segment with an EPA Approved TMDL. If a facility
discharges to an impaired water with an EPA approved TMDL, the permittee must comply with any
requirement(s) stated in the TMDL that may be applicable to industrial storm water discharges. Industrial
storm water, as a point source, is subject to the WLA of TMDLs. Many TMDLs do not contain a WLA that is
specific to industrial or other storm water sources. If this is the case for a TMDL to which the facility
discharges, the discharges are to be consistent with the pollution reduction goals of the TMDL. Monitoring
for the TMDL shall be in accordance with the TMDL implementation plan. The permittee must incorporate
into the SWPPP any conditions applicable to the discharge(s) necessary for consistency with the assumptions
and requirements of such TMDL.

C.10         Existing Dischargers Who Failed to Meet the Applicable Benchmark Value under Parts C.4, C.5,
C.7 or C.8 of this Permit.

C.10.1       Upon written notification by EPD that the facility has failed to meet the applicable benchmark,
the facility shall request in writing within sixty (60) days of said notification EPD approval of one of the
following options. Permittees shall have up to thirty-six (36) months to comply with the requirements of
Parts C.10.1.a, C.10.1.b and C.10.1.c regardless of whether they conduct optional sampling under Part C.4 or
instream sampling under Part C.12.
        a. Remain under this General Permit, make necessary improvements to the facility, with the
             applicable benchmark value becoming a new end-of-pipe effluent limitation and permit
             condition no later than thirty-six (36) months following EPD written approval of this option.
        b. Remain under this General Permit, make necessary improvements to the facility, prevent all
             exposure of animal handling areas to storm water in accordance with Part C.1.1 of this permit
             no later than thirty-six (36) months following EPD written approval of this option. Option b. may
             be used in combination with Option c.
        c. Remain under this General Permit, make necessary improvements to the facility, provide
             capture of storm water from animal handling areas in accordance with Part C.2.4.2 of this
             permit no later than thirty-six (36) months following EPD written approval of this option. Option
             c. may be used in combination with Option b.
        d. Apply for an individual permit within thirty (30) days following EPD approval of this option. Any
             such individual permit shall terminate the facility’s coverage under this General Permit.


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        e. Request an alternate general permit. Coverage under any such alternate general permit shall
           terminate the facility’s coverage under this General Permit.

C.10.2       Facilities which pursue Part C.10.1.a. shall submit semi-annual progress reports to EPD within
thirty (30) days following the end of each six (6) month period.

C.10.3.      Facilities which pursue Part C.10.1.a and/or C.10.1.c where this results in a discharge of treated
storm water shall conduct monthly sampling for the pollutant of concern, except for FC. For facilities where
the pollutant of concern is FC, the facility shall, on a quarterly basis, collect at least four (4) samples within a
thirty (30) day period of intervals not less than twenty-four (24) hours in order to calculate a geometric
mean. Violations of an effluent limit shall be reported to EPD within thirty (30) days of an exceedance.

C.11         Existing Dischargers into a Newly Listed Impaired Stream Segment. If a facility discharges to a
newly listed water-quality impaired water, listed in the most current 305(b)/303(d) list documents as
impaired, and did not perform the impaired stream segment sampling in Part III.C of Georgia’s 2006
Industrial Storm Water General Permit, the facility is considered a new discharger and must comply with the
requirements of Appendix C.1.

C.12         Optional Sampling for Impaired Waters Determination.
Permittees may conduct instream sampling for use in listing or delisting of the impaired water or the
receiving waterbody. The permittee has 6 months from the effective date of the permit to submit and
obtain EPD approval of a Sampling and Quality Assurance Plan (SQAP) and 12 months from approval of the
SQAP to conduct sampling under the SQAP and submit those results to EPD. The SQAP, execution of the
SQAP, the report submitted to EPD concerning the SQAP and monitoring results shall meet the requirements
of “Guidance on Submitting Water Quality Data for Use by the Georgia Environmental Protection Division in
305(b)/303(d) Listing Assessments”, latest edition. The permittee shall notify EPD in writing of the intent to
pursue such testing and shall submit it with the NOI, and maintain a copy of the notification with the
SWPPP.
C.12.1       Potential Delisting of a Listed Waterbody. When the permittee submits the final report to EPD
with a request to delist the waterbody, the permittee shall advertise its request by publishing a public notice
for one day in the newspaper that serves as the legal organ for that location. The public notice shall inform
the public that they have 30 days in which to submit written comments to EPD concerning the permittee’s
request. Upon written notification from EPD that a waterbody is considered appropriate for delisting, the
permittee may suspend implementation of the requirements of Appendix C. EPD will make its decision
whether or not to delist the waterbody in accordance with its normal 305(b)/303(d) procedures. If the
waterbody remains on the list of impaired waters, the permittee shall resume implementation of the
requirements of Appendix C.
C.12.2       Waterbodies Not Currently Listed But within One Mile Upstream of a Listed Water. When the
permittee submits the final report to EPD with a request not to list the waterbody, the permittee shall
advertise its request by publishing a public notice for one day in the newspaper that serves as the legal
organ for that location. The public notice shall inform the public that they have 30 days in which to submit
written comments to EPD concerning the permittee’s request. Upon written notification from EPD that a
waterbody that is not currently listed but is within one mile upstream of, and within the same watershed as,
a listed water is considered appropriate not to list, the permittee may suspend implementation of the
requirements of Appendix C. EPD will make its decision whether or not to list the waterbody in accordance
with its normal 305(b)/303(d) procedures. If the waterbody is added to the list of impaired waters, the
permittee shall resume implementation of the requirements of Appendix C.



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                                   Appendix C - Impaired Stream Segment Sampling Flowchart

  Are you a new or existing discharger discharging into, or within one mile upstream of and within the same
                         watershed as, any portion of an impaired stream segment?
                                        Choose 1 of the 4 following paths:


  Yes                Or          Yes                           Or          Yes                    Or           Yes

  Can you certify               Do you have the                            Is the POC in                 Were you required
  that the                      POC in your                                your discharge                to conduct impaired
  pollutant of                  discharge to the                           expected to be                stream segment
  concern is not                impaired stream                            less than the                 sampling contained
  exposed and/or                segment?                                   WQS or is there               in Part III.C. of the
  not present at                                                           sufficient WLA                2006 Industrial
  your facility?                                                           available in the              Storm Water
                                Yes                                        TMDL?                         General Permit?

                             • Begin twice quarterly or
  Yes                                                                       Yes
                               composite benchmark                                                       Yes
                               sampling.
  Maintain                                                                 Submit                        Your sampling
  documentation              • If you fail the first round
                                                                           documentation                 requirements
  certified in                 of sampling then you                        including a PE                are specified in
  accordance with              must reevaluate your                        or PG                         Appendix C6,
  Appendix C.1.1               BMPs and perform a                          certification                 C7, C8 and C10,
  and C.1.2, with              second round of twice                       with your NOI.                as applicable.
  your SWPPP.                                                                                            *(Optional
                               quarterly or composite
                                                                                                         Sampling is
                               benchmark sampling.
                                                                                                         addressed in
                                                                                                         Appendix C.4.)
                                 Yes

                                                                           No
                                Pass benchmark sampling.                                 Your requirements are
                                                                                         specified in Appendix C.10
                                  Yes

                               Perform bi-annual
                               confirmation sampling in
                               accordance with Appendix
                               C.3.4.

NOTE: This flowchart is a simplified representation of the sampling requirements contained in Appendix C and intended for reference use
only. Any discrepancy or inconsistency between this flowchart and Appendix C should resolved by reading and understanding the sampling
requirements contained in Appendix C.




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                                               Appendix D
                                        Activities Covered Table

Appendix D. Facilities and Activities Covered

Permit eligibility is limited to discharges from facilities in the “sectors” of industrial activity summarized
in Table D-1. These sector descriptions are based on SIC Codes and Industrial Activity Codes. References
to “sectors” in this permit (e.g., sector-specific monitoring requirements) refer to these groupings.
Please note: Facilities may be subject to more than one sector or subsector.

Table D-1. Sectors of Industrial Activity Covered by This Permit
Subsector              SIC Code or         Activity Represented
                       Activity Code1
SECTOR A: TIMBER PRODUCTS
A1                     2421                General Sawmills and Planing Mills
A2                     2491                Wood Preserving
A3                     2411                Log Storage and Handling
A4                     2426                Hardwood Dimension and Flooring Mills
                       2429                Special Product Sawmills, Not Elsewhere Classified
                       2431-2439           Millwork, Veneer, Plywood, and Structural Wood
                       (except 2434)       (see Sector W)
                   2448           Wood Pallets and Skids
                   2449           Wood Containers, Not Elsewhere Classified
                   2451, 2452     Wood Buildings and Mobile Homes
                   2493           Reconstituted Wood Products
                   2499           Wood Products, Not Elsewhere Classified
A5                 2441           Nailed and Lock Corner Wood Boxes and Shook
SECTOR B: PAPER AND ALLIED PRODUCTS
B1                     2631        Paperboard Mills
B2                     2611        Pulp Mills
                       2621        Paper Mills
                       2652-2657   Paperboard Containers and Boxes
                       2671-2679   Converted Paper and Paperboard Products, Except Containers
                                   and Boxes
SECTOR C: CHEMICALS AND ALLIED PRODUCTS
C1                     2873-2879           Agricultural Chemicals
C2                     2812-2819           Industrial Inorganic Chemicals
C3                     2841-2844           Soaps, Detergents, and Cleaning Preparations; Perfumes,
                                           Cosmetics, and Other Toilet Preparations
C4                     2821-2824           Plastics Materials and Synthetic Resins, Synthetic Rubber,
                                           Cellulosic and Other Manmade Fibers Except Glass



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Table D-1. Sectors of Industrial Activity Covered by This Permit
Subsector             SIC Code or        Activity Represented
                      Activity Code1
                      2833-2836        Medicinal Chemicals and Botanical Products; Pharmaceutical
C5                                     Preparations; in vitro and in vivo Diagnostic Substances; and
                                       Biological Products, Except Diagnostic Substances
                   2851                Paints, Varnishes, Lacquers, Enamels, and Allied Products
                   2861-2869           Industrial Organic Chemicals
                   2891-2899           Miscellaneous Chemical Products
                   3952                Inks and Paints, Including China Painting Enamels, India Ink,
                   (limited to list of Drawing Ink, Platinum Paints for Burnt Wood or Leather Work,
                   inks and paints) Paints for China Painting, Artist’s Paints and Watercolors
                   2911                Petroleum Refining
SECTOR D: ASPHALT PAVING AND ROOFING MATERIALS AND LUBRICANTS
D1                 2951, 2952          Asphalt Paving and Roofing Materials
D2                 2992, 2999          Miscellaneous Products of Petroleum and Coal
SECTOR E: GLASS, CLAY, CEMENT, CONCRETE, AND GYPSUM PRODUCTS
E1                  3251-3259       Structural Clay Products
                    3261-3269       Pottery and Related Products
E2                  3271-3274       Concrete and Plaster Products
E3                    3211               Flat Glass
                      3221, 3229         Glass and Glassware, Pressed or Blown
                      3231               Glass Products Made of Purchased Glass
                      3241               Hydraulic Cement
                      3275               Gypsum
                      3281               Cut Stone and Stone Products
                      3291-3299          Abrasive, Asbestos, and Miscellaneous Nonmetallic Mineral
                                         Products
SECTOR F: PRIMARY METALS
F1                 3312-3317             Steel Works, Blast Furnaces, and Rolling and Finishing Mills
F2                    3321-3325          Iron and Steel Foundries
F3                    3351-3357          Rolling, Drawing, and Extruding of Nonferrous Metals
F4                    3363-3369          Nonferrous Foundries (Castings)
F5                3331-3339     Primary Smelting and Refining of Nonferrous Metals
                  3341          Secondary Smelting and Refining of Nonferrous Metals
                  3398, 3399    Miscellaneous Primary Metal Products
SECTOR G: TRANSPORTATION EQUIPMENT, INDUSTRIAL OR COMMERCIAL MACHINERY
G1                3511-3599     Industrial and Commercial Machinery, Except Computer and
                  (except 3571- Office Equipment (see Sector H)
                      3579)
                      3711-3799          Transportation Equipment Except Ship and Boat Building and
                      (except 3731,      Repairing (see Sector R)
                      3732)


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Table D-1. Sectors of Industrial Activity Covered by This Permit
Subsector             SIC Code or        Activity Represented
                      Activity Code1
SECTOR H: ELECTRONIC, ELECTRICAL, PHOTOGRAPHIC, AND OPTICAL GOODS
H1                  3571-3579       Computer and Office Equipment
                    3812-3873       Measuring, Analyzing, and Controlling Instruments;
                                    Photographic and Optical Goods, Watches, and Clocks
                    3612-3699       Electronic and Electrical Equipment and Components, Except
                                    Computer Equipment
SECTOR I: OIL AND GAS EXTRACTION
I1                  1311            Crude Petroleum and Natural Gas
                    1321            Natural Gas Liquids
                    1381-1389       Oil and Gas Field Services
SECTOR J: MINING AND DRESSING
J1                  1011, 1021,     Mining
                    1031, 1041,
                    1044, 1061,
                    1081, 1094,
                    1099, 1411,
                    1422-1429,
                    1442, 1446,
                    1459, 1474-
                    1479, 1481,
                    1499
J2                  1455            Kaolin and Clay Ball Mining
SECTOR K: HAZARDOUS WASTE TREATMENT, STORAGE, OR DISPOSAL FACILITIES
K1                  HZ              Hazardous Waste Treatment, Storage, or Disposal Facilities,
                                    including those that are operating under interim status or a
                                    permit under Subtitle C of RCRA
SECTOR L: LANDFILLS, LAND APPLICATION SITES, AND OPEN DUMPS
L1                  LF              All Landfill, Land Application Sites and Open Dumps
L2                    LF             All Landfill, Land Application Sites and Open Dumps, except
                                     Municipal Solid Waste Landfill (MSWLF) Areas Closed in
                                     Accordance with 40 CFR 258.60
SECTOR M: AUTOMOBILE SALVAGE YARDS
M1                 5015              Automobile Salvage Yards
SECTOR N: SCRAP RECYCLING FACILITIES
N1                    5093               Scrap Recycling Facilities and Liquid Recycling Facilities

N2                    5093               Source-separated Recycling Facility
SECTOR O: STEAM ELECTRIC GENERATING FACILITIES
O1                 SE             Steam Electric Generating Facilities, including coal handling
                                  sites




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Table D-1. Sectors of Industrial Activity Covered by This Permit
Subsector             SIC Code or        Activity Represented
                      Activity Code1


SECTOR P: LAND TRANSPORTATION AND WAREHOUSING
P1                 4011, 4013    Railroad Transportation
                   4111-4173     Local and Highway Passenger Transportation
                   4212-4231     Motor Freight Transportation and Warehousing
                  4311           United States Postal Service
                  5171           Petroleum Bulk Stations and Terminals
SECTOR Q: WATER TRANSPORTATION: MAINTENANCE/CLEANING
Q1                4412-4499      Water Transportation Facilities
SECTOR R: SHIP AND BOAT BUILDING AND REPAIRING YARDS
R1                  3731, 3732     Ship and Boat Building or Repairing Yards
SECTOR S: AIR TRANSPORTATION FACILITIES
S1                4512-4581              Air Transportation Facilities
SECTOR T: TREATMENT WORKS
T1                TW             Treatment Works treating domestic sewage or any other
                                 sewage sludge or wastewater treatment device or system,
                                 used in the storage, treatment, recycling, and reclamation of
                                 municipal or domestic sewage, including land dedicated to the
                                 disposal of sewage sludge that is located within the confines of
                                 the facility, with a design flow of 1.0 mgd or more, or required
                                 to have an approved pretreatment program under 40 CFR Part
                                 403. Not included are farm lands, domestic gardens or lands
                                 used for sludge management where sludge is beneficially
                                 reused and which are not physically located in the confines of
                                 the facility, or areas that are in compliance with section 405 of
                                 the CWA
SECTOR U: FOOD AND KINDRED PRODUCTS
U1                2041-2048      Grain Mill Products
U2                2074-2079      Fats and Oils Products
U3                2011-2015      Meat Products
U4                2021-2026      Dairy Products
                  2032-2038      Canned, Frozen, and Preserved Fruits, Vegetables, and Food
                                 Specialties
                  2051-2053      Bakery Products
                  2061-2068      Sugar and Confectionery Products
                      2082-2087          Beverages
                      2091-2099          Miscellaneous Food Preparations and Kindred Products
                      2111-2141          Tobacco Products




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Table D-1. Sectors of Industrial Activity Covered by This Permit
Subsector             SIC Code or        Activity Represented
                      Activity Code1
SECTOR V: TEXTILE MILLS, APPAREL, AND OTHER FABRIC PRODUCT MANUFACTURING; LEATHER AND
LEATHER PRODUCTS
V1                  2211-2299        Textile Mill Products
                    2311-2399        Apparel and Other Finished Products Made from Fabrics and
                                     Similar Materials
                      3131-3199          Leather and Leather Products (note: see Sector Z1 for Leather
                                         Tanning and Finishing)
SECTOR W: FURNITURE AND FIXTURES
W1                 2434           Wood Kitchen Cabinets
                   2511-2599      Furniture and Fixtures
SECTOR X: PRINTING AND PUBLISHING
X1                 2711-2796      Printing, Publishing, and Allied Industries
SECTOR Y: RUBBER, MISCELLANEOUS PLASTIC PRODUCTS, AND MISCELLANEOUS MANUFACTURING
INDUSTRIES
Y1                 3011           Tires and Inner Tubes
                   3021           Rubber and Plastics Footwear
                   3052, 3053     Gaskets, Packing and Sealing Devices, and Rubber and Plastic
                                  Hoses and Belting
                      3061, 3069         Fabricated Rubber Products, Not Elsewhere Classified
Y2                    3081-3089          Miscellaneous Plastics Products
                      3931               Musical Instruments
                      3942-3949          Dolls, Toys, Games, and Sporting and Athletic Goods
                      3951-3955          Pens, Pencils, and Other Artists’ Materials
                      (except 3952 –
                      see Sector C)
                      3961, 3965   Costume Jewelry, Costume Novelties, Buttons, and
                                   Miscellaneous Notions, Except Precious Metal
                   3991-3999       Miscellaneous Manufacturing Industries
SECTOR Z: LEATHER TANNING AND FINISHING
Z1                 3111 (also see Leather Tanning and Finishing
                   sector V.)
SECTOR AA: FABRICATED METAL PRODUCTS
AA1                3411-3499      Fabricated Metal Products, Except Machinery and
                   (except 3479)  Transportation Equipment, and Coating, Engraving, and Allied
                                  Services.
                   3911-3915      Jewelry, Silverware, and Plated Ware
AA2                3479           Fabricated Metal Coating and Engraving




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Table D-1. Sectors of Industrial Activity Covered by This Permit
Subsector              SIC Code or          Activity Represented
                       Activity Code1


SECTOR AB: NON-CLASSIFIED FACILITIES

AB1                    Other storm water discharges designated by the Director as needing a permit (see
                       40 CFR 122.26(a)(9)(i)(C) and (D)) with industrial activity not described by any of
                       Sectors A-AA. NOTE: Facilities may not elect to be covered under Sector AB. Only
                       the Director may assign a facility to Sector AB.

1
  A complete list of SIC Codes can be found at: http://www.osha.gov/pls/imis/sic_manual.html
Conversions to and from the newer North American Industry Classification System” (NAICS)) can be obtained from
the internet at: http://www.census.gov/eos/www/naics/concordances/concordances.html or in paper form from
various locations in the document titled Handbook of Standard Industrial Classifications, Office of Management and
Budget, 1987.




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                                  Appendix E
              Determining Benchmarks for Hardness Dependent Metals
E.1    Overview

E.1.1 EPD adjusted the benchmarks for five hardness-dependent metals (cadmium, copper, lead,
nickel, and zinc) to further ensure compliance with Water Quality Standards. For any sectors required to
conduct benchmark sampling for a hardness-dependent metal, ‘hardness ranges’ are provided below
from which the applicable benchmark values are determined. To determine which hardness range
applies, a representative hardness of the water to be discharged is used. Where the hardness value is to
be representative of the combination of the discharge and the receiving waterbody so as to determine
an alternative benchmark as in 6.2.1.1.b.iii, the hardness of both the discharge and the receiving body
must be determined, and combined using the ratio of the drainage area of the receiving waterbody and
the drainage area of the discharge. Once the site-specific hardness data have been collected, the
corresponding benchmark value for each metal is determined by comparing where the hardness data
fall within 25 mg/L ranges, as shown in Table 1.

  Table 1. Hardness Ranges to Be Used to Determine Benchmark Values for Cadmium, Copper, Lead,
                                         Nickel, and Zinc.


                   All Units mg/L        Cadmium      Copper    Lead      Nickel   Zinc
                     0-25 mg/L            0.0005      0.0038    0.014      0.15    0.04
                    25-50 mg/L            0.0008      0.0056    0.023      0.20    0.05
                    50-75 mg/L            0.0013      0.0090    0.045      0.32    0.08
                    75-100 mg/L           0.0018      0.0123    0.069      0.42    0.11
                   100-125 mg/L           0.0023      0.0156    0.095      0.52    0.13
                   125-150 mg/L           0.0029      0.0189    0.122      0.61    0.16
                   150-175 mg/L           0.0034      0.0221    0.151      0.71    0.18
                   175-200 mg/L           0.0039      0.0253    0.182      0.80    0.20
                   200-225 mg/L           0.0045      0.0285    0.213      0.89    0.23
                   225-250 mg/L           0.0050      0.0316    0.246      0.98    0.25
                     250+ mg/L            0.0053      0.0332    0.262      1.02    0.26

E.2    How to Determine Hardness for Hardness-Dependent Parameters.

E.2.1 Permittees may select one of three methods to determine hardness, including; individual grab
sampling, grab sampling by a group of operators which discharge to the same receiving water, or using
third-party data. Regardless of the method used, permittees are responsible for documenting the
procedures used for determining hardness values. Once the hardness value is established, permittees
are required to include this information with the first benchmark monitoring results. Permittees must
retain all monitoring data in accordance with Part 7.5 of the permit. The three optional methods for
determining hardness are detailed in the following sections.

E.2.2 Permittee Samples for Receiving Waterbody Hardness.
E.2.2.1 This method involves collecting samples in the receiving water and submitting these to a
laboratory for analysis. If permittees elect to sample the receiving water(s) and submit samples for


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analysis, hardness must be determined from the closest intermittent or perennial stream downstream
of the point of discharge. The sample can be collected during either dry or wet weather. Collection of
the sample during wet weather is more representative of conditions during storm water discharges;
however, collection of in-stream samples during wet weather events may be impracticable or present
safety issues.
E.2.2.2 Hardness must be sampled and analyzed using approved methods as described in 40 CFR Part
136 (Guidelines Establishing Test Procedures for the Analysis of Pollutants).

E.2.3 Group Monitoring for Receiving Waterbody Hardness
E.2.3.1 Permittees can be part of a group of permittees discharging to the same receiving waters and
collect samples that are representative of the hardness values for all members of the group. In this
scenario, hardness of the receiving water must be determined using 40 CFR Part 136 procedures and the
results shared by group members. To use the same results, hardness measurements must be taken on a
stream reach within a reasonable distance of the discharge points of each of the group members.

E.2.4 Collection of Third-Party Hardness Data
E.2.4.1 Permittees can submit receiving waterbody hardness data collected by a third party provided
the results are collected consistent with the approved 40 CFR Part 136 methods. These data may come
from a local water utility, previously conducted stream reports, TMDL, peer reviewed literature, other
government publications, or data previously collected by the permittee. Data must be less than 10 years
old.
E.2.4.2 Water quality data for many of the nation’s surface waters are available on-line or by contacting
EPA or the Department. EPA’s data system STORET, short for STOrage and RETrieval, is a repository for
receiving water quality, biological, and physical data and is used by State environmental agencies, EPA
and other Federal agencies, universities, private citizens, and many others. Similarly, State
environmental agencies and the U.S. Geological Service (USGS) also have water quality data available
that, in some instances, can be accessed online. “Legacy STORET” codes for hardness include: 259
hardness, carbonate; 260 hardness, noncarbonated; and 261 calcium + magnesium, while more recent,
“Modern STORET” data codes include: 00900 hardness, 00901 carbonate hardness, and 00902 non-
carbonate hardness; or the discrete measurements of calcium (00915) and magnesium (00925) can be
used to calculate hardness. Hardness data historically has been reported as “carbonate,” “non-
carbonate,” or “Ca + Mg.” If these are unavailable, then individual results for calcium (Ca) and
magnesium (Mg) may be used to calculate hardness using the following equation:

        mg/L CaCO3 = 2.497 (Ca mg/L) + 4.118 (Mg mg/L)

E.2.4.3 When interpreting the data for carbonate and non-carbonate hardness, note that total hardness
is equivalent to the sum of carbonate and non-carbonate hardness if both forms are reported. If only
carbonate hardness is reported, it is more than likely that non-carbonate hardness is absent and the
total hardness is equivalent to the available carbonate hardness.

E.2.5 Determining Hardness for Facilities That Discharge to Tidally-Influenced Waters
When a facility discharges to a tidally-influenced water, the storm water discharge hardness shall be
determined from a sample taken prior to tidal influence. Tidal influence shall be determined to mean
“areas where salt, fresh and brackish waters mix” as defined in 391-3-6-.03(3)(o). The hardness of the
receiving waterbody shall be determined from a sample taken at mid-tide, as the tide is going out.




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                          APPENDIX B
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                                                 State of Georgia
                                         Department of Natural Resources
                                         Environmental Protection Division    For official use only


                                                          NOTICE OF INTENT                                                       NOI No., if known:__________
                                                                       NOI - Version 2012
                                For Coverage Under NPDES General Permit GAR050000 (2012 IGP)
                             Authorization to Discharge Storm Water Associated with Industrial Activity
                             
             
      Initial Notification        Previously Permitted        Change of Information        Change of Owner/Operator: Formerly Known As:
                                                                                                                                 ___________________________________ 
 
A. FACILITY LOCATION INFORMATION 
 
FACILITY NAME:     TenCate Protective Fabrics/Southern Mills Dyeing and Finishing Plant         PHONE:  __706‐647‐1385_______ 
 
STREET/LOCATION ADDRESS:  ___1683 Lawrence Road ____           ______________________________        ________________ 
 
CITY:       Molena                                                      COUNTY:           Upson              ___                 _      ZIP CODE:   ___30258________ 
 
LATITUDE:        32.966938                                                        LONGITUDE:         ‐84.49192         (Decimal degrees = XX.XXXX & ‐XX.XXXX) 
             
MAILING ADDRESS:          1683 Lawrence Road____             CITY:         Molena                STATE: __GA____  ZIP CODE:  __30258__________ 
                                                                                                                                                       
        
B.  FACILITY OWNER‐OPERATOR INFORMATION 
                             
LEGAL NAME:      Southern Mills, Inc. d/b/a TenCate Protective Fabrics                  PHONE:  ___770‐969‐1000______ ____________  _ 
 
MAILING ADDRESS:  __6501 Mall Boulevard____________________________________________________                                          _ 
 
CITY:                               Union City                          ____                      STATE:           GA    ____             ZIP CODE:  ___30291_______________ 
 
On‐site Facility Contact:  Name:           Dan Alexander              _   __   _                                     Telephone Number:____706‐647‐1385      _________ 
 
                                        Title:  ______Facility Engineer__________________  Email: ______d.alexander@tencate.com___             _ 
I designate the person or position described in On‐site Facility Contact above as the “Duly Authorized Representative” in accordance with 
B.7.2.2 of the 2012 IGP.                                                                                                                                            Yes       No 
 
C.  SITE ACTIVITY INFORMATION:  SIC Codes, Sector‐Specific Requirements and Effluent Limitation Guidelines.  (A list of covered SIC 
codes is included as Appendix D of the 2012 IGP.) 
             
In the table below:  Identify the 4‐digit Standard Industrial Classification (SIC) code that best represents the products produced or services 
rendered for which the facility is primarily engaged, defined as “primary industrial activity” in Appendix A of the 2012 IGP.  Identify up to 
four, 4‐digit secondary SIC codes for additional industrial activities, if applicable.  Identify the 2012 IGP sector by letter and name, as 
stated in Part 8 of the 2012 IGP and check if the facility is subject to effluent limits stated in Part 8: A, C, D, E, K, L or O. 
             
               Primary                         Part 8                                                   Sector Name                                          Check if Subject 
              SIC CODE                         Sector                                                                                                       to Effluent Limits 
                 2262                             V                           Textile Mills, Apparel, and Other Fabric Products                                       
  Secondary SIC CODE 
                    LF                             L                         Landfills, Land Application Sites, and Open Dumps                                        
                 2221                             V                           Textile Mills, Apparel, and Other Fabric Products                                       
                                                                                                                                                                      
                                                                                                                                                                      
             

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                                         Notice of Intent – 2012
                                                                                
D.  STORM WATER DISCHARGE INFORMATION 
           
1. Name of river basin where facility is located: ______Flint______________________________________________ 
     Note: A map of Georgia’s River Basins can be found by searching for the following link in your search engine of choice: 
     www.gaepd.org/Files_PDF/news/basins_map.pdf. 
      
2. Name of receiving waters: _____Spring Creek________________________________________________________ 
 
3. Does the facility discharge storm water to, or within one (1) linear mile upstream of, and inside the watershed of, any portion of an 
     impaired waterbody listed as impaired on Georgia’s most current finalized 305(b)/303(d) list documents?                    Yes          No  
      
4. Permittees that answered “Yes” to #3, indicate whether the pollutant(s) of concern for the impaired waterbody may be exposed to 
     storm water as a result of current or previous industrial activity at the facility during the term of the 2012 IGP.  New permittees must 
     check either C.1.1, C.1.2 or C.1.3 if you answered “Yes” to answer #3 above.   
                C.1.1:  Prevents all exposure.   
                C.1.2:  Documents pollutant is not present.          
                C.1.3:  Submits certified data, as stated in C.1.4 of the 2012 IGP, that the discharge will not cause or contribute. 
          If C.1.3 is checked above, indicate discharge will not cause or contribute by checking one of the following:  
                           C.1.3.1:  Discharges to waters without EPA‐approved TMDL, discharge will not exceed in‐stream water quality.   
                           C.1.3.2:  Discharges to waters with EPA‐approved TMDL, sufficient wasteload allocation to allow discharge.    
                           C.1.3.3:  Performs benchmark or composite sampling prescribed in C.2 of the 2012 IGP. 
           
       (Note: Those facilities that have not filed previously are not eligible for coverage under the 2012 IGP to discharge to an impaired 
        waterbody, unless the permittee satisfies the requirements of C.1 of the 2012 IGP.) 
 
5. Previous permittees that discharge to an impaired waterbody that were subject to the impaired stream segment sampling contained 
     in Part III.C. of Georgia’s 2006 Industrial Storm Water General Permit GAR000000 are required to indicate which of the sampling 
     requirements stated in C.2 of 2012 IGP GAR050000 the facility is subject to by checking the appropriate box below: 
                C.6:  Previous permittees that passed.   
                C.7:  Previous permittees that have not completed second round of sampling.              
                C.8:  Previous permittees that failed sampling. 
                C.11:  Previous permittees into a newly listed impaired waterbody. 
 
6. Does the facility discharge into a Municipal Separate Storm Sewer System (MS4), as defined in Appendix A?                    Yes       No 
If yes, name of MS4 Operator:  _______N/A_____________________________ 
      NOI submitted to the local MS4 required in Part 1.3.3. (If you discharge to an MS4 you are required to submit a copy of your NOI to 
the MS4.) 
             
7.     Is quantitative data of storm water discharges available?      Yes     No          Most recent year data collected:  ____________ 
8.     Other NPDES Permit Numbers: ___N/A_______________________________ 
9.     Does the facility require other permits from EPD?                   Yes       No        Permit No. (if applicable): _LAS GAJ010578_____       
           
E.  STORM WATER POLLUTION PREVENTION PLAN (SWPPP) INFORMATION 

SWPPP Contact Name:_ Lisa Simpson__________________________ Email: ___l.simpson@tencate.com___________ 

    Industrial  Storm  Water  Pollution  Prevention  Plan  (SWPPP)  Checklist.    Both  new  and  existing  permittees  must  complete  this 
    checklist. Marking a box on this sheet means the activity has been completed by new permittees.  For existing permittees, marking a 
    box on this sheet indicates they will update the SWPPP within 90 days and fully implement the SWPPP within 180 days of the 
    effective date of the 2012 IGP. 
                    
    Storm water pollution prevention team (in accordance with Part 5.1.1 of the 2012 IGP): 
              Identify the staff members that comprise the facility’s storm water pollution prevention team as well as their individual 
         responsibilities. 
          
    Site description (in accordance with Part 5.1.2 of the 2012 IGP):    
              Activities at the facility. Provide a description of the nature of the industrial activities at your facility, including any co‐located 
         activities. 

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               General location map. Provide a general location map with enough detail to identify the location of your facility and identify 
         all receiving waters for your storm water discharges. 
               Site map.  Provide a map containing the components contained in Part 5.1.2.3 of the 2012 IGP. 
          
     Summary of potential pollutant sources (in accordance with Part 5.1.3 of the 2012 IGP):  
               List of industrial activities exposed to storm water.   
               List of pollutant(s) associated with each identified activity.   
              Documentation of where potential spills and leaks could occur or have occurred in the past 3 years and note occurrences in 
         annual report. 
               Annual Non‐Storm Water Discharge Certification evaluation documentation for annual report. 
               Document the location of storage piles containing salt used for deicing and areas where deicing is expected to occur. 
               Sampling data and retention of records from Georgia’s 2006 Industrial Storm Water General Permit GAR000000. 
          
     Description of control measures (in accordance with Part 5.1.4 of the 2012 IGP): 
               Document the location and type of control measures you have installed and implemented at your site.  Describe control 
         measures used to achieve the non‐numeric effluent limits in Part 2.1.2, and where applicable in Part 8, the effluent limitations in 
         Part 2.2, and the water quality‐based effluent limits in Part 2.3.  Describe how you addressed the control measure selection and 
         design considerations in Part 2.1.1 of the 2012 IGP. 
          
     Schedules and procedures (in accordance with Part 5.1.5 of the 2012 IGP): 
               Minimize exposure (in accordance with Part 2.1.2.1 of the 2012 IGP). 
               Good housekeeping (in accordance with Part 2.1.2.2 of the 2012 IGP). 
               Maintenance (in accordance with Part 2.1.2.3 of the 2012 IGP). 
               Spill prevention and response procedures (in accordance with Part 2.1.2.4 of the 2012 IGP). 
               Erosion and sediment controls (in accordance with Part 2.1.2.5 of the 2012 IGP). 
               Management of runoff (in accordance with Part 2.1.2.6 of the 2012 IGP). 
               Salt storage and pavement deicing (in accordance with Part 2.1.2.7 of the 2012 IGP). 
               Dust generation and vehicle tracking of industrial materials (in accordance with Part 2.1.2.8 of the 2012 IGP). 
               Waste, garbage, and floatable debris (in accordance with Part 2.1.2.9 of the 2012 IGP). 
               Employee training – A schedule for necessary training (in accordance with Part 5.1.1.2 of the 2012 IGP). 
               Procedures for conducting the four types of analytical monitoring specified by the 2012 IGP, where applicable (in accordance 
         with Part 5.1.5.2 of the 2012 IGP). 
               Procedures for performing the three types of inspections specified by the 2012 IGP (in accordance with Parts 4.1, 4.2 and 4.3 
         of the 2012 IGP). 
          
     SWPPP signature requirement (in accordance with Part 5.1.6 of the 2012 IGP): 
               SWPPP signed and dated (in accordance with Appendix B.7 of the 2012 IGP) 
 
F.  COMMENTS 

 
 
 
G.  CERTIFICATION:  I  certify  under  penalty  of  law  that  this  document  and  all  attachments  were  prepared  under  my  direction  or 
supervision in accordance with a system designed to assure that qualified personnel properly gathered and evaluated the information 
submitted.  Based upon my inquiry of the person or persons who manage the system, or those persons directly responsible for gathering 
the information, the information submitted is, to the best of my knowledge and belief, true, accurate, and complete.  I am aware that 
there are significant penalties for submitting false information, including the possibility of fine and imprisonment for knowing violations. 
 
 
Printed Name:                 Bruce Bagwell                          ___________     Title:  ____Plant Manager                                 ____________  
 
 
Signature:  _____________________________________________   Date:  ___________________________________________ 
 
                                                                            Type All Information 
 

                                                                           3                                                       Updated 4/14
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                                                        INSTRUCTIONS 
    Who must file a Notice of Intent (NOI) Form? 
     
    Certain private and municipally‐owned industrial and commercial facilities are required to have a National Pollutant 
    Discharge Elimination System (NPDES) permit GAR050000 for storm water (rain water) discharged to the waters of 
    Georgia.    The  facilities  required  to  have  NPDES  permits  are  identified  by  their primary SIC code and industrial 
    activities provided in Appendix D of the 2012 IGP.  This Notice of Intent is the effective application for the General 
    NPDES Permit No. GAR050000 to be applicable to the facility identified in Section A.  The 2012 IGP is not applicable 
    to process wastewater discharges or mixtures of process wastewater and storm water.  You may wish to consult the 
    applicable State and Federal rules, regulations, and laws prior to completing this NOI. 
     
    Any NOI that contains illegible information will not be accepted.  All applicable information on this NOI must be 
    submitted to be a valid notice.  Information requested on the NOI that is not applicable to the owner‐operator or 
    the facility must be marked “N/A”.  Do not leave any field that is applicable to your facility blank.  New dischargers 
    or new sources must submit an NOI seven (7) days prior to commencing discharge.  Those facilities that were 
    covered by the 2006 GAR000000 permit are authorized to discharge storm water associated with industrial activity 
    under the terms and conditions of the 2012 IGP immediately on the date the 2012 NOI is postmarked.  NOI forms 
    must be sent by return receipt certified mail (or similar service). 
     
    The Environmental Protection Division (EPD) does not acknowledge receipt of an NOI; therefore, the return receipt 
    serves as confirmation of submittal.  Retain a copy of the return receipt with a copy of the original NOI for your 
    records.  EPD’s website:  www.gaepd.org/Documents/IndustrialStormwater.html (link is case sensitive) has updated 
    lists of facilities covered under the 2012 IGP. 
     
    It is very important to read the 2012 IGP carefully prior to completing the NOI.  If you have questions regarding 
    NPDES Storm Water Permitting, contact the Storm Water Unit of the NonPoint Source Program at (404) 675‐6240.   
    The completed NOI should be submitted to the following address via return receipt/certified mail or similar 
    service: 
     
     
                                             Georgia Environmental Protection Division 
                                                      NonPoint Source Program 
                                         2 Martin Luther King, Jr. Drive, S.W., Suite 1462 
                                                       Atlanta, Georgia 30334 
     
     
    This form and a copy of the 2012 IGP are available at:  www.gaepd.org/Documents/IndustrialStormwater.html. 
     
    Section A.  Facility Information:  Enter the facility’s name, street address, mailing address, county, and telephone 
    number.  Should the facility lack a street address, describe where the facility is located in “Section F. Comments.”  
    Provide the latitude and longitude (in decimal degrees) of the approximate center of the facility.  This information 
    can be obtained using a Global Positioning System (GPS) device, by consulting a United States Geological Service 
    topographical map, or by accessing an internet mapping website such as http://www.terraserver.com or Google 
    Earth.  Enter the name, title, email and telephone number of the individual who will serve as the on‐site facility 
    contact with day‐to‐day responsibility for storm water issues. 
     
     
    Section B.  Facility Owner‐Operator Information:  Enter the owner‐operator’s legal name, mailing address and 
    telephone number.   
         
     
    Section C.  Site Activity Information:  List the primary 4‐digit Standard Industrial Classification (SIC) code that best 
    represents the product produced or services rendered for which the facility is primarily engaged, defined as ”primary 
    industrial activity” identified in Appendix A of the 2012 IGP.  Also enter up to four (4) additional SIC codes that 
    identify secondary products or services.  Identify the applicable 2012 IGP sector by letter and name, as stated in Part 
    8 of the 2012 IGP and enter a check if the facility is subject to effluent limits stated in Part 8: A, C, D, E, K, L or O. 
     
     
    Section D.  Storm Water Discharge Information:  Enter the name of the river basin and creek, stream, lake or river 
    that receives the storm water discharge.  The discharge of storm water from the facility may not necessarily go 
    directly  to the receiving waters but may go through a series of drainage ditches, swales, conduits, and similar 
    structures or a municipally owned separate storm sewer system (MS4) before actually reaching the receiving waters. 
     The name of the receiving waters may be found on a topographical map of your locality, a county map, or a similar 
    map.  Should your storm water be discharged to a municipal separate storm sewer system, the operator of the MS4 
    may be able to advise you as to the name of the receiving waters. 
     
    Determine if the facility discharges storm water associated with industrial activity to, or within one (1) linear mile and 
    inside the watershed of, any portion of an impaired waterbody listed as impaired on Georgia’s most current finalized 
                                                               4                                             Updated 4/14
           Case 5:16-cv-00435-TES Document 11-4 Filed 10/26/16 Page 174 of 210
                                   Notice of Intent – 2012
                                                                     
305(b)/303(d) documents.  Georgia’s current finalized 305(b)/303(d) documents may be viewed on EPD’s website at 
www.gaepd.org.    
 
If the answer to Question #3 was “Yes”, those facilities that have not been on record as having filed previously are 
not eligible for coverage under the 2012 IGP to discharge to an impaired waterbody, unless the permittee satisfies 
the requirements of Appendix C.1 of the 2012 IGP.  Indicate by checking one of the boxes whether the facility is 
eligible for C.1.1, C.1.2 or C.1.3.  If the facility is eligible for C.1.3, indicate whether the facility is subject to C.1.3.1, 
C.1.3.2 or C.1.3.3. 
 
For  previous  permittees  that  discharged  to  an  impaired  waterbody  that  were  subject  to  the  impaired  stream 
segment sampling contained in Part III.C. of Georgia’s 2006 Industrial Storm Water General Permit GAR000000, check 
the appropriate box as the facility must abide by sampling requirements as stated in C.2 of the 2012 IGP.  
 
If the storm water is discharged to an MS4, then list the name of the operator of the MS4.  This will usually be a city 
or county government, water authority or storm water utility.  If you discharge to an MS4 you are required to submit 
a copy of your NOI to the MS4. 
 
Indicate whether the facility maintains quantitative (analytical) sampling data of storm water discharges and the 
most recent year collected. 
 
List the permit numbers of any other individually issued NPDES permit applicable to this facility. 
 
 
Section E.  Storm Water Pollution Prevention Plan (SWPPP) Checklist:  All facilities covered by the 2012 IGP are 
required to develop and implement a Storm Water Pollution Prevention Plan (SWPPP) as specified in Part 5 of the 
2012 IGP.  Marking a box in Section E indicates new permittees have completed the activities. Facilities beginning 
industrial operations after the effective date of the 2012 IGP (new facilities) are required to implement and maintain 
a SWPPP on or before the day industrial operations commence.  Existing permittees have ninety (90) days from the 
effective date of the 2012 IGP to update and 180 days to fully implement their revised SWPPP.  Existing facilities will 
indicate on their first annual report that their SWPPP is updated and the checklist is complete.   
 
 
Section F.  Comments:  Provide comments as appropriate.  
 
 
Section G.  Certification:  Provide the information requested and sign the NOI in accordance with Appendix B.7 of the 
2012 IGP.  Federal and State regulations require this NOI to be signed by one of the following people (signature by 
parties other than those below does not constitute a valid NOI submittal): 
    For  a  corporation:    by  a  responsible  corporate  officer.    For  the  purpose  of  the  2012  IGP,  a  responsible 
       corporate officer means:   
     1. A president, secretary, treasurer, or vice‐president of the corporation in charge of a principal business 
          function, or any other person who performs similar policy or decision‐making functions for the corporation; 
          or  
           
     2. The manager of one or more manufacturing, production or operating facilities, provided the manager is 
          authorized to make management decisions which govern the operation of the regulated facility including 
          having the explicit or implicit duty of making major capital investment recommendations, and initiating and 
          directing other comprehensive measures to assure long term environmental compliance with environmental 
          laws and regulations; the manager can ensure that the necessary systems are established or actions taken to 
          gather complete and accurate information for the 2012 IGP application requirements; and where authority 
          to sign documents has been assigned or delegated to the manager in accordance with corporate procedures; 
           
    For a partnership or sole proprietorship: by a general partner or the proprietor; or 
        
    For a municipality, State, Federal or other public facility: by either a principal executive officer or ranking 
       elected official. 




                                                              5                                               Updated 4/14
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                          APPENDIX C
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                   ANNUAL ENVIRONMENTAL HEALTH AND SAFETY
                            STORM WATER TRAINING

In accordance with the General Permit GAR050000 - Storm Water Discharges Associated With
Industrial Activity, Section 5.1.1.2 Employee Training, permittees must train all employees who
work in areas where industrial materials or activities are exposed to storm water, or who are
responsible for implementing activities necessary to meet the conditions of this permit (e.g.,
inspectors, maintenance personnel), including all members of the Pollution Prevention Team.
Training will be conducted at hiring and annually for existing employees. The training agenda
presented below is required under the General Permit and can be incorporated into the facility’s
standard training program.

                                 Storm Water Training Agenda:

       i.   Storm Water Regulations
      ii.   Coverage Under the General Permit
     iii.   Control Measures
     iv.    Effluent Limits
      v.    Sector-Specific Requirements
     vi.    Corrective Actions
    vii.    Inspections
    viii.   Monitoring
     ix.    Planning
      x.    Reporting and Recordkeeping

Note: Rosters of employee training or certificates of completion which include individual names
      and training dates shall be retained for a period of three years and be readily available
      onsite for inspection.
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                  TenCate Protective Fabrics – Molena, GA
                    Storm Water Training Sign-In Sheet



Date:____________________________   Trainer:

           Print Name                           Signature
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                          APPENDIX D
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  Site
Location




Georgia Inset Map




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                                                                        TenCate Protective Fabrics
                                                                            Molena, Georgia
           Legend                                                             Site Location Map
                                                      Prepared By:

               Approximate Property Boundary
                                                      CLS - 6/28/2016

                                                      Checked By:                                    Figure
                                                                                                        1
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                                                      Project Number:
                                                      6121160160
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Legend                                                              Topographic Map

    Approximate Property Boundary           Prepared By:
                                            CLS - 6/28/2016

                                            Checked By:                                     Figure
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                                            Project Number:
                                            6121160160
                                                                  Case 5:16-cv-00435-TES Document 11-4 Filed 10/26/16 Page 181 of 210




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                                                            Zone E                                                                    Molena, Georgia
                                                            Zone F                                                                        Site Layout

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                                                                                                            Prepared By:
                                                                                                            CLS - 8/9/2016

                                                                                                            Checked By:                                        Figure
                                                            Zone H                                          MML - 8/9/2016
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                                                                              Case 5:16-cv-00435-TES Document 11-4 Filed 10/26/16 Page 183 of 210



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                                                               Zone C               Impaired Streams                                                                                                                       TenCate Protective Fabrics
                                                               Zone D               Hay Barriers                                                                                                                               Molena, Georgia
                                                               Zone E               Streams                                                                                                                                                  Stormwater Map
                                                               Zone F               Facility                                                                                                     Prepared By:
                                                                                                                                                                                                 CLS - 8/17/2016

                                                               Zone G               Ponds                                                                                                         Checked By:                                                       Figure
                                                                                                                                                                                                                                                                       5
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                                                               Zone H              Surface Water Flow                                                                                            Project Number:
                                                                                                                                                                                                 6121160160
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                               SPILL RESPONSE PROCEDURE

The site emergency response coordinator or alternate is responsible for implementing measures
to ensure that releases do not occur, recur, or spread. These measures include, where
applicable, stopping processes or operations, collecting and containing released waste or
hazardous materials, and removing or isolating containers. Emergency coordinator shall be
familiar with all aspects of the SWPPP, all hazardous waste operations and activities at the
facility, and the locations and characteristics of chemicals handled. The Emergency coordinator
will determine the appropriate cleanup techniques (e.g., neutralization, absorption, or
mechanical removal), and determine the need for outside assistance and notification of local,
state, and federal agencies. Safety Data Sheets (SDSs) are maintained at the facility to assist in
spill response and hazard assessments.

Upon detection of a release at the facility, steps detailed below will be followed by facility
personnel.

       1. Extinguish any open flames or smoke material, or cease any operation such as
          welding that could ignite the spilled material.

       2. All feasible steps shall be immediately taken to reduce or eliminate further spillage.
          Examples include positioning an unplugged or punctured drum in order to eliminate
          further spillage, closing any open valve on a secondary containment system, or
          reconnecting/tightening a hose during off-loading or product usage.

       3. Notify the facility spill response coordinator.

       4. If the spill of flammable liquid is of sufficient quantity to stop production or escapes
          the secondary containment area, move away from the area. Notify the Fire
          Department and the Emergency Response Contractor.

       5. For other spills, trained facility employees should utilize the sorbent material most
          appropriate for the volume spilled and location at the plant. Spills should be confined
          by the use of sorbent material around the edges or down-slope. Apply sorbent clay
          or other suitable material to absorb the spilled material.

       6. If the oil spill has entered a stream or drainage ditch off the property (i.e. along the
          railroad track), immediately notify the 1) National Response Center and the 2)
          Georgia Emergency Operations Center. The Emergency Response Contractor
          should then be notified, and facility employees should make every safe effort to
          contain and remove the spilled material from the stream or ditch by the use of booms
          or other suitable means.

       7. Initiate further cleanup and disposal operations as necessary. The Emergency
          Response Contractor will collect spent sorbents in drums or other suitable containers
          for pickup and disposal.
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A soil remediation firm should promptly remove contaminated soil to prevent contamination of
groundwater. If groundwater contamination is expected, the appropriate remedial action should
be promptly taken.

Accumulated oil or oil-contaminated materials within containment areas caused by oil leaks or
spills shall be properly contained and completely removed within 96 hours of the leak or spill by
an appropriate vendor for off-site disposal at an approved facility. Note of such event shall be
recorded.

Facility management will prepare a written report within one week of a significant spill event,
and review the effectiveness of spill response. Recommendations will be made to prevent a
recurrence of the spills.

The facility is designed, constructed, maintained, and operated to reduce the possibility of any
release of constituents or wastes to the air, soil, surface water, or groundwater that could
threaten human health or the environment. Engineering controls constitute the primary best
management practices (BMPs).

All recovered materials from the cleanup of spills shall be containerized and transported off-site
for recycling, treatment, or disposal in accordance with state, local, and federal regulations. The
Facility Response Coordinator shall be responsible for determining the appropriate final
destination and waste classification. No materials will be disposed on site.

Spill containment equipment is maintained at strategic locations within the facility where there is
a risk of release. This equipment, including neutralization chemicals and hand tools, is specific
to the chemicals stored or used in the area.

Loading operations are conducted in accordance with requirements and regulations established
by the Department of Transportation. These requirements include, but are not limited to,
49 CFR §177 Subpart B - Loading and unloading. There is no tank truck loading/unloading rack
(as a fixed facility) for oil at the facility. Subsequently, the requirements of 40 CFR §112.7(h) has
been deemed to be not applicable.

The facility will rely on the response and support services from the following local emergency
agencies, medical service providers, and emergency response contractors:
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                  LOCAL EMERGENCY SERVICES

                  Agency                      Telephone Numbers
    Molena Fire Department              911 (Emergency)
    45 Spring Rd, Molena, GA 30258      (770) 567-8888 (Non-Emergency)
    Molena Police Department            911 (Emergency)
    85 Depot St, Molena, GA 30258       (770) 884-5537(Non-Emergency)
    Ambulance / Emergency Medical       911 (Emergency)
    Transport:                          (770) 228-2721 (Non-Emergency)
    Mid Georgia Ambulance138 Main St
    Concord, GA 30206
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                           SPILL NOTIFICATION REQUIREMENTS
                                        Government Agencies

               Agency                  Phone          Level           Notification Required
                                                               If a release greater than the RQ2
     EPD State Emergency                                       impacts soil or any off-site receptor
     Operations Center                                         (air, water, soil, sewer, or person).
                                  (404) 656-4300
     (24 Hours):                                     State
                                  (800) 241-4113
         - Atlanta area                                        Verbal: Immediately1
         - Statewide
                                                               Written: Within 30 days
                                                               Immediately1 if a release greater than
     National Response Center                                  the RQ2 impacts soil or any off-site
                                  (800) 424-8802     Federal
     (NRC)                                                     receptor (air, water, soil, sewer, or
                                                               person).
     EPA Region 4:                (404) 562-9900
                                                               A copy of any written notification sent
     (Atlanta Office)
                                                     Federal   to the EPD should also be provided to
                                                               the EPA Region 4 Administrator.
     Spill Line (24 Hours)        (404) 562-8700
     Occupational Safety and
     Health Administration
                                                               Verbal: Within 8 hours:
     (OSHA)                       (678) 237-0400
                                                     Federal   of the death or hospitalization of an
         - Atlanta Office         (800) 321-6742
                                                               employee for more than 24 hours.
         - National Hotline
     (Catastrophic Report)

1   Immediately – EPA has defined immediately to be within 15 minutes of discovery.
2   RQ = Reportable Quantity per Appendix A/B of 40 CFR §355.
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                          Reportable Spill Materials and Quantities


                             Constituents of      Reportable      Estimated Quantity of
  Material                   Concern              Quantity        Spilled Material to Reach
                                                                  RQ




The top priority of EPA's Emergency Management program is to eliminate any danger to the
public and the environment posed by hazardous substance releases and oil spills. Any person
or organization responsible for a release or spill is required to notify the federal government
when the amount reaches a federally-determined limit. Separate reporting requirements exist
for:

      Oil spills
      Hazardous substance releases

For either type of release, call to the National Response Center at (800) 424-8802.

A facility should report discharges to the National Response Center (NRC) at 800-424-8802 or
(202) 426-2675. The NRC is the federal government's centralized reporting center, which is
staffed 24 hours per day by U.S. Coast Guard personnel.

States also have separate reporting requirements.

Oil Spills

EPA has established requirements to report spills to navigable waters or adjoining shorelines.
EPA has determined that discharges of oil in quantities that may be harmful to public health or
the environment include those that:

            Violate applicable water quality standards;
            Cause a film or "sheen" upon, or discoloration of the surface of the water or adjoining
             shorelines; or
            Cause a sludge or emulsion to be deposited beneath the surface of the water or
             upon adjoining shorelines.
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Any person in charge of facilities that discharge oil in such quantities is required to report the
spill to the federal government.

The requirement for reporting oil spills stems from the Discharge of Oil Regulation, known as
the "sheen rule." Under this regulation, oil spill reporting does not depend on the specific
amount of oil spilled, but on the presence of a visible sheen created by the spilled oil. Reporting
an oil discharges may also be required under the Spill Prevention, Control, and
Countermeasure (SPCC) Rule.

Hazardous Substances

For releases of hazardous substances, the federal government has established Superfund
Reportable Quantities (RQs). If a hazardous substance is released to the environment in an
amount that equals or exceeds its RQ, the release must be reported to federal authorities.

Under the Emergency Planning and Community Right-to-Know Act (EPCRA) of 1986, the
federal government has designated several hundred substances as "extremely hazardous
substances" based on their acute lethal toxicity. Under the law, releases of these extremely
hazardous substances trigger reporting requirements to state and local authorities, as well as
the federal authorities. The owner or operator of a facility that releases an extremely hazardous
substance in an amount greater than its established RQ must report to the appropriate
authorities (in many cases, the State Emergency Response Commission (SERC) and the Local
Emergency Planning Committee (LEPC)) for the location where the incident occurs.

If possible, you should be ready to report the following:

          Your name, location, organization, and telephone number
          Name and address of the party responsible for the incident
          Date and time of the incident
          Location of the incident
          Source and cause of the release or spill
          Types of material(s) released or spilled
          Quantity of materials released or spilled
          Medium (e.g. land, water) affected by release or spill
          Danger or threat posed by the release or spill
          Number and types of injuries or fatalities (if any)
          Weather conditions at the incident location
          Name of the carrier or vessel, railcar/truck ID, or other identifying information
          Whether an evacuation has occurred
          Other agencies notified or about to be notified
          Any other information that may help emergency personnel respond to the incident

Under the Comprehensive Environmental Response, Compensation, and Liability Act
(CERCLA), also known as the Superfund Law, Congress established an initial reportable
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quantity or RQ of one pound for Superfund hazardous substances. Congress also required EPA
to issue regulations to adjust these initial RQs to more accurately reflect their potential to
threaten public health and welfare and the environment. To date, EPA has established or
proposed adjustments to the RQs for all of the roughly 800 Superfund substances.

For purposes of establishing reportable quantity (RQ) adjustments under CERCLA, EPA has
adopted the five RQ levels of 1, 10, 100, 1,000, and 5,000 pounds originally established
pursuant to Clean Water Act (CWA) Section 311.
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                          APPENDIX G
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          Annual Comprehensive Storm Water Site Compliance Evaluation
                           Checklist 1 – Inspection
                                 (Page 1 of 5)

TenCate Protective Fabrics         Date          Reviewed By: (print and sign)
Molena, Georgia
Inspector Name: (print and sign)   Time          Weather Information:


 Area                   Item             Y   N   N/A             Comments
STORM WATER CONTROLS
      If an outfall/sampling location
      leaving property is flowing during
      dry weather, is flow due to
      permitted non-storm water
      discharge? If not, describe source
      of flow.
      Are inlets, pipes, ditches, and
      pond, free of oil sheen, and other
      potential facility related
      contaminants?
LOADING/UNLOADING AREAS
      Do previous spills in the areas
      appear to have been adequately
      addressed?
      Is the area free of raw materials,
      waste materials, debris, and dust?
      Are the unloading connections in
      proper working condition?
      Are the area storm drains free
      from obstructions?
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              Annual Comprehensive Storm Water Site Compliance Evaluation
                           Checklist 2 - Procedural BMP Evaluation
                                          (Page 2 of 5)
TenCate Protective Fabrics               Date           Reviewed By: (print and sign)
Molena, Georgia
Inspector Name: (print and sign)         Time           Weather Information:


  Best Management                Goal               Effective              Comments
       Practice
                                                    Y N   N/A
Good Housekeeping      Areas are kept clean (no
                       residual spill material).
                       Storage areas are orderly
                       with containers labeled
                       and in good condition.
                       Safety Data Sheet record
                       keeping is maintained.
                       Spills can be contained
                       within the building.
Preventative           Inspection of
Maintenance            equipment/grounds
                       performed regularly.
                       Records of corrective
                       actions taken, based on
                       inspections, are
                       maintained.
Spill Protection and   Spill equipment is
Response               adequate.

                       Procedures are current
                       with the appropriate team
                       members identified.
Employee Training      Employees are
                       knowledgeable of good
                       housekeeping practices.
                       Employees are
                       knowledgeable of the Spill
                       Prevention and Response
                       Procedures.
                       Employees are
                       knowledgeable of the
                       material handling
                       procedures.
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           Annual Comprehensive Storm Water Site Compliance Evaluation
                              Checklist 3 – Observation
                                    (Page 3 of 5)
TenCate Protective Fabrics        Date            Reviewed By: (print and sign)
Molena, Georgia
Inspector Name: (print and sign)  Time            Weather Information:


Note: For any item answered “N” describe in the right hand column.
 Area                   Item               Y N N/A              Comments
EROSION-PRONE AREAS
        Are drainage pathways at the site
        free of evidence of soil erosion?
        If sediment controls are used
        onsite, are they in good shape and
        operating properly?
STORM WATER CONTROLS
        Are inlets, pipes, ditches, and
        ponds, free of excessive
        sediment?
        Are storm water drop inlets and
        curb gutters in good condition and
        free of any evidence of potential
        pollutant sources adjacent to and
        nearby?
        Are sumps and ancillary
        equipment in good condition
        (leaks, cracks, etc.)?
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              Annual Comprehensive Storm Water Site Compliance Evaluation
                             Checklist 4 - Revision of the SWPPP
                                         (Page 4 of 5)
TenCate Protective Fabrics          Date                Reviewed By: (print and sign)
Molena, Georgia
Inspector Name: (print and sign)    Time                Weather Information:


     Section                   Potential Revision                Revision   Describe Revisions
                                                                  (Y/N)
Quick Reference       Has the Emergency Contact(s)
Table                 changed?
Pollution             Are the listed team members and their
Prevention Team       responsibilities still accurate?
Potential Pollution   Does the site map reflect the current
Sources               conditions of the site?
                      Have there been any significant spills
                      and/or leaks?
                      Is there any sampling data that should
                      be included in the plan?
                      Is the inventory of exposed materials,
                      including quantities, still accurate?
                      Are there additional potential pollution
                      sources? If so, update SWPPP.
                      Other
Best                  Have the good housekeeping
Management            practices been modified?
Practices
(based upon           Have the preventative maintenance
Checklists 1, 2,      and inspections procedures been
and                   modified?
3)                    Have the Spill Prevention and
                      Response Procedures been modified?
                      Has employee training been
                      modified?
                      Any non-storm water discharges
                      identified?
                      Have additional sediment and erosion
                      control measures been implemented
                      or existing controls modified?
                      Have additional storm water runoff
                      controls been implemented or existing
                      controls modified?
                      Have any new outfalls/sampling
                      locations been identified/constructed?
                      Other
Keeping Plans      Update table if changes are made.
Current
Note: Revision must be made by 12 weeks from date of inspection
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                        Annual Comprehensive Storm Water Site Inspection
                                        Certification
                                        (Page 5 of 5)

Facility:                TenCate Protective Fabrics – Molena

Location:       1663 Lawrence Road
                Molena, GA 30258



Certification Period:



“I certify under penalty of law that this document and all attachments were prepared under my
direction or supervision in accordance with a system designed to assure that qualified personnel
properly gathered and evaluated the information submitted. Based on my inquiry of the person
or persons who manage the system, or those persons directly responsible for gathering the
information, the information submitted is, to the best of my knowledge and belief, true, accurate,
and complete. I am aware that there are significant penalties for submitting false information,
including the possibility of fine and imprisonment for knowing violations.”




 Name (print)                                     Signature




 Title                                            Date
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                          APPENDIX H
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             OUTFALL/SAMPLING LOCATION MONITORING PROCEDURES

Permittees must collect and analyze storm water samples and document monitoring activities consistent
with the procedures described in Part 6, Appendix B, Appendix C and any additional sector-specific
requirements in Parts 8 of the General Permit, respectively. Refer to Part 7 of the General Permit for
reporting and recordkeeping requirements. The sampling required must occur during a site’s normal
operating hours.

Monitoring Procedures

Monitored Outfalls/Sampling Locations and Substantially Identical Outfalls/Sampling Locations:
Applicable monitoring requirements apply to each outfall/sampling location authorized by this permit,
except as otherwise exempt from monitoring as a “substantially identical outfall/sampling location.” If the
facility has two or more outfalls/sampling locations that permittee believe discharge substantially identical
effluents, based on the similarities of the general industrial activities and control measures, exposed
materials that may significantly contribute pollutants to storm water, and storm water runoff coefficients of
their drainage areas, permittee may monitor the effluent of just one of the outfalls/sampling locations and
report that the results also apply to the substantially identical outfall(s) /sampling location(s). As required
in Part 5.1.5.2 of the General Permit, the SWPPP must identify each outfall/sampling location authorized
by this permit and describe the rationale for any substantially identical outfall/sampling location
determinations. The allowance for monitoring only one of the substantially identical outfalls/sampling
locations is not applicable to any outfalls/sampling locations with numeric effluent limitations or to
outfalls/sampling locations that discharge to an impaired stream segment. Permittees are required to
monitor each outfall/sampling location covered by a numeric effluent limit as identified in Part 6.2.2 of the
General Permit and each outfall/sampling location to an impaired stream segment as identified in
Appendix C of the General Permit.

Measurable Storm Events

All required monitoring must be performed on a storm event that is greater than 0.1 inch of rainfall
(measurable storm event) that results in an actual discharge from the facility that follows the preceding
measurable storm event by at least 72 hours. In the case of snowmelt, the monitoring must be performed
at a time when a measurable discharge occurs at the facility.

For each monitoring event, except snowmelt monitoring, permittee must identify the date and duration (in
hours) of the rainfall event, rainfall total (in inches) for that rainfall event, time (in days) since the previous
measurable storm event or, alternatively, the absence of measurable precipitation in the 72 hours
preceding the monitoring event, and estimated volume (in gallons) of discharge sampled.

Sample Type: Permittees must take a minimum of one sample from a discharge resulting from a
measurable storm event as described in Part 6.1.3 of the General Permit. Grab samples and the first
aliquot of a composite sample must be collected within the first 30 minutes of initial discharge from a
measurable storm event. If it is not possible to collect the sample within the first 30 minutes of initial
discharge from a measurable storm event, the sample must be collected as soon as practicable after the
first 30 minutes, and documentation must be kept with the SWPPP explaining why it was not possible to
take samples within the first 30 minutes initial discharge. In the case of snowmelt, samples must be taken
during a period with a measurable discharge.
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Adverse Weather Conditions: When adverse weather conditions as described in Part 4.2.3.1 of the
General Permit prevent the collection of samples according to the relevant monitoring schedule, permittee
must take a sample during the next qualifying storm event. Permittee must document in the SWPPP any
failure to monitor, indicating the basis for not sampling during the usual monitoring period.

Monitoring for Allowable Non-Storm Water Discharges: Permittees are only required to monitor
allowable non-storm water discharges (specified in Part 1.1.3) when they are commingled with storm
water discharges associated with industrial activity.
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                                       Monitoring Periods

Monitoring requirements in this permit begin in the first full quarter following the effective date of
the permit or the permittee’s date of discharge authorization, whichever date comes later unless
otherwise stated. If the monitoring is required on a quarterly basis, permittee must monitor at
least once in each of the following 3-month intervals:

                                      January 1 – March 31
                                         April 1 – June 30
                                      July 1 – September 30
                                     October 1 – December 31

       a. If the monitoring is required on a bi-annual basis as required in Appendix C.3.4, of
          the General Permit permittee must monitor at least once in each of the following 6-
          month intervals:

                                        January 1 – June 30
                                       July 1 – December 31

       b. For example, if a permittee obtains permit coverage on August 15, 2012, then the first
          monitoring quarter is October 1 – December 31, 2012. This monitoring schedule may be
          modified in accordance with Part 6.1.5 of the General Permit if the revised schedule is
          documented within the SWPPP.
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                           APPENDIX I
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                       Routine Storm Water Inspection Form
                               (Conducted Monthly)
TenCate Protective Fabrics           Date          Reviewed By: (print and sign)
Molena, Georgia
Inspector Name: (print and sign)     Time          Weather Information:


                           Item                      Y N N/A             Comments
EXPOSED INDUSTRIAL MATERIALS AND ACTIVITIES
(Receiving, Shipping, Outdoor Storage Areas, Outdoor Work Areas, etc.)
Are all areas free of equipment and materials that
might be covered in dirt, oil, rust, or other debris
that could wash off onto ground?
Are all areas free of activities that might generate
dirt, oil or other pollutants that could contact the
ground?
STORM WATER CONTROL MEASURES
(Plant Wide – Inside and Outside Building & Detention Pond)
Reduce Exposure – Are all equipment and
activities that potentially generate pollutants
located inside building? Are drip pans and
absorbent in place around leaky equipment?
Good Housekeeping - Are all exposed areas that
are potential sources of pollutants kept orderly,
labeled and in appropriate containers?
Maintenance – Does all industrial equipment and
systems appear to be regularly maintained,
repaired, and tested to prevent leaks or spills?
Spill Prevention and Response – Are containers
appropriately labeled, secondary containment
present, barriers in place, spill kits stocked and
readily accessible?
Erosion and Sediment Control – Are all exposed
areas stabilized or measures in place to reduce
erosion?
Management of Runoff – Are measures in place to
reduce storm water runoff? Is all storm water
diverted to detention pond?
Dust Generation and Vehicle Tracking of Material –
Are areas free of dust or materials that can be
tracked offsite by vehicles?
Waste, Garbage, & Floatable Debris – Are all
exposed areas free of waste, garbage and floatable
debris?
PREVIOUSLY UNIDENTIFIED DISCHARGES TO STORM WATER
Are there any previously unidentified discharges of
pollutants from the facility?
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                          APPENDIX J
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                                      QUARTERLY STORM WATER VISUAL MONITORING REPORT FORM

                                                      TenCate Protective Fabrics – Molena, Georgia

Description & Location of Discharge:

Sample and Visual Assessment Date:                                                  Time:


Name of Person Collecting Sample and Performing Visual Assessment (Print):                               Signature:


                                                                                                                      Corrective
                                                                                                       Corrective
                                                         Outfall/Sampling                                               Action
   Observation           Description Options                                                Comments    Action
                                                             Location                                                 Completion
                                                                                                       Needed?
                                                                                                                         Date
       Color           Clear     Cloudy      Dark
                                 Sewag      Rotten
        Odor           Absent
                                   e        Eggs
      Turbidity        Clear     Cloudy      Dark
                                 Presen
  Floating Solids      Absent                 NA
                                    t
                                 Presen
   Settled Solids      Absent                 NA
                                    t
    Suspended                    Presen
                       Absent                 NA
      Solids                        t
                                 Presen
       Foam            Absent
                                    t
                                 Presen
     Oil Sheen         Absent               Smell
                                    t
     Stains at
                                 Presen
  Outfall/Sampling     Absent               Other
                                    t
      Location
   Dry Weather                   Presen
                       Absent                 NA
        Flow                        t
                                 Presen
 Dead Vegetation       Absent
                                    t

Quarterly Storm Water Visual Monitoring Report Form                                                                 Page 1 of 2
TenCate Protective Fabrics – Molena, Georgia
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Comments:

        The approximate rain accumulation in the area during this rain event was approximately      inches of rain.
        If storm water sampling and visual assessment could not be completed within 30 minutes of the storm event, what was the reason?



        Probably sources of any observed storm water contamination:




Recommendation:

1)


2)


3)


Results of all Quarterly Storm Water Visual Assessment Reports are to be reviewed by the Storm Water Pollution Prevention (SWPP) Team
members. The SWPP Team members must identify, and correct any probable sources of any storm water contamination/pollution at their site, with
these to be noted in the “Comments” section of the above Form or use additional paper as needed and attach to the completed Form. The Storm
Water Pollution Prevention Plan (SWPPP) must be modified (within 30 days) as necessary to address any conclusions of the SWPP Team and
implemented within 90 days of discovery. The SWPP Team members shall sign and date each completed Quarterly Storm Water Visual
Monitoring Report Form.

SWPP Team Leader:        ____________________           ______________________          ____________
                         (Print Name)                   (Signature)                     (Date)

SWPP Team Assistant: ____________________               ______________________          ____________
                     (Print Name)                       (Signature)                     (Date)

*Note: Observation only needs to be completed by one member. Another SWPP team member must sign off to acknowledge receipt of
inspection.


Quarterly Storm Water Visual Monitoring Report Form                                                                                Page 2 of 2
TenCate Protective Fabrics – Molena, Georgia
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                          APPENDIX K
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                                           State of Georgia
                                   Department of Natural Resources
                                   Environmental Protection Division
                                                                      For official use only.
                                                                                                    NOI No., if known: __________________
                                                            ANNUAL REPORT
                                                             AR - Version 2012
                                 For NPDES General Permit GAR050000 (2012 IGP)
                      Authorization to Discharge Storm Water Associated with Industrial Activity

Instructions:  Complete the following annual report using the records compiled for NPDES General Permit GAR050000 (2012 
IGP), effective on June 1, 2012.  All facilities must submit a COPY OF THE MOST CURRENT 2012 NOI with this Annual Report 
in accordance with the schedule provided in Part 7.2 of the 2012 IGP.  This form must be complete and properly certified in 
accordance  with  Appendix  B  of  the  2012  IGP,  and  submitted  certified  mail  return  receipt  (or  similar  service)  to  the 
Environmental Protection Division, NonPoint Source Program, 2 Martin Luther King, Jr. Drive, S.W., Suite 1462, Atlanta, 
GA 30334.                                                                                   
Report for reporting year:                                     County where facility is located:___________________            _______ 
Primary SIC Code: __________ Sector(s): ______________                              _  Subsector(s): _____________                            ___ 
1.     Facility Name:  _________________________________________________________________ __ 
       Facility Address: ______________________________________________________________ ____  
       Facility City: ___________________________________________  Zip Code: __________________ 

2.     Name, title and telephone number of Storm Water Pollution Prevention Team Leader:  
       Name: __________________________________________  Title:                                                                                       
       Phone: _________________________________________   Email:                                                                                      
3.     Does the facility have a current Storm Water Pollution Prevention Plan (SWPPP) that includes all elements required by 
       the 2012 IGP?                                                                                                                YES 